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                          EXHIBIT A
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       # 99666930  E-Filed 12/02/2019 05:19:17 PM




                                                               IN THE CIRCUIT COURT OF THE 11TH
                                                               JUDICIAL CIRCUIT IN AND FOR
                                                               MIAMI-DADE COUNTY, FLORIDA

                                                               CASE NO.:

                                                               CIVIL DIVISION

         INFINITY GLOBAL CONSULTING GROUP
         INC., a Florida corporation, JOSEPH M. VAZQUEZ
         III, an individual; and JOSEPH M. VAZQUEZ III,
         derivatively, as a shareholder, and on behalf of,
         TRIMAX Corporation, a Nevada corporation


                Plaintiff,

         vs.

         TILRAY       INC.,    a Delaware corporation;
         PRIVATEER HOLDINGS INC., a Delaware
         corporation, LEFT COAST VENTURES, INC., a
         Delaware corporation, EKO HOLDINGS LLC, a
         California limited liability company; BRETT
         CUMMINGS, an individual, HUGO SAAVEDRA,
         an individual; DEBRA SAAVEDRA, an individual;
         and EQUITABLE TRANSITIONS INC., a
         California corporation

                Defendants.



                                            VERIFIED COMPLAINT


                Plaintiffs, INFINITY GLOBAL CONSULTING GROUP INC., a Florida corporation

         (“Infinity Consulting”!, and JOSEPH M. VAZQUEZ III, individually, and derivatively, as a

         shareholder on behalf of Trimax Corporation, a Nevada corporation (Mr. Vazquez”) (each a

         “Plaintiff’ and, collectively, “Plaintiffs”) hereby file this action: (a) for emergency temporary
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    and permanent injunctive relief; (b) for breach of fiduciary duty; (c) for conversion; (d) for

    fraud; (e) for intentional interference with contractual relations; (f) for negligent interference

    with prospective economic relations; and (g) for aiding and abetting the foregoing torts. In

    support of this Verified Complaint, Plaintiffs allege as follows:


   I.      PRIVATEER HOLDINGS’ UNLAWFUL SCAM TO ACQUIRE THE
           ASSETS OF TRIMAX CORPORATION

           A. Introduction

            1.     This action is brought to seek redress for a sophisticated scam, unscrupulously

    and unlawfully perpetuated by Privateer Holdings Inc., a Delaware corporation (“Privateer”), its

    affiliates, and other parties named as Defendants herein, to fraudulently remove all the assets of a

   public company, Trimax Corporation, a Nevada corporation (“Trimax”) (OTC: TMXN) for

    virtually no consideration, leaving all of Trimax creditors’ debts unpaid, and rendering its

    shareholders’ investments in Trimax completely worthless.

           2.      Privateer is a private equity firm which beneficially owns and controls

    approximately 75% of a publicly traded corporation named Tilray, Inc., a Delaware corporation

    (“Tilrav”), which is traded on the NASDAQ stock exchange under the symbol “TLRY”. Tilray

    touts itself as a global leader in cannabis research, cultivation, processing and distribution, and as

    a leading supplier of cannabis flower and extract products to customers which included patients,

    physicians, pharmacies, hospitals, governments and researchers on five continents. Tilray’s

    market capitalization is currently over $2 billion. As such, Privateer’s 75% stock ownership in

    Tilray is presently valued at over $1.5/billion.

            3.      Prior to the scam described below and orchestrated by Privateer and the other

    Defendants named herein, Trimax owned, through its subsidiary, Saavy Naturals Inc., a Nevada



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   corporation (“Saavv Naturals”), all of the assets of the business known as Saavy Naturals, which

   included its infamous brand which marketed and sold luxurious high quality all-natural products

   such as edible soaps, body creams, body scrubs, bath bombs, hair care products, candles and

   other products online and in retail stores.

          4.      Saavy Naturals was founded by Hugo Saavedra (“Mr. Saavedra”) and Debra

   Saavedra (collectively, the “Saavedras”) in 2014. Hugo Saavedra is the sole director of Trimax

   and Saavy Naturals. He and Debra Saavedra are the sole senior executives of the companies.

   Saavy Naturals gained popularity when the Saavedras first appeared on the popular television

   show, Shark Tank, which aired on November 6, 2015. Saavy Naturals’ revenue spiked

   significantly after the Shark Tank episode aired. Saavy Naturals grew rapidly and obtained

   agreements with Walmart, among others to roll-out Saavy Naturals Everyday’s free-standing

   custom-made pallet displays, which hold 1,152 individual soaps in 12 scents.

           5.     In late 2018, Saavy Naturals received purchase orders for over 200 Walmart

   locations to distribute its handcrafted soaps to the states of Indiana, Texas, Tennessee, New

   Hampshire, Arizona, Florida, Michigan, Virginia, Oregon, Colorado, New York, Wisconsin,

   Missouri, Pennsylvania, California, Illinois, Montana, Louisiana, Delaware, Alabama, North

   Carolina, Kentucky and Mississippi. Saavy Naturals also projected that it would expand its

   locations in order to reach its goal of distributing to over 1,000 Walmart locations nationwide.

   Thus, Saavy Naturals’ future prospects were positive and rising rapidly. See Trimax Press

   Releases from September 2018 and December 2018 attached hereto as Exhibit A.          Indeed, in

   November 2018, Bed Bath & Beyond’s online division was going so well that it requested a

   meeting at their corporate office to discuss putting Saavy Natural’s complete line of products

   into their over 1,000 BBB retail locations.



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           B.     Privateer’s and Left Coast Ventures’ Interest in Saaw Naturals:
                  The First Unlawful Overture to Acquire its Assets

           6.     At approximately this same time period (beginning in August of 2018), Privateer

   became interested in acquiring a major ownership stake in Saavy Naturals as a potential

   complement to its line of Cannabidiol (“CBD”) products offered by its various subsidiaries,

   including its main subsidiary, Tilray. Brett Cummings, who represented himself to be the Chief

   Executive Officer (“CEO”) of both Privateer and Left Coast Ventures, Inc., a Delaware

   corporation (“Left Coast Ventures”) told the Saavedras and Plaintiff Vazquez, who was an

   advisor and business consultant to Trimax and Saavy Naturals through his wholly owned entity,

   Infinity Consulting, that Privateer was interested in Saavy Naturals because of the credibility that

    Saavy Naturals had established with its products on Shark Tank and The Home Shopping

   Network. In addition, he advised that Privateer was interested in having Saavy Naturals create

   and develop a full line of beauty/skin healthcare products that were 100% all natural and infused

   with CBD oil, and also, in having Saavy Naturals manufacture the product line as a private label.

   Privateer was also interested in Saavy Naturals because of the quality of the products made and

   the fact that they were selling in Walmart, Bed Bath & Beyond, Costco, Whole Foods, Gelsons,

    among others. These already existing relationships would prove valuable to Privateer with their

   plans to create a new line of all-natural CBD infused beauty care products.

           7.     Following various discussions with the Saavedras, Privateer presented two (2)

   term sheets for investments in Saavy Naturals. Attached hereto as Exhibit B is an email from

    Mr. Cummings describing the proposed transactions on behalf of Privateer together with the term

    sheets. One of the term sheets proposed a $1.5 million investment in Saavy Naturals which

    calculated the pre-money valuation of Saavy Naturals at $2.5 million for a total post-money

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   valuation of $4 million. This initial offer was for a 37.5% minority stake in Saavy Naturals. The

    $2.5 million pre-money valuation was actually less than the market capitalization of Trimax

   (which included its wholly owned subsidiary, Saavy Naturals). For example, on November 1,

   2018, Trimax’s total market capitalization was approximately $4 million.

           8.      Based on the term sheets presented and after discussions with Mr. Cummings and

   the Saavedras, it became apparent to Plaintiffs that Privateer was proposing to take Saavy

   Naturals “private” in a transaction where only the Saavedras and Privateer would end up as

   owners of the assets of Trimax, including the Saavy Naturals brand and that, as a result, they

   would own together with Privateer all of the corporate opportunities created by the new proposed

   business structures. As a consequence, Plaintiff Vazquez became concerned that the creditors

   and public shareholders of Trimax would not participate in this proposed transactions, or receive

   any of their benefits. Mr. Vazquez could not see how, based on the structure of the transactions

   as presented, that the creditors and public shareholders would ever be compensated for their

   respective stakes in Trimax.

           9.      As a consequence, in October of 2018, Mr. Vazquez advised Hugo Saavedra that

   he would be shirking his fiduciary duties to the constituents of Trimax if he allowed the assets of

    Saavy Naturals to be transferred to Privateer in the transactions as proposed by Privateer.

           10.     At approximately this same time period, Mr. Vazquez participated in several calls

   with Mr. Cummings and the Saavedras concerning the proposed transactions. In each call, Mr.

   Vazquez stressed the importance of protecting the creditors and shareholders of Trimax.

    However, Privateer’s Brett Cummings would have none of this talk. Rather, he reiterated/during

    a call that Privateer was not going to enter into any investment transaction where any of its

   money would be used to pay existing creditors or shareholders of Trimax. At one point during a



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   discussion about the amount of the outstanding debt of Trimax, Mr. Cummings stated “Well,

   you’ve created quite the mess, haven’t you Hugo [Saavedra]?” He went on to say: “Privateer

   will not put in a single dollar in this company if we have to take on a single penny of debt or

   liability from Saavy Naturals.”

           11.     In a subsequent call also in October of 2018, Mr. Vazquez learned that Privateer

   was now instructing Mr. Saavedra to “bankrupt Saavy Naturals” as a way to allow Privateer to

   acquire a stake in Saavy Naturals without adequately compensating any of its existing creditors

   or shareholders for the real value of the business. Following the end of the call, Mr. Vazquez was

   incredulous with Mr. Cummings’ proposals and told Mr. Saavedra to walk away from Privateer.

           12.    After a few days had passed, Mr. Vazquez believed that the proposed transactions

   were dead, and that the Saavedras were no longer pursuing a deal with Privateer since the

    Saavedras did not raise the issue again with him. As such, Mr. Vazquez continued to work with

   the Saavedras in the normal course of business without any knowledge of any continued

   proposals from Privateer or its affiliates. However, on December 18, 2018, one of the creditors

    of Trimax called Mr. Vazquez and asked him to assist him in locating Mr. Saavedra who was not

   returning his calls. Mr. Vazquez promptly emailed Mr. Saavedra and urged him to return the

    creditor’s calls. Mr. Saavedra did not respond.

           13.     Thereafter, for several weeks, Mr. Vazquez called Mr. Saavedra several times and

    sent him 19 work related emails but Mr. Vazquez never received a single response. Suddenly,

    after years of being a trusted advisor to Mr. Saavedra, Mr. Vazquez was apparently and

    inexplicably on the “outs.” As explained below, this was because Mr. Saavedra was now under

    the influence of Privateer’s and Left Coast Ventures’ Brett Cummings.




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            c.     Privateer’s and Left Coast Ventures Loan to Own Scheme

            14.    After months of continued silence, in March of 2019, Mr. Vazquez received a

    letter from Defendant Equitable Transitions Inc., a Delaware corporation (Equitable

    Transitions”) advising him that all of the assets of Saavy Naturals had been assigned to Equitable

    Transitions as an “assignee for the benefit of creditors”. Mr. Vazquez was taken aback to learn

    that Saavy Naturals no longer owned any assets and that all its assets were now in the hands of a

    professional asset liquidator.

            15.    However, little did Mr. Vazquez know that this was only the first leg of the

    scheme. Privateer had put aside the original investment transactions it had proposed in its term

    sheets; those were no longer part of the plan. Instead, in its place was a plan far more devious,

    unethical and unlawful.

            16.    Eventually, Mr. Vazquez learned that the transfer to Equitable Transitions was all

    part of an elaborate “loan to own” scheme (the “Loan to Own Scheme”) that, unbeknownst to

    him, had occurred in late December of 2018 and was being orchestrated by Privateer through its

    authorized agent, Brett Cummings, and by the Saavedras and others to defraud the creditors and

    shareholders of Saavy Naturals by facilitating a fraudulent transfer of all of the assets of Saavy

    Naturals to a newly-formed entity, Eko Holdings, LLC, a California limited liability company

    (“Eko”). As detailed more fully below, the total consideration paid by Eko for all of these assets

    of Saavy Naturals was a mere $70,000 plus supposed partial loan forgiveness of $41,000 of Eko

    debt. This strikingly lowfigure was far less than the $700,000 or more owed to creditors,

    significantly less than Privateer’s own proposed pre-money valuation of Saavy Naturals at $2.5

    million, and considerably less than the market capitalization ofSaavy Naturals which was close

    to $4 million at the time.



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           D.       Privateer, Left Coast Ventures, and Eko - All One and the Same

           17.      Notably, at the time of this sham transaction on or about December 24, 2018, Eko

   was owned and controlled by Left Coast Ventures, and Left Coast Ventures was a wholly owned

   subsidiary of Privateer. More importantly, upon information and belief (i) no portion of the

   consideration presumably paid by Eko in the Loan to Own Scheme was used for the benefit of

   the creditors of Saavy Naturals or for the benefit of the shareholders of Trimax, and (ii) all, or

   almost entirely all, of the proceeds went to pay for the fees and transaction expenses of Equitable

   Transitions. All of this was known to the Defendants at the time of the illicit transaction, as they

   all participated in the planning of this scheme. In short, the transaction amounted to what was

   essentially an unlawful conversion of the assets of Saavy Naturals and Trimax for no

   consideration.

           18.      Evidence of Left Coast Ventures ownership of, and close association with, Eko

   during at all times material hereto, includes, but is not limited to, the following: (i) immediately

   after the closing of the purchase of Saavy Naturals’ assets by Eko in the Loan to Own Scheme in

   late December 2018, the demo website of Left Coast Ventures reflected Saavy Naturals as one of

   its “portfolio businesses” (attached hereto as Exhibit C is a copy of such Left Coast Ventures

   demo website); (ii) at all times thereafter, Saavy Naturals continues to be listed without

   interruption on Left Coast Venture’s demo website as a portfolio business; (iii) both Brett Michel

    (not named as a Defendant herein) and Brett Cummings are employees of Left Coast Ventures,

    and Brett Cummings was the principal perpetrator of the Loan to Own Scheme, and Brett Michel

   met with an appraiser of Saavy Naturals’ assets in connection with the Loan to Own Scheme, as

    reflected on the liquidation appraisal letter (the “Liquidation Opinion”) attached hereto as

    Exhibit D: (iv) the publicly identified corporate office address of Left Coast Ventures and Eko



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    listed in its corporate filings are exactly the same: 975 Corporate Center Parkway, Suite 120,

    Santa Rosa, California, 94507 (see corporate filings of Left Coast Ventures and Eko attached

    hereto as Exhibit E; (v) the website for “saavynaturals.com” lists info@ekonaturals.us as its

    contact email address, and GoDaddy lists the registered entity owner of “ekonaturals.us” as Left

    Coast Ventures, and further lists the registrant’s email contact as:

    brett.cummings@privateerholdings.com (see attached GoDaddy Registration for

    “ekonaturals.us” attached hereto as Exhibit F: (vi) Eko has an office address located at 20338

    Corisco Street, Chatsworth, California 91311, and Left Coast Ventures’ Linkedln profile lists a

    Chatsworth, California location as an additional office of Left Coast Ventures (copy of Linkedln

    profile attached hereto as Exhibit G; and (vii) upon information and belief, all email

    communications between the Saavedras and Brett Cummings concerning the Loan to Own

    Scheme were conducted by Mr. Cummings through his email address at Left Coast Ventures:

    Brett@leftcoastventures.us or his email address at Privateer:

    brett.cummings@privateerholdings.com.

            19.    Privateer’s relationship with Left Coast Ventures is undeniable. Pursuant to an S-

    4 filed by Tilray on October 10, 2019, Left Coast Ventures was a wholly owned subsidiary of

    Privateer until February of 2019, at which time Privateer distributed all of its shares of Left

    Coast Ventures to its shareholders in anticipation of a proposed merger with Tilray. The merger

    is scheduled to close in the fourth quarter of 2019, as discussed more fully below. As a

    consequence, it is undisputed that Left Coast Ventures was owned by Privateer at the time of the

    Loan to Own Scheme, and continued to be owned by Privateer at least through January 31, 2019.

           20.     Saavy Naturals’ general assignment for the benefit of creditors and concomitant

    loan and sale to a newly formed entity, Eko, was a thinly-veiled, sham transaction. As described



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    more folly herein, it left no money after expenses for the creditors and numerous shareholders of

    Trimax, a publicly held corporation. Privateer, however, did just fine. Privateer achieved the

    exact purpose which was declared from the very beginning by its authorized representative, Brett

    Cummings, in his discussions with the Saavedras and Plaintiff Vazquez, which was to acquire

    the assets of Saavy Naturals without paying a single cent to the existing creditors and

    shareholders of Trimax.

           21. The actions of Privateer, Left Coast Ventures and Eko, as effectuated by Brett

    Cummings, the Saavedras, and others “shocks the conscience.”

           22.   Privateer and Left Coast Ventures were well aware of the actions of Brett

    Cummings in effectuating this scam. The CEO of Left Coast Ventures is Brett Cummings.

           23.     The Board of Directors of Left Coast Ventures are Michael Blue and Christian

    Groh. The Board of Directors of Privateer include two of the same directors: Michael Blue and

    Christian Groh, in addition to Brendan Kennedy. How could Brett Cummings as the CEO ofLeft

    Coast Ventures (a wholly owned subsidiary ofPrivateer at the time of the sham transaction)

    effectuate a purchase of all of the assets ofa public company for what amounted to “fake

    consideration ” without the express knowledge and consent ofMichael Blue, Christian Groh and

    Brendan Kennedy? Moreover, how could he do so when immediately prior to the sham

    transaction Privateer’s very own valuation established Saavy Naturals at millions of dollars

    more than the illusory price paid in the sham transaction? Either these members of the Board of

    Directors ofPrivateer and Left Coast Ventures were grossly negligent in their oversight duties of

    its senor most executive or they were complicit in the fraud. Either way, Privateer and Left

    Coast Ventures, among other Defendants in this lawsuit, should be held strictly accountable for

    the fraud perpetuated on the creditors and shareholders of Trimax. This Verified Complaint seeks



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    to do just that by not only seeking compensatory damages but also such other damages as may be

    available under law or in equity.


                                             II.     PARTIES

            24.     Plaintiff, Joseph M. Vazquez III is an individual who resides in Miami-Dade,

    Florida and is sui juris.

            25.     Plaintiff, Infinity Consulting Inc. is a Florida corporation with a principal place of

    business located in Miami-Dade County, Florida.

            26.     Plaintiff, Trimax Corporation, in whose name Plaintiff Vazquez has additionally

    brought this action derivatively as a shareholder of Trimax, is a Nevada corporation.

            27.     Defendant Privateer Holdings, Inc. is a Delaware corporation which committed

    tortious acts and caused the breach of a contract in Florida causing injury to Plaintiffs who were,

    at all times material hereto, residents of Miami-Dade County, Florida. In addition, upon

    information and belief, at about the same time frame as the commission of such tortious acts,

    through its indirect wholly owned subsidiary, Eko Holdings, LLC, a California limited liability

    company formed in connection with the scam perpetuated upon Plaintiffs, sold products which

    were used or consumed in Florida, including in Miami-Dade County, Florida.

            28.     Defendant Left Coast Ventures, Inc. is a Delaware corporation which committed

    tortious acts and caused the breach of a contract in Florida causing injury to Plaintiffs who were,

    at all times material hereto, residents of Miami-Dade County, Florida. In addition, upon

    information and belief, at about the same time frame as the commission of such tortious acts,

    through its wholly owned subsidiary, Eko Holdings, LLC, a California limited liability company

    formed in connection with the scam perpetuated upon Plaintiffs, sold products which were used

    or consumed in Florida, including in Miami-Dade County, Florida.

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           29.     Defendant Eko Holdings LLC is a California limited liability company with a

    principal place of business in Santa Rosa, California. Defendant Eko Holdings, Inc. committed

    tortious acts and caused the breach of a contract in Florida causing injury to Plaintiffs who were,

    at all times material hereto, residents of Miami-Dade County, Florida. In addition, upon

    information and belief, at about the same time frame as the commission of such tortious acts, it

    sold products which were used or consumed in Florida, including in Miami-Dade County,

    Florida.

           30.     Plaintiffs are informed and believe that at all times material hereto, Defendant

    Brett Cummings was and is an individual residing in Contra Costa County, California. Defendant

    Brett Cummings committed tortious acts and caused the breach of a contract in Florida causing

    injury to Plaintiffs who were, at all times material hereto, residents of Miami-Dade County,

    Florida. In addition, upon information and belief, at about the same time frame as the

    commission of such tortious acts, he caused the sale of products which were used or consumed in

    Florida, including in Miami-Dade County, Florida.

           31.     Defendant Hugo Saavedra was and is an individual who resides in and conducts

    business in Los Angeles County, California. Defendant Hugo Saavedra committed tortious acts

    and caused the breach of a contract in Florida against Plaintiffs who were, at all times material

    hereto, residents of Miami-Dade County, Florida. In addition, upon information and belief, at

    about the same time frame as the commission of such tortious acts, he caused the sale of products

    which were used or consumed in Florida, including in Miami-Dade County, Florida.

           32.      Defendant Debra Saavedra was and is an individual who resides in and conducts

    business in Los Angeles County, California. Defendant Debra Saavedra committed tortious acts

    and caused the breach of a contract in Florida against Plaintiffs who were, at all times material



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    hereto, residents of Miami-Dade County, Florida. In addition, upon information and belief, at

    about the same time frame as the commission of such tortious acts, she caused the sale of

    products which were used or consumed in Florida, including in Miami-Dade County, Florida.

           33.     Defendant Equitable Transitions Inc. is a California corporation with its primary

    place of business located in Los Angeles County, California. Defendant Equitable Transitions

    Inc. committed tortious acts and caused the breach of a contract in Florida against Plaintiffs who

    were, at all times material hereto, residents of Miami-Dade County, Florida.

           34.     Defendant Tilray, Inc. is a Delaware corporation with its principal place of

    business in Nanaimo, British Columbia, Canada. Tilray is being named in this suit solely as an

    indispensable party since Plaintiffs is seeking an emergency injunction in Count I herein to stop

    a proposed merger between Privateer and Tilray which is scheduled to occur in the next few

    days, as more fully described herein.

           35.     For the avoidance of doubt, there are no allegations of wrongdoing or damages

    sought against Tilray in this action at this time. Any reference to Defendants herein does not

    include Tilray unless Tilray is specifically identified as being included as a Defendant.

           36.    Some or all of the Defendants were acting as the agents, representatives,

    employees, and/or alter egos of each other, and in doing the acts alleged herein were acting

    within the course and scope of such agency, representation, employment, and/or alter ego

    relationship and with their Co-Defendants’ permission and consent.

           37.     All of the Defendants conspired and agreed among and/or between themselves or

    with other Defendants to do the acts complained of, and by the conduct described herein, carried

    into action and completed their schemes, thus injuring and damaging Plaintiffs, Trimax, and

    Saavy Naturals, as set forth herein. In engaging in such conduct with other Defendants, these



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    Defendants have co-extensive liability for the conduct of such other Defendants. Except for

    Defendant Tilray, any reference in any cause of action to a Defendant or Defendants shall

    include the Defendants named in such cause of action and all Doe Defendants.

                                 III.    JURISDICTION AND VENUE

           38.     Jurisdiction is proper in this Court as the amount in controversy exceeds

    $15,000.00.

           39.     Venue is proper in this Court because much of the conduct described herein

    occurred in Miami-Dade County or caused injury in Miami-Dade County, Florida.

                                  IV.     GENERAL ALLEGATIONS

           A.      The Loan to Own Scheme Significantly Damaged the Plaintiffs

           40.     Plaintiff Infinity Consulting is one of the creditors of Trimax who was defrauded

    by the Loan to Own Scheme. Infinity Consulting was an advisor and outside business consultant

    to Trimax pursuant to an Advisory Service Agreement entered into by Infinity Consulting and

    Trimax on or about August 1, 2017 (the “Advisory Agreement”). A copy of the Advisory

    Agreement is attached hereto as Exhibit H.     The sole owner, president and CEO of Infinity

    Consulting is Plaintiff, Joseph M. Vazquez III.

           41.     As a result of the Loan to Own Scheme, Trimax was left with no assets within

    which to pay Infinity Consulting’s invoices for services rendered to Trimax pursuant to the

    Advisory Agreement. As of the date hereof, Plaintiff is owed at least $93,382.00 (exclusive of

    interest, attorneys’ fees and court costs) for past consulting services pursuant to the invoice dated

    May 1, 2019 attached hereto as Exhibit I.

           42.     In addition to the invoices which remain unpaid as a result of the Loan to Own

    Scheme, Mr. Vazquez’s reputation and that of Infinity Consulting have been severely and



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    irreparably damaged as a result of the scheme perpetuated by Privateer and the other Defendants.

    Mr. Vazquez’s experience includes eight years of corporate management at executive levels for a

    retail franchise organization, six years in the financial service industry holding series 6, 7, 63 and

    series 24 principals’ licenses (OSJ), and twenty-five years in the private investment banking

    field. Mr. Vazquez has never been notified or been involved in a single NASD/FINRA/SEC

    complaint, arbitration, censure or investigation. Mr. Vazquez is a consummate professional who

    has enjoyed a reputation for honesty, integrity and for obtaining substantial results for his clients

    throughout his career.

           43.     Mr. Vazquez’s business has been built primarily on a referral basis, and he has

    never had to solicit or advertise for clients. Those referrals mostly come from a network of

    professionals comprised of securities lawyers, auditors, accountants, hedge funds, credit

    facilities, news distribution outlets, and marketing companies. However, those referrals have

    largely dried up.

           44.     Because of the Loan to Own Scheme, virtually every single person that Mr.

    Vazquez introduced to Trimax was burned and is owed money. These monies have amounted to

    hundreds of thousands of dollars. Worse, Trimax shareholders have incorrectly assumed that

    Mr. Vazquez was somehow in on the scam perpetuated by Privateer, the Saavedras’ and the

    other Defendants. In various stockholder messaging boards, stockholders have accused Mr.

    Vazquez on being “in on the scheme.” They have called him a scam artist, googled his home

    address, and have resorted to making physical threats, including death threats. Moreover, they

    have threatened to contact the authorities and the SEC on the entirely false basis that he

    participated in Privateer’s and Left Coast’s orchestrated multi-million dollar scam.




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           45.     Further, as a result of Privateer’s and Left Coast Ventures’ intentional interference

    with the business relationship that Mr. Vazquez and Infinity Consulting had with Trimax, the

    Advisory Agreement was terminated, and the entire business relationship between Trimax and

    Infinity Consulting has ended. But for such intentional interference, the business and contractual

    relationship between Trimax and Infinity Consulting would have undoubtedly continued as it had

    for years before. Now, there is no Advisory Agreement, and Saavy Naturals has no business or

    assets within which to continue any business or contractual relationship with Infinity Consulting

    and Mr. Vazquez.

           46.     Privateer, Left Coast and Brett Cummings and the other Defendants must have

    known that their Loan to Own Scheme would leave many creditors of Trimax (including Infinity

    Consulting) without recourse to collect the debts owed to them, and would also permanently

    harm the current and future business relationships between Trimax and its suppliers and service

    providers. This is exactly what occurred to Infinity Consulting and such damage is continuing.

              B.   The Specifics of the Loan to Own Scheme Are Outrageous

           47.     The particulars of the Loan to Own Scheme are damning and hard to imagine.

           48.     Over the course of five (5) days, between December 19, 2018 and December 24,

    2018, Privateer, Left Coast Ventures, the Saavedras, Brett Cummings and Equitable Transitions

    engaged in a rapid process to liquidate Saavy Naturals without an adequate valuation or

    marketing of any kind, and contrary to Privateer’s very own valuation of Saavy Naturals.

           49.     Upon information and belief, Privateer’s and Left Coast Ventures’ Brett

    Cummings was the “quarterback” of the operation. The timing of the scheme reflects that it

    could not be anything other than a thinly veiled scam.




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           50.     The following orchestrated series of events sets forth the indicia of a conspiracy

    to defraud, conversion, and the other torts described herein:

                           (i)     At approximately the same time period in October of 2018 when

                   Brett Cummings was advising Hugo Saavedra to bankrupt Saavy Naturals, Hugo

                   Saavedra, at the direction of Brett Cummings, engaged Equitable Transitions to

                   obtain a report from Parasec Global Document Filing & Retrieval (“Parasec

                   Report”) of all UCC-1 filings and liens relating to Saavy Naturals. The purpose of

                   obtaining the report was to confirm the extent of the secured debt of Saavy

                   Naturals and to put in place a plan for Privateer to obtain the assets of Saavy

                   Naturals without adequate consideration and without paying off any of the

                   secured and unsecured creditors of Saavy Naturals. The Parasec Report was

                   issued to Equitable Transitions on October 22, 2018. It showed at least three (3)

                   UCC-1 liens that were active at the time of the Parasec Report on all the tangible

                   and intangible assets of Trimax and Saavy Naturals.

                           (ii)    Understanding from the Parasec Report and from discussions with

                   Hugo Saavedra that Saavy Naturals had hundreds of thousands of secured and

                   unsecured debts, Brett Cummings, while acting on behalf of Privateer and Left

                   Coast Ventures, put into motion a plan to avoid paying even “a single penny of

                   debt,” as Brett Cummings had put it, to any of Saavy Naturals creditors or to the

                   shareholders of Trimax.

                           (iii)   The first step in the process was to confirm that Saavy Naturals

                   was the owner of the assets that Privateer and Left Coast wanted to acquire as part

                   of the scheme. Soon thereafter, on December 19, 2018, as part of the plan, Saavy



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               Naturals obtained a legal opinion (the “Legal Opinion”! from the law firm of

                Carmel, Milazzo, & Dichiara LLP (“CMP”). The Legal Opinion indicated that

                its purpose was to opine on “the ownership of the corporate assets.” The Legal

                Opinion was issued to The Hamer Group Insolvency Solutions (the “Insolvency

                Solutions”) and was addressed to the attention of Insolvency Solutions’ principal,

               Nigel Hamer (“Mr. Hamer”). A true and correct copy of the Legal Opinion is

                attached hereto as Exhibit J. Importantly, Mr. Hamer— the principal of the

               Hamer Group and recipient of the Legal Opinion—was employed, at all times

               material hereto, by Equitable Transitions, which soon thereafter became the

                assignee for the benefit of creditors.

                       (iv)      The Legal Opinion states that in rendering its opinion, it only

               considered those documents provided to it by Saavy Naturals. Notably, those

                documents did not include any documents referencing the security interests held

               by creditors in the assets of Saavy Naturals. Therefore, the Legal Opinion does

               not render an opinion on whether the assets of Saavy Naturals were subject to any

                security interests or UCC filings. Such information appears to have been

                intentionally withheld from the attorneys.

                       (v)     The next day, on December 20, 2018, at Mr. Saavedra’s request

                (but at the overall direction of Brett Cummings), Scott Van Horn of Van Horn

                Auctions & Appraisal provided Mr. Saavedra on behalf of Saavy Naturals with

                the Liquidation Opinion of Saavy Naturals.     The Liquidation Opinion is based

                on a physical site inspection of Saavy Natural’s premises. See Exhibit D

                (Liquidation Opinion, p. at 1). The Liquidation Opinion notes that present at the



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                premises at the time of the inspection were Mr. Saavedras and Brett Michel. The

                presence of Brett Michel as representative of Privateer and Left Coast Ventures at

                the inspection site represents another key tie to those entities’ collective

                involvement in the scheme since he was involved in the initial conference calls

                with Saavy Naturals and at least one conference call with Mr. Vazquez in October

                2018.

                        (vi)    The Liquidation Opinion notes that Mr. Van Horn “was asked to

                perform an on-site estimation, specifically, a ‘liquidation’ opinion of value of the

                assets within the establishment.” Id. The Liquidation Opinion specifically states

                that the liquidation values are not “fair market values,” but cash value at auction

                and should not be considered “as a final sales value when selling a business as a

                turn-key operation.” The Liquidation Opinion concludes that the fixtures and

                equipment have a liquidation value of between $12,000 and $13,000, and the raw

                materials, work in progress, and finished goods have a liquidation value between

                $6,500 and $7,000. See Id. (Liquidation Opinion, p. at 2).

                        (vii)   The Liquidation Opinion’s “limiting conditions” provide that “[n]o

                additional values or appraisals have been made requiring such tangibles as

                patents, rights to manufacture, trademarks, goodwill, going concern, product line,

                customer lists, etc.” See Id. (Liquidation Opinion, p. at 4). Thus, in addition to

                not valuing the physical assets at fair market value, the Liquidation Opinion

                purposely states that it does not value the intangible, intellectual property of

                Saavy Naturals, despite that this was clearly the highest component of the total

                value of Saavy Naturals’ assets.



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                       (viii)   The next step in the process was for Brett Cummings to establish a

                subsidiary which would be the acquiror of the assets of Saavy Naturals. The

                establishment of subsidiaries to own the assets of each of their businesses is how

                Left Coast Ventures and Privateer customarily operate their businesses.

                Therefore, on the same day, December 20, 2018, as the Liquidation Opinion was

                issued, Brett Cummings formed Eko as a California limited liability company.

                There is no doubt that Eko was formed in contemplation of acquiring the assets of

                Saavy Naturals in the sham transaction. Indeed, within a few days of its

                formation, Eko loaned monies to Saavy Naturals, and shortly thereafter, did, in

                fact, acquire all the assets of Saavy Naturals. In addition, the name “Eko” may

                have been chosen deliberately so as to use that name in the marketing of Saavy

                Naturals’ brand. Currently, on the Saavy Naturals website, the contact

                information utilizes the name Eko as its email address: info@ekonaturals.us.

                       (ix)     Just two days after the formation of Eko, on December 22, 2018,

                Eko made a secured loan to Saavy Naturals in the original principal amount of

                $78,000 (the “Eko Loan”). The Eko Loan was evidenced by a Secured Promissory

                Note (the “Eko Note”! and Security Agreement (the “Eko Security Agreement”

                together with the Eko Note, the “Eko Loan Documents”). True and correct copies

                of the Eko Loan Documents are attached hereto as Exhibit K. The Eko Loan

                was suspiciously structured to mature just nine (9) days after the execution date—

                oft December 31, 2018—at which time Saavy Naturals was liable for payment of

                the entire principal balance of the Eko Loan. See Exhibit K (Eko Note, f 1 at 1).

                It is inconceivable that Privateer’s Brett Cummings would loan monies to Saavy



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                     Naturals with a maturity date of 9 days unless there was a specific plan for

                     repayment. Indeed, the facts bear out that the debt would be used as partial

                      consideration for the purchase of the assets of Saavy Naturals from Equitable

                     Transitions, as assignee for the benefit of creditors, which was structured to occur

                     just a few short days later.

                               (x)      Indeed, just two (2) days after execution of the Eko Note, on

                     December 24, 2018, Saavy Naturals made a general assignment for the benefit of

                     creditors (the “General Assignment”! to Equitable Transitions as assignee.1 A

                     true and correct copy of the Notice of Assignment for the Benefit of Creditors and

                     the General Assignment of Saavy Naturals, Inc. is attached hereto as Exhibit I,.

                     David Richard Haberbush (“Mr. Haberbush”) is the Chief Executive Officer,

                      Secretary, and Chief Financial Officer of Equitable Transitions. Mr. Hamer— the

                     principal of the Hamer Group and recipient of the Legal Opinion—is employed

                     by Equitable Transitions. It was Mr. Hamer who executed the General

                     Assignment on behalf of Equitable Transitions. See Exhibit L.

                               (xi)     Then, remarkably, on December 24, 2018—the same day as the

                      General Assignment—Mr. Hamer executed a Bill of Sale on behalf of Equitable

                     Transitions as assignee. A true and correct copy of the Bill of Sale is attached

                     hereto as Exhibit M. The Bill of Sale transferred all of the assets of Saavy

                     Naturals to Eko. See Exhibit M. The consideration provided by Eko included




    1 A general assignment for the benefit of creditors is a state law alternative to filing a federal bankruptcy.
    Essentially, it is supposed to involve the assignment of an insolvent company’s assets to a third party assignee who
    is selected by the company and charged with the duty of liquidating the company’s assets to satisfy the creditors’
    claims against the company.

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                     retirement of $41,000 of secured debt related to the Eko Loan and a cash payment

                      in the amount of $70,000.

                               (xii)    The price paid for the assets was bewildering since it is the job of

                     the assignee to use its best efforts to maximize the proceeds from the sale and

                     disposition of the assets. In this case, Equitable Transitions used no such best

                      efforts, and evidently did nothing to market the assets. Equitable Transitions

                     never obtained a valuation of the most significant key assets of Saavy Naturals,

                     which were its intellectual property. It sold all of the assets of Saavy Naturals to

                      Eko relying solely on the Liquidation Opinion which valued only the tangible

                      assets at their “liquidation value”.        In short, Equitable Transitions engaged in a

                     pre-planned scheme to sell the assets to Eko without undertaking the most basic

                      due diligence or any marketing efforts with respect to all of the assets of Saavy

                      Naturals.

                               (xiii)   The price paid for the assets of Saavy Naturals by Eko is telling.

                      The cash portion of the purchase price paid by Eko was $70,000.00. Did any of

                      this money go to creditors which is the purpose of such an assignment? No, upon

                      information and belief, not a single penny. Instead, all or virtually all of it went to

                      Equitable Transitions to pay for its $65,000 priority fee2 for serving as assignee

                      and the remaining $5,000 went for its administrative and legal expenses, as

                      determined in Equitable Transitions’ sole and absolute discretion pursuant to the

                      terms of the General Assignment. Upon information and belief, the $70,000

                      figure was chosen by Brett Cummings and the other Defendants because this


    2 The General Assignment entitles Equitable Transitions to receive priority distributions from the proceeds of the
    Saavy Naturals sale before payment to creditors. See Exhibit L (General Assignment, at 6).

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                would be the minimum amount of cash needed to pay for the transaction expenses

                of the General Assignment, and would, at the same time, leave nothing for the

                creditors of Saavay Naturals or for the shareholders of Trimax, which was

                Privateer’s Brett Cummings stated intention all along.

                       (xiv)   The non-cash portion of the purchase price, which was the

                retirement of $41,000 of the $78,000 of secured debt owed by Saavy Naturals

                pursuant to the Eko Loan, is an absolute and complete farce. Upon information

                and belief, this supposed “additional consideration” was chosen for a good reason:

                the retirement of a portion of the Eko Loan would appear to be akin to “real

                consideration,” but require no additional cash outlay. Since there would be no

                monies remaining for creditors and shareholders after payment of the substantial

                transaction expenses (i.e., the fees of Equitable Transitions and related parties),

                there would need to be some sort of additional consideration provided to at least

                theoretically cover the amount of the liquidation value given to the assets of

                Saavy Naturals by the Liquidation Opinion. The release of $41,000 of debt from

                the Eko Loan debt would presumably cover the alleged liquidation value of

                approximately $20,000 placed by the Liquidation Opinion on the physical assets,

                and perhaps, provide a little something more for the intangible assets for which no

                value was given by the Liquidation Opinion.

                       (xv)    However, the release of this debt and this portion of the

                consideration was, in all events, imaginary and non-existent because the

                transaction provided that all of the assets of Saavy Naturals were being transferred

                pursuant to the General Assignment. Thus, whether or not Eko released any debt,



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                   it knew that its loan would be totally worthless and there was no chance of

                   repayment since Saavy Naturals no longer owned any assets to enable it to pay the

                   amount of debt outstanding on the Eko Loan. Thus, the $41,000 of supposed,

                   additional consideration was a total ruse, and amounted to what was essentially an

                   outright conversion of the assets of Saavy Naturals for no consideration.

                          (xvi)   At the end of the day, all of these steps in the sham transaction

                   accomplished one thing: Privateer and Left Coast Ventures acquired through a

                   newly established, wholly owned subsidiary: Eko, all of the assets of Saavy

                   Naturals without paying a single penny to the creditors or the shareholders of

                   Trimax. Moreover, not only did Eko acquire the assets, it essentially acquired all

                   ongoing operations of Saavy Naturals. In fact, upon information and belief, Eko

                   kept all of the factory employees including Saavy Natural’s controller and V.P. of

                   Sales and offered both Hugo and Debra Saavedra lucrative positions with Eko.

                   Factually, they never missed a single day of operations in fulfilling purchase

                   orders, and even moved to a much larger facility.

           51.     Privateer’s and Left Coast Ventures’ Brett Cummings accomplished all of this

    with willing participants which included the Saavedras and Equitable Transitions, who

    knowingly disregarded and violated their fiduciary duties in order to benefit themselves (at the

    expense of Trimax and Saavy Naturals creditors and shareholders).

           52.     Prior to any assignment for the benefits of creditors by Trimax, its board of

    directors would have had a duty to maximize shareholder value and to protect a company’s

    creditors. Among other things, the board of directors of Trimax and Saavy Naturals should have

    first attempted to engage in possible alternatives to maximize shareholder value, such as a sale of



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    the company which would not only make the creditors whole but would also leave the

    shareholders with a recovery of their investment and possibly returns on their investment. None

    of this occurred here. Rather, in a matter of five (5) days, a Legal Opinion as to the ownership of

    the assets of Saavy Naturals was obtained, a Liquidation Opinion as to the value was obtained,

    an assignment for the benefit of creditors was made pursuant to a General Assignment, and a sale

    of all the assets of Saavy Naturals occurred pursuant to a Bill of Sale to Eko.

           53.     Upon information and belief, Eko continues to operate as Saavy Naturals. Indeed,

    Plaintiffs are informed and believe, and on that basis allege, the Saavedras are employed by Eko

    in its operations of the Saavy Naturals brand and business.

           C.      Defendants’ Conspiracy to Commit Tortious Acts

           54.     Each of the Defendants acted collectively over the course of only several days, to

    obtain the Legal Opinion and the Liquidation Opinion to estimate the liquidation value of Saavy

    Naturals at an artificially low price to facilitate the sham General Assignment and sale to Eko.

           55.     Plaintiffs are informed and believe, and on that basis allege, that Brett Cummings

    on behalf of Privateer and Left Coast Ventures, together with the other Defendants, collectively

    proposed and structured the General Assignment and sham sale to Eko. Indeed, Mr. Hamer

    reviewed the Asset Opinion even before Equitable Transitions became the Assignee for the

    Benefit of Creditors. Plaintiffs are further informed and believe, and on that basis allege, that

    Brett Cummings orchestrated the proposed sham sale through the General Assignment,

    particularly in light of the proximity in time between Eko’s formation, Saavy Natural’s execution

    of the Eko Loan, and Equitable Transition’s execution of the General Assignment and Bill of

    Sale. The collective acts resulted in the torts described in Counts II-VII, infra.




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             56.   Plaintiffs are informed and believe, and on that basis allege, that Defendants were

    each aware that the other Defendants planned to commit the torts described in Counts II-VII,

    infra.

             57.   Plaintiffs are further informed and believe, and on that basis allege, that each of

    the Defendants agreed with the other Defendants to commit the torts described herein and each

    intended to commit the torts described herein.

             58.   As a direct and proximate result of these and other acts, Defendants caused

    Plaintiffs to suffer significant damages in an amount to be determined at trial including loss of

    their stock investment, loss of accounts receivables for services rendered, damage to reputation,

    lost profits, lost business opportunities, and other material harm caused derivatively to Trimax

    and Saavy Naturals. Defendants’ actions were done with oppression, fraud, or malice.

             D.    Plaintiff Vazquez Brings Counts Derivatively on Behalf of Trimax and Saaw
                   Naturals

             59.   Trimax and Saavy Naturals are Nevada corporations. It has been the law in

    Nevada that directors have a fiduciary duty to act in the best interests of all shareholders.

    Officers of a corporation owe a similar duty to the corporation. At all times material hereto,

    Hugo Saavedra served as the sole director of Trimax and Saavy Naturals, as well as their

    President. At all times material hereto, Debra Saavedra served as Secretary of both companies,

    and identified herself as President of Saavy Naturals. Based upon the acts and omissions of the

    Saavedras in direct violation of their fiduciary duties to act in the best interests of Trimax and

    Saavy Naturals, a pre-suit demand to bring the derivative claims asserted in Counts II through V,

    and Count VIII of this action is excused as a futile and useless act. The Saavedras personally

    engaged in the unscrupulous and unlawful acts of stripping all the assets out of Trimax and

    Saavy Naturals for virtually no consideration, which amounted to an unlawful conversion of the

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    assets of the companies which was in direct conflict with the advice given to them by their

    business consultant Plaintiff, Vazquez. Upon information and belief, the Saavedras personally

    profited from the Loan to Own Scheme by obtaining for themselves new executive positions and

    enriched compensation packages with Eko, one of the principal perpetrators of the scheme and

    acquiror of all the assets of Saavy Naturals. In no event could the Saavedras be trusted to conduct

    an independent, objective and thorough investigation of the alleged wrongdoing, as they are

    completely conflicted and complicit as direct co-conspirators in the Loan to Own Scheme. The

    wrongful conduct of the Saavedras is not subject to protection under the business judgment rule.

           60.     At all times material hereto, Plaintiff Joseph Vazquez was a shareholder, and

    continuously has been, and is a shareholder of Trimax, which owns 100% of Saavy Naturals.

    Plaintiff Vazquez and his undersigned counsel will adequately and fairly represent the interests of

    Trimax and Saavy Naturals in enforcing and protecting their rights.

                                COUNT I- FIRST CAUSE OF ACTION

                    For Emergency Injunctive Relief Against Privateer and Tilray

           61.     Plaintiffs, Infinity Consulting and Mr. Vazquez, individually, and derivatively, on

    behalf of Trimax and Saavy Naturals, hereby re-allege and incorporate by reference the above

    Paragraphs 1 -60, inclusive, as though fully set forth herein.

           62.     This action is bought by Plaintiffs, Infinity Consulting and Mr. Vazquez,

    individually, and Joseph Vazquez, derivatively, on behalf of Trimax and Saavy Naturals.

    Defendants Privateer and Tilray are scheduled to vote on a proposed merger on or about

    December 6, 2019, whereby Privateer will merge with and into a merger subsidiary, with the

    merger subsidiary surviving as a wholly owned subsidiary of Tilray. A copy of said merger

    agreement is attached hereto as Exhibit N (the “Merger Agreement”').



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           63.     Privateer currently owns approximately 75% of the stock of Tilray valued at

    approximately $1.5 billion. The stated reason for the merger is to effect the orderly release into

    the stock market of the 75 million shares of Tilray common stock currently owned by Privateer.

           64.     Under the terms of the Merger Agreement, Tilray will issue to the Privateer equity

    holders newly issued and registered shares of Tilray common stock and options to purchase

    shares of Tilray common stock in an aggregate amount equal to the number of Tilray common

    shares currently held by Privateer. As set forth in the Merger Agreement, at its sole election (to

    be made prior to closing), Tilray may pay a portion of the merger consideration in cash in lieu of

    issuing an equivalent number of shares of Tilray. All Tilray shares held by Privateer and all

    outstanding Privateer stock will be cancelled upon consummation of the merger.

           65.      Following the merger, Privateer will no longer be in existence as it will have

    merged into Tilray’s wholly owned subsidiary, which will have no assets to speak of. As a result,

    Privateer will go from an entity which had over $1.5 billion in assets to an entity which is a

    subsidiary of Tilray but which will have no assets thereafter.

           66.      As described herein, Privateer orchestrated the Loan to Own Scheme through its

    authorized agent, Brett Cummings, and is therefore responsible for millions of dollars of losses

    suffered by Plaintiffs, and by Trimax and Saavy Naturals’ creditors and shareholders.

            67.     In addition, as a result of the egregious, unlawful, unethical nature of the scam

    perpetuated by Privateer in concert with the other Defendants named herein, Plaintiffs intend to

    move this Court to amend this Verified Complaint to seek more than $150 million in punitive

    damages against Privateer.

            68.     Pursuant to Florida law, an award of punitive damages is often based on a party’s

    ability to pay or its net worth.



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           69.     An award of 10% of the total net worth of Privateer would be approximately $ 150

    million. Such an award if made would not be considered excessive under Florida law.

           70.      In this case, the acts of Privateer were malicious, oppressive, unlawful, deceitful,

    and fraudulent, and would therefore support the highest punitive damage award permissible

    under Florida law.

           71.     If the merger is allowed to proceed, Plaintiffs will have no ability to recover the

    potential punitive damage award which could ensue against Privateer since the merger subsidiary

    in which Privateer merged into will have no assets within which to pay any damages awarded.

           72.     Although the Merger Agreement between Privateer and Tilray provides that

    approximately $125 million of the Tilray shares being issued in the merger to the Privateer

    equity holders will be held in escrow in the event of any claims against Tilray or its subsidiaries

    by third parties arising from pre-closing liabilities and other indemnification obligations, the

    indemnification obligation runs between Tilray and Privateer, and it is not clear whether

    Plaintiffs would have standing to demand payment from the escrow account created for

    Privateer’s indemnification obligations under the Merger Agreement. In addition, the sum of

    $125 million which has been escrowed for this purpose is subject to other claims by Tilray, itself,

    and other creditors should there be additional indemnification claims made against the escrowed

    amount.

           73.     Moreover, it is clear that the sum of $125 million—even if all of it is available to

    cover Plaintiffs’ claims—might be insufficient to cover the total award of compensatory and

    punitive damages which might be awarded in this case based on the egregious and unscrupulous

    nature of the actions committed by Privateer. Finally, the Tilray shares which have been placed

    in escrow are subject to significant market fluctuations which can vary wildly, based on past



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    Tilray’s historical share price. For example, in October 2018, Tilray stock was trading at almost

    $300 per share; it is now trading at $20 per share.

           74.     Thus, Plaintiffs do not have an adequate remedy at law if the merger is allowed to

    occur and there is a serious risk of irreparable harm absent injunctive relief.

           75.     Based on the verified allegations and evidence proffered in this Verified

    Complaint, Plaintiffs have demonstrated and will demonstrate that they have a substantial

    likelihood that they will prevail on the merits of the case.

           76.     Although a merger between Privateer and Tilray would allow the 75 million

    shares of Tilray common stock to be sold into the stock market in a more orderly fashion than

    might otherwise be the case, the harm to Privateer and Tilray if the merger does not occur or is

    otherwise delayed is not readily apparent. As part of the merger, the shares to be issued to the

    Privateer equity holders will be subject to a lock-up agreement which will preclude the sale or

    transfer of the stock received except in accordance with the lock-up agreement to be signed by

    the Privateer equity holders.

           77.     However, restrictions on sale or transfer pursuant to the lock-up agreement will

    lapse as to 50% of the shares on the first anniversary following the merger, and the restrictions

    on the remaining 50% will lapse 12.5% on each quarter thereafter, such that all restrictions will

    lapse by the second anniversary of the merger. Thus, while the merger does limit the amount of

    shares that can be sold at one time, it does little to prevent significant drops in share price after

    the first few months of the effective date of the merger.

            78.     Moreover, currently, there is no lock-up agreement and there has been none since

    January of 2019. Privateer has effectively managed its ownership of 75% ownership interest in

    Tilray without the need of a merger. In fact, Privateer has every reason to prevent a dumping of



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    its Tilray shares into the market over the short term, and an argument could be made that the

    merger is only likely to exacerbate the dumping of shares into the market after the expiration of

    the first year of the lock up.

            79.     On the other hand, if the Court does not prevent the merger from going forward,

    all of the assets of Privateer will be disposed of in the merger in exchange for shares of Tilray

    stock which will no longer be in the possession of Privateer but instead in possession of its

    equity holders, and as a result, Plaintiffs will have no assets against which to pursue payment of

    its verified claims, except potentially only to the extent of the amount held in escrow pursuant to

    the terms of the Merger Agreement. As noted, this amount may be insufficient to satisfy all of

    the damages which may be awarded in this lawsuit.

             80.    Accordingly, Plaintiffs seek a temporary and permanent injunction to prevent the

    closing of the merger which is scheduled to occur on December 6. 2019 or shortly thereafter,

    pending the satisfaction of certain conditions to closing.

            WHEREFORE, Plaintiffs pray for the relief set forth below.


                                     COUNT II-SECOND CAUSE OF ACTION

                                          For Breach of Fiduciary Duty
                                             Against The Saavedras

            81.     Plaintiffs, Infinity Consulting and Mr. Vazquez, individually, and derivatively, on

    behalf of Trimax and Saavy Naturals, hereby re-allege and incorporate by reference the above

    Paragraphs 1-60, inclusive, as though fully set forth herein.

            82.     This action is bought by Plaintiffs, Infinity Consulting and Mr. Vazquez,

    individually, and Joseph Vazquez, derivatively on behalf of Trimax and Saavy Naturals against

    the Saavedras for breaches of their fiduciary duties as more fully described herein.



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           83.     At all times material hereto, there existed a fiduciary relationship between Trimax

    and Saavy Naturals, on the one hand, and the Saavedras, on the other. Specifically, Hugo

    Saavedra and Debra Saavedra owed fiduciary duties of loyalty and care to Saavy Naturals and

    Trimax as a result of their serving as directors and/or officers of Trimax and Saavy Naturals.

           84.     The duty of care required the Saavedras to act in a prudent manner and in the best

    interests of Trimax and Saavy Naturals, with all of the information available to them. The duty of

    loyalty required the Saavedras to put the interests of Trimax and Saavy Naturals above their own

    pecuniary interests

           85.     The Saavedras breached their fiduciary duties owed to Trimax and Saavy Naturals

    by knowingly engaging in the Loan to Own Scheme and effecting the transfer of assets of Saavy

    Naturals for practically no consideration. The Saavedras’ purported transfer of assets violated

    Nevada corporate law in that the board of directors of Trimax and Saavy Naturals failed to obtain

    the consent of its shareholders to transfer all of Saavy Naturals’ assets. Upon information and

    belief, this failure was intentional and plainly violated Nevada’s corporate law.

           86.     The Saavedras participated in the Loan to Own Scheme at a time where the

    market capitalization of Trimax reflected it was worth millions of dollars and that its prospects

    were bright in that Saavy Naturals had claimed strong sales, substantial national distribution

    agreements, and an intention to continue as a going concern in the months (and days) leading up

    to the sale. Yet, the Saavedras made no attempt (i) to obtain a valuation of Saavy Naturals as a

    going concern, (ii) to market the company, (iii) to engage an investment banker, or (iv) to obtain

    a fairness opinion.




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           87.     The Saavedras authorized and directed Saavy Naturals to enter into the Loan to

    Own Scheme where all, or virtually all, of the consideration paid was used for the fees and

    transaction expenses of Equitable Transitions.

           88.     The Saavedras additionally breached their fiduciary duties by accepting as partial

    payment for the Saavy Naturals assets the cancellation of $41,000 of the $78,000 of secured debt

    owed by Saavy Naturals to Eko pursuant to the Eko Loan. The acceptance of such cancelation of

    debt as partial consideration made an already scandalous transaction a total farce. The release of

    this debt and this portion of the consideration was, in all events, imaginary and non-existent

    because the transaction provided that all of the assets of Saavy Naturals were being transferred

    pursuant to the General Assignment. Thus, whether or not Eko released any debt, the Saavedras

    knew that the Eko Loan would be totally worthless and there was no chance of repayment since

    Saavy Naturals no longer owned any assets to enable it to pay the amount of debt outstanding on

    the Eko Loan. Thus, the $41,000 of supposed, additional consideration was an unmitigated ruse,

    and amounted to what was essentially an outright conversion of the assets of Saavy Naturals for

    no consideration.

           89.     In a further breach of their fiduciary duties, after the sham transaction took place,

    the Saavedras failed to publicly disclose the sale of the assets of Trimax which would be

    considered to be a “material event.” By not disclosing this material event, they not only harmed

    existing shareholders, but also allowed new unsuspecting investors to purchase shares, based on

    their recent prior press releases, in a completely worthless company.

           90.     Upon information and belief, the Saavedras were at all times following the

    closing of the Loan to Own Scheme continuously employed by Eko with substantial positions

    and compensation packages and are currently still employed by Eko. The Saavedras acted in a



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    manner which was morally and ethically corrupt in engaging in the Loan to Own Scheme and

    breached every corporate and fiduciary norm by completely disregarding the interests of the

    creditors and shareholders of Trimax and Saavy Naturals in order to substantially benefit

    themselves in the form of new executive positions and enriched compensation packages with

    Eko.

            91.     As a direct and proximate result of these and other acts, Trimax and Saavy

    Naturals suffered the loss of all their assets to the detriment of all of their creditors for no value,

    and the shareholders lost approximately $4 million of market capitalization, essentially

    overnight, rendering all of their shares completely and utterly worthless.

            92.     Privateer, Left Coast Ventures, Brett Cummings, and Equitable Transitions

    knowingly directed, orchestrated, engineered, and conspired with, and aided and abetted the

    Saavedras’ breach of their fiduciary duties to Trimax and Saavy Naturals.

            93.     The Saavedras and the other Defendants actions were done with oppression,

    fraud, or malice.

           WHEREFORE, Plaintiffs pray for the relief set forth below.

                                COUNT TTT-THIRD CAUSE OF ACTION

                                For Recovery of a Fraudulent Conveyance
                                        Against All Defendants
                                             (Actual Fraud)

            94.     Plaintiffs, Infinity Consulting and Mr. Vazquez, individually, and derivatively, on

    behalf of Trimax and Saavy Naturals, hereby re-allege and incorporate by reference the above

    Paragraphs 1-60, inclusive, as though fully set forth herein.




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            95.    This action is bought by Plaintiffs, Infinity Consulting and Mr. Vazquez,

    individually, and Joseph Vazquez, derivatively, on behalf of Trimax and Saavy Naturals against

    all the Defendants for their unlawful commission of a fraud, as more fully described herein.

           96.     Saavy Naturals transferred substantially all of its assets to Eko though the General

    Assignment pursuant to the Loan to Own Scheme with the intent to defraud its creditors and the

    shareholders of Trimax. The transfer left Saavy Naturals completely insolvent. Further, Eko did

    not pay fair value for the transfer of the assets. Rather, the entire transaction was a fraudulent

    scam perpetuated by the Defendants in concert with each other.

            97.    Plaintiffs are informed and believe that the going concern value of Saavy Naturals

    is millions of dollars more than the consideration paid by Eko, which was illusory. Trimax and

    Saavy Naturals were harmed as a result of the transfer of assets to Eko because the General

    Assignment and sham sale to Eko rendered the monies due to creditors, including Plaintiff,

    Infinity Consulting, completely uncollectible, and also rendered the stock of the shareholders of

    Trimax entirely worthless. The sham transfer additionally caused other substantial harm as

    described hereinabove.

            98.    Plaintiffs are entitled to an order voiding and recovering all transfers of the assets

    of Saavy Naturals made to Equitable Transitions and Eko pursuant to the Loan to Own Scheme

    including, but not limited to, the General Assignment, and the assets sold by Equitable

    Transitions to Eko pursuant to the Bill of Sale.

            99.    The actions of Privateer, Left Coast Ventures, the Saavedras, Equitable

    Transitions, and Eko in facilitating the transfer of Saavy Naturals’ assets were done with

    oppression, fraud, or malice.

            WHEREFORE, Plaintiffs pray for the relief set forth below.



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                               COUNT IV-FQURTH CAUSE OF ACTION

                                            For Conversion
                                         Against All Defendants

            100.    Plaintiffs, Infinity Consulting and Mr. Vazquez, individually, and derivatively, on

    behalf of Trimax and Saavy Naturals, hereby re-allege and incorporate by reference the above

    Paragraphs 1-60, inclusive, as though fully set forth herein.

            101.    This action is bought by Plaintiffs, Infinity Consulting and Mr. Vazquez,

    individually, and Joseph Vazquez, derivatively, on behalf of Trimax and Saavy Naturals against

    all the Defendants for their unlawful conversion of the assets of Saavy Naturals as more fully

    described herein.

            102.    Prior to the Loan to Own Scheme, Saavy Naturals owned all of its assets and the

    right to possess its assets.

            103.    Defendants intentionally and substantially interfered with Saavy Natural’s

    property by engaging in the Loan to Own Scheme which resulted in the unlawful transfer of all

    of its property to Eko.

            104.    The transfer of the assets was accomplished without proper authorization and

    consent, as the board of directors of Trimax and Saavy Naturals did not obtain the consent of

    their shareholders to the transfer of all the assets of Saavy Naturals, which was required under

    Nevada corporate law.

            105.    The Defendants knew that the Saavedras transfer of assets was illegitimate and

    unlawful and knew that the entire Loan to Own Scheme was a fraud upon the creditors and

    shareholders of Trimax.

            106.    Trimax and Saavy Naturals were harmed by the Loan to Own Scheme as the

    creditors and shareholders of Saavy Naturals received nothing in return for the transfer. All, or

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    virtually all, of the consideration paid was used for the fees and transaction expenses of

    Equitable Transitions. The release of $41,000 of the $78,000 of secured debt owed by Saavy

    Naturals to Eko pursuant to the Eko Loan as partial payment for the Saavy Naturals assets was,

    in all events, imaginary and non-existent because the transaction provided that all of the assets of

    Saavy Naturals were being transferred pursuant to the General Assignment. Thus, whether or not

    Eko released any debt, the parties orchestrating the scheme knew that the Eko Loan would be

    totally worthless and there was no chance of repayment since Saavy Naturals no longer owned

    any assets to enable it pay the amount of debt outstanding on the Eko Loan. Thus, this purported

    consideration was completely illusory.

            107.    The Defendants’ conduct was a substantial factor in causing Plaintiffs’ harm. As a

    direct and proximate result of these and other acts, Trimax and Saavy Naturals suffered the loss

    of all their assets to the detriment of all of their creditors for no value, and the shareholders lost

    approximately $4 million of market capitalization, essentially overnight, rendering all of their

    shares utterly worthless.

            108.    Privateer, Left Coast Ventures, Brett Cummings, the Saavedras and Equitable

    Transitions knowingly directed, orchestrated, engineered, and conspired with, and aided and

    abetted the conversion of all the assets of Trimax and Saavy Naturals.

            109.    The Defendants actions were done with oppression, fraud, or malice.

            WHEREFORE, Plaintiffs pray for the relief set forth below.




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                               COUNT V-FIFTH CAUSE OF ACTION

                                    For Breach of Fiduciary Duty
                                  Against Equitable Transitions, Inc.

           110.    Plaintiffs, Infinity Consulting and Mr. Vazquez, individually, and derivatively, on

    behalf of Trimax and Saavy Naturals, hereby re-allege and incorporate by reference the above

    Paragraphs 1-60, inclusive, as though fully set forth herein.

            111.   This action is bought by Plaintiffs, Infinity Consulting and Mr. Vazquez,

    individually, and Joseph Vazquez, derivatively, on behalf of Trimax and Saavy Naturals against

    Equitable Transitions.

           112.    At all times relevant hereto, there existed a fiduciary relationship between Saavy

    Naturals on the one hand and Equitable Transitions on the other. Specifically, Equitable

    Transitions owed fiduciary duties of loyalty and care to Saavy Naturals pursuant to the General

    Assignment and applicable law. Those duties included the obligation to “use its best efforts to

    maximize the proceeds from the sale and disposition” of Saavy Naturals’ assets and “exercise

    reasonable care and diligence in discharging its duties” under the General Assignment for the

    benefit of creditors. See Exhibit L (General Assignment, § 1.4.2 at 2).

            113.   Equitable Transitions further breached its fiduciary duties owed to Saavy Naturals

    by wholly abandoning its duties to investigate the value of Saavy Naturals’ assets or to market

    Saavy Naturals’ assets to maximize recovery for the benefit of creditors. Plaintiffs are informed

    and believe, and on that basis allege, that Equitable Transitions undertook no marketing efforts.

            114.   The Liquidation Opinion obtained admittedly addresses the liquidation value of

    Saavy Naturals’ assets and does not consider Saavy Naturals’ “goodwill, going concern, product

    line, customer lists, etc.” See id. (Liquidation Opinion, at 4). These considerations are

    fundamental to determine whether Eko paid fair value for all of the assets of Saavy Naturals,

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    particularly where the market capitalization at the time of the transaction reflected it was worth

    millions of dollars and that its prospects were bright in that Saavy Naturals had claimed strong

    sales, substantial national distribution agreements, and an intention to continue as a going

    concern in the months (and days) leading up to the sale. Indeed, Trimax and Saavy Naturals had

    surpassed 200 locations for their custom pallet displays selling their hand crafted soaps to

    Walmart just 10 days prior to the sham transaction.

           115.    Equitable Transitions further breached its fiduciary duties owed to Saavy Naturals

    by charging an exorbitant fee that is not consistent with the work performed. Equitable

    Transitions charged $65,000 for its services, plus expenses, to administer the General

    Assignment. Equitable Transitions’ fee is nearly equal to the $70,000 cash proceeds from the

    sale. However, the sale to Eko occurred on the same day as the General Assignment, and there

    were few tasks that Equitable Transitions actually performed.

           116.    Equitable Transitions additionally breached its fiduciary duties by accepting as

    partial payment for the Saavy Naturals assets the cancellation of $41,000 of the $78,000 of

    secured debt owed by Saavy Naturals to Eko pursuant to the Eko Loan. The acceptance of such

    cancelation of debt as partial consideration made an already scandalous transaction a total farce.

    The release of this debt and this portion of the consideration was, in all events, imaginary and

    non-existent because the transaction provided that all of the assets of Saavy Naturals were being

    transferred pursuant to the General Assignment. Thus, whether or not Eko released any debt,

    Equitable Transitions knew that the Eko Loan would be totally worthless and there was no

    chance of repayment since Saavy Naturals no longer owned any assets to enable it pay the

    amount of debt outstanding on the Eko Loan. Thus, the $41,000 of supposed, additional




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    consideration was an unmitigated ruse, and amounted to what was essentially an outright

    conversion of the assets of Saavy Naturals for no consideration.

            117.    As a direct and proximate result of these and other acts, Equitable Transitions

    breached its fiduciary duties to Saavy Naturals and caused Trimax and Saavy Naturals to suffer

    the loss of all their assets to the detriment of all of their creditors and shareholders, and

    essentially causing approximately $4 million in loss of market capitalization, essentially

    overnight.

            118.    Privateer, Left Coast Ventures, the Saavedras, and Brett Cummings knowingly

    directed, and aided and abetted Equitable Transitions’ breach of is fiduciary duties to Trimax and

    Saavy Naturals.

            119.    Equitable Transitions’ and the other Defendants actions were done with

    oppression, fraud, or malice.

            WHEREFORE, Plaintiffs pray for the relief set forth below.

                                    COUNT VI-SIXTH CAUSE OF ACTION

                        For Intentional Interference with Contractual Relations
                                        Against All Defendants


            120.    Plaintiffs, Infinity Consulting and Mr. Vazquez, hereby re-allege and incorporate

    by reference the above Paragraphs 1-60, inclusive, as though fully set forth herein.

            121.    Privateer, Left Coast, the Saavedras, and the other Defendants knew or should

    have known that their Loan to Own Scheme would leave many creditors of Saavy Naturals,

    including Plaintiff Infinity Consulting, without recourse to collect monies owed to them by

    Saavy Naturals, and would also permanently harm the current and future business relationships




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    between Saavy Naturals and its suppliers and service providers, including Plaintiffs, Infinity

    Consulting and Joseph Vazquez.

            122.   Plaintiffs, Infinity Consulting and Joseph Vazquez, are further informed and

    believe that each of the Defendants specifically knew of existing agreements and business

    arrangements between Saavy Naturals and its creditors, suppliers and service providers,

    including the Advisory Agreement either through due diligence for the Eko Loan, access to the

    Liquidation Opinion, or otherwise.

            123.   Plaintiffs are informed and believe, and on that basis allege, that each of the

    Defendants intended that Saavy Naturals breach the Advisory Agreement through the General

    Assignment and sham sale to Eko. Plaintiffs are further informed and believe, and on that basis

    allege, that each of the Defendants intended to utilize the General Assignment as an artifice to

    strip Saavy Naturals of its assets.

            124.   Plaintiffs are also informed and believe that each of the Defendants knew or

    should have known that their conduct in formulating and effecting the Loan to Own Scheme

    would potentially ruin the reputation and credibility of Plaintiffs Infinity Consulting and Joseph

    Vazquez, as business consultants, and cause them significant monetary damage, expose them to

    unlimited liability, and ultimately cause permanent, irreparable damage to their business and

    professional relationships.

            125.    Defendants’ conduct in planning, organizing, authorizing, and effectuating the

    General Assignment and sale to Eko caused Saavy Naturals to breach its obligations to Plaintiff

    Infinity Consulting under the terms of the Advisory Agreement and to permanently damage the

    reputation and credibility of Plaintiffs Infinity Consulting and Joseph Vazquez.




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            126.   As a direct and proximate result of these and other acts, each of the Defendants

    caused Plaintiffs millions of dollars of damages in an amount to be determined at trial including

    lost profits, lost business opportunities, and other harm.

            127.   Each of the Defendants’ conduct was a substantial factor in causing harm to

    Plaintiffs.

            WHEREFORE, Plaintiffs pray for the relief set forth below.

                                COUNT VII-SEVENTH CAUSE OF ACTION

                   For Negligent Interference with Prospective Economic Relations
                                       Against All Defendants

            128.   Plaintiffs, Infinity Consulting and Mr. Vazquez, hereby re-allege and incorporate

    by reference the above Paragraphs 1-60, inclusive, as though fully set forth herein.

            129.   At all times material hereto, Plaintiffs and Saavy Naturals were in an economic

    relationship pursuant to the terms of the Advisory Agreement.

            130.   Plaintiffs Infinity Consulting and Joseph Vazquez are further informed and

    believe that each of the Defendants specifically knew of existing agreements and business

    arrangements between Saavy Naturals and its creditors, suppliers and service providers,

    including the Advisory Agreement either through due diligence for the Eko Loan, access to the

    Liquidation Opinion, or otherwise.

            131.   Defendants knew or should have known that the economic relationship between

    Plaintiffs and Saavy Naturals would be disrupted if Defendants failed to act with reasonable care.

    Plaintiffs are informed and believe, and on that basis allege, that Defendants knew that the

    General Assignment and sham sale to Eko was certain to disrupt Saavy Naturals’ performance of

    its obligations under the Advisory Agreement.




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            132.   Moreover, Plaintiffs are also informed and believe that each of the Defendants

    knew or should have known that their conduct in formulating and effecting the Loan to Own

    Scheme would potentially ruin the reputation and credibility of Plaintiffs Infinity Consulting and

    Joseph Vazquez, as business consultants, and cause them significant monetary damage, expose

    them to unlimited liability, and ultimately cause permanent, irreparable damage to their business

    and professional relationships.

            133.   Defendants did not act with reasonable care by planning, organizing, authorizing,

    and effectuating the General Assignment and sham sale to Eko.

            134.   As set forth more fully herein, each of the Defendants engaged in wrongful

    conduct to interfere with the economic relationship between Plaintiffs and Saavy Naturals.

    Among other things, Defendants entered into a scheme to fraudulently convey all of the assets of

    Saavy Naturals to Eko pursuant to the Loan to Own Scheme.

            135.   The General Assignment disrupted the economic relationship between Plaintiffs

    and Saavy Naturals as set forth in the Advisory Agreement. The General Assignment rendered

    worthless the fees due and owing to Plaintiff, Vazquez, as well as all other payment entitlements

    under the Advisory Agreement.

            136.   As a direct and proximate result of these and other acts, each of the Defendants

    negligently interfered with Plaintiffs’ rights under the Advisory Agreement and caused Plaintiffs

    to suffer millions of dollars of losses and damages described herein in an amount to be

    determined at trial including lost profits, lost business opportunities, and other harm.

            137.   Each of the Defendants’ conduct was a substantial factor in causing harm to

    Plaintiffs.

            WHEREFORE, Plaintiffs pray for the relief set forth below.



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                             COUNT VIII-EIGHTH CAUSE OF ACTION

                                         For Aiding and Abetting
                                         Against All Defendants

           Plaintiffs, Infinity Consulting and Mr. Vazquez, individually, and derivatively on behalf

    of Trimax and Saavy Naturals, hereby re-allege and incorporate by reference the above

    Paragraphs 1-60, inclusive, as though fully set forth herein.

           138.    Defendants Privateer, Left Coast, Brett Cummings, the Saavedras, Eko, and

    Equitable Transitions acted collectively over the course of only several months and days, to

    obtain the Legal Opinion and the Liquidation Opinion in order to provide an artificially low

    estimate of the liquidation value of Saavy Naturals to justify and facilitate the General

    Assignment and sham sale. Indeed, Mr. Hamer reviewed the Asset Opinion even before

    Equitable Transitions became the assignee. Plaintiffs are informed and believe, and on that

    basis allege, that Eko, through Privateer’s and Left Coast Ventures’ Brett Cummings,

    orchestrated the sham sale through the General Assignment, particularly in light of the proximity

    in time between Eko’s formation, Saavy Natural’s execution of the Eko Loan, and Equitable

    Transition’s execution of the General Assignment and Bill of Sale. The collective acts resulted in

    the torts described in Counts II, III, IV, V, VI and VII, supra.

            139.   Plaintiffs are informed and believe, and on that basis allege, that Defendants

    Privateer, Left Coast, Brett Cummings, the Saavedras, Eko, and Equitable Transitions each knew

    that the other Defendants planned to commit the torts described herein against Plaintiffs and

    Trimax and Saavy Naturals.

            140.   Plaintiffs are informed and believe, and on that basis allege, that Defendants

    Privateer, Left Coast, Brett Cummings, the Saavedras, Eko, and Equitable Transitions each



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    substantially assisted or encouraged the other Defendants to commit the torts described herein

    against Plaintiffs and Trimax and Saavy Naturals.

             141.   Plaintiffs are informed and believe, and on that basis allege, that the conduct of

    Defendants Privateer, Left Coast, Brett Cummings, the Saavedras, Eko, and Equitable

    Transitions in substantially assisting or encouraging the other Defendants to commit the torts

    described herein was a substantial factor in the harm caused to the Plaintiffs as a result of the

    torts.

             142.   Accordingly, each Defendant is liable for aiding and abetting the commission of

    the torts described in Counts II, III, IV, V, VI and VII, supra.

             143.   As a direct and proximate result of these and other acts, Defendants Privateer,

    Left Coast, Brett Cummings, the Saavedras, Eko, and Equitable Transitions caused Plaintiffs and

    Trimax and Saavy Naturals to suffer the losses and damages described herein in an amount to be

    determined at trial including lost profits, lost business opportunities, and other harm. Defendants’

    actions were done with oppression, fraud, or malice.

             WHEREFORE, Plaintiffs pray for the relief set forth below.


                                         PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs respectfully pray for a judgment on each count against each of

    the Defendants as follows:

                    1.     For a temporary and permanent injunction preventing the merger between

                           Tilray and Privateer scheduled to occur on or shortly after December 6.

                           2019.

                    2.     For an order voiding the transfer of the assets of Saavy Naturals to Eko

                           pursuant to the Bill of Sale;

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                3.   For actual, compensatory, consequential, and restitutionary damages

                     according to proof;

                4.   For pre-judgment and post-judgment interest according to proof;

                5.   For attorneys’ fees and costs in accordance with applicable statutory and

                     decisional law; and

                6.   For such other and further relief as the Court deems just and proper in

                     favor of the Plaintiffs.


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                                     By:        s/ Peter A. Gonzalez______________
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                                        JURY TRIAL DEMAND

             Plaintiffs hereby demand a trial by jury of all issues which are subject to adjudication by
    a trier of fact.



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                                   VERIFICATION STATEMENT


           Under penalties of peijury, I declare that I have read the foregoing Plaintiffs’ Verified
    Complaint, and the facts stated in it are true and correct to the best of my knowledge and belief.



                                                          A
                                           OSEPH ML V^QUEalH




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                      EXHIBIT A
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           Trimax Corporation and Saavy Naturals Inc. Begins
           Roll Out of Their Custom Full Pallet Displays for
           Their Handmade Soaps to Walmart Corp.


             f * in G* ©                    @ Email              Print Friendly         Share

           September 12, 2018 10:30 ET | Source: Trimax Corporation

           Saavy Naturals Expects To Roll Out Over One Million Hand Crafted Soaps Into
           Walmart ® Retail Locations By December 2018

           Chatsworth, CA, Sept. 12, 2018 (GLOBE NEWSWIRE) - via NEWMEDIAWIRE -
           Trimax Corporation, Inc. (OTC PINK: TMXN) (the “Company”) and its wholly owned
           subsidiary Saavy Naturals Inc., is pleased to announce they have received
           confirmation and have begun to roll-out their custom-made free standing pallet
           displays for their hand-crafted scented soaps to Walmart ® Corporation. This will
           constitute the second product in the Savvy Naturals Everyday product line to be
           placed in Walmart ® retail locations.

           The roll-out of Saavy's hand-crafted soaps started on September 10,2018 and will
           initially be placed in 50 Walmart ® retail locations in Texas, with a continual roll-out
           to 1,000 locations nationwide by December 2018. These beautiful free-standing
           custom-made pallet displays are 48”W x 48"L x 56”H and will hold 1,152 individual
           soaps in 12 captivating scents.

           This roll-out comes on the heels of a front page article in the Los Angeles Business
           Journal captioned Titans Tapped” which highlighted Hugo Saavedra and Saavy
           Naturals as being selected out of thousands of applications to take part of
           Walmart’s ® “Made in the USA” project. This recent selection, along with brisk
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           sales of Saavy Everyday Bath Bombs already in Walmart, should open the door for
           more Saavy Natural Everyday products on Walmart ® shelves over the next
           several months.

           http://labusinessiournai.com/i3hotos/2018/j un/22/35001/

           Hugo Saavedra, CEO of Trimax Corporation and Saavy Naturals Inc., stated, “Our
           roll-out of our custom-made free standing pallet displays should be considered a
           testament to our commitment to get our entire Saavy Naturals Everyday product
           line on Walmart ® shelves. We have worked tirelessly over the last several months
           to see this project to fruition. We look forward to keeping our shareholders abreast
           of all newsworthy events coming up as we enter into a busy holiday season.”

           Hugo and Debra Saavedra, Saavy Naturals Inc.’s, CEO and President, gained
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           Saavy Naturals Inc. on Shark Tank:

           htt s://vimeo.com/231634993

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           bath salts and candles. Saavy Naturals products are 100% natural, vegan, gluten-
           free, soy free, cruelty-free, non-GMO, and food-grade. Currently, Saavy Naturals
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           Naturals products can be purchased through numerous online retailers, including
           httr://www.Amazon.com, and htt ://www.Saavv naturals.com.

           For more information please visit our website:

           http://www.saav v naturals.com
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           Saavy Naturals Inc. on Shark Tank:

           https://vimeo.com/231634993

           Saavy Naturals Inc. on HSN:

           htt s://www. outube.com/watch?v=’m9-NHZA6Vs

           Social Media Links:

           htti ://www.facebook.com/saav naturals

           htt ://www.insta ram.com/Saav naturals

           htt ://www.twitter.com/saav naturals

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           Public Relations and Shareholder Information:

           Joseph M. Vazquez III

           Phone: (800) 985-5711

           Email: infinityglobalconsulting@gmail.com
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           Trimax Corporation and Saavy Naturals Inc. Receive
           Vendor Approval to Sell Its Full Line of Luxurious
           Beauty Care Products on Bed Bath & Beyonds E-
           Commerce Website


             f * in G* ©                      Email         Print Friendly       Share

           September 17, 2018 10:00 ET | Source: Trimax Corporation

           Saavy Naturals In Final Discussions To Sell Their Complete Product Line In
           Over 1,000 Bed Bath & Beyond Retail Locations



           CHATSWORTH, CA, Sept. 17, 2018 (GLOBE NEWSWIRE) - via
           NEWMEDIAWIRE - Trimax Corporation, Inc. (OTC PINK: TMXN) (the “Company”)
           and its wholly owned subsidiary Saavy Naturals Inc., is pleased to announce they
           have received final vendor approval to sell its complete line of Saavy Naturals
           health and beauty care products on Bed Bath and Beyond’s e-commerce retail
           website bedbathandbeyond.com.

           Saavy Naturals at Bed Bath & Beyond:

           https://www.bedbathandbeyond.co m/store/s/saavy-naturals?ta=typeahead&ml=v2

           In addition to Saavy Naturals luxurious beauty line, the Company has created
           opulent gift sets of its popular Bay Rum & Hemp line exclusively for sale at
           bedbathandbeyond.com for the holiday season. Saavy's hemp line continues to be
           their number one selling product line on their website. Saavy’s Bay Rum & Hemp
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           products include their finest lotions, scrubs, body wash, soap, shampoos and
           conditioners.

           Saavy Naturals Gift Sets at Bed bath & Beyond:

           https://www.bedbathandbeyond.eom/store/s/hemp-body-wash

           Founded in 1971, Bed Bath & Beyond Inc. (NASDAQ) and subsidiaries is an
           omnichannel retailer with 1,530 retail locations offering a wide selection of
           domestic merchandise and home furnishings. The Company’s mission is to be
           trusted by its customers as the expert for the home and “heart-related” life events.
           These include certain life events that evoke strong emotional connections such as
           getting married, moving to a new home, having a baby, going to college and
           decorating a room, which the Company supports through its wedding and baby
           registries, new mover and student life programs, and its design consultation
           services. The Company’s ability to achieve its mission is driven by three broad
           objectives: first, to present a meaningfully differentiated and complete product
           assortment for the home, of the right quality product, at the right value; second, to
           provide services and solutions that enhance the usage and enjoyment of its
           offerings; and third, to deliver a convenient, engaging, and inspiring shopping
           experience that is intelligently personalized over time.

           Bed Bath & Beyond Inc. also operates a robust e-commerce platform consisting of
           various websites and applications, and an established retail store base under the
           names of Bed Bath & Beyond, Christmas Tree Shops, Christmas Tree Shops
           andThat! or andThatl, Harmon, Harmon Face Values or Face Values, buybuy
           BABY, World Market, Cost Plus World Market or Cost Plus. In addition, Bed Bath &
           Beyond Inc. operates Of a Kind, Inc., an e-commerce website that features
           specially commissioned, limited edition items from emerging fashion and home
           designers.

           Hugo Saavedra, CEO of Trimax Corporation and Saavy Naturals, stated, “As we
           enter the 2018 holiday season, we are extremely pleased to announce our new
           relationship with Bed Bath & Beyond. Our vendor approval to sell our luxurious
           beauty care products on their very successful e-commerce website is the first step
           towards our goal of retaining shelf space in their retail locations. Currently, we are
           in the advance stages of discussions to make this happen and hope to have our
           complete line in over 1,000 Bed Bath & Beyond locations by the end of the year.”

           Trimax Corporation and Saavy Naturals recently announced its roll-out their
           custom-made free standing pallet displays for their hand-crafted scented soaps to
           Walmart ® Corporation. The first 50 have already been shipped to various Walmart
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           stores in Texas and the Company is in the process of building another 200 pallet
           displays in order to reach its goal of having 1,000 displays in Walmart retail
           locations nationwide by December 2018.

           Recent Press Release:

           http://www.newmediawire.com/news/trimax-corporation-and-saavv-naturals-
           inc-beqins-roll-out-of-their-custom-full-allet-displays-for-their-handmade-
           soaps-to-walmart-corp-4823563

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           including htt ://www.Amazon.com, and http://www.Saav naturals.com.

           For more information please visit our website:

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           Saavy Naturals Inc. on Shark Tank:

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           Social Media Links:

           http://www.facebook.com/saavynaturals

           htt ://www.insta ram.com/Saav naturals

           htt ://www.twitter.com/saav naturals

           Safe Harbor

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           Trimax Corporation and Saavy Naturals inc.
           Surpasses 200 Locations for Their Custom Pallet
           Displays Selling Their Handcrafted Soaps to
           Walmart Corp.


             f ^ In G+ ®                  @ Email        ^ Print Friendly          Share

           December 13, 2018 08:40 ET | Source: Trimax Corporation, Inc.

           CHATSWORTH, Calif., Dec. 13, 2018 (GLOBE NEWSWIRE) - via OTC PR WIRE
           ~ Trimax Corporation, Inc. (OTC PINK: TMXN) (the "Company") and its wholly
           owned subsidiary Saavy Naturals Inc., is pleased to announce they have
           surpassed 200 Walmart locations for their luxurious handcrafted soaps which is a
           part of their Saavy Naturals Everyday brand.

           As previously reported, Walmart originally approved the roll-out of Saavy Naturals
           Everyday's beautiful free-standing custom-made pallet displays, which hold 1,152
           individual soaps in 12 captivating scents, to 50 Walmart locations in Texas. Since
           October, the Company has received purchase orders for over 200 Walmart
           locations and now distributes their handcrafted soaps to the states of Indiana,
           Texas, Tennessee, New Hampshire, Arizona, Florida, Michigan, Virginia, Oregon,
           Colorado, New York, Wisconsin. Missouri, Pennsylvania, California, Illinois,
           Montana, Louisiana, Delaware, Alabama, North Carolina, Kentucky and
           Mississippi.

           The Company eagerly anticipates continued consistent weekly orders from
           Walmart as they continue to expand their locations in order for the company to
           reach their goal of distributing to over 1,000 Walmart locations nationwide.

           Hugo Saavedra, CEO of Trimax Corporation and Saavy Naturals Inc., stated, "We
           are extremely pleased to announce that our handcrafted soaps have now
           expanded from 50 stores in one state to over 200 locations in 23 states over the
           last two months. We are confident that we will hit our goal of distributing to 1,000
           locations throughout all 50 states." He also stated, "We continue to experience
           consistent sales of our Savvy Naturals Everyday bath bombs to Walmart
           throughout the U.S. as well."
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           https://vlmeo.com/231634993

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           For more information please visit our website:

           http ://www.saavy naturals.com

           Naturals Inc. on Shark Tank:Saavy

           https://vimeo.com/231634993

           Saavy Naturals Inc. on HSN:

           https://www.voutube.com/watch7ygim9-NH21A6Vs

           Social Media Links:

           http://www.facebook.com/saavynaturals

           http://www.instaurann.com/Saavynaturals
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           httj2://www.twitter.com/saav naturals

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                       EXHIBIT B
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     --------- Forwarded message---------
     From: Debra Saavedra <debra(&!saavvnaturals.com>
     Date: Tue, Sep 25,2018 at 6:10 PM
     Subject: Re: Conference Call
     To: Joseph Vazquez < ifinitvalobak             ■coi >, Hugo Saavedra
     <huQO@saawnaturals.com>. Christopher Garitee <aualiottalaw(!   nline.ne >


     Thank you, Joe.

     Attached, please find the two term sheets. Below is the email that
     accompanied them which outlines the terms they propose.

     All the best,
     Debra
     Debra Saavedra
     President & Co-Founder
     Tel: 818-626-9696
     Mobile: 818-264-6970
     @saavynaturals
     www.saawnaturals.com

     From: Brett Cummings <brett(5>leftcoastventures.us>
     Date: Monday, September 24,2018 at 5:13 PM
     To: Hugo Saavedra <hugo@saavvnaturals.com>. Aaron Plotkin <aaron@leftcoastventures.us>
     Subject: Term sheet


     Hugo -1 hope you are doing well. As discussed please find 2 term sheets: 1)
     Saavy Naturals and 2) CBD entity to be created.

     Here are the highlights and some commentary; please call me with any
     questions:

     Saaw Naturals

           • Investment amount: $1.5M
           • Post-money valuation: $4M
           • Privateer ownership: 37.5%
           • Unallocated option pool: 12.5%
           • Hugo/Debra: 50%
           • BOD: 2 common; 1 Privateer
           • Notes: Goal here is to provide capital to fix operations, execute on
               Walmart POs, drop in sales and operational hires, keep you
               (Hugo/Debra) with control of common and BOD while providing
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               adequate oversight and provide additional hires to continue sales
               growth. This provides you with ability to be face of the brand and to
               formulate CBD products without having to worry about day-to-day
               management.

     CBD


           • Investment amount: $0.5M
           • Post-money valuation: $0.667M
           • Privateer ownership: 75%
           • Unallocated option pool: 15%
           • Hugo/Debra: 10%
           • BOD: 1 common; 2 Privateer
           • Notes: Brand new entity where we take the Saavy products and infuse
               them with CBD supplied by Privateer. Start with current products
               produced by Saavy and move to produce new products (sunscreen,
               lip balm, etc.). You would be in charge of all formulation and we will
               provide new brand(s), etc.


     Hugo - I'm ecstatic to go through this journey with you and put Saavy on the
     map. Your product quality and your story needs to be seen/heard by the
     world and with this capital and a few key hires we can get you there and get
     you back to the work you truly love.

     Please call with any questions/comments and I can walk you through the term
     sheets, but the high level terms are above.

     Best regards,
     Brett


     Brett Cummings
     CEO
     Left Coast Ventures
     415-971-1592
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     From: 'Joseph Vazquez1 <infinityelobalconsulting@gmail.com>
     Date: Tuesday, September 25,2018 at 2:48 PM
     To: Hugo Saavedra <hugo@saavvnaturals.com>. Debra Saavedra <debra@saawnaturals.com>.
     Christopher Garitee <gugliottalaw@optonline.net>
     Subject: Conference Call

     All,

     This email shall confirm our conference call set for 2 pm (EST).

     Please use the conference call instructions below.

     **Hugo - Please send the two term sheets to John for his review before the
     call tomorrow. His email is cc'd on this correspondence.



     Regards,


     Joseph M. Vazquez III
     President

     Infinity Global Consulting Group, Inc.
     Office (800)554-5659
     Cell     (754) 204-4549
     Conference Call: (641)715-0861 codeitsosoo#
     SKYPE: infinityglobalconsulting




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                               SALE OF SERIES A PREFERRED STOCK

                                         SUMMARY OF TERMS

      Issuer:                    Saavy Naturals, Inc. (the “Company”).

     Financing Amount:           $1.5 million.

     Type of Security:           Series A Preferred Stock (“Series A Preferred”).

     Price:                      Price per share (the “Original Purchase Price”) to he based on the fully-diluted
                                 post-money valuation of $4.0 million. The number of shares of Common
                                 Stock and options available for issuance under the Company's stock option
                                 plans shall be increased on a pre-money basis to equal at least 12.5% of the
                                 fully diluted capitalization of the Company following the closing of * the
                                 financing.

     Investors:                  Privateer Holdings, Inc., and affiliates (“PH”)                $1.5 million

     Anticipated Closing
     (the “Closing”):            October 12,2018.

     Liquidation Preference:     In the event of any liquidation or sale of the Company, the holders of Series A
                                 Preferred shall be entitled to receive (pairi passu with the holders of any
                                 existing preferred stock (together with Series A Preferred, the “Preferred
                                 Stock”)) in preference to the holders of Common Stock a per share amount
                                 equal to the Original Purchase Price (the “Liquidation Preference”). After the
                                 payment of the Liquidation Preference, the remaining assets shall be distributed
                                 to holders of Common Stock.

      Automatic Conversion:      The Series A Preferred shall be automatically converted into Common Stock,
                                 at the then applicable conversion price, upon either (i) the closing of a firmly
                                 underwritten public offering of shares of Common Stock of the Company at a
                                 per share price not less than three times (3.0x) the Original Purchase Price (as
                                 adjusted for stock splits, dividends and the like) and for a total offering of not
                                 less than $30 million (before deduction of underwriters commissions and
                                 expenses) or (ii) in the event that the holders of at least a majority of the
                                 outstanding Series A Preferred vote in favor of such conversion.

      Board of Directors:        The Company’s board of directors (“Board”) will be set at three directors as
                                 follows: (a) the holders of Series A Preferred shall elect one director who will
                                 be designated by PH (the “Series A Director”), and (b) the holders of
                                 Common Stock shall elect two directors, one of whom will be the then-serving
                                 Chief Executive Officer. The Company will maintain D&O insurance with a
                                 carrier and in an amount satisfactory to the Board.

      Protective Provisions:     The consent of the holders of at least a majority of the Preferred Stock shall be
                                 required for any action that, (i) increases or decreases the authorized number of
                                 shares of Common Stock or Preferred Stock, (ii) amends, repeals or waives
                                 any provision of the Certificate of Incorporation or Bylaws in a manner that
                                 adversely changes the rights, preferences, or privileges of the Preferred
                                 Stock, (hi) creates (by reclassification or otherwise) any new class or series of
                                 shares having rights, preferences or privileges senior to or on a parity with the

                                                       1.
      SVM272847.1                                                                                       053514-0018
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                              Preferred Stock, (iv) results in the redemption of any shares of Preferred Stock
                              or Common Stock (other than pursuant to equity incentive agreements or
                              employment agreements giving the Company the right to repurchase shares
                              upon the termination of services), (v) results in the payment or declaration of
                              any dividend on any shares of Common Stock, (vi) results in any merger, other
                              corporate reorganization, sale of control, or other transaction in which holders
                              of the Company’s voting securities prior to such transaction hold less than 50%
                              of the Company’s voting securities upon the closing of such transaction, or a
                              sale of all or substantially all of the assets of the Company, (vii) increases or
                              decreases the size of the Board, (viii) sells, issues, sponsors or distributes any
                              digital tokens, coins, blockchain-based assets or cryptocurrency created by
                              the Company (collectively, the “Tokens”), including through a Simple
                              Agreement for Future Tokens or other agreement, pre-sale, initial coin
                              offering, token distribution event or crowdfunding, or develops a computer
                              network either incorporating Tokens or permitting the generation of Tokens
                              by network participants or (ix) waives or amends any price-based anti-dilution
                              adjustment.

      Certain Transactions:   The prior approval of the Board, including the Series A Director, shall be
                              required for any action that: (i) creates or authorizes the creation of any debt
                              security or otherwise results in die incurrence of indebtedness for money
                              borrowed in excess of $100,000 or (ii) increases the number of shares of
                              Common Stock reserved for issuance under any equity incentive plan.

      Other Rights:           Customary and market dividend rights, anti-dilution protections, preemptive
                              rights, information rights, rights of first refusal, co-sale rights, registration
                              rights and approval rights.

      Fees and Expenses:      The Company shall pay the reasonable fees and expenses (not to exceed
                              $15,000) of one special counsel to PH.

      Exclusivity:            The Company agrees that during the period between acceptance of this
                              summary of terms and 60 days thereafter, it will not enter into any agreement
                              with any third party concerning a possible lead investment without the prior
                              written consent of PH (the “Exclusivity Period”).

      Confidentiality:        The Company shall keep the terms of this letter and its existence in confidence
                              and shall not divulge any of it to any party.

      Miscellaneous:          Except for the provisions labeled “Exclusivity” and “Confidentiality”, this
                              summary of terms is not intended to create any legally binding obligations on
                              either party, and no such obligation shall be created unless and until the parties
                              enter into definitive written agreements.
                                              ****$$*




                                                    2.
      SV\1272847.1                                                                                   053514-0018
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     This summary of terms shall remain available for acceptance through 5:00 p.m. PT on September 28, 2018. The
     parties to this summary of terms acknowledge their agreement to the terms contained herein by signing below:

     Saavy Naturals, Inc.                                      Privateer Holdings, Inc.


     By:                                                       By:
     Name:                                                     Name:
     Title:                                                    Title:
     Date:                                                     Date:




                                                          3.
      SVU272847.1                                                                                      053514-0018
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                                SALE OF SERIES A PREFERRED STOCK

                                          SUMMARY OF TERMS

      Issuer:                     Saavy Naturals (CBD)} Inc. (the “Company”). (NTD: Name to be updated)

      Financing Amount:           $0.5 million.

      Type of Security:           Series A Preferred Stock (“Series A Preferred”).

      Price:                      Price per share (the “Original Purchase Price”) to be based on the fully-diluted
                                  post-money valuation of $0,667 million. The number of shares of Common
                                  Stock and options available for issuance under the Companyfs stock option
                                  plans shall be increased on a pre-money basis to equal at least 15% of the
                                  fully diluted capitalization of the Company following the closing of the
                                  financing.

      Investors:                  Privateer Holdings, Inc., and affiliates (“PH”)                $0.5 million

      Anticipated Closing
      (the “Closing”):            October 12, 2018.

      Liquidation Preference:     In the event of any liquidation or sale of the Company, the holders of Series A
                                  Preferred shall be entitled to receive (parri passu with the holders of any
                                  existing preferred stock (together with Series A Preferred, the “Preferred
                                  Stock”)) in preference to the holders of Common Stock a per share amount
                                  equal to the Original Purchase Price (the “Liquidation Preference”). After the
                                  payment of the Liquidation Preference, the remaining assets shall be distributed
                                  to holders of Common Stock.

      Automatic Conversion:       The Series A Preferred shall be automatically converted into Common Stock,
                                  at the then applicable conversion price, upon either (i) the closing of a firmly
                                  underwritten public offering of shares of Common Stock of the Company at a
                                  per share price not less than three times (3.0x) the Original Purchase Price (as
                                  adjusted for stock splits, dividends and the like) and for a total offering of not
                                  less than $30 million (before deduction of underwriters commissions and
                                  expenses) or (ii) in the event that the holders of at least a majority of the
                                  outstanding Series A Preferred vote in favor of such conversion.

      Board of Directors:         The Company’s board of directors (“Board”) will be set at three directors as
                                  follows: (a) the holders of Series A Preferred shall elect one director who will
                                  be designated by PH (the “Series A Director”), and (b) the holders of
                                  Common Stock shall elect two directors, one of whom will be the then-serving
                                  Chief Executive Officer. The Company will maintain D&O insurance with a
                                  carrier and in an amount satisfactory to the Board.

      Protective Provisions:      The consent of the holders of at least a majority of the Preferred Stock shall be
                                  required for any action that, (i) increases or decreases the authorized number of
                                  shares of Common Stock or Preferred Stock, (ii) amends, repeals or waives
                                  any provision of the Certificate of Incorporation or Bylaws in a manner that
                                  adversely changes the rights, preferences, or privileges of the Preferred
                                  Stock, (iii) creates (by reclassification or otherwise) any new class or series of
                                  shares having rights, preferences or privileges senior to or on a parity with the

                                                        1.
      SVU272847.1                                                                                        053514-0018
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                             Preferred Stock, (iv) results in the redemption of any shares of Preferred Stock
                             or Common Stock (other than pursuant to equity incentive agreements or
                             employment agreements giving the Company the right to repurchase shares
                             upon die termination of services), (v) results in the payment or declaration of
                             any dividend on any shares of Common Stock, (vi) results in any merger, other
                             corporate reorganization, sale of control, or other transaction in which holders
                             of the Company’s voting securities prior to such transaction hold less than 50%
                             of the Company’s voting securities upon the closing of such transaction, or a
                             sale of all or substantially all of the assets of the Company, (vii) increases or
                             decreases the size of the Board, (viii) sells, issues, sponsors or distributes any
                             digital tokens, coins, blockchain-based assets or cryptocurrency created by
                             the Company (collectively, the “Tokens”), including through a Simple
                             Agreement for Future Tokens or other agreement, pre-sale, initial coin
                             offering, token distribution event or crowdfunding, or develops a computer
                             network either incorporating Tokens or permitting the generation of Tokens
                             by network participants or (ix) waives or amends any price-based anti-dilution
                             adjustment.

     Certain Transactions:   The prior approval of the Board, including the Series A Director, shall be
                             required for any action that: (i) creates or authorizes the creation of any debt
                             security or otherwise results in the incurrence of indebtedness for money
                             borrowed in excess of $100,000 or (ii) increases the number of shares of
                             Common Stock reserved for issuance under any equity incentive plan.

      Other Rights:          Customary and market dividend rights, anti-dilution protections, preemptive
                             rights, information rights, rights of first refusal, co-sale rights, registration
                             rights and approval rights.

      Fees and Expenses:     The Company shall pay the reasonable fees and expenses (not to exceed
                             $15,000) of one special counsel to PH.

      Exclusivity:           The Company agrees that during the period between acceptance of this
                             summary of terms and 60 days thereafter, it will not enter into any agreement
                             with any third party concerning a possible lead investment without the prior
                             written consent of PH (the “Exclusivity Period”).

      Confidentiality:       The Company shall keep the terms of this letter and its existence in confidence
                             and shall not divulge any of it to any party.

      Miscellaneous:         Except for the provisions labeled “Exclusivity” and “Confidentiality”, this
                             summary of terms is not intended to create any legally binding obligations on
                             either party, and no such obligation shall be created unless and until the parties
                             enter into definitive written agreements.
                                             *           $




                                                   2.
      SVU272847.1                                                                                   053514-0018
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     This summary of terms shall remain available for acceptance through 5:00 p.m. PT on September 28, 2018. The
     parties to this summary of terms acknowledge their agreement to the terms contained herein by signing below:

     Saavy Naturals (CBD), Inc.                                Privateer Holdings, Inc.


     By:                                                       By:
     Name:                                                     Name:
     Title:                                                    Title:
     Date:                                                     Date:




                                                          3.
      SV\1272847.1                                                                                     053514-0018
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                      EXHIBIT C
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                                                                                                                                                               @
                                                                                                                                                                                wide distribution with over400 active cannabis accounts
                                                                                                                                                                           SofO»strce«rr*
                                                                                                                                               tfaawb    NATURALS 9

                                                                                                                                                                            SAAVY NATURALS
                                                                                                                                                                           Saaw Naujrals vm         b* husb*ind and wife team. Hugo & Debra Saavedra, who bom share
                                                                                                                                                                           backgrounds m food cufbvanon and service, they have owned and operated rtstaw&ots, bmn
                                                                                                                                                                           pefsrin;iUhW%and<lci»ignedandcreatedmenusforotherrestaufantstTheyalS0sniroduc«             igrew
                                                                                                                                                                           mmt edible dowers and b»rby greens which were mainstays at many S*star restaurants in Southern
                                                                                                                                                                           CaltllirnM
                                                                                                                                                  X
                                                                                                                                                           f @ ©
                                                                                                                                                                           “Then create a feast for your senses with theirfoodfor your
                                                                                                                                                                           skin"
                                                                                                                                                                           The Saavedra's know food. Their name was on the menu of Spago, Patina, and The Water Grm 10
                                                                                                                                         V                                 name a few. After years of cooking and growing herbs and edible flowers, they started experimenting
                                                                                                                                                                           with them In new ways, creating luxurious soaps, body creams, and body scrubs, they decided to offer
                                                                                                                                                                           some of their new creations ata local faimer's market, and the rest is history, as they sayl
                                                                                                                                                                           As great lovers of beauty, whether It's nature, art, music, or an am,wing meal the Saavedra's find
                                                                                                                                                                           Inspiration In the lush bountiful wonders of the world, just as a great chef cooks not only tor the sense
                                                                                                                                                                           of taste but also for the eyes, the nose, for all of the senses, they create a feast for your senses with
                                                                                                                                                                           their food for your skin.
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                                                                                       ) type here to search                           #                  (3          L*
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                       EXHIBIT D
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                                         APPRAISALGROUP, LLC
                               26895 Aliso Creek Road • Suite Bs # 569 • AHso Viejo, California 92656-5301
                                Email:      ornauctions f/cox.net • Website: www.vanhomauctio
                                                Tel: (949) 206-2525 * Fax: (949) 831-1975



                                                      December 20, 2018

  Hugo Saavedra, CEO & Co-Creator
  Saavy Pure & Natural
  8943 Oso Avenue, Suite C
  Chatsworth, California 91311

  Dear Mr. Saavy,

  As you are aware, and as per your request, on Thursday, December 20th, 2018 at approximately 9:00am, I had
  the opportunity to travel to and physically inspect the assets belonging to Saavy Pure & Natural, located at
  8943 Oso Avenue, Suite C, Chatsworth, California 91311, for the purpose of establishing a “Liquidation”,
  opinion of value, of the assets within.

  DESCRIPTION:

  Saavy Pure & Natural is a company that was created by Mr. Saavedra and his wife in 2016 and is a company
  that believes in 100% natural, food-grade ingredients for each of their products produced.
  This business is housed in an approximately 4,500 sq/ft facility, producing, by hand, bar and hand soaps, body
  wash, creams, scrubs, and bombs, shampoos, conditioners and candles of various scents.

  OVERVIEW:

  As per my instructions, I was asked to perform an on-site estimation, specifically a “liquidation” opinion of
  value, of the assets within the establishment. In addition, I took over 130 photographs of the machinery and
  equipment, as well as the raw and finished goods inventory and the furniture, fixtures and equipment in the
  offices.

  On the day stated above, I met Mr. Saavedra and Brett Michel at 9:00am at the business location. At that
  time, Mr. Saavedra kindly gave me a tour of the facility, offices, production area and storage areas, and then
  explained exactly what assets were owned by this business. After a complete review of the company, I was
  allowed to conduct my business freely and without difficulty or interruption.

  To arrive at the figures, in the “Findings” section below, I have conducted a comprehensive, on-site inspection
  of the raw material inventory, the finished goods inventory, the warehouse and manufacturing equipment, and
  the furniture, fixtures and equipment in the entire building, as well as reviewed all 135 photographs taken.

  Additionally I have completed an extensive, online investigation, of similar assets, and investigated comparable
  assets being sold at retail and liquidation prices. I have also taken into consideration the age and depreciation
  of this inventory, as well as the demand for this material in the current market. It is from these determining
  factors and thirty years in the liquidation and auction industry that I am of the following opinion.
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                                 APPRAISAL GROUP. LLC
                               26895 Aliso Creek Road * Suite B, # 569 • Aliso Viejo, California 92656-5301
                                Email; anhornauctions fi cox.net • Website; wwvv.vanhornauctions.com
                                                Tel: (949) 206-2525 • Fax: (949) 831-1975



  FINDINGS:

  It is my opinion the machinery and equipment, to include but not limited to the Preferred Packaging tunnel
  oven and wrapper, Hobart 60 quart mixer, stainless steel vats and mixers, Accutek rotary valve filler, stainless
  steel tables, Brookfield viscometer, Csplus Lepel cap induction, (3) assorted single burner stoves, stainless
  steel pots, stirring implements and tables, pallet jacks, pedestal fen, barrel dollies and carts, product scales,
  tape shooters, office furniture, fixtures and equipment has a liquidation, opinion of value of approximately
  $12,000.00 to $13,000.00.

  No attempts have been made to verify leased equipment, and the values are based on the entirety of equipment
  inspected.

  It is my opinion the raw materials, work in process and finished goods to include, but not limited to, please see
  “Saavy Naturals Raw Inventory” and the “Inventory Log” below, have a liquidation, opinion of value, of
  approximately $6,500.00 to $7,000.00. This figure includes all assets viewed on the date of my inspection. No
  efforts were made to verify leased equipment.

  Please keep in mind the values listed above, are for the disposal of assets for cash. These values are not to be
  used for anything other than liquidation purposes. These are not fair market values and should not be
  considered as a final sales value when selling a business as a turn-key operation.

  DEFINITIONS:

  We define “Liquidation” opinion of value, as the price that goods in inventory and/or equipment would bring
  at a piece-meal public auction sale conducted on site, (As Is, Where Is). This figure is solely and estimation of
  the assets liquidation value at the present and current time ('today). The purpose of the liquidation is the
  disposal of assets for cash.

  These definitions are offered to provide the fundamental value concepts; they are not the only acceptable
  definitions, since contracts or jurisdictions may dictate somewhat different philosophies. Therefore, these
  definitions may be expanded or refined as the purpose and function of an appraisal dictate, as long as the
  fundamental concepts are not altered. In other cases, the laws of a country, state, region, or regulatory agency
  may require other terms, which therefore would take precedence over the definitions stated here.

  “Liquidation” opinion of values are determined and derived from, but not limited to: online investigations,
  retail values, wholesale values, resale market, market capacity, periodicals and trade publications of pertain
  industries, and thirty years of experience in the Liquidation/Auction Industry.

  This report is intended for your use only. The appraiser does not intend the use of this report by others, nor is
  the report intended for any other use unless express written consent is further granted.
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                                APPRAISAL ^ & ¥ GROUP, LLC
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                              26895 Aliso Creek Road • Suite B, # 569 • Aliso Viejo, California 92656-5301
                               Email: vanhornauetions u cox.net • Website: www.vanhomauctions.com
                                               Tel: (949) 206-2525 . Fax. (949) 831-1975




  As a member of Van Horn Auctions & Appraisal Group, LLC, I do state that neither I, nor Van Horn
  Auctions & Appraisal Group, LLC or any of its employees, have any present or future interest in the appraised
  property.

  Thank you for the opportunity to be of service.

  Sincerely,



  Scott R. Van Horn
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  LIMITING CONDITIONS:

  An appraisal is an estimate of value only. The amount is considered a reasonable and proper value under the concept of a
  definition and it is applied. For this reason, the value is, in most cases, an even number.

  No additional values or appraisals have been made requiring such tangibles as patents, rights to manufacture, trademarks,
  goodwill, going concern, product line, customer lists, etc. The values made a part of this report are for the items listed only and
  are subject to the definition of the report itself.

  Physical condition in most instances has been determined either by the appraiser or based on information provided by others. Any
  known or hidden conditions existing at the time of the inspection could alter the value.

  In most cases, equipment is grouped in terms of cursory values, although certain areas may require an itemized listing and/or
  value.

  All facts and data set forth in this report are true and accurate to the best of the appraiser’s knowledge and belief. Neither the
  appraisers, nor any of their employees, have financial interest in the equipment appraised.

  Since conclusions by the appraiser are based upon judgments, isolations of any single element as the sole basis of comparison to
  the whole appraisal may be inaccurate.

  As the addressee has purchased this report, we assume it is to be used by the addressee in determination of the value at that point
  and time. Use of this report by others should be done so with the understanding that no risk or guarantees have been purchased by
  the owner of the report nor through the fee paid to the appraiser.

  The fee for the appraisal report is neither contingent upon the values reported nor any court appearances either by the appraiser
  or his associates as part of the appraisal fee. If a court appearance in the future were needed, a separate fee would be established.

  No investigation of legal fee or title to the equipment has been made by owner’s claim to the equipment has been assumed to be
  valid. No consideration has been given to liens, or encumbrances, which may be against the equipment.

  All opinions as to values are the opinions of the appraiser and his associate’s based on the facts and data set forth in the report.
  The appraisers and their associates assume no responsibility for the changes in the market conditions or for the inability of the
  owner to locate a purchaser at the appraised value. Inspection of all equipment has been made by either on-site inspection or by
  photograph, or unless otherwise noted.

  The appraisers and their associates are not responsible for changes that may develop in the market place or possible changes in
  the state of the art of certain machinery and equipment which could substantially change the assigned values.

  Van Horn Auction Group is not responsible for market changes in the values of the appraised equipment, which may be affected
  by, but not limited to:

           1)   Technological obsolence
           2)   Economic changes
           3)   Comparable equipment sales which may saturate market values
           4)   OSHA regulations affecting market values
           5)   Environmental rules affecting business

  The appraiser and Van Horn Auction Group reserve the right to recall all copies of the report to correct any omission or error.

  This valuation study has been made by Van Horn Auction Group and will be held as confidential. It has been prepared by an
  experienced appraiser and is based on information, where possible, from contractors, manufacturers, sales comparables, dealers,
  etc. the analysis and final conclusion is arrived at from our experience in the appraisal of new and used equipment.

  It is further understood that although individual values are placed upon each item, or a specific category, the individual sales are
  established by the entire composition of the plant. If any part of the plant were to be sold verses the entire plant, it is possible that
  the appraised value may be lessened for both the parts sold and the remaining equipment to be sold.

  We trust the enclosed meets with your needs; however, should you have any questions or require any additional information,
  please let us know.
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      Saavy Naturals Raw Inventory
                                                                                 QTYin
       Product Name              Company                   Sizes      Prices     stock          $ in Stock



       Coconut Oil               Classic Distribution CO   5001b        $1.89             700     $1,323.00
       Sweet Almond Oil          Classic Distribution CO   396Lb       $20.25             45        $911.25
       Moringa Oil               Moringa Connect                       $40.00               9       $360.00
       Mono! Oil                                                                                      $0.00
       Kahai Oil                                           100 Kg      $27.50              25       $687.50
       Jojoba Oil                Vivion Inc                3961b       $14.93                         $0.00
       Olive Oil                 Norman Fox                441 Lb       $3.30                         $0.00
       Tea Tree Oil                                                     35.75             30      $1,072.50
       Glycerin                  Classic Distribution CO   500 Lb       $0.65             200      $130.00
       Zemea                     Lipscomb                  440 Lb       $2.29             200       $458.00
       Plantaren 1200            PCC                       475Lb        $1.25            1425     $1,781.25
       Plantaren 2000            PCC                       475Lb        $1.25            1425     $1,781.25
       Classic CAS/Trjtesan BS   Classic Distribution CO   465 Lb       $1.25            220        $275.00
       Titanium Dioxide                                    50Lb         $3.22              29        $93.38
       Stearic ACID              Classic Distribution CO   501b         $1.25             45         $56.25
       Sorbitol Solution 70%     PCC                       595 Lb       $0.68            500        $340.00
       Kaltro CG                                                                                      $0.00
       Allantoin                 Classic Distribution CO   50 Lb        $6.75              50       $337.50
       Aloe Vera Powder 200                                               298               1       $298.00
       Tego Care CG 90           Glenn Corp                15Kg        $62.44              15       $936.60
       Botanimule GMS-SE                                                                   70         $0.00
       Polawax                                                                            160         $0.00
       Kalcol 8670               Lipscomb                  20KG         $2.93            1500     $4,395.00
       Kalcol 6098               Lipscomb                  20 kg        $3.23             160      $516.80
       Caprylic/Capric
       Triglycerides             Classic Distribution CO   419Lb        $3.70              50       $185.00
       Vitamin E (Naturals)      Chemte                    55Lb        $32.51              15       $487.65
       Shea Butter               Vivion Inc                llOLb        $6.00             200     $1,200.00
       Crodacol S-95-PA (MH)                                                               50         $0.00
       Gluconolactone                                                      2.5            300       $750.00
       Japanese Honeysuckle
       Extract                                                                                        $0.00
       Extract Blend K3580-WS
       (Lotion)_____________                                                                          $0.00
       Caustic Sada 50% Soln     PCC                       55.12 Lg     $0.50             100        $50.00
       Benzyl Alcohol            Norman Fox                485 Lb       $3.40             375     $1,275.00
       Arnica Extract                                                                                 $0.00
       Kumquat Extract                                                                                $0.00
       Brown Sugar                                                                         20         $0.00
       White Sugar                                                      $0.15             500        $75.00
       Medium Salt                                                       $0.36            110        $39.60
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       Amisoft CS-22             Ajinomoto                 440Lb          7.7       35      $269.50
       Monomule 90-112                                                   3.75       85      $318.75
       Pordew 500                                                       13.75       75    $1,031.25
       Andea Q Ultra                                                     35.5        5     $177.50
       Quinoa Pro EX                                                     17.5        5       $87.50
       Oat Meal                                                                               $0.00
       Magnesium Sulfate                                                                      $0.00
       Antil Soft SC             Glenn Corp                25Kg        $10.79        5       $53.95
       L-Arginine                                                                             $0.00
       DL Panthenol                                                                           $0.00
       Emulsense HC              Nexeo Solutions           50 Lb       $14.51     100     $1,451.00
       Cetiol C5                 Ross Organic              175 Kg      $17.65      50      $882.50
       Hydrolized Quinoa                                                                      $0.00
       Fine Salt Culinox999                                                         20        $0.00
                                                                      $5.25
       Xanthan Gum"s             Norman Fox                55.12 Lb   Lb           10         $0.00
                                                           55.115
       Stearyl Alcohol           Norman Fox                Bag          $1.25     190      $237.50
       Cetyl Alcohol             Classic Distribution CO   50Lb         $1.45     100      $145.00
       Dead Sea Salt             Classic Distribution CO   55Lb         $1.45      60        $87.00
       Campo Plantservative 20
       Kg                        Ross Organic              20KJg      $192.00      15     $2,880.00
       Glucona Delta Lactone     PCC                       55.12Lb      $1.80   220.48     $396.86
       Citric Acid               PCC                       SOLb         $1.05      50       $52.50
                                                                                              $0.00
                                                                                         $27,886.34
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                                         Inventory Log
         Date:
   ITE                                                              Total                Total
                          Item Description               UPC                Price
   M#                                                               Cases               Amount
         HANDCRAFTED BAR SOAPS- 8 oz.
                                                                                     $
                                                                     12      5
   101   Bulgarian Rose Bar Soap                     854022005006                   360.00
                                                                                    $
                                                                     14      5
   102   Green Tea & Lime Bar Soap                   854022005013                   420.00
                                                                                    $
                                                                     8       5
   103   Jasmine Bar Soap                            854022005020                   240.00
                                                                                    $
                                                                     0       5
   104   Lavender Chamomile Bar Soap                 854022005037
                                                                                     $
                                                                     14      5
   105   Mango Papaya Bar Soap                       854022005044                   420.00
                                                                                     $
                                                                     6       5
   106   Oatmeal Almond Bar Soap                     854022005051                   180.00
                                                                                    $
                                                                     13      5
   107   Patchouli Rose Bar Soap                     854022005068                   390.00
                                                                                     $
                                                                     14      5
   108   Plumeria Violet Bar Soap                    854022005075                   420.00
                                                                     15             $
                                                                             5
   109   Tahitian Vanilla & Kukui Bar Soap           854022005082                   450.00
                                                                                    $
                                                                     4       5
   110   Yuzu & Meyer Lemon Bar Soap                 854022005099                   120.00
                                                                                    $
         HANDCRAFTED BAR SOAPS- NEW 5 oz.
                                                                                    $
                                                                     22      3
   151   Bulgarian Rose Bar Soap                     85948005000                    396.00
                                                                                     $
                                                                     14      3
   152   Green Tea & Lime Bar Soap                   85948005017                    252.00
                                                                                     $
                                                                     27      3
   153   Jasmine Bar Soap                            85948005024                    486.00
                                                                                     $
                                                                     0       3
   154   Lavender Chamomile Bar Soap                 85948005031
                                                                     24             $
                                                                             3
   155   Mango Papaya Bar Soap                       85948005048                    432.00
                                                                     27      3      s
   156   Oatmeal Almond Bar Soap                     85948005055                    486.00
                                                                                    $
                                                                     17      3
   157   Patchouli Rose Bar Soap                     85948005062                    306.00
                                                                                    $
                                                                     18      3
   158   Plumeria Violet Bar Soap                    85948005079                    324.00
                                                                                    $
                                                                     2       3
   159   Tahitian Vanilla & Kukui Bar Soap           85948005086                    36.00
                                                                                    $
                                                                     30      3
   160   Yuzu & Meyer Lemon Bar Soap                 85948005093                    540.00
         LUXURIOUS BODY CREAMS                                                      $


   201                                                                              $
                                                                     0       6
         Bulgarian Rose Body Cream                   854022005105
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   202                                                                    $
                                                               0     6
         Green Tea & Lime Body Cream            854022005112
   203                                                                    $
                                                               0     6
         Jasmine Body Cream                     854022005129
   204                                                                    $
                                                               0     6
         Lavender Chamomile Body Cream          854022005136
   205                                                                    $
                                                               4     6
         Mango Papaya Body Cream                854022005143              144.00
   206                                                                    $
                                                               3     6
         Oatmeal Almond Body Cream              854022005150              108.00
   207                                                                    $
                                                               0     6
         Patchouli Rose Body Cream              854022005167
   208                                                                    $
                                                               0     6
         Plumeria Violet Body Cream             854022005174
   209                                                                    $
                                                               0     6
         Tahitian Vanilla & Kukui Body Cream    854022005181
   210                                                                    $
                                                               0    6
         Yuzu & Meyer Lemon Body Cream          854022005198
                                                                          $
         DELICIOUS BODY SCRUBS
   301                                                                    $
                                                               15   7.5
         Coconut Lemongrass Brown Sugar Scrub   854022005235              675.00
   302                                                                    $
                                                               10   7.5
         Green Tea & Lime Salt Scrub            854022005242              450.00
   303                                                                    $
                                                               12   7.5
         Lavender Chamomile Salt Scrub          854022005211              540.00
   304                                                                    $
                                                               3    7.5
         Mango Papaya Sugar Scrub               854022005228              135.00
   305                                                                     $
                                                               10   7.5
         Tahitian Vanilla & Kukui Sugar Scrub   854022005259              450.00
   306                                                                    $
                                                               0    7.5
         Yuzu & Meyer Lemon Salt Scrub          854022005266
   307                                                                    $
                                                               14   7.5
         Jasmine Sugar Scrub                                              630.00
   308                                                                    $
                                                               0    7.5
         Plumeria Violet Sugar Scrub

   309                                                                    $
                                                               0    7.5
         Oatmeal Almond Salt Scrub
   310                                                                    $
                                                               0    7.5
         Bulgarian Rose Sugar Scrub

         PAMPERING BODY WASHES                                            $

                                                                          $
                                                               19   5
   501   Bulgarian Rose Body Wash               854022005600              570.00
                                                               9    5
   502   Green Tea & Lime Body Wash             854022005617              270.00
                                                                          $
                                                               0    5
   503   Jasmine Body Wash                      854022005624
                                                                          $
                                                               0    5
   504   Mango & Papaya Body Wash               854022005631
                                                                          $
                                                               0     5
   505   Tahitian Vanilla & Kukui Body Wash     854022005648
   506   Yuzu & Meyer Lemon Body Wash           854022005655   10    5    s
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                                                                                      300.00
                                                                                      $
                                                                           10    5
   507    Oatmeal Almond Body Wash                                                    300.00

                                                                           10    5    S
   508    Plumeria Violet Wash                                                        300.00
                                                                                      $
                                                                           10    5
   509    Lavender Chamomile Body Wash                                                300.00
          RICH LIQUID HAND SOAPS                                                      $


   401                                                                                $
                                                                           20    5
          Green Tea & Lime Liquid Hand Soap                 854022005518              600.00
   402                                                                                $
                                                                           5     5
          Tahitian Vanilla & Kukui Liquid Hand Soap         854022005525              150.00
   403                                                                                $
                                                                           5     5
          Yuzu & Meyer Lemon JJquid Hand Soar               854022005532              150.00
          SULFATE-FREE SHAMPOOS                                                       $


   601                                                                     4    6     5
          Balancing Shampoo                                 854022005549              144.00
   602                                                                                $
                                                                           21   6
          Color Protector Shampoo                           854022005556              756.00
   603                                                                                $
                                                                           8     6
          Moisturizing Shampoo                              854022005563              288.00
          SULFATE-FREE CONDITIONERS                                                   $


   701                                                                                $
                                                                           0    6
          Balancing Conditioner                             854022005570
   702                                                                                $
                                                                           0    6
          Color Protector Conditioner                       854022005587
   703                                                                                $
                                                                           0    6
          Moisturizing Conditioner                          854022005594
                                                                                      $
          COCONUT WAX CANDLES- NEW

   801                                                                                $
                                                                           84   7.5
          Bulgarian Rose                                    859498005321              3,780.00
   802                                                                                $
                                                                           21   7.5
          Jasmine                                           859498005338              945.00
   803                                                                                $
                                                                           24   7.5
          Plumeria Violet                                   859498005345              1,080.00
   804                                                                     15   7.5
                                                                                      S
          Tahitian Vanilla & Kukui                          859498005352              675.00
          HANDCRAFTED BULK SOAP TOWER                                                 $

                                                                                       $
                                                                           3    88
   1001   Blood Orange & Tahitian Vanilla Bulk Soap Tower   854022005273              264.00
                                                                                      $
                                                                           5    88
   1002   Bulgarian Rose Bulk Soap Tower                    854022005280              440.00
                                                                                      $
                                                                           2    88
   1003   Coconut Lemongrass Bulk Soap Tower                854022005297              176.00
                                                                                      $
                                                                           3    88
   1004   Green Tea & Lime Bulk Soap Tower                  854022005303              264.00
                                                                                      $
                                                                           4    88
   1005   Jasmine Bulk Soap Tower                           854022005310              352.00
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                                                                                   $
                                                                          2   88
   1006   Lavender Garden Bulk Soap Tower                  854022005327            176.00
                                                                                   $
                                                                          4   88
   1007   Plumeria Violet Bulk Soap Tower                  854022005334            352.00
                                                                                   $
                                                                          2   88
   1008   Sandalwood Patchouli Bulk Soap Tower             854022005341            176.00
                                                                          4   88   S
   1009   Spearmint Oat Bulk Soap Tower                    854022005358            352.00
                                                                                   $
                                                                          3   88
   1010   Tahitian Vanilla & Kukui Bulk Soap Tower         854022005365            264.00
                                                                                   $
                                                                          1   88
   1011   Yosemite Joe Bulk Soap Tower                     854022005372            88.00
                                                                                   $
                                                                          2   88
   1012   Yuzu & Meyer Lemon Bulk Soap Tower               854022005389            176.00
                                                                                   $
          HANDCRAFTED BULK SOAP CAKE
                                                                                   $
                                                                          4   72
   1051   Blood Orange & Tahitian Vanilla Bulk Soap Cake   854022005396            288.00
                                                                                   $
                                                                          2   72
   1052   Bulgarian Rose Bulk Soap Cake                    854022005402            144.00
                                                                                   $
                                                                          3   72
   1053   Coconut Lemongrass Bulk Soap Cake                854022005419            216.00
                                                                                   $
                                                                          3   72
   1054   Green Tea & Lime Bulk Soap Cake                  854022005426            216.00
                                                                                   $
                                                                          3   72
   1055   Jasmine Bulk Soap Cake                           854022005433            216.00
                                                                                   $
                                                                          4   72
   1056   Lavender Garden Bulk Soap Cake                   854022005440            288.00
                                                                                   $
                                                                          2   72
   1057   Plumeria Violet Bulk Soap Cake                   854022005457            144.00

                                                                          6   72   s
   1058   Sandalwood Patchouli Bulk Soap Cake              854022005464            432.00
                                                                                   $
                                                                          2   72
   1059   Spearmint Oat Bulk Soap Cake                     854022005471            144.00
                                                                                    $
                                                                          4   72
   1060   Tahitian Vanilla & Kukui Soap Cake               854022005488            288.00
                                                                                   $
                                                                          2   72
   1061   Yosemite Joe Soap Cake                           854022005495            144.00
                                                                                   $
                                                                          4   72
   1062   Yuzu & Meyer Lemon Soap Cake                     854022005501            288.00
          HOLIDAY HANDCRAFTED BULK SOAP                                            S
          TOWER
                                                                          o   88
                                                                                   s
   1015   Evergreen Bulk Soap Tower                        859498005154
                                                                                   $
                                                                          0   88
   1016   Frankincense & Myrrh Bulk Soap Tower             859498005161
                                                                                   $
                                                                          0   88
   1017   Peppermint Candy Bulk Soap Tower                 859498005178
                                                                                   $
                                                                          0   88
   1018   Pumpkin Spice Bulk Soap Tower                    859498005185
                                                                                   $
                                                                          0   88
   1019   Winter Solstice Bulk Soap Tower                  859498005192
          HOLIDAY HANDCRAFTED BULK SOAP                                            $
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          CAKE

                                                               0    72    $
   1065   Evergreen Bulk Soap Cake              859498005109
                                                               1    72   $
   1066   Frankincense & Myrrh Bulk Soap Cake   859498005116             72.00
                                                               0   72    S
   1067   Peppermint Candy Bulk Soap Cake       859498005123
                                                               0   72    $
   1068   Pumpkin Spice Bulk Soap Cake          859498005130
                                                               0   72    $
   1069   Winter Solstice Bulk Soap Cake        859498005147
                                                                         $
                                                                         25,958.00
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                       EXHIBIT E
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                 *.
                                                                                                                              *4168041
      #3^ Secretary of State                                                            S&DC-S/N
                        Statement and Designation by
                 *^_4V/**



                      / Foreign Corporation
     IMPORTANT — Read Instructions before completing this form.

    Most be submitted with a current Certificate of Good Standing issued by the
    government agency where the corporation was formed. See instructions.
     Filing Fee       - $100.00 (for a foreign stock corporation) or
                        $30.00 (for a foreign nonprofit corporation)
    Copy Fees - First page $1.00; each attachment page $0.50;
                Certification Fee - $5.00
                                                                                                                        glib’
    Note: Corporations may have to pay minimum $800 tax to the California Franchise
    Tax Board each year. For more information, go to https://wwwM.ca.gov,
                                                                                                             [gcs' This Space For Office Use Only

     1.    Corporate Name (Go to wvvw.sos.ca.gowbus/ness^e/naf?7e-ava//a/?f//(K                                2.     Jurisdiction (State, foreign country or place
           for general corporate name requirements and restrictions.)                                                 where this corporation is formed - must match
                                                                                                                      the Certificate of Good Standing provided.)


     Left Coast Ventures, Inc

                                                                                                                                  Delaware


    3.    Business Addresses (Enter the complete business addresses. Items 3a and 3b cannot bo a P.O. Sox or *in care or an individual or entity.)

    a. Initial Street Address of Principal Executive Office • Do not enter a P.O. Box       City (no abbreviations)                     State      Zip Code

     975 Corporate Center Pkwy, Suite 120                                                   Santa Rosa                                   CA 95407
    b. Street Address of Principal Office in California, if any * Do not enter a P.O. Box   City (no abbreviations)                      State     Zip Code

     975 Corporate Center Pkwy, Suite 120                                                   Santa Rosa                                   CA 95407
    c. Mailing Address of Principal Executive Office, if different than item 3a             City (no abbreviations)                     State      Zip Code




    4. Service Of Process (Must provide either Individual OR Corporation.)
          INDIVIDUAL - Complete Items 4a and 4b only. Must include agent's full name and Caiifornia street address.
    a. California Agent's First Name (if agent is not a corporation)                        Middle Name                   Last Name                              Suffix



    b. Street Address (If agent is not a corporation) - Do not enter a P.O. Box             City (no abbreviations)                     State      Zip Code

                                                                                                                                        CA
          CORPORATION - Complete Item 4c. Only Include the name of the registered agent Corporation.
    c. California Registered Corporate Agents Name (if agent is a corporation) - Do not complete item 4a or 4b
     C T Corporation System

    5. Read and Sign Below (See Instructions. Office or title not required.)
    I am a corporate officer and am authorized to sign on behalf of the foreign corporation.


             p                                                                                     Brett Cummings
     Signature                                                                                      Type or Print Name
   S&DC-S/N (REV 03/3017)                                                                                                               2017 California Secretary of State
                                                                                                                                        www.sos.ca.gov/busirtess/be
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                  '■
                                                                                             .416804.1

                                                  Delaware                                                        Pagel

                                                             The First State


                   X, JEFFREX W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

           DELAWARE, DO HEREBY CERTIFY "LEFT COAST VENTURES, INC" 1$ DULY

           INCORPORATED UNDER THE LAWS OF THE STATE OF DELAWARE AND IS IN GOOD

           STANDING AND HAS A LEGAL CORPORATE EXISTENCE SO FAR AS THE RECORDS

           OF THIS OFFICE SHOW, AS OF THE TWENTY-EIGHTH DAY OF JUNE, A. D.

           2018.

                  AND I DO HEREBY FURTHER CERTIFY THAT THE ANNUAL FRANCHISE TAXES

           HAVE BEEN ASSESSED TO DATE.




                                                ^psii          ©
                                                                                     J»flr«y W. BitfJocfc, Scordjpy of it«l» T




         6944864 8300                                                                 Authentication: 2029814^0
         SR# 20185431167                                                                                   Date: 06-28-18
         You may verify this certificate online at corp.deiaware.gov/avthver.shtml
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                                                                                                LLC-1
                                                                                                                        201835510415
                   Secretary of State

   ti           pj Articles of Organization
                y Limited Liability Company (LLC)
                                                                                                                                             FILED            um?
  IMPORTANT — Read Instructions before completing this form.                                                                          Secretary of State
                                                                                                                                      State of California
  Filing Fee           $70.00
                                                                                                                                        DEC 2 0 2018
  Copy Fees - First page $1.00; each attachment page $0.50;
              Certification Fee - $5.00

 Note: LLCs may have to pay minimum $300 tax to the California Franchise Tax Board
 each year. For more information, go to https://www.ftb.cs.gov.
                                                                                                                    IfO This Space For Office Use Only
 1.    Limited Liability Company Name (See Instructions - Must contain an LLC identifier such as LLC or LLC. "LLC will be added, if not included.)

 Eko Holdings, LLC


 2, Business Addresses
 a. Initial Street Address of Designated Office in California - Do not enter a P.O. Box      City (no abbreviations}                        Stale      Zip Code
 975 Corporate Center Parkway, Suite 120                                                    Santa Rosa                                                94507
                                                                                                                                            CA
 b. Initial Mailing Address of LLC, If different than item 2a                               City (no abbreviations)                        Slate      Tip Code




 3. Service of Process (Must provide either Individual OR Corporation.)

      INDIVIDUAL - Complete Items 3a and 3b only. Must include agent's full name and California street address.
 a. California Agents First Name (if agent is not a corporation)                          Middle Name                    Last Name                                Suffix



 b. Street Address (If agent fs not a corporation) - Do not enter a P.O, Box              City (no abbreviations)                           State      Zip Code

                                                                                                                                            CA
      CORPORATION - Complete Item 3c. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent's Name (if agent is a corporation) - Do not complete item 3a or 3b

 Cogency Global Inc.

 4. Management (Select only one box)

 The LLC will be managed by:
                       P) One Manager                            Q More than One Manager                               □ AH LLC Member(s)

 5. Purpose Statement (Do not alter Purpose Statement)

 The purpose of the limited liability company is to engage in any lawful act or activity for which a limited liability company
 may be organized under the California Revised Uniform Limited Liability Company Act.

 6. The Information contained herein, including in any attachments, is true and correct.


       A                                                 J                                      Robert R. Rugani, Jr.
   Organizer sign here                                                                            Print your name here

   LLC-1 (REV 12/2018)                                                                                                               2018 Ceffomia Secretary of State
                                                                                                                                       www.sos.ca .gov/business/be
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                       EXHIBIT F
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       GoDaddy                                                                 (D A

        Search the WHOIS Database
                                                                               Search

        Private Registration   Local listings




            WHOIS search results
            Domain Name: ekonaturals.us
            Registry Domain ID: D3EBD7503A19C47BB9416EAD2834281BC-NSR
            Registrar WHOIS Server: whois.godaddy.com
            Registrar URL: http://www.godaddy.com
            Updated Date: 2019-01-14T16:57:52Z
            Creation Date: 2019-01-14T16:57:51Z
            Registrar Registration Expiration Date: 2021-01-14T16:57:51Z
            Registrar: GoDaddy.com, LLC
            Registrar IANA ID: 146
            Registrar Abuse Contact Email: abuse@godaddy.com
            Registrar Abuse Contact Phone: +1.4806242505
            Domain Status: clientTransferProhibited
            http://www.icann.Org/epp#clientTransferProhibited
            Domain Status: clientUpdateProhibited
            http://www.icann.0rg/epp#clientUpdatePr0hibited
            Domain Status: clientRenewProhibited
            http://www.icann.0rg/epp#clientRenewPr0hibited
            Domain Status: clientDeleteProhibited
            http://www.icann.Org/epp#clientDeleteProhibited
            Registry Registrant ID: CR352868075
            Registrant Name: Brett Cummings
            Registrant Organization: Left Coast Ventures
            Registrant Street: 975 Corporate Center Parkway
            Registrant Street: Suite 120
            Registrant City: Santa Rosa
            Registrant State/Province: California
            Registrant Postal Code: 95407
            Registrant Country: US                                              Contact Us
                                                                           H
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          Registrant Phone: +1.4159711592
          Registrant Phone Ext:
          Registrant Fax:
          Registrant Fax Ext:
          Registrant Email: brett.cummings@privateerholdings.com
          Registry Admin ID: CR352868077
          Admin Name: Brett Cummings
          Admin Organization: Left Coast Ventures
          Admin Street: 975 Corporate Center Parkway
          Admin Street: Suite 120
          Admin City: Santa Rosa
          Admin State/Province: California
          Admin Postal Code: 95407
          Admin Country: US
          Admin Phone: +1.4159711592
          Admin Phone Ext:
          Admin Fax:
          Admin Fax Ext:
          Admin Email: brett.cummings@privateerholdings.com
          Registry Tech ID: CR352868076
          Tech Name: Brett Cummings
          Tech Organization: Left Coast Ventures
          Tech Street: 975 Corporate Center Parkway
          Tech Street: Suite 120
          Tech City: Santa Rosa
          Tech State/Province: California
          Tech Postal Code: 95407
          Tech Country: US
          Tech Phone: +1.4159711592
          Tech Phone Ext:
          Tech Fax:
          Tech Fax Ext:
          Tech Email: brett.cummings@privateerholdings.com
          Name Server: NS67.DOMAINCONTROL.COM
          Name Server: NS68.DOMAINCONTROL.COM
          DNSSEC: unsigned
          URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
          »> Last update of WHOIS database: 2019-10-24T19:00:00Z «<
                                         /
          For more information on Whois status codes, please visit
          https://www.icann.org/resources/pages/epp-status-codes-2014-06-16-i
                                                                                r
           Notes:                                                               U    Contact Us
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           IMPORTANT: Port43 will provide the ICANN-required minimum data set per
           ICANN Temporary Specification, adopted 17 May 2018.
           Visit https://whois.godaddy.com to look up contact data for domains
           not covered by GDPR policy.

           The data contained in GoDaddy.com, LLC's Whols database,
           while believed by the company to be reliable, is provided "as is”
           with no guarantee or warranties regarding its accuracy. This
           information is provided for the sole purpose of assisting you
           in obtaining information about domain name registration records.
           Any use of this data for any other purpose is expressly forbidden without the prior
           written
           permission of GoDaddy.com, LLC. By submitting an inquiry,
           you agree to these terms of usage and limitations of warranty. In particular,
           you agree not to use this data to allow, enable, or otherwise make possible,
           dissemination or collection of this data, in part or in its entirety, for any
           purpose, such as the transmission of unsolicited advertising and
           and solicitations of any kind, including spam. You further agree
           not to use this data to enable high volume, automated or robotic electronic
           processes designed to collect or compile this data for any purpose,
           including mining this data for your own personal or commercial purposes.

           Please note: the registrant of the domain name is specified
           in the "registrant" section. In most cases, GoDaddy.com, LLC
           is not the registrant of domain names listed in this database.


           See Underlying Registry Data | Contact Domain Holder |           Report Invalid Whois



           Want to buy this domain?
           Get it with our Domain Broker Service.

            Go




           is this your domain?
          Add hosting, email and more.

            Go                                                                                Contact Us
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                      EXHIBIT G
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                11:59 (2 a                             V' © ^ ,i 92% ■

                      Left Coast Ventures | Linkedln

               Company size
               51-200 employees

               Headquarters
               Santa Rosa, CA

               Type
               Privately Held

               Founded
               2018




               Locations
                Primary
               Santa Rosa, CA 95407, US
               Get directions c?

               Chatsworth, CA 91311, US
               Get directions &        __

               Costa Mesa, CA 92627, US
               Get directions c?

               Half Moon Bay, CA 94019, US
               Get directions e?

               Show more locations ^



                          III            O                 <
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                      EXHIBIT H
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                               ADVISORY SERVICE AGREEMENT
    THIS ADVISORY SERVICE AGREEMENT (the “AgreemenD is made this 01* day of
                                                                                           August 2017 by
    and between Trimax Corporation (the “Company") and Infinity Global Consulting Group, Inc,,
                                                                                               3867 NE !68,1,
    St. unit 404, North Miami Beach, FL. 33160, (the “Advisor"),


   WHEREAS, Advisor and Advisor’s personnel and contacts have experience in advising corpora
                                                                                                     te
   management, strategic planning, corporate development and forecasting, marketing, structur
                                                                                                ing investor
   relations programs, contract negotiations and performing general administrative duties tor pubiic!y
                                                                                                       *held
   companies Mid developing state investment ventures.


   NOW THEREFORE, in consideration of the mutual promises and conditions set forth herein
                                                                                               and for other
   good and valuable consideration, the receipt and adequacy of which is hereby acknowledged,
                                                                                              the parties agree
   as follows.
   1.       Engagement. The Company hereby engages Advisor as of the date hereof and continuing
                                                                                                until
            termination as provided herein to provide or assist the Company with die following:
        * Design and arrange public and investor relations campaigns and agreements for the compan
                                                                                                   y.
        * Distribute company news and relevant information to market makers, financial media outlets,
                                                                                                                selected
            Internet stock pagesfthreads and the OTC analyst community,
        * Manage message boards and revamp information boxes
        * Manage social media sites
        * Create and/or develop a new corporate website that will use and interact with social media
        * Create advertisements for financial periodicals to enhancc market awareness programs.
        * Write, edit and proof any and oil correspondence on behalf of the Company.
        *   Distribute and disseminate aii public materials to potential investors and shareholders.
        * Present client to various media and periodical sources, when appropriate, as well as, interact
                                                                                                         with
          national and regional media outlets including appropriate trade journals.
        * Create a Corporate Overview/Due Diligence package for dissemination to potential investor
                                                                                                       s,
          shareholders and clients. Assisi in the development of a public marketing strategy including
                                                                                                       video
          presentations.
        *   Write, edit and proof all press releases as appropriate and in concert with client milestones,
                                                                                                             material and
            newsworthy events.
        * Consult with tire company on general business and financial issues.

                                                        Page 1 of7

                                                                                                                   (£$>
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                                     226


      • Perform due diligence presentations to market makers at tire company’s reques
                                                                                      t.
      • If necessary, negotiate or assist in the negotiation ofsource, distribution and market
                                                                                                      ing agreements with
           third party sources.
      • introduce company to various principles of retail Investment Banking houses
                                                                                    located             in the United
           States.
      • Facilitate all duties and responsibilities for the Company’s Shareholder Relatio
                                                                                         ns        Dept. Including
           speaking with potential and existing shareholders, creation and monitoring of all
                                                                                              internet message
           boards and tire development of a diversified shareholder base on behalf of the client.
      • Introduce client to various lenders, investor funding groups and hedge funds.
      •    Screen all potential individuals and business proposals on behalf of the Company
                                                                                            in order to prevent any
           detrimental impacts on the public company.
      • Advisor will take responsibility for guaranteeing a 24 hr. turnaround time in respon
                                                                                                     se to any and all
           information that needs to be communicated via emails and/or verbal responses to
                                                                                                   questions as related to
          general questions, corporate information or press releases. Further Advisor shall
                                                                                                  give any ongoing
           consulting support deemed necessary by client; (collectively the ‘‘Services").
           2.       Term. Unless sooner terminated in accordance with the termination provisions set
                                                                                                               forth in this
           Agreement, the term of this Agreement shall be for an initial term of 12 months comme
                                                                                                          ncing on the date
           hereof (the “Initial Term"), and shall automatically renew every 12 months unless
                                                                                                   a written termination
           notice is given either (30) thirty days prior to the end of the initio! Term, or (30) thirty
                                                                                                         days prior to any
           month alter (he renewal period, liilher party shall advise the other at least (30) thirty
                                                                                                      days in advance of
           its desifC lo terminate the contract any time during Initial Term of additional Temis
                                                                                                     thereafter agreed
           upon.
 3.       Time and EtTort of Advisor Services. Advisor shall allocate such time and assign
                                                                                                     such of Advisor’s
          personnel as it deems necessary to complete the Services to be provided under this
                                                                                                    Agreement.
          The Company agrees to provide any and all information and or documents reasona
                                                                                                   bly requested by
          Advisor and/or Advisor's personnel to assist in the performance of the Services require
                                                                                                         d hereunder.
 4.       Limitation of Advisors Liability. In the absence of willful malfeasance, bad faith,
                                                                                                     negligence, or
          reckless disregard for the obligations and duties hereunder by Advisor, neither Adviso
                                                                                                        r nor Advisoris
          personnel shall be- liable to the Company or any of its subsidiaries, officers, directo
                                                                                                   rs or shareholders for
          any act or omission in the course of or connected with rendering the Services, includi
                                                                                                      ng, but not limited
          to, losses that may be sustained in any corporate act in any subsequent business opportu
                                                                                                          nity undertaken
          by Ute Company as a result of advice provided by Advisor or Advisor’s personnel.


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   5.    Advisory Service Cwlnpcnsatiom The Company sha» pay to Advisor as
                                                                                         compensation for the
         services under this Agreement during the Initial Term by way of delivery
                                                                                       of $5,000 for the first month's
           retainer, and $5,000 per month, due every 30 days for the remaining eleven
                                                                                          months of the contract.
           Additionally 500,000 options shall be issued under Rule 144 to the adviso
                                                                                       r. Options shall convert into
           free trading shares ©f Trimax Corporation common stock after six months
                                                                                        and tire exercise price shall be
          set at .10 (Ten) cents. All monies and options shall be deemed fully earned
                                                                                         as of the date of the signing
          of this agreement.
  6.      Costs and Expenses. AH third party costs and out-of-pocket expenses incurre
                                                                                              d by Advisor in excess of
          $300.00 shal I be reimbursed to Advisor within thirty (30) days of issuance
                                                                                         of invoice to the Company.
          Additionally, aff expenses shall be pre-approved by the Company in advanc
                                                                                         e to any monies being spent
          for reimbursement.
  7.      Place of Services. The Services to be provided hereunder shat! be perform
                                                                                         ed in such place us Advisor,
          in its sole discretion, deems is the best location tor such Services and may
                                                                                        Include, but not be limited to
         the Advisor’s offices, the Company's offices or other locations as require
                                                                                       d for the particular service to
         be performed.
  8.     fndepejdeot Cpnlractor, Advisor will act aft Independent Contractors in
                                                                                        die performance of the
         Services under this Agreement. Accordingly, Advisor will be responsible
                                                                                       for payment of ail federal,
         state, and local taxes on compensation paid under this Agreement, including
                                                                                          income and social security
         taxes, unemployment insurance, and any other taxes due relative to Advis
                                                                                      or's personnel, and any and all
         business license fees as may be required. This Agreement neither expressly
                                                                                          nor impliedly creates a
         relationship of principal and agent, or employment and employer, between
                                                                                        Advisor and the Company.
        Neither Advisor nor Advisor's personnel are authorized to enter into any agreem
                                                                                               ents on behalf of the
        Company. The Company expressly retains the right to approve, in its sole
                                                                                       discretion, each opportunity
        introduced by Advisor, and to make all final decisions with respect to whethe
                                                                                           r or not to accept or reject
        any business opportunity suggested or introduced by Advisor.
 9.     Rejected Asset Opportunity or Business Opportunity. If, during the Initial
                                                                                             Term of this Agreement
        or the Additional Term, the Company elects not to proceed to acquire, partici
                                                                                          pate or invest in any
        business opportunity identified and/or selected by Advisor or Advisor's person
                                                                                             nel, notwithstanding the
        time and expense the Company may have incurred reviewing such transac
                                                                                      tion, such business

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          opportunity shall revert back to and become proprietary to Advisor, and Advisor
                                                                                                shall be entitled to
          acquire or broker the sale or investment in such rejected business opportunity for
                                                                                                its own account, or
          submit such assets or business opportunity elsewhere. In such event. Advisor shall
                                                                                                   be entitled to any
          and all profits or fees resulting from Advisor’s purchase, referral or placement of
                                                                                                any such rejected
          business opportunity, or the Company's subsequent purchase or financing with such
                                                                                                    business
          opportunity in circumvention of Advisor.
   10.    No Agency Express or Implied. This Agreement neither expressly nor impliedly
                                                                                                  creates a relationship
          of principal and agent between the Company ami Advisor, or
          employee and employer as between Advisor and Advisors personnel and the Compa
                                                                                                    ny.
  11.    Termination. The Company and Advisor may unilaterally terminate this agreem
                                                                                               ent at any time with 30
         days written notice or email notice, alter the first 3 months of the initial term. Either
                                                                                                    party. Company or
         Advisor may give notice of termination thirty (30) days prior to tire end of the initial
                                                                                                    term or the
         additional term, contingent upon the advisor being paid in lull and in advanced, the
                                                                                                  services of the
         following thirty (30) days from the time of termination notice or email termination
                                                                                                 notice. Additionally,
         either party may terminate this Agreement with thirty (30) days written notice, after
                                                                                                   the first 3 months of
         the initial term, if the Company is dissatisfied with the Advisor's services under
                                                                                              the folfowing
         conditions:
                 (A)     By the Comfiafiy.
                       (1)   If during the Initial Term of this Agreement or the Additional Term, Advisor is
                             unable to provide the Services as set forth lierein for ten (10) consecutive busines
                                                                                                                 s
                             days because of illness, or other incapacity of Advisor's personnel; or,
                       (2) If Advisor willfully breaches or neglects the duties required to be performed
                           hereunder,
                (B) By Advisor.
                       (1) If the Company breaches this Agreement or fails to make payments or provide
                           information and documents required hcrcunder;or.
                       (2) If the Company ceases business or sells a controlling interest to a third party,
                                                                                                            or
                             agrees to a consolidation or merger of itself with or into another corporation, or enters
                             into such a transaction Outside of the scope of this Agreement, or setts substantially
                             ail of its assets to another corporation, entity or individual outside the scope of this
                             Agreement; or,




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                        (3) }f (he Company subsequent to the execution hereof' lias a Recei
                                                                                            ver        appointed for its
                               business or assets, or otherwise becomes insolvent or unable to timely
                                                                                                           satisfy its
                               obligations in the ordinary course of its business; or
                          (4) If the Company subsequent to the execution hereof institutes,
                                                                                                 makes a general
                               assignment for the benefit of creditors, has instituted against it any
                                                                                                       bankruptcy
                               proceeding for reorganization or rearrangement of its financial affairs
                                                                                                         , files a petition
                               in a court of bankruptcy, or is adjudicated a bankrupt; or
                         (5) If any of the disclosures made herein or subsequent hereto by
                                                                                                 the Company to
                               Advisor are determined to be materially false or misleading.
          Furthermore, after the first 90 days of the execution of this agreem
                                                                                   ent, or any time after the additional
          term, the Company and Advisor may unilaterally terminate this agreem
                                                                                       ent with a 30 day written notice
          or email notice. Either party. Company or Advisor, may give notice
                                                                                   of termination thirty (30) days prior
          to the end of the initial term or the additional term, contingent upon
                                                                                   the advisor being paid in full or in
         advance, for the services of the following thirty (days) from the date
                                                                                    of the written or email termination
          notice.
  12.    Indemnification. Subject to the provisions herein, tile Company and
                                                                                     Advisor agree to indemnify,
         defend and hold each other harmless from and against all demands,
                                                                                  claims, actions, losses, damages,
         liabilities, costs and expenses, including without limitation, interest,
                                                                                   penalties and attorney's fees and
         expenses asserted against or imposed or incurred by either party by
                                                                                  reason of or resulting from any
        action or a breach of any representation, warranty, covenant, condi
                                                                                tion, or agreement of the other party
         to this Agreement.
 13.    Remedies. Any and all remedies available hereunder shall be cumu
                                                                                  lative and nonexclusive and shall be
        in addition to any other remedy to which the parties may be entitled.
 14.    Miscellaneous,
        (A) Subsequent Events, Advisor and the Company each agree to
                                                                                  notify the other party if, subsequent
                  to the date of this Agreement, either party incurs obligations that could
                                                                                              compromise its efforts
                  and obligations under this Agreement
        (B)       Antitendment, This Agreement may be amended or modified at any
                                                                                          time and in any manner only
                  by an instruroeni m writing executed by both parties hereto.
        (C)       Further Act|onsand_Assuraitees. At any time and from time to time,
                                                                                            each party agrees, at its or
                 their expense, to take actions and to execute and deliver documents
                                                                                          as may be reasonably
                 necessary to effectuate the purpose of this Agreement.



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        (D)      WaivCT. Any failure of any party to this Agree mem to comply
                                                                                 with any of its obligations,
                agreements, or conditions hereunder may be waived in writing
                                                                                   by (lie party to whom such
                compliance is owed. Hie failure of any party to lifts Agreement
                                                                                     to enforce at any time of the
                provision of this Agreement shall in no way be construed to be
                                                                                   a waiver of any such provision or
                a waiver of the right of such party thereafter to enforce each and
                                                                                     every such provision. Mo
                waiver ofany breach of or noncompiiance with this Agreement
                                                                                    shall be held to be a waiver of
                any other or subsequent breach or noncompiiance.
                Assignment. Neither this Agreement nor any right created by
                                                                                   it shall be assignable by either
                               party without the prior written consent of both parties.
       m        Notices. Any notice or other communication required or permi
                                                                                  tted by this Agreement must be in
                writing and shall be deemed to be properly given when delive
                                                                                red in person to an officer of the
               Other party, when deposited in the United States mail for transm
                                                                                   ittal be certified or registered
               mail, postage prepaid, or when deposited with a recognized couri
                                                                                     er service tor transmittal, or
               when sent by facsimile transmission and such transmission is
                                                                               evidenced by log as satisfactorily
               transmitted, and in each case provided drat the communication
                                                                                 is addressed;


               (1) In the case of the Advisor;     Infinity Global Consulting Group, Inc.
                                                  3967 NE 168"'St. unit 404
                                                  North Miami Beach, FL. 33160
                                                  Joseph M. Vazquez, 111 President


              (2) hi the case of the Company;     Trimax Corporation
                                                  8943 Oso Ave. suite C
                                                  Chats worth. CA 91311
                                                  Hugo Saavedra CEO
              or to such other person or address designated in writing by the
                                                                                  Company or advisor to
               receive notice and served on the other party in accordance with
                                                                                   this section.
      (F)     Headings, The section and subsection headings in this Agree
                                                                               ment are inserted For convenience only ai
              shall not affect in any way the meaning or interpretation of this
                                                                                  Agreement.
      (G)     Governing Law- This Agreement was negotiated and Us being
                                                                                  contracted for in Florida, and
              shall be governed by the laws of the State of Florida. The partie
                                                                                   s expressly agree to venue in
              Miami-Dade County, Florida for any and all actions commenced
                                                                                    relative to this Agreement.
      (H)     Binding Effect. This Agreement shall be binding upon the partie
                                                                                    s hereto and inure to the benefit
              of the parties, their respective heir®, administrators, executors,
                                                                                 successors, and assigns.
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        (I)      Entire Agreemerji, This Agreement contains the entire
                                                                           agreement between the parties hereto and
                 supersedes any and all prior agreements, arrangements,
                                                                           or understandings between the parties
                 relating to the subject mailer of this Agreement.
       (i)       Severability. If any party of this Agreement is deemed
                                                                           to be unenforceable the balance of the
                 Agreement shall remain lit full force and effect.




       (K)      Counterparts. A facsimile, telecopy, or other reproducti
                                                                            on of this Agreement may be executed
                simultaneously in two or more counterparts, each of whic
                                                                             h shall be deemed an original, but all of
                which together shall constitute one and the same instru
                                                                         ment. The executed copy of this
                Agreement shall be valid and binding upon a party when
                                                                            transmitted by facsimile to the other
                party. At the request of any party hereto, all parties agree
                                                                             to execute an original of this
                Agreement, as well as, any facsimile, telecopy or other
                                                                          reproduction hereof.


              IN WITNESS WHEREOF, the parties have executed this
                                                                         Agreement on the date above written.


                                                                             ■>/?
                                        u

              Infinity GlobaVCpi suiting Gr up, Inc                                 /;W.. ;
                                                                            ipvax Corporation
                     Joseph M. Va^uczJlE
                                                                            Hugo Saavedra
                          President
                                                                                 CEO




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                      EXHIBIT I
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                                                                                                   INVOICE
  Joseph M. Vazquez III D/B/A
  Infinity Global Consulting Group, Inc.                                                             INVOICE# 1851199
                                                                                                   DATE: MAY 01, 2019

  3967 NE 168"’ Street, Suite 404, North Miami Beach, FL. 33160
  Phone (754) 204-4549 Fax (305) 393-8450
  infim‘tyglobalconsult1ng®gmail.com

  TO     Hugo Saavedra, CEO
         Trimax Corporation ft
         Saavy Naturals Inc.
         8943 Oso Ave Suite C
         Chatsworth, CA 91311



                                          JOB DESCRIPTION         PAYMENT TERMS
                                 -
                                     Monthly Retainer Fee         Due upon receipt


       CLIENT                                JOB DESCRIPTION                    START/COMPLETION
                                                                                      DATE            AMOUNT DUE



  Trimax          Past Due Invoice - 1851197
  Corporation                                                                     04/01/18            $88,382.00

                  Current Monthly Retainer
  &                                                                               05/01/19            $5,000.00

  Saavy
  Naturals Inc.




                                                                                  AMOUNT DUE           $93,382.00

                       AAAKE ALL CHECKS PAYABLE TO: Infinity Global Consulting Group, Inc.
                                       THANK YOU FOR YOUR BUSINESS!
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                      EXHIBIT J
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                                                             CMD
                                         CARMEL., MiLAZ2D& DlCHIARA up
                                                         ATTORNEYS AT LAW


                                                                                            December 19,2018
        VIA E-MAIL ONLY
        The Hamer Group Insolvency Solutions
        Attn: Nigel Hamer
        444 West Ocean Blvd.
        Suite 1400
        Long Beach, CA 90802
        niuel(<£etinsolvencv.com


                Re:               Ownership of the Assets
        Dear Mr. Hamer:
                 We are counsel to Saavy Naturals, Inc., a Nevada business corporation (the “Company”)
        and we have been requested to issue an opinion with respect to the ownership of the corporate
        assets (the “assets”) represented by the documents provided to us by the Company through the
        dropbox current as of the date of this legal opinion.
                Relevant Background
                HuDeb LLC (“HuDeb”) is a Delaware limited liability company formed on September 23,
        2014.

                Saavy Naturals, Inc. (“Saavy I”) is a California corporation incorporated on September 24,
        2013, and merged out to HuDeb on December 8, 2014. Saavy I appears to initially own the brand
        “Saavy Naturals.”
                Saavy Naturals, Inc. (the “Company”) is a Nevada corporation incorporated on January 6,
        2017. We rely on the representation of the Company that both the Company and HuDeb LLC are
        authorized to do business as “Saavy Naturals” as of the date of this Opinion.
                  Trimax Corporation (“Trimax”) is a Nevada corporation incorporated on August 18, 1999
        (initially, under a different name). Trimax is currently in default of its filing obligations to the
        Secretary of State of Nevada. Trimax owns 100% of the equity interest in the Company pursuant
        to the purchase agreement and board resolution dated April 4, 2018.1 Therefore, all the assets of
        the Company shall be subject to the Company’s status as a wholly-owned subsidiary of Trimax.
                Scope and Methodolosrv of Leual Opinion
               In rendering the opinion expressed below, we have assumed without verification the
        genuineness of all signatures, the legal capacity of natural persons, the authenticity of all documents

        1 This is not, however, in conformance with the earlier Asset Purchase Agreement dated January 9, 2017 for
        sale of business for 80,000,000 shares of common stock of Saavy Naturals Inc. Based on the resolution,
        however, it appears that the 80,000,000 shares of common stock of Saavy Naturals Inc. have never been
        issued.
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        submitted to us as originals, the conformity to the originals of all documents submitted to us as
        copies and the authenticity of the originals of such copies. In addition, we have assumed and not
        verified (a) the accuracy as to the factual matters of each document we have reviewed and the
        accuracy of, and compliance with, the representations provided by the Company, and (b) that each
        of the signatories had full power and authority to have taken all necessary action to effect such
        document.
                 The documents analyzed for this legal opinion were arranged, assorted, and listed in the
        dedicated ledger that shall be a part of the legal opinion but shall be kept with our Firm at all times.
        The privileged or potentially privileged documents have been designated as such in the ledger. The
        ledger is annexed hereto as Exhibit A. The original format of the ledger is *.xls.
                 For the purposes of this legal opinion, we do not regard any employment agreements and
        any agreements other than the constituting the goodwill of the company pursuant to extrinsic
        evidence, as assets.2 Additionally, for the purposes of this legal opinion, the conclusory documents
        with regard to the bank accounts created without the participation of our Firm and not confirmed
        by any extrinsic evidence, such as account statements and alike, are disregarded (see, for instance,
        documents #68-69 of the document ledger). Furthermore, the assets including but not limited to
        leases that are owned by any of the shareholders, officers, directors, agents, or affiliates of any of
        the entities are not included as assets of the entities but indicated in the document ledger for
        informational purposes only.
              In reliance upon the documents provided by the Company and representations of the
        Company we came to the following conclusions:

                 0)       We have not found any evidence of fraudulent conveyances of assets;
                 (ii)     We have formed no opinion with regard to each and every transfer of assets
                          whether the transferor was receiving reasonably equivalent value from the
                          transferee under the circumstances;

                 (iii)    We have formed no opinion with regard to transferability of any of the assets, such
                          matter shall be outside of the scope of this opinion;
                 (iv)     We have formed no opinion as to each and every transfer or agreement is legal,
                          valid, binding, and enforceable on its terms; this opinion is not the “remedy
                          opinion,” and may not be used as such;

                 (v)      We have formed no opinion as to the probability of the “substantial identity” of
                          the legal entities in question, and this opinion does not address any issues of the
                          commingling of assets and business functions of the entities, the degree of
                          difficulty in segregating and ascertaining individual assets and liabilities of the
                          entities in question, the existence of intercorporate guarantees on loans that may

        2 In terms of the methodology of not considering contracts, see Barnes Group Inc. v. XJ.S.3 902 F.2d 1114,
        1115 (2d Cir. 1990). Additionally, the bankruptcy judges found that “the fee argeements [sic!] to be
        nonassumable executory contracts and thus not assets of the bankruptcy estate. On appeal, the district court
        agreed with the bankruptcy court’s reasoning that the agreements were personal service contracts, which are
        nonassumable under 11 U.S.C. § 365(c), and therefore not part of the estate.” % 69,765 IN RE TONRY,
        Bankr. L. Rep. P 69765
        We do not state that the contractual rights and obligations are not assets for the purposes other than a potential
        bankruptcy proceeding, nor does this opinion intend to assume that the methodology chosen in the only
        methodology that can be adopted.


                           55 West 39th Street, 18th Root New York, NY 10018 I (p) 212/658-0458 (f) 646/838-1314 cmdllp.com
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                          affect the assets, the unity of interests and ownership between the various corporate
                          entities, or the transfer of assets without observance of corporate formalities. In
                          other words, this opinion addresses the nominal owners of the assets, if any, or the
                          uncertainty of identifying thereof based on the documents provided.

                 (vi)     We were not provided with any representations with regard to the presence or
                          absence of consolidated financial statements of the entities in question.

                 (vii)    This opinion specifically addresses the assets that are mentioned in the document
                          #119, “Inventory of Raw Materials and Finished Goods.xlsx.3” The document
                          #119 does not address the matter of the ownership of the assets, but rather contains
                          the list of the assets that were purchased for the purposes of conducting business
                          under the brand name “Saavy Naturals.” Upon our additional request for
                          documentation, we were provided with the documents #266-259 of the ledger.
                          Each of the documents is a purchase order from various vendors of materials: Color
                          Maker, Jedwards, Lakshmi International LLC, Norman Fox & Co. The date of the
                          mentioned 94 documents varies from January 10,2017, to December 14,2018.93
                          of 94 were documents addressed to Saavy Naturals, Inc. Document #346 is
                          addressed to “Hugo Saavedra, Saavy Naturals.” Further, we were provided with
                          the documents #359-418 consisting of invoices and demand notices with regard to
                          the payment obligations in connection with the inventory and/or raw materials
                          purchased during the period from November, 2015 to December, 2018. The
                          addressees of invoices are named as the Company (“Saavy Naturals, Inc.”), “Hugo
                          Saavedra, Saavy Naturals,” “Saavy,” “Saavy Naturals Everyday,” “Saavy Naturals
                          Soaps,” “Saavy Naturals Artisan Body CA,” “Saavy Naturals, Debra Saavedra,”
                          “Saavy Natural,” and Trimax (“Trimax Corporation”). Trimax is mentioned solely
                          in the document #416 dated November 13,2018. Further, as per representations of
                          the Company4, (i) all invoices, if paid, have been paid either through personal
                          accounts of Debra Saavedra and Hugo Saavedra, or through banks accounts of the
                          Company and HuDeb, and (ii) Trimax does not have any existing bank account.
                          For the purposes of determining the title owner of the items of inventory, we deem
                          that the “buyer in the ordinary course of business5” shall be deemed as the title
                          owner, unless proved otherwise. Further, we found no evidence of bad faith
                          transactions or other factors.6 We rely on the rule that “when goods are entrusted
                          to the possession of a merchant who deals in goods of that kind, a sale by the

        3 As per the statement of the Company, this document was created in the ordinary course of business based
        on the day-to-day operations of the Company.
        4 Representation via e-mail dated December 19, 2018.
        5 * ‘Buyer in ordinary course of business” means a person that buys goods in good faith,
                                                                                                      without knowledge
        that the sale violates the rights of another person in the goods, and in the ordinary course from a person, other
        than a pawnbroker, in the business of selling goods of that kind. A person buys goods in the ordinary course
        if the sale to the person comports with the usual or customary practices in the kind of business in which the
        seller is engaged or with the seller’s own usual or customary practices. A person that sells oil, gas, or other
        minerals at the wellhead or minehead is a person in the business of selling goods of that kind. A buyer in
        ordinary course of business may buy for cash, by exchange of other property, or on secured or unsecured
        credit, and may acquire goods or documents of title under a preexisting contract for sale. Only a buyer that
        takes possession of the goods or has a right to recover the goods from the seller under Article 2 may be a
        buyer in ordinary course of business. “Buyer in ordinary course of business” does not include a person that
        acquires goods in a transfer in bulk or as security for or in total or partial satisfaction of a money debt. § 1-
        201. General Definitions., Unif.Commercial Code § 1-201
        6 For factors constituting “buyer in the ordinary course of business and factors showing otherwise we refer
        to 87 A.L.R.3d 11 (Originally published in 1978).


                            55 West 39th Street 18th Floor New York, NY 10018 | (p) 212/658-0458 (f) 646/838-1314 cmdllp.com
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                          entrusted transfers the entruster’s title to a buyer in the ordinary course of
                          business.” Ilk CJ.S. Sales §418. Notwithstanding the payer’s obligations or lack
                          thereof, we were advised that (i) the Company was the intended owner, (ii) The
                          company is the actual recipient of the goods from vendors (in all cases but one,)
                          and (iii) in the only case where both Mr, Hugo Saavedra and the Company are
                          recipients, Mr. Hugo Saavedra himself explicitly denies any proprietary claims to
                          the inventory and materials. Therefore, we conclude that the Company is “the
                          buyer in the ordinary course of business” and the owner of the inventory listed in
                          the document #119.

                 (viii)   We were not provided with the information to form an opinion with regard to the
                          probable rights of HuDeb to the shares of Common stock of the Company. More
                          specifically, HuDeb and the Company entered certain Asset Purchase Agreement
                          dated January 9, 2017 (document #201 of the document ledger) which was
                          additionally approved by the board resolution of the Company. Pursuant to the
                          referenced agreement, the entire business of HuDeb was to be transferred to the
                          Company in consideration for 80,000,000 of common stock of the Company.
                          There is no indication that the shares have ever been issued to HuDeb, that any
                          assets of HuDeb have ever been transferred to the Company, or that the parties
                          effectuated the above-referenced agreement in any manner whatsoever.7 Upon
                          additional inquiry, we received representation by the Company that the parties did
                          not proceed with the transaction.8 Therefore, we specifically indicate that we have
                          not formed any opinion with regard to the assets in connection with this
                          transaction, but acknowledge the fact that the fact of the transaction may be
                          relevant for further determinations with regard to the assets.9

                 (ix)     The beneficial ownership of the assets of the entities in question is allocated, as
                          provided in the annexed table below.




        7 It is generally accepted that non-outstanding non-issued shares cannot be considered as assets. See 14 N.Y.
        Jur. 2d Business Relationships § 288
        8 Representation is made via e-mail on the date on December 17, 2018.
        9 Additionally, there is a problem of identification of the assets to be transferred under the agreement, if any


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                             Beneficial
          Asset               Owner                       Document relied upon                       Category of Asset            Notes, if any

 1,000,000     Class    A HuDeb, LLC                Certificate of preferred Class A Securities
 Preferred stock of Trimax                          Preferred Stock providing that
 Corporation                                        HuDeb LLC owns 1000000 of
                                                    shares of Trimax Corporation
                                                    [without date] Document #20.

                                                    Additionally,   the     document
                                                    showing the same data is Treasure
                                                    Order Issuance Resolution dated
                                                    April 10,2017 (Document #26)


 200,000,000 Shares of HuDeb, LLC                   Shareholder Report of Trimax Securities
 Common Stock of Trimax                             Corporation as of 10/03/2018.
                                                                                                                                                                                       226




 Corporation                                        Shareholder Report references the
                                                    certificate of common stock #3417
                                                    dated 04/19/2017
                                                    (Document #25)

                                                    Additionally, ownership can be
                                                    confirmed by the Board Resolution
                                                    dated April 4, 2017, of issuance of
                                                    shares of common stock (document
                                                    #28)

Trademark          "Saavy Saavy      Naturals, Certified copy of the decision to Intellectual Property
Naturals” in Japan        Inc.                 grant a Trademark Registration
                                               Japan     Registration   number
                                               1374706
                                                                                                                                                  Case 1:19-cv-25019-AHS Document 1-1 Entered on FLSD Docket 12/05/2019 Page 113 of




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                                                    Date of international registration:
                                                    2017/09/25

Trademark          "Saavy Saavy      Naturals, USPTO Certificate of TM Intellectual Property
Naturals" for body lotions Inc.                registration number 1374706
in the United States                           5345836
                                               Filing date: May 2,2017

 Lease for the premises Unclear                     South Coast Beaches Lease.pdf Real Property Lease                               The Lease provides for Saavy
 241 Atlantic Blvd., # 103                          Document # 87                                                                   Naturals, as a tenant, without any
 Jacksonville, FL 32266                             South Coast Beaches Lease.pdf                                                   clarification in this regard. The
                                                                                                                                    Lease is dated February 24, 2016,
                                                                                                                                    therefore, it was entered before
                                                                                                                                    Saavy Naturals          Inc.     was
                                                                                                                                    incorporated in Nevada.
                                                                                                                                    As a result, we can be certain
                                                                                                                                    solely to the extent that Saavy
                                                                                                                                                                                                                226




                                                                                                                                    Naturals Inc. is not entitled to any
                                                                                                                                    rights under the Lease to our best
                                                                                                                                    knowledge.

Registered business name HuDeb, LLC                 Fictitious business name statement Intellectual Property
in the state of Delaware                            (document #120)

Undefined assets under Saavy          Naturals Asset Purchase Agreement dated Business equipment,                                   HuDeb, LLC had sold a certain
Purchase of business Inc.                      January 9,2017                 outstanding business                                  amount of equipment and
Agreement dated January                                                       contracts, intellectual                               intellectual property in connection
9, 2017                                                                       property                                              with the sale of goods and services
                                                                                                                                    under the business name “Saavy
                                                                                                                                    Naturals,” none of which was
                                                                                                                                    identified.
                                                                                                                                                                           Case 1:19-cv-25019-AHS Document 1-1 Entered on FLSD Docket 12/05/2019 Page 114 of




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 Cash in the amount of Saavy       Naturals Account        statement        dated Cash                                   US     Bank       Account     #
 $208.35               Inc.                 November, 2018 (document #256)                                               157514003928
                                            and the balance as of the date of this
                                            legal opinion (document #258)

 Cash in the amount of Saavy       Naturals Account        statement        dated Cash                                   Florida Savings    Account    #
 $14.42                Inc.                 November, 2018 (document #259)                                               243363993
                                            and the balance as of the date of this
                                            legal opinion (document #253)

 Cash in the amount of Saavy       Naturals Account        statement        dated Cash                                   Florida Checking    account   #
 $2,030.50             Inc.                 November, 2018 (document #259)                                               243364973
                                            and the balance as of the date of this
                                            legal opinion (document #254)

 Domain      Names   as   Hugo Saavedra in Account statement for the domain Intellectual Property
 follows:                 his      individual name     registrations   through
                                                                                                                                                                                                226




 babysaavy.com            capacity            “Network Solutions” (Documents #
 bodysaavy.com                                261 and 262)
 saavynatural.biz
 saavynatural.com
 saavynatural.net
 saavynatural.org
 saavynaturals.com
 saavyorganics.com
 skinsaavy.com

Non-exclusive copyright HuDeb, LLC              Shutterstock master licensing Intellectual Property
licenses to images on                           agreement dated June 5, 2015
Shutterstock  available                         (document #260) and the pdf files
through the dedicated                           generated through opening the
account                                         dedicated Shutterstock account
                                                (documents #263-265)_____
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 Property Lease             Hugo Saavedra in Lease Agreement (document #252) Commercial Lease                                       Premises: 8943 Oso Avenue, Unit
                            his      individual                                                                                     C, Chatsworth, California 91311
                            capacity

 Inventory, raw materials, Saavy       Naturals      Inventory of Raw materials and Chattels                                        Subject to the analysis and
 and other goods listed in Inc., subject to the      finished goods (#119), documents                                               disclaimers provided in the text of
 the document #119         analysis        and       #266-419 showing the ordinary                                                  the opinion
                           disclaimers               course of business, representations
                           provided in the           of the Company
                           text of the opinion

 Social media accounts Unclear, likely by            Documents #419-426 (screenshots Intellectual property                          The accounts are created for
 (Facebook    Pinterest, Ms.        Debra            demonstrating the connection                                                   business in connection with the
 Instagram)              Saavedra and Mr.            between the website and the                                                    website domain owned by Mr.
                         Hugo Saavedra or            accounts on social media and the                                               Hugo Saavedra. There is no
                         by Saavy Naturals           fact that Ms. Debra Saavedra is in                                             indication of the assignment of the
                         Inc.                        control of the account).                                                       account to any of the legal entities.
                                                                                                                                                                                                                 226




                                                                                                                                    Ms. Debra Saavedra is the
                                                                                                                                    administrator of the accounts. At
                                                                                                                                    the same time, Saavy Naturals Inc.
                                                                                                                                    is the exclusive owner of the
                                                                                                                                    trademark “Saavy Naturals” that is
                                                                                                                                    used through accounts in
                                                                                                                                    connection with the goods and
                                                                                                                                    services in question.__________
                                                                                                                                                                            Case 1:19-cv-25019-AHS Document 1-1 Entered on FLSD Docket 12/05/2019 Page 116 of




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                                     226

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                                                                           Sincerely,


                                                                           /s/ Ross David Carmel Esq.____
                                                                           Ross David Carmel, Esq.
                                                                           Carmel, Milazzo & DiChiara, LLP




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                                                        Exhibit A
                                                     Document Ledger




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Case 1:19-cv-25019-AHS Document 1-1 Entered on FLSD Docket 12/05/2019 Page 121 of
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                                                                                                                              Thv Lease provides for
                                                                                                                              Sanvy Nalwals, as tenant,
                                                                                                                              without any elarilicatMii in
                                                                                                                              tin* regard. The Lease is
                                                                                                                              Jatcd February24,2016,
                                                                                                                              therelbre, it was entered
                  87                                                                                                          before Saavy Naturals Inc.
                                                                                                                                   miwporatcd,
                                                                                                                              there fore, vve can he
                                                                                                                              certain solely to the extent
                                                                                                                              tlul tins entity Is not
                       South Coast Beaches Lease.pdf the                                                                      entitled to any rights under
                       lease agreement dated February 24,                                                                     the Lease
                       2016                                  n'a                              n'a    nfa                                                     No

                  88 Retainer Letter from Amin Talati                Saavy Naturals. Inc                                      Dupt tea live with the
                     Attorneys at law dated May 2^,2014      n'a                              n'a    n'a                      document H\
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                  gp Californio Dept. ofTax and Fee                                                                           Ihipllialivc uvith the
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                     Admin.does                              n'a                              n'a    n'o                      document H2                    No
                  90 Clover Addendimi.pdf                    n'a     HuDehLLC                 n'a    n'o                      Duplicative                    No
                  91 Clover Merchant Serriees.pdf            n'a     HuDubLLC                 n'a    n/a                      Duplicative                    No
                  92 CMDretainer agreement                   n'a     Saavy Naturals, Inc      n'a    n'a                      Duplicative                    Yes
                  93                                                 Saavy Naturals, Irr
                       Insolvency Assessment Agrecmcnl pdf n'o                                rv'a   n'a                                                     No
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                     Florida Dept, of Revenue.pdf            n'o                              n'a    n'a                                                 No
                  95 Oiannuzzi Oroujr, LLP                   n'a     Saavy Nat urals, Inc     n'a    n'a                                                 Yes
                                                                                                                              Savvy California Inc could
                  96                                                                                                          not have been in existana-
                       Koinpugird Agrccmenls.pdf             n'a                              n'a                             in 2017                    No
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                 105 Bridgewell RecoUKX's.pdf                tv'a    HuDcb U.C                n'a    n'a                                                     No
                 106 Bridgewell Resources. LLC.pdf           iVd     HuDebLLC                 n'a    li'a                                                    No
                 1«7 US Bank - 8235 taiargcofl\pdr           n'a     HuDebLLC                 n'o    n'a                                                     No
                 108 Container & Packaging pdf               n'a     Saavy Naturals. Inc             n'a                                                     No
                 109 Creative Solutions.pdf                  iv a    unclear                  n'a    n'a                                                     No
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                     Grccnlcaf Organic Pest Management               Management, Inc          n'a    n'a                                                     No
                 115 HP Sears 11-15-2018                     n'a     HuDcb LLC                n'a                                                            No
                                                                     Hugo Saavedra
                 116
                     JAMS 12-054018                                  individnaliy             n'a    n'a                                                     No
                 117 Majestic Fire Protection Legal          ivo     unclear                  n'a    n'a                                                     No
                 118 Puyuhex.pdf                             n'o     HuDebLLC                 n'a    n'a                                                     No
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                 126 Eisnran & Stone. Loan.pdf               n'a     Saavy Naturals, htc      n'a    n'a                                                     No
                 127 George Rivero                           na      HuDcb UX                 n'a    n'a                                                     No
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                 136 Recorded Lien.pdf                        n'a    HuDebLLC                 no     n'a                                                     No
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                 139                                                 naturals. Inc. Hudelh.
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                 140 CSNK Factoring Agreement.pdf             n'o    HuDebLLC                 n'a    n'o                                                    No
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                     Dawn Davis.pdf                           n'o    individually                    aa                                                     No
                 142 Eisnian & Stone Loan.pdf                 no     Saavy Naturalj. Inc.      n'a   n'o                                                    No
                 143 George Rivero.pdf                        no     HuDebLLC                  n'a   n'a                                                    No
Case 1:19-cv-25019-AHS Document 1-1 Entered on FLSD Docket 12/05/2019 Page 122 of
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                  144 Conversion Chan.pJf                   n'a                             HiiDch LIC                    kb     na                                                   No
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                  155 Latvrenix-M Grossman Nolcs.pdf           n'a                          Saavj'NaUirols, Iik.         n'o     n'a                                                  No
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                  157 Mark Cohen Note.pdf                      n'a                          HuDeb. U.C                   n'a     tv’s                                                 No
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                  160 Ron Slockman.pdf                         n'a                          HuDeb. LLC                   n'a     n'a                                                  No
                  16)                                                                       Trimax Corporation
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                  163 03-16-2018-1 Convertible Nflte.pdf       n'o                          Ssavy Naturals, Inc.          n'a                                                         No
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                   ’ Exhilrits and Schedule 1 .pdf                                                                       n'a     n'a                                                  Mr
                  165                                                                       Ssavy Naturals. Tnc.
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                      Warrant.pdf                              n'a                                                                                                                    No
                  169 Tangiers Reoon.pdf                                                    Saavy Nnitirtils, Inc.       n'a     n'a                                                  No
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                  173 FBNS - Saavy Nalunib.pdf                 n'a                          HuDeb, LLC                   n'a     Intellectual Property   duplicative                  No
                  174 Operating Agreement-HuDeb pdf            n'a                          HuDeb. LLC                   n'a                                                          No
                  175 Preferred Sicwk.pdf                      ecnilicale of common slock   HuDelr, LLC                  n’a     securities              duplicative                  No
                  176 Saavy Naturals, ine. Merger.pdf          n’a                          HnDeh. LLC                   n'a     n'a                     duplicative                  No
                  177 TMXN Hudch Cerl pdf                      n'a                          HuDeb. UX                    n'a     n'a                     duplicative (see «'20)       No
                  178 2015 HiiDeb Tax Rclurns.pdf              it’s                         HuDelr. LLC                  n'a     n'a                                                  No
                  179 2016 HuDeb Tax Relurns-pdf               n'a                          HuDeb, UX                    n'a     n'a                                                  No
                  180                                                                       HuDeb. LLC
                       2016 PR Tax Liability Reporl (EDD)      na                                                         n'a    n'a                                                  No
                  181 EDD 1st Qtr.Retwn 2016                   n'a                          HuDeb, LLC                    n'a    n'a                                                  No
                  1X2 EDD 4th Quarter                                                       HuDeb, LIX                    n'a    n'a                                                  No
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                  184 1st Qlr 2017 Payroll Liabililies.pdf                                  HuDeb, UX                            n’a                                                  No
                  185 2nd Qtr. 2017 Poymlt Liebililics.pdf     n'a                          HuDeb, IJX                    n'a    n-'a                                                 No
                  186 3rd Qlr. 2017 Payroll Liabilities.pdf    na                           HtiDeti, LLC                  n'a    n'a                                                  No
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                  188                                                                       HuDelr. LLC
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                  189 2017 Payroll Tax Liabilities pdf         n'a                          HuDeb. UX                     n'o    n'a                                                  No
                  190                                                                       Saavy Naturals. Inc. (old)
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                  201                                                                       Saavy Naturals, Inc                                          received shares of common
                                                                                                                                                         stock of Saavy Naturals,
                      Purchase Agreement.pdf                   na                                                         n'a    cquiplment, contracts                                No
                  202 Phillips Safei.pdf                       n'a                          Saavy No I nrols, Iik         n'a    n’a                                                  No
                  203 1*1 Qlr. 2018 PayToll Liabilities        n'a                          Saavy Naturals, Inc.          n'a    n'a                                                  No
                  204 2nd Qr. 2018 Payrol) Uahililies          n'a                          Sasvy Noturak, Inc.                  n’a                                                  No
                  205 3rd Qlr. 2018 Pavwll Uahililies          n'a                          Saavy NaturoLt, Iw.           n'a    n'c                                                  No
                  206 20J8 Payroll Tax UsWlities-Suic          n'a                          Saavy Naturals, Ine           n'a    n'a                                                  No
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                  208 941 IslQIrRclum .pdf                     it's                         HtiDcb. UX                    n'a     n'o                                                 No
                  209 941 41h Quarter Retum.pdf                n'a                          HuDeb. LLC                    n'a     n'a                                                 No
                  210 KS Ml Bill 4th Qlr. 2015 pdf
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                  212 IRS Bill 941 Isl Qtr 20l6.jdf            n'a                          HuDeb, LLC                    n'a     no                                                  No
                  213 IRS Bill 941 4thQlt.2016.pdf             n'a                          HtiDcb, LLC                           n'a                                                 No
                  214 KS Ml Bill 4th Qlr. 201S.pdf             no                           HuDeb, LIX                    n'a     n'a                    duplicative                  No
                  215 IRS Bill 940 4IHQlr.2015.pdf             n'o                          HuDeb. LLC                    n'o                            duplicative                  No
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                  217 941 4lh Quarter Reium pdf                n’a                          HuDeb. LLC                    rv'a    n'a                    duplicative                  No
                  218 KS Bill 941 Isl Qtr 2016 pdf                                          HuDeb. LLC                    n'a     n'o                    duplicative                  No
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                 227 2015 HuDeb Tax Rctums.iuir                  rvta                             HuDeh, LLC                                  n'a                            duplicative                     No
                 22K 2016 HuDcb Tax Retums.pdf                   n'a                              HuDeh.UC                nte                 n'a                            duplicative                     No
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                 233 EDD 1st Qlr. RcUim201S.pdf                 n'a                               HuDeb, LLC              tt/a                ft/a                                                           No
                 234 EDD4lh Quartw.pdf                          n'a                               HuDcb, LLC              n'a                 n'o                                                            No
                 235 EE® Tex Uen3rd Qtr. 20l6.pdf               n'a                               HuDeb, LLC              //a                 n'a                                                            No
                 236 1st Qtt. 2017 PajiDll L’abiliHes.ptlf      n'a                               Saavj' Nnliunls, Inc.   n'a                 n’a                                                            No
                 237 2nd Qtr. 2017 Payroll Liflbilili«,.pjr     n'a                               SaavrNaltirols, Inc.    n'a                 n'a                                                            No
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                 241                                                                              Saavy Naturals. Inc.
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                 242 941 HI Qtr Return .pdf                    n'a                                Saavy NsumIs, bic.      n'a                 n'a                                                           No
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                 244 941 lat Qtr Return .pdf                                                      HuDcb, LLC              n'a                 n'a                                                           No
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                 247 IRS Bill 941 1st Qtr. 20I6.pdf            n'a                                HuDeb, LLC              n'a                 n'a                                                           No
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                 254 Florida Checking i 2433M973.pdf            account 4973                      Saavy Naturals, Inc.              $2,030.5<> bank funds                                                   No
                 255                                                                              Saavy Not urols. Inc
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                 258                                                                              Saavy Naturals, Inc.
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                 266 Color Maker 05-05-2017 PO.pdf              chattels-see x119                 Saavy Naturals, Juc.    n'a                 inventory and raw material*                                   Nki
                 267 Color Maker 09-13-201B PO.pdl"             chattels - sec H119               Saavy Naturals, Inc.    iv'a                inventory and raw materials                                   No
                 268 Color Maker 10-29-2018 POpdf               chattels-see/; 119                Saavy Naturals, Inc.    n'o                 inventory and raw materials                                   No
                 269 Cotor Maker 11-21-2018 PO.pdf              chattel* - sec #119               Saavy Naturals, Inc.    n'o                 inventory and raw materials                                   No
                 270 Color Maker 11-25-20] 8 PO.pdf             chattel*-see #119                 Saavy Naturals, Inc.    iv'a                inventor)'and raw materials                                   No
                 271 Jedvrard* 024)8-2018 PO.pdf"               chattel*-tee #119                 Saavy Naltirals, Iiw.                       inventor)'and raw material*                                   No
                 272 Jedward* 02-20-2017.pdf                    chattels-see #119                 Saavy Naturals, Inc.                        inventor)1 and raw materials                                  No
                 273 Jedvwd* 05-05-2017.pdf                     chaltcls - see #119               Saavy Natwals, Inc.     n't                 inventory and raw materials                                   No
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                 275 Jedvvards OS-ll-2018.pdf                   chattels-see #119                 Saavy Naturals, Inc.    n'a                 inventor)'and raw materials                                   No
                 276 Lakshnri 10-01-2ul8PO.pdf                  chattels-see #119                 Saavy Naltirals, Inc.   n'a                 inventory and raw materials                                   No
                 277 Lakshmi lI-16-2Q5802FO.pdf                 chattels-see#119                  Saavy Naturals, Inc.    n'a                 Inventory and raw materials                                   No
                 278 Lakshmi 11-16-2018 PO.pdf                  challcls-sceil'119                Saavy Naturals, Inc.    n'a                 inventory and raw materials                                   No
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                 281 Norman Fox 02-09-2018 PO.pdf               chattels - see ••119              Saavy Naturals, Inc.    n'a                 inventor)- and raw materials                                  No
                 282 Norman Fox 03-06-2018 PO.pdf               chattels-see »»119                Saavy Naturals, live.   n'a                 inventory and raw materials                                   No
                 283 Norman Fnx 04-12-2018 PO.pdf               chattels-see 119                  Saavy Nalurols, Inc.    n'a                 inventor)’ and raw materials                                  No
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                 286 Norman Fox 084)2.201 b.pdf                 chattels-see #119                 Saavy Naturals, Inc.    n'a                 inventory and raw materials                                   No
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                 289 Norman Few 08-11-201« PO.pdf               chattels - sec -119               Saavy’Naturals, Inc.    n’a                 inventory and raw material!                                   No
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                 291 Norman Fox 08-20-2018 PO.pdf               chattels-see “119                 Saavy Naturals, Inc.    n'o                 inventory and raw material*                                   No
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                                      SECURED PROMISSORY NOTE
      378,000.00                                                                   December 22,2018


              FOR VALUE RECEIVED, the undersigned, Saavy Naturals, Inc., a Nevada corporation,
       8943 Oso Avenue, Suite C, Chatsworth, California 91311 (“Borrower”) promises to pay to the
      order of Eko Holdings, LLC, a California limited liability company (“Leader”'), at 975 Corporate
      Center Parkway, Suite 120, Santa Rosa, California 95407, or such other place as may be
      -designated in writing by Lender, the principal sum of Seventy-Eight Thousand Dollars
      ($78,000.00) together with accrued interest at a rate of Five and One-Half Percent (5.50 %) per
      atinum as provided herein All sums owing hereunder (collectively, the “Debt”) are payable in
      lawful money of the United States of America, in immediately available fimds.
               1.     Payment Schedule. Borrower on demand, or if no demand is made, on December
      31,2018, shall make the following payments to the order of Lender: one payment in the sum of
      alt principal and interest due hereunder. Interest shall not begin to accrue until January 1,2019.
                   2.   No Prepayment Restrictions. Borrower may prepay this Note at any time.
              3.      Event of Default. The failure by Borrower to make any payment when due shall
      constitute a default under tins Note (an “Event of Default”!.
        I     4.     Default Rate. Upon the occurrence of an Event of Default, at the election of
      Lender, the entire unpaid principal sum, together with all accrued interest thereon and any other
      sum payable under the Loan Documents, shall immediately become due and payable, with
      interest thereon at the lesser of ten percent (10.0%) per annum or the highest rate not prohibited
      by applicable law from the date of such accelerated maturity until paid (both before and after any
      |udgment) (the “Default Rate”'). This charge shall be part of the debt due, and shall be deemed
      secured by the Security Agreement. This clause, however, shall not be construed as an agreement
      oi privilege to extend the date of the payment of the debt, nor as a waiver of any other right or
      remedy available to Lender by reason of the occurrence of any Event of Default.
        I
              5.      Amendments. This Note contains or expressly incorporates by reference the
      entire agreement of the parties with respect to the matters contemplated therein and supersede all
      prior negotiations or agreements, written or oral. This Note shall not be modified except by
      written instrument executed by all parties. Any reference to this Note includes any amendments,
      renewals or extensions now or hereafter approved by Lender in writing.
              6.      Costs and Expenses. Ifanyattomey is engaged by Lender to enforce or defend
      any provision of this Note with or without the filing of any legal action or proceeding, then
      Borrower shall pay to Lender immediately upon demand all attorneys’ fees and all costs incurred
      by Lender in connection therewith, together with interest thereon from the date of such demand
      until paid7at die rate of interest applicable to the principal balance owing hereunder as if such
      unpaid attorneys’ fees and costs had been added to the principal.



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              7.      Waivers. No previous waiver and no failure or delay by Lender in acting with
      respect to the terms of this Note shall constitute a waiver of any breach, default, or Mure of
      condition under this Note. A waiver of any term of this Note must be made in writing by all
      parties and shall be limited to the express written terms of such waiver. In the event of any
      inconsistencies between die terms of this Note and the terms of any other document related to the
      loan evidenced by this Note, the terms of this Note shall prevail.
                  8.    Time. Time is of die essence with respect to every provision hereof.
             9.       Governing I .aw. This Note shall be construed and enforced in accordance with
      dib laws of the State of California, except to the extent that federal laws preempt the laws of the
      State of California.
            10. Consent to Jurisdiction. BORROWER HEREBY CONSENTS TO THE
      JURISDICTION OF ANY STATE OR FEDERAL COURT LOCATED WITHIN THE STATE
      Of CALIFORNIA, AND IRREVOCABLY AGREE THAT ALL ACTIONS OR
      PROCEEDINGS ARISING OUT OF OR RELATING TO THIS NOTE SHALL BE
      LITIGATED IN SUCH COURTS. THE BORROWER EXPRESSLY SUBMITS AND
      CONSENTS TO THE JURISDICTION OF THE AFORESAID COURTS AND WAIVES ANY
      DEFENSE OF FORUM NON CONVENIENS. THE BORROWER HEREBY WAIVES
      PERSONAL SERVICE OF ANY AND ALL PROCESS AND AGREES THAT ALL SUCH
      SERVICE OF PROCESS MAY BE MADE UPON THE BORROWER BY CERTIFIED OR
      REGISTERED MAIL, RETURN RECEIPT REQUESTED, ADDRESSED TO THE
      BORROWER AT THE ADDRESS SET FORTH IN THIS NOTE AND SERVICE SO MADE
      SHALL BE COMPLETE TEN (10) DAYS AFTER THE SAME HAS BEEN POSTED.
              11.      Notice. All notices or other communications required or permitted to be given
      p.j suant to this Note shall be given to the Borrower or Lender at their respective addresses set
      forth above:

                  12.   Security. This Note is secured by the Security Agreement of even date herewith.
               13.   Execution of Further Documents. For so long as Borrower remains indebted to
      L nder in any amount whatsoever. Borrower shall execute such agreements, documents or
      instruments in respect of the security for the Note as Lender may at any time reasonably request,
      all in form and substance satisfactory to Lender in its sole discretion.

              14.    Successors and Assigns. All rights ofLender hereunder inure to the benefit of its
      Successors and assigns and shall be valid and fully enforceable against Borrower and its
      successors. Unless otherwise expressly provided for herein. Borrower shall not assign any of its
      obligations under the Note or in any part of the security without the prior written consent of
      Lender.
               15. Attomevs1 Fees and Costs/ In the event that an action is commenced to enfhrra
      ihis Note, the prevailing party shall be entitled to recover the reasonable attorneys' fees and costs
      in; urred therein.
                                         [Signatures follow on next page]
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            IN WITNESS WHEREOF, Borrower has duly executed and delivered this Secured
      Promissory Note the day and year first above writtea
                                          BORROWER:
                                          SAAVY NATURALS, INC. a Nevada corporation



                                          By:
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                                         SECURITY AGREEMENT
        ThlS SECURITY AGREEMENT (the “Security Agreement”') is entered into as of December
      i22,2018, by and between SAAVY NATURALS, INC., a Nevada corporation (the “Debtor”!.
      : 8943 Oso Avenue, Suite C, Chatsworth, CA 91311 and EKO HOLDINGS, LLC, a California
        limited liability company (the “Secured Party”!: and by and among Secured Party, Hugo
        Saavedra, an individual, and Debra Saavedra, an individual, with respect Section 9 herein

                                                 RECITALS
            WHEREAS, the Debtor is indebted to Secured Party pursuant to the terms of that certain
      Secured Promissory Note of even date herewith (the 'Note"); and
              WHEREAS, the Secured Party has required, and the Debtor has agreed, to execute and
      deliver this Security Agreement to secure the prompt and complete payment, observance and
      performance of all the Secured Obligations (as defined below).
                                                AGREEMENT
       |      NOW, THEREFORE, in consideration of the premises, covenants and agreements set
      forth below, and the mutual benefits to be derived from this Security Agreement, and other good
      and valuable consideration, the parties hereto agree as follows:
              1.'      Grant of Security Interest. To secure the “Secured Obligations” (as defined
      herein), the Debtor hereby transfers, conveys, assigns, and grants to the Secured Party a security
      interest in its assets, whether now owned, or hereafter acquired, whether now existing, or
      hereafter arising, and wherever located, including any and all assets that are or may be subject to
      an Assignment for the Benefit of Creditors made by the Debtor, as described more particularly in
      Exhibit A Collateral Description attached hereto and incorporated herein (the “Collateral”!. The
      Secured Party shall be authorized to file financing statements under the Uniform Commercial
      Code.
        I    2.      Obligations Secured. The security interest granted hereby is given as security for
      the Debtor's obligations under the Note (collectively, the “Secured Obligations”!.
               3.      Continuing Security Interest. This Security Agreement shall create a valid and
      continuing security interest in and to the Collateral, and shall (i) remain in full force and effect
      until all of the Debtor's obligations under die Note been performed in full in accordance with the
      terms of the Note; (ii) be binding upon the Debtor, its successors and assigns; and (iii) inure to
      the benefit of the Secured Party and its successors and assigns. The security interest granted
      herein is irrevocable and shall remain in full force and effect until the Debtor performs all of its
      obligations under the Note or the security interest is released in writing by Secured Party.
              4.     Termination of Security Interest. Upon the performance of all of the Debtors
      obligations under the Note, fire security interest granted hereby shall automatically terminate.
      Upon any such termination, the parties shall execute and deliver such documents as reasonably
      necessary to evidence such termination and to effect the release of the Collateral; nmvided
      however, the obligations of Debtor and its principals, Hugo Saavedra and Debra Saavedra, for

                                                                                     SECURITY AGREEMENT
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      ■ further assurances and cooperation following the termination of the security interest shall survive
        the termination of the security interest and shall continue for a reasonable period thereafter.
              5.     Event of Default The Debtor's failure to pay the Note when due or to perform
      any of its obligations under this Security Agreement shall constitute a default under this Security
      Agreement (an “Event of Default”!.
               6.    Secured Party's Rights and Remedies Upon Event of Default. Upon the
      occurrence of an Event of Default, Secured Party, at its option, may exercise any and all of the
      rights and remedies of a secured party under the Uniform Commercial Code, as enacted in
      Nevada (the "Commercial Code”). Secured Party shall have all the rights and remedies of a
      secured party under the Commercial Code and in any jurisdiction where enforcement is sought,
      Whether in said state or elsewhere. All rights, powers and remedies of Secured Party hereunder
      shall be cumulative and not alternative. No delay on the part of Secured Party in the exercise of
      any right or remedy shall constitute a waiver thereof and no exercise by Secured Party of any
      right or remedy shall preclude the exercise of any other right or remedy or further exercise of the
      same remedy.
              7.     Waiver of Requirement to Pursue Other Remedies. The Debtor waives all right to
      require Secured Party to (a) proceed against any other person or entity; (b) apply any Collateral
      Si cured Party may hold at any time; or (c) pursue any other remedy.
       |      8.     Successors and Assigns. This Security Agreement shall inure to the benefit of
      and bind Secured Party, its successors and assigns and the Debtor, its successors and assigns.
      Upon transfer by Secured Party of any part of the obligations secured hereby. Secured Party shall
      be fully discharged from any liability with respect to Collateral transferred herewith.
               9.   Execution of Further Documents: Cooperation. Borrower shall cause its
      principals, Hugo Saavedra and Debra Saavedra, to cooperate in the transfer of the Collateral to
      Secured Party and to execute such agreements, documents or instruments in the name of
      Borrower or otherwise, as may be the case, in respect of the Collateral as Secured Party may at
      any time reasonably request, all in form and substance satisfactory to Secured Party in its sole
      discretion.
        ,      10.    Interpretation. Whenever possible, each provision of this Security Agreement
      shall be interpreted in such manner as to be effective and valid under applicable law, but, if any
      pi ovision of this Security Agreement shall be prohibited or invalid under applicable law, such
      p ovisions shall be ineffective to the extent of such prohibition or invalidity without invalidating
      the remainder of such or die remaining provisions of this Security Agreement.
              11.    Entire Agreement. This Security Agreement and the Note constitute toe entire
      and final agreement and understanding among toe parties with respect to the subject matter
      hereof and the transactions contemplated hereby, and supersedes any and all prior oral or written
      agreements, statements, representations, warranties or understandings by any party, all of which
      are merged herein and superseded hereby.
             12.     Governing Law. This Security Agreement shall be construed in accordance with
      the laws of the State of California, without reference to conflict of laws principles.
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               13.     Notices. All notices required or permitted hereunder shall be in writing and shall
      be sufficient if personally delivered or sent by mail, facsimile or Federal Express (or other
      reputable delivery or courier service). Any notices shall be deemed given when received at the
      address or fax number set forth below, unless such address or fax number is changed by notice to
      ti e other party hereto.
             IN WITNESS WHEREOF, the parties hereto have caused this Security Agreement to
      be duly executed and delivered as of the date first above written.


                                                           DEBTOR;
                                                           SAAVY NATURALS, INC., a Nevada
                                                           corporation   ~     /
                                                           By:
                                                            'amr: Hugo/&«avedra
                                                           Tiri'e: President----- -
                                                          X



                                                          By:
                                                                    I
                                                          Name: Debra Saavedra
                                                          Tide:

                                                           SECURED PARTY:
                                                          EKO HOLDINGS LLC, a California limited
                                                          liability company
                                                          By:
                                                          Name: Brett Cummings, Manager
      CONSENT AND AGREEMENT;
      We hereby consent to the terms of this Security Agreement and agree to perform the obligations
      set forth in Section 9 herein.
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                                                  Exhibit A
                                            Collateral Description


      Any and all of Debtor's accounts, cash, chattel paper, goods, deposit accounts, machinery,
      equipment, fixtures, furniture, payment intangibles, intellectual property and general intangibles,
      including all rights to the name "Saavy Naturals", all rights to trademarks owned or used by
      Debtor, all raw materials, all finished goods that are not held in inventory, any and all licenses
      and rights to use and exploit photographs and writings, whether any of toe foregoing is owned
      nbw or acquired later, know how, all accessions, additions, replacements, and substitutions
      relating to any of toe foregoing; any and all books and records of any kind relating to any of toe
      foregoing, including all electronic records of Debtor and the computers, servers or other
      machinery on which such records are kept; any and all products and proceeds of any of the
                  including insurance proceeds, general intangibles, products, and proceeds from
      accounts.




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                              EQUITABLE TRANSITIONS, INC.
                               444 West Ocean Blvd., Suite 1400
                                   Long Beach, CA 90802


  NOTICE OF ASSIGNMENT FOR THE BENEFIT OF THE CREDITORS OF
                   SAAVY NATURALS, INC.
 An Assignment for the Benefit of the Creditors concerning the debtor Sisted above and below was made
 on December 24,2018. You may be a creditor of the debtor. This Notice lists important deadlines. You
 may want to consult an attorney to protect your rights.

        NOTE: Equitable Transitions, Inc. and its employees CANNOT give legal advice.



 ASSIGNOR: SAAVY NATURALS, INC.
 Assignor Tax-payer I.D. No.: XX-XXXXXXX
                                                   ASSIGNEE:
                                                   Equitable Transitions, inc.
                                                   444 West Ocean Blvd., Suite 1400
                                                   Long Beach, CA 90802
                                                   Telephone No.: (5621 435-0800
                                            DEADLINES
           Claims must be received by Equitable Transitions, Inc., by the following deadline:

 DEADLINE TO SUBMIT PROOF OF CLAIM: JUNE 2,2019
         Proofs of Claim Forms and other
                                                          EQUITABLE TRANSITIONS,TNG
          communications must be sent to:
 EQUITABLE TRANSITIONS, INC.
 444 West Ocean Blvd., Suite 1400
 Long Beach, CA 90802                              By:
 PhJ (562)435-0800                                        ALB^ANDEOABERBUSRrSsiate
 Fax#: (562) 435-6335                                     Administrator
 c-mail: aliabcrbush@ctinsolvcncy.com
 Hours Open: 9:00 a.m.-5:00 p.m.                   Dated: JANUARY 4,2019
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                                       GENERAL ASSIGNMENT

             THIS ASSIGNMENT is eiTectivc December 24, 2018 , between SAAVY
      NATURALS, INC., (hereinafter referred to as "ASSIGNOR") and assignee for the benefit
      of ASSIGNOR’S creditors, EQUITABLE TRANSITIONS, INC., a California corporation
      (hereinafter referred to as "ET").

                                              RECITALS:

             ASSIGNOR is indebted to diverse persons and is desirous of providing payment to
      the same, so far as in its power, by an assignment of all its property for that purpose.

            NOW, THEREFORE, ASSIGNOR, for a valuable consideration, receipt of which is
      hereby acknowledged, does hereby make the fqllpwiiig General Assignment for the benefit
      of ASSIGNOR'S creditors to ET, under the following terms and conditions:

                                                    1.
                                    ASSIGNMENT OF PROPERTY

               1.1    To the fullest extent allowed by law, ASSIGNOR does hereby grant, bargain,
      sell, assign, and transfer to ET, its successors and assigns, in trust for the ultimate benefit
      of ASSIGNOR'S creditors generally, all of the property rights, titles and interests in the
      assets of the ASSIGNOR of every kind and nature and wheresoever situated, whether in
      possession, reversion, remainder, or expectancy, both real and personal, and any interest
      or equity-thereifi nut exempt from execution; including without limitations aii inventory,
      merchandise, furniture, fixtures, machinery, equipment, raw materials, work in process
      inventory, refunds, book accounts, books, accounts receivable, cash on hand, intellectual
      property, general intangibles, all choses in action (personal or otherwise), insurance
      policies, real property and ali other property of every kind and nature owned by the
      ASSIGNOR, and without limiting the generality of the foregoing, including all of the assets
      pertaining to that certain company known as SAAVY NATURALS, INC. (“Assigned
      Property”). This instrument transfers all legal title and possession of ail of ASSIGNOR’S
      assets.

                   This Assignment constitutes a grant deed to all real property owned by
                   1.2
      ASSIGNOR, whether or not said real property is specifically described herein. ASSIGNOR
      agrees to execute such other and further documents as are necessary and appropriate,
      determined by ET in its sole discretion, to carry out the intent of this paragraph 1.2.

             1.3   ASSIGNOR agrees to deliver to ET ail books of account and records, to
      execute and deliver all additional necessary documents immediately upon request by ET,
      and to endorse all indicia of ownership where required by ET, in order to complete the

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       transfer of all assets to CT as intended by this General Assignment including without
       limitation, all of ASSIGNOR'S real and personal property and/or ASSIGNOR'S interest
       therein, including mortgages, deeds of trust, motor vehicles, patent and copyrights, and
       general intangibles. ET is hereby authorized to execute all endorsements and demands
       requiring ASSIGNOR'S signature, in the name of ASSIGNOR. ASSIGNOR further
       authorizes ET to apply for any deposits, refunds (including specifically, among all others,
       claims for refund of taxes paid) or claims wherever necessary, in die name of ASSIGNOR.
       ET is authorized to direct all ASSIGNOR'S United States mail to be delivered to ET, and
       ET is expressly authorized and directed to open said mall as agent of ASSIGNOR.
       ASSIGNOR authorizes ET to do any thing or act which ET in its sole and absolute
       discretion deems necessary or advisable to effectuate the purposes of this General
       Assignment.

              1.4   ASSIGNOR andiET agreo to the following:

                     1.4.1 This instrument transfers legal tide and possession to ET of all the
       Assigned-Property and, ET, in its own discretion, may determine whether to continue all,
       or part, of ASSIGNOR'S business operations, or to liquidate said assets; if ET deems it
       advisable it may operate the business, except diat it is the; intent of <the pardes< that such
       operation shall bethnited in duradon and Shalt be for the purpose of maximizing the value
       of the Assigned Property.

                       1.4.2 ET, at its sole discretion, may sell and/or dispose of ASSIGNOR'S
       assets upon sueh terms and conditions as it may deem fit, at public or private sale,
       provided, however, that ET shall use its best efforts to maximize the proceeds from the sale
       and disposidon of said assets; ET shall not be liable in any manner, and ET's obligations
       shall be in its representative capacity, only, as an ASSIGNEE for the general benefit of
       ASSIGNOR'S creditors. ET shall administer the estate created hereby to the best of its
       ability and it is expressly understood that it, its agents, servants or employees shall be liable
       only for failure to exercise reasonable care and diligence in discharging its dudes
       hereunder, and it shall not he liable for any act or thing done fay it, its agents, servants, or
       employees in good faith and/or in reliance on advice of counsel in connection herewith.

                     1.43 ASSIGNOR shall be fully and solely responsible for the preparation
       and filing of ail income tax returns, including without limitation the payment for the
       preparation of such returns and the payment of any taxes reported as due and payable in
       such returns. As a condition to the effectiveness of this Agreement, ASSIGNOR has,
       concurrently with the execution hereof, provided to ET copies of all state and federal
       payroll and/or sales tax returns through and including the fourth quarter of 2018 and (a)
       dosing retern(s) for the short period of the fourth quarter of 201f. ASSIGNOR has
       provided ET proof of payment of all payroll and/or sales taxes or delivered cash to ET,
       concurrently with the execution hereof, sufficient to pay in fall all payroll and/or sales

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       taxes reported on such tax returns together with any and ati interest and penalties accruing
       thereon.

                    1.5   Excluded Matters

                      1.5.1 Leases and leasehold interests in real or personal properly are not
       included in this Assignment If, however, ET determines any lease or leasehold interest
       may be assigned, and also that the same has realizable value for ASSIGNOR’S
       creditors, then ASSIGNOR agrees that upon demand of ET, it will assign and transfer such
       lease or leasehold interest to ET, or its nominee, for administration under the terms of this
       Assignment.

                    1.5.2 Employee benefit plans (which includes any related employee trust
      fund) including without limitation, any ERISA-qualified plan or other simitar employee
      plan created and/or maintained by ASSIGNOR are not properly of ASSIGNOR and are
      not included in this Assignment. ET shall not, as a result of this Agreement, be, nor be
      deemed to be, an administrator under such employee benefit plan, nor. shall ET have any
      role in, or responsibility for, the termination of! any such emplbyee benefit plan of
      ASSIGNOR and/or its employees.

                     153 In the event ASSIGNOR is engaged in the sale of alcoholic beverages,
      ASSIGNOR hereby appoints ET as its agent for the sole purpose of filing such documents
      as are necessary and/or appropriate to the completion of any sale of permit(s) for the sale
      of alcoholic beverages in the ASSIGNOR’S place of business and/or sale of alcoholic
      beverage iicehse($) (“Sale”). ET is hereby vested with absolute discretion in repFd to any
      transfer or sale of ASSIGNOR’S permit(s) for the sale of alcoholic beverages in the
      ASSIGNOR’S place of business and/or sale of alcoholic beverage license(s) and ET assumes
      no liability by reason thereof. ASSIGNOR hereby assigns to ET all of the proceeds of the
      Sale for the benefit of ASSIGNOR’S creditors, generally in accordance with the terms of
      this agreement.

                                                    2.
                                       POWERS OF THE ASSIGNEE

            Except as otherwise allowed or limited by statutes, ET shall have the following
      powers:

               2.1   ET may sell, lease or use the property of ASSIGNOR whichever ET
      determines to be in the best interest of all parties. Subject to all valid secured claims, from
      all funds received from gross proceeds of sales, collections of all sums due, operation of
      ASSIGNOR'S business, and all other sources (hereinafter "Gross Proceeds"), ET shall pay
      itself a reasonable fee of $65,000 for services it provides as ASSIGNEE, excluding any costs

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       for booking and other administrative matters, pursuant to the terms hereof on and after
       the effective date hereof. “Gross Proceeds" are defined as all proceeds realized on the
       account of disposition of assets whether or not such proceeds are received or handled by
       ET.

              2.2    ET may in its sole and absolute discretion also pay from the Proceeds:

                    2.2.1 Its actual out-of-pocket expenses including without limitation,
       photocopy, postage, messenger, overnight mail, mileage, parking and records storage.

                     2.2.2 Remuneration for fees and expenses incurred before or after the date
       of this agreementj payable at ET’s sole discretion, to professionals1, para-professionals and
       agents including witHout limitatioh, bookkeepers, consultants, employees and reasonable
       fees and expenses to accountants, attorneys other professionals employed fay ET or
       ASSIGNOR. ETta^ mnpIoy'perMns as€T^dctermin,egare necessary to perform its duties
       hereunder in its sole discretion and judgment.

                   2J.3 The emits and expenses inmirred by any creditor wha may have levied
       an attachment or otter lien on assets of ASSIGNOR.

                    2X4 Any and all fees, expenses and/ or charges incurred In the defense of
       an Involuntary bankruptcy petition, including, without limitation, a motion for abstention
       byET.

                     2X5 All of the aforementioned amounts are to be determined at ET's side
       discretion and judgment

               23     ET may compromise claims, complete or reject ASSIGNOR'S executory
       contracts, discharge at its option any liens on said assets and any indebtedness which under
       law is entitled to priority of payment ET shall have the power to barrow money,
       hypothecate and pledge as security for repayment of a debt the assets, and to do all matters
       and things which said ASSIGNOR could have done prior to this General Assignment Any
       act or thing done by ET hereunder shall bind the assignment estate and ET only in its
       capacity as ASSIGNEE for the benefit of ASSIGNOR’S creditors. ET shall have the right
       to sue as the successor of the ASSIGNOR, or ET is hereby given the right and power to
       institute and prosecute legal proceedings in the name of the ASSIGNOR, the same as if the
       ASSIGNOR had itself instituted and prosecuted such proceedings or actions. ET is hereby
       authorized and has the right in its sole discretion to defend all actions instituted against the
       ASSIGNOR, and to appear on behalf of the ASSIGNOR in all proceedings (legal or
       otherwise) in which ASSIGNOR is a party. ASSIGNOR does hereby appoint ET as the
       ASSIGNOR'S attorney in fact with full power to act for and in place of the ASSIGNOR in


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       such actions or proceedings or in any other matters, including the right to verily all
       pleadings or other documents on behalf of ASSIGNOR.

               2.4    ET shall not be personally liable in any manner in connection with the
       performance of its duties and obligations hereunder. ET*s obligations hereunder shall be
       in a representative capacity only as an ASSIGNEE for the general benefit of ASSIGNOR’S
       creditors. ET shall administer this estate to the best of its ability and it is expressly
       understood that ET, and its agents, servants or employees, shall be liable only for
       reasonable care and diligence in the administration of the Assignment Estate. ET shall not
       be liable for any act or thing done by ET, its agents, servants, or employees in good faith in
       connection herewith. ET is not liable or responsible for any obligations of any nature
       whatsoever incurred at any time by ASSIGNOR, whether before or after the date of this
       Assignment

               2.5   ET agrees, unless otherwise provided at law, to make any and ait claims for
       refund of taxes which may be due from the Director of Internal Revenue and/or the State
       Taxing Authorities for tax refunds, or otherwise. In the event any such refunds are
       received by ASSIGNOR^ ASSIGNOR agrees to pay them over to ET, and hereby
       empowers ET, as attorney in fact of ASSIGNOR, to make all claims for refunds which may
       be made by an attorney-in-fact. ASSIGNOR further agrees, to the extent that any tax or
       the refund claim Is not assignable, to make any and all claims for rebind of taxes or any
       other money due, from any governmental agency, for tax refunds, or otherwise, and to
       forthwith upon receipt of any such funds, pay them over to ET, and hereby empowers ET,
       hts attorney-in-fact of ASSIGNOR, to make all claims for refunds which may be made by
       an attorney-in-fact

              2.6    ET shall have all powers, pursuant to the laws of the State of California or
       any other applicable law to recover preferential transfers and fraudulent conveyances and
       may sell and/or transfer such powers to a third party.

                                                    3.
                             ALLOWANCE AND PAYMENT OF CLAIMS
              3.1    Except as otherwise provided herein, allowance of claims shall be determined
      by the standards set forth in 11 U.S.C. §§ SOI and 502. ET shall have no obligation to make
      disbursement of funds to claimants unless the funds realized through the liquidation, net of
      alt administrative expenses, the claims of secured creditors, and the claims of taxing
      authorities, are in excess of $3500. In the event that the funds realized through the
      liquidation, after payment of all administrative expenses, the claims of secured creditors,
      and the claims of taxing authorities is not greater than $3500, such funds shall be payable
      to ET. Additionally, any Unclaimed Funds, as defined by paragraph 3.7, shall be
      additional compensation to ET.

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              32 June 2,2019, shall be the but day to submit claims. Written notice of said
       last day to submit claims shall be given by first class mail, postage (tally pre-paid, to all
       creditors. A claim shall be deemed submitted if die creditor making such claim completes,
       signs and submits to ASSIGNEE the Proof of Claim form, without alteration, provided to
       them by ASSIGNEE. By submitting a claim, each creditor shall waive and forever release
       and discharge all claims it has or may have against the property transferred by this
       agreement or against ASSIGNOR, its officers, directors, shareholders and attorneys. The
       release and discharge provided in this paragraph is in consideration of and in exchange for
       the release by officers, directors, and shareholders of any and all unsecured claims they
       have or may in the future have against ASSIGNOR including without limitation, claims for
       indemnity and/or contribution under applicable law. The consideration for die release
       herein is the acknowledgment by the shareholders of ASSIGNOR that ASSIGNEE shall
       disallow any unsecured claims held by such shareholders whether on account of monies
       owed them onithe date of Ibis assignment dr on account of subrogation, indemnity or any
       other basii. Ail claims not: iceived by ET by theJest day to subniitelaims may, in ET's
       sole and absolute discretSonfhe disregarded for purposes of distribution of assets as
       required hereunder,

               33 ASSIGNEE shall, if a purpose would be served, determine whether anydaim
       shall be allowed for payment hereunder pursuant to paragraph 3.i.hereot If ET
       determines that a claim should not be allowed in whole or partially for distribution
       (“Rejected Claim"), ET shall give written notice by first class mail, postage prepaid,
       addressed to the holder of such claim (“Notice") at least 20 days prior to making any
       distribution to any claims having the same or lower priority as determined by paragraph
       3.6 and its sitb<pafte hereof. In the event that a creditor who holds a claim which is a
       Rejected Claim disputes ET’s rejection of such claim, such creditor must, within twenty
       (20) days from the date of the Notice, commence an action for declaratory relief only in the
       California Superior Court, Los Angeles County, Long Beach Division, to establish such
       claim. Failure to timely file and prevail in a lawsuit to establish the Rejected Claim will
       result in its allowance or disallowance, as provided in the Notice, for purposes of
       distributions of funds pursuant to the terms hereof.

              3.4 With respect to any claim that is the claim of a lessor for damages resulting
       from the termination of a lease of real property, such claim shall be limited to:

                     3.4.1 The rent reserved by such lease, without acceleration, for the greater
       of one year, or 15%, not to exceed three years, of the remaining term of such lease,
       following the earlier of:

             /              3.4.1.1    The date of this Agreement; and



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                              3.4.1.2 The date on which such lessor repossessed, or the lease
         surrendered, the leased property; plus

                        3.4.2 Any unpaid rent due under such lease, without acceleration, on the
         earlier or such dates.

                 3.5     A claim based upon an employment contract shall be allowed only to the
         extent that it does not exceed (a) one year's compensation under the contract measured
         from the earlier of the assignment date or the date that either the employee or employer
         terminated the contract; plus (b) unpaid compensation due under the contract on the
         earlier of such dates.

                3.6 After payment of all1 valid claims of secured creditors anti the items set forth
                in paragraph 2.1 and 2.2 and its sub-parts, claims shall be paid in the following
                order of priority:

                       3.6.1 First, FEDERAL taxes of any nature whatsoever owing as of the date of
         this Assignment, of such claim of any Federal governmental agency as defined under 31
         U.S.C. § 3713, including, without limitation, Federal withholding taxes, Federal
         unemployment taxes and any other Federal income, excise, property and employment tax.

                      3.6.2 Second, to claims for wages and employment benefits to the extent
         provided by 11 U.S.C. §507(a)(4).

                        3.6.3 Third, up to $901) per individual for deposits for purchase, lease, or
         rental of real property or for the purchase goods or services for personal, household and/or
         family use that were not delivered or provided.

                      3.6.4 Fourth, to alt state, county and municipality taxes of any nature
         whatsoever owing as of the date of this Assignment, including, without limitation,
         implement, property and income taxes.

                         3.6.5 Fifth, with the exception of those classes set forth above, all
         distributions to other creditors shall be, within each class, pro-rata in accordance with the
         terms of each creditor’s indebtedness, until all such debts are paid in full. ET may, but is
         not required to, make interim distributions whenever ET has cumulative sufficient funds
         to enable it to make a reasonable distribution.

                      3.6.6 Sixth, the surplus of monies and property, if any, to be transferred and
         conveyed to ASSIGNOR.



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                     3.6.7 If any undistributed dividends to creditors or any reserve of other
       hinds shall remain unclaimed for a period of ninety (90) days after issuance of distribution
       checks by ET ("Unclaimed Funds"), then the same shall become the property of fiT and
       used to supplement its fees for services rendered for administering this Assignment.

               3.7   ET shall make distributions, as referenced in paragraph 3.5 above, as often
       as is reasonable and practical, as determined in ETs sole and absolute discretion;
       provided, however, that such distributions shall be made no more often than every 90 days.

              3J All distributions made by ET shall have anoearim
       legend:nAcceptance of this check by endorsement or other form of negotiation constitutes
       an absolute waiver ofany right to contest the release stated to be in effect upon the filing of
       a claim puishant to paragraphSJZ of (he General AssignmentAgreement. THIS CHECK
       IS VOID IF NOT CASHED WITHIN 90 DAYS”. Any check void pursuant to this
       paragraph 3.7 shall be Unclaimed Funds.

               3.9 In tite event that ET contest the validity oCa Claim1 (as sefeforth more fnlly
       in detail in paragraph 33 above) faliittg within any of the classifications set forth hi
       paragraph 33 and its subparts herdbabove,ET may withtraidihe pro-rata distribution
       (whether interim Or final) to which the holder of such contested Ctaftn Would otherwise be
       entitled to receive until the allowance of the contested claim is determined by a Court of
       competent jurisdietion or tty agreement with ET, provided, however, sneh court
       determination is timely sought by the holder of the contested Claim.

                                                                  4.
                                                   OTHER PROVISIONS

              4.1     It is agreed and understood that this transaction is a general assignment for
       die benefit of all of ASSIGNOR’S creditors; and that this is a "general assignment for the
       benefit of creditors," as set forth in and defined by the California Code ofCivil Procedure §
       493.010, and all other laws of the State of California pertaining thereto. This Agreement
       shall be construed in accordance with, and be governed by, the internal laws of the State of
       California, which shall have exclusive jurisdiction of any and all disputes hereunder.

               42 ASSIGNOR acknowledges and affirms it is required, pursuant to California
       Code ofCMl Procedure Section 1802(c), to provide ET concurrently herewith a verified list
       of ALL creditors (including, without limitation, disputed creditors and persons and/or
       entities having lawsuits against ASSIGNOR), equity holders, and any other parties in
       interest, which shall include the name(s), address(es), city(s), state(s), and ZIP Code(s) for

                         The terra "Claiiii” for purposes of this agreement shall mean a right to paymsat as deflaed by 11
       L'5.C. §101(5) and the Federal case law construing it.

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       each creditor together with an amount of the creditor’s anticipated claim in the General
       Assignment proceedings (“Verified List”). The Verified List shall be signed under penalty
       of perjury by the ASSIGNOR'S representative. ASSIGNOR and ET agree that
       ASSIGNOR is better informed of identity of the nature and extent of its creditors
       (including, without limitation, disputed creditors and persons and/or entities having
       lawsuits against ASSIGNOR), equity holders, and any other parties in interest as of the
       moment this General Assignment became effective than is ET. Therefore, ASSIGNOR
       acknowledges and agrees not withstanding any other information imparted to ET at any
       time prior to the effective date of this General Assignment, ET will exclusively rely on the
       Verified List and no other information in giving notice of this General Assignment to
       ASSIGNOR'S creditors (including, without limitation, disputed creditors and persons
       and/or entitles having lawsuits against ASSIGNOR), equity holders, and any other parties
       in interest.

             4.3     ASSIGNOR understands and agrees that it shall provide ET at the time of
       making of this Assignment a list of unpaid accounts receivable and or amounts due to
       ASSIGNOR, if any, which shall include the name(s), addresses, city(s), state(s), ZIP
       Code(s), and the amount during for each debtor or account debtor of ASSIGNOR.
       Additionally, ASSIGNOR shall deliver to ET, at or before Ihe execution of this General
       Assignment, any and all documentation supporting each account receivable or amount due
       to ASSIGNOR.

             4.4     ASSIGNOR acknowledges and agrees it has solely relied upon the advice of
      its own legal counsel, or has had an opportunity to dp so, prior to and when making the
      decision to enter into its General Assignment by executing this contract. ASSIGNOR
      further acknowledges and agrees it has not directly or indirectly received advice or counsel
      from ET prior to and when making the decision to enter into this General Assignment.
      ASSIGNOR further acknowledges and agrees at all times prior to executing this General
      Assignment, it knew and understood ET did and does not engage in providing legal services
      or legal advice and provided neither to ASSIGNOR.

              4.5 Except as otherwise provided hprein, this Agreement shall be construed in
       accordance with and governed by the laws of the State of California.

             4.6    Venue and jurisdiction of any legal action to enforce the terms of this
      Agreement or to enforce the powers granted to ET by this Agreement or at taw, including,
      without limitation, the powers granted by paragraph 2.1,2.2,23,2.4,2.5 and 2.6 and the
      California Code of Civil Procedure Section 1800, by this Agreement may be exclusively in
      the Superior Court of California, County of Los Angeles, State of California. By
      submitting to ET a proof of claim pursuant to paragraph 33 of this Agreement, the
      claimant submitting such claim consents to be bound by the terms of this paragraph 4.6.


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    EQUITABLE 1
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                  4.7 In the event that any court holds any provision, term, covenant, or condition
          of this Agreement to be invalid, then any such invalidity shall not effect any other term,
          covenant, or condition and the remaining provisions of this Agreement shall be given foil
          force and effect pursuant to the laws of the State of California, unless such invalid term,
          covenant, or condition is a material part of this Agreement

                  4.8 In the event that ET should elect to defend any challenge by any creditor of
          all or any portion of this Agreement, including the defense of a rejection or partial
          allowance of a claim pursuant to paragraph 33 hereof ET shall be entitled to reasonable
          attorneys' fees and costs from such creditor.
                 4.9 This assignment supersedes all prior discussions and agreements between the
          parties with respect to the subject matter hereof and thereof and contains the sole and
          entire agreement between the parties hereto with respect to the subject matter hereof and
          thereof.
                  4.10 Any party, whether ASSIGNOR a creditor or other party, (“Requesting
          Party”) requesting access to information held or maintained by ASSIGNEE, shall not be
          entitled to such information until the 12I11 day after the effective date hereof and then only
          an the condition that Requesting Party pay to ASSIGNEE the actual expenses Incurred by
          the Assignment Estate for providing such Information or providing access to such
          information.
                                                                         0SC6MB&-
                 Tfais GENERAL ASSIGNMENT is made this 24* day of                  ,2018 at


                  V*ndri« Bexy                ABSKSHOB:
           4ajbf% NOTAterMBUC
                lOMJSOFRjOUfltt
                  Conn* flmms                 SAAVY                  INC.
                  Expires fl/11/2020

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               The foregoing GENERAL ASSIGNMENT is hereby accepted this 24“ day of
          December, 2018 at Los Angeles, California.  ^
                                              ASSICBES:   a / ]
                                              EQUITABLE TjRA! (Sltl ONS, INC.

                                              By: VNi&l Hateiupresident


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     EQUITABLE TRANSITIONS, INC.
     444 West Ocean Boulevard, Suite 1400                                                                                                                                             PROOF OF CLAIM
     Lonr Beach, California 90802
                                                                                                                                                                       Check this box to indicate that this claim amend* a
     Autfinor (Debtor):          SAAVY NATURALS, INC.                                                                                                                  previously Hied claim

                                                                                                                                                                Filed cm
     Creditor*! Name and Atldrcat (Sec Initrawtioni on Reverse Side}:



                                                                                                                                                                       Check box if you are aware that anyone dse has filed a
                                                                                                                                                                       proofofclatm relating to yuurclaim. Attach a copy of
                                                                                                                                                                       statement giving particulars

     Name and address where Notices should be sent (if different from above):                                                                                          Check tint box ifyou arc the debtor or trustee in tins   *
                                                                                                                                                                       case.

                                                                                                                                                                                                                                    I
     I. Amouai of Claim as of the Date of the General Assignment: S                                                  .............
                                                                                                                                                                                                                                    :
                                                                                                                                                                5   Amount uf Claim EttUlta] to Prtority. If any       J
     If all or part of your claim is secured, complete Hem 4 below; however, ifyour eanite claim is unsecured, do not complete item                                 portion of your claim falls In one of the
     4                                                                                                                                                              follow lug categories, check the boa and stale Ihc
                                                                                                                                                                    ■mount.
     If «n or pan of your claim ii entitled to priority, cetnplac item 5.
                                                                                                                                                                Specify ihc pnonty of the claim
             Clteck thif box if claim includes interest or oilier charges in addition to the principal amount of claim. A uadi itemized
             aaogmgu of interest or charge*._____                                         _ ____________________________                                            Wages, salaries, or commissions (up to S4 300)
     Z.Hmii for Claim.                                                                                                                                              earned withm 90 days before the General
                                                                                                                                                                    Assignment Calif Code of Civ Pro § 1204
     (See tmlruction #2 on reverie ride.)
                                                                                                                                                                    Conlhbuttons to an employee benefit plan Calif
                                                                                                                                                                    CodeofCtv Pioe § 1204
     3. Lbs! four digits of any number by which creditor identities Assignor ____                                                                                   Up to $900 00 of deposits toward purchase, lease,
                                                                                                                                                                    or rental of property or services for personal
     3 a. (See Instructions of Rcvmc Sidci: _              .rii                          _____ ______ _________                                                     family, or household use Calif Code of Civ Proc
                                                                                                                                                                    § 1204
     4. Secured Claim (Sec Instmctitm 14 on reversed side. |
     Check the appropriate box ifyour claim ia Secured by a lien on property or a right of set off and provide (he requested
                                                                                                                                                                    Taxes or penalties owed to governmental units
     information
                                                                                                                                                                    Other-
 JSatwrr nf pmprrty.nr right nfselnff                               f Real Fsintfi       _ nMtstitf Visbid                Olher
                                                                                                                                                                              Amount enthted to priority:
     Value of Properly S                                Annual Interest Rale                  _■/„
                                                                                                                                                                                $
     Amount of arrearage and other charges «s of time of General A alignment included in secured claim.
■ if any: S__ __________                                            Basis for Perfection:.,

     Amount of Secured Claim; 5                                   Amount of Unsecured Claim; SM
tL
     &     Credit* The amount nf all payments on thu claim fas been credited and deducted for the purpose of making this proof
     of chum.
     7.    Documents; Attach redacted copies of any document* that support the claim, such ax prommory notes, purchase
     orders, invoice*, itemized uatemenu of miming uccounu. contracts, judgments, mortgager, and security agreement* Y out
     may also attach u summary Attach redacted copies of document* providing evidence ofperfection of a security interest. You
     may also attach a summary {See instruction 7 and definition of "ndazied" on revene side)

     DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER SCANNING
     If the document* ore not available. please explain

     S.     The undersigned has received and read the General Assignment ami hereby agree* lo be bound by ill of us icttm




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            tdfcaMarUlcJrrtewRUfnlwu'Jdlcrtcnibmi(hrtMicaniUrrtiUxnr AttaUiwiftrf|*«wrulaae«*e* 'it*
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                                                        INSTRUCTIONS FOR PROOF OF CLAIM FORM
  The totsmtcthms andde/lnttions behw cart general expUmattoru ofthe taw.
                                                                   Items to Be Competed Proof of Cfotm Form
  Creditor’* tome ami Address:                                                                    4.      Secured Claim:
  Fill in the name of the person or entity asserting a claim and the name and                             Check the appropriate box and provide the requested information if die
  address of the person who should receive notices issued during the General                              claim is ftilly or partially secured Skip this section if the chum is
  Assignment Please include any phone number, facsimile number, and/or email                              entirely unsecured (Sec DkFINmONS, below.) Stale the type end the
  address for the primary eonutri A separate space is provided for the payment                            value of property that secures the claim, attach copies of hen
  address if H differs from the notice address The creditor has a continuing                              documentation, and state annuo) interest rate and the araoum past due on
  obligation to keep the Equitable Transitions, Inc, informed of its current address                      the claims as of the dote of the General Assignment

  1.    Amount of claim ns of Date of the General Assignment                                      &         romnt of Claim Enliltnl to Priority
        State the total amount owed to the creditor on the date of the General                            Ifany portion ofyour claim falls hi one or more of the listed categories,
        Assignment Follow the instructions concerning whether to complete items                           check the appropriate bos(cs) and state the amount entitled (o priority
        4 and 5 Check the box if (merest or other charges are included in the                             A claim may be partly prtonry and partly non-priority For example, in
        claim                                                                                             some of the categories, the law limits the amount entitled to pnonty

  2.    Bosh for Claim                                                                            6.      Credits:
        State the type ofdcbt orhowit was inewred Examples Include goods sold,                            An authorized signature on this proof of claim serves as an
        money loaned, services performed, personal injury/wrongful death, car                             acknowledgement that when calculating the amount of the claim, the
        loan mortgage note, and credit uird Ifthc claim is bcsed on the delivery                          creditor gave die Assignor credit for any payments received toward die
        of health care goods or services, limit the disclosure of the goods or                            debt
        services, so as to avoid embarrassment or the disclosure ofconndeniuil
        health care information You may be required to provide additional                         7.      Documents
        disclosure ifrequested by Equitable Transitions, Inc                                              Attach to this proof ofchum form redacted copies documenting the
                                                                                                          existence of the debt and of any lien securing the debt You may etso
  3w    Last Four digits of Any wuiaber by Witch Creditor Ideatifks Assigior                              attach a summary You must also attach copies of documents (hot
        State only the lost four digits of the Assignor s account or other number                         evidence perfection of any security imercst You may also attach s
        used ty creditor to identity the Assignor                                                         summary Do not send original documents, os attachments may bo
                                                                                                          destroyed alter scanning.
        3iu Use this space to report a change hi the creditors name, a transferred
        claim, mr any other mfonnation that clarifies a difference between this proof                     Date and Slgiaturc
        of claim ami the claim as scheduled by the Assignor                                               The penes sabuittlhig tils proof of claim must sign end date It
                                                                                                          Fthrt the name and title, ifany.ofthecscditorcu other pcrsortiuthonaed
                                                                                                          to submit this claim State the filer’* address and telephone number
                                                                                                          Attach a complete cam ofany power ofsBotnes. _ _
                                     DEFINITIONS                                                                                    INFORMATION
                                                                A3k»iiuwbeUtvoli«iiw% gremedbyst Auignorcrsuyfac                                  itofSabmisrio* ofCtshu
  An Asdgn^ is the pcnuxi, coiporebocu or od«r endty due        itob^duoiudiucounprocccdtiig !ntomenats^scour                    To receive odmewledgemem ofyour submission,
  msdetheGmcra! AsssffOBa*.                                     jgdgmretaafog*. Aria^dsoasaybeaarcradsfsfeicresfetes-            you must enclose a stamped, self-addressed
                                                                owes &e Aidgaor money (ka» * iightio KSotn.                      envelope and a copy of this proof of claim.
  A creditor is s person, uaqwiolkm, or other entity owed »
  debtbythc AsstgTtcrduUsnnceficrbc&rsdieilxtcafthc             Unsecured Ctdsi
  Gcsctul Ass^nmem. A cl^n^ be secured or unsecured             An           dhhn hi one (hat does noi meet the reqikflcmenis
                                                                ofa recured dahn A        may be part       col hflhc
  AmfufChhia                                                    •moasi of(he dthnexeeodsdio value ofihe property
  A proofri'daim B « hmn used by die erediter 10 radicste dte   dieoedtiorhas alien
  smoentofthedebtowcdbylhc Asugnaronlhcdalcofthe
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                                                  BILL OF SALE

                                               (Personal Property)


                The undersigned, EQUITABLE TRANSITIONS, INC., ASSIGNEE FOR THE BENEFIT OF THE
      CREDITORS OF SAAVY NATURALS, INC., for valuable consideration received forgiveness of secured
      debt as reflected in a Secured Promissory Note and Security Agreement, each by and between Buyer
      (secured party) and Assignor (debtor), in the amount of Forty One Thousand Dollars ($41,000) principal,
      plus any and all accrued interest thereon, Cash payment of Seventy Thousand Dollars ($70,000.00) the
      receipt of which is hereby acknowledged, does hereby sell to Eko Holdings, LLC, a California limited
      liability company, (“Buyer”) all personal property (Exhibit 1) including and without limitation general
      intangibles and choses in action (including any claims which the Assignor may have against any person
      or entity).

               Said sale is without representations or warranties of any kind, express or implied, including,
      without limitation, representations of merchantability and/or fitness for any particular purpose.

               Buyer is responsible for the payment of, and shall pay as and when due, any and all sales -
      related taxes arising out of this transaction which is subject of this bill of sale.


      Dated: December 24, 2018

                                                     EQUITABLE TRANSITIONS, INC, Assignee for the
                                                     Benefit of the Creditors ^f Saavy Naturals, Inc.



                                                             "N         t\
                                                     By
                                                          ^Ntael Hamep;'president
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                                       AGREEMENT AND PLAN OF MERGER AND REORGANIZATION

               TfflS AGREEMENT AND PLAN OF MERGER AND REORGANIZATION (this “Agreement) is made and entered into as of
 September 9, 2019, by and among Tilray, Inc., a Delaware corporation (“Tilray”), Down River Merger Sub, LLC, a Delaware limited liability
 company and wholly owned subsidiary of Tilray (“Merger Sub" ), and Privateer Holdings, Inc., a Delaware corporation (“Privateer") and, solely in his
 capacity as the initial Stockholder Representative hereunder, Michael Blue (the “Stockholder Representative"). Certain capitalized terms used in this
 Agreement are defined in Exhibit A.


                                                                       RECITALS

     A. Tilray and Privateer intend to effect a merger of Privateer with and into Merger Sub (die “Merger") in accordance with this Agreement and the
 DGCL. Upon consummation of the Merger, Privateer will cease to exist and Merger Sub will survive as a wholly owned Subsidiary of Tilray.

      B. The Parties intend that the Merger qualify as a “reorganization” within the meaning of Section 368(a) of the Code, and by executing this
 Agreement, die Parties intend to adopt a plan of reorganization within the meaning of Treasury Regulations Sections 1.368-2(g) and 1.368-3.

       C. The special committee of the board of directors of Tilray comprised of Maryscott Greenwood, Christine T. StClare and Rebekah Dopp (the
 “Tilray Special Committee") has (i) determined that the Contemplated Transactions are fair to, advisable and in the best interests of Tilray and its
 stockholders, (ii) approved and declared advisable this Agreement and the Contemplated Transactions, including the issuance of shares of Tilray
 Common Stock to the Privateer Stockholders pursuant to the terms of this Agreement, and (iii) determined to recommend, upon the terns and subject to
 the conditions set forth in this Agreement, that the stockholders of Tilray vote to approve the Tilray Stockholder Matters.

       D. The sole member of Merger Sub has (i) determined that the Contemplated Transactions are fair to, advisable, and in the best interests of Merger
 Sub and its sole unitholder, (ii) approved and declared advisable this Agreement and the Contemplated Transactions, and (iii) determined to recommend,
 upon the terms and subject to the conditions set forth in this Agreement, that the unitholder of Merger Sub votes to adopt this Agreement and thereby
 approve the Contemplated Transactions.

       E. The Privateer Board has (i) determined that the Contemplated Transactions are fair to, advisable and in the best interests of Privateer and the
 Privateer Stockholders, (ii) approved and declared advisable this Agreement and the Contemplated Transactions, and (iii) determined to recommend,
 upon the terms and subject to die conditions set forth in this Agreement, that the Privateer Stockholders vote to approve Privateer Stockholder Matters.

       F. Concurrently with the execution and delivery of this Agreement and as a condition and inducement to Tibay’s willingness to enter into this
 Agreement, the Privateer Stockholders listed on Schedule A are executing support agreements in favor of Tilray in substantially the form attached
 hereto as Exhibit B (the “Privateer Support Agreement), pursuant to which such Privateer Stockholders have agreed to vote all of their shares of
 Privateer Capital Stock in favor of the Privateer Stockholder Matters.


                                                                     AGREEMENT

              The Parties, intending to be legally bound, agree as follows:

 L     DESCRIPTION OF TRANSACTION
       1.1 The Merger. Upon the terms and subject to the conditions set forth in this Agreement, at the Effective Time, Privateer shall be merged with
 and into Merger Sub, and the separate existence of Privateer shall cease. Merger Sub will continue as the surviving entity in the Merger (the “Surviving
 Company").




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        L2 Effects of the Merger. The Merger shall have the efifects set forth in this Agreement, the Certificate of Merger and in the applicable
  provisions of the DGCL and DLLCA. As a result of the Merger, Privateer will become a wholly owned Subsidiary of Tilray.

         13 Closing; Effective Time. Unless this Agreement is earlier tenninated pursuant to the provisions of Section 9.1. and subject to the satisfaction
  or waiver of the conditions set forth in Sections 6.2 and 8, the consummation of the Merger (the “Closing”) shall take place remotely as promptly as
  practicable (but in no event later than the second Business Day following the satisfaction or waiver of the last to be satisfied or waived of the conditions
  set forth in Sections 6.2 and & other than those conditions that by their nature are to be satisfied at the Closing, but subject to die satisfaction or waiver
  of each of such conditions), or at such other time, date and place as Tilray and Privateer may mutually agree in writing. The date on which the Closing
  actually takes place is referred to as the “ClosingDale” At the Closing, the Parties shall cause the Merger to be consummated by executing and filing
  with the Secretary of State of the State of Delaware a certificate of merger with respect to the Merger, satisfying the applicable requirements of the
  DGCL and DLLCA and in a form reasonably acceptable to Tilray and Privateer (the “Certificate of Merger”). The Merger shall become effective at the
  time of the filing of such Certificate of Merger with the Secretary of State of the State of Delaware or at such later time as may be specified in such
  Certificate of Merger with the consent of Tilray and Privateer (the time as of which the Merger becomes effective being referred to as the “Effective
  Time”).

        1.4 Certificate of Incorporation and Bylaws: Directors and Officers. At the Effective Time:
              (a) the certificate of formation of Merger Sub, as in effect immediately prior to the Effective Time, shall be the certificate of formation of
 the Surviving Company until thereafter amended as provided by the DLLCA and such certificate of formation; and

             (b) the managers and officers of the Surviving Company, each to hold office in accordance with the Organizational Documents of the
 Surviving Company, shall be the managers and officers of Merger Sub.

        1.5 Conversion of Shares.
              (a) At the Effective lime, by virtue of the Merger and without any further action on the part of Tilray, Merger Sub, Privateer or any
 stockholder of Privateer or Tilray:

                    (i) any shares of Privateer Capital Stock held as treasury stock or held or owned by Tilray, Merger Sub or any Subsidiary of Tilray
 immediately prior to the Effective Time shall be canceled and retired and shall cease to exist, and no consideration shall be delivered in exchange
 therefor;

                      (ii) any shares of Tilray Common Stock held or owned by Privateer immediately prior to the Effective Time shall be canceled and
 retired and shall cease to exist, and no consideration shall be delivered in exchange therefor; and

                   (iii) subject to Section 1 5(c) and Section 1.13 each share of Privateer Common Stock outstanding immediately prior to the Effective
 Time (excluding shares to be canceled pursuant to Section L5(a).(i) and Dissenting Shares pursuant to Section 1-8^ shall be automatically converted

 if applicable, in each case as calculated in accordance with the Privateer Allocation and as set forth on the Allocation Certificate. All such shares of
 Privateer Common Stock, when so converted, shall no longer be outstanding and shall automatically be canceled and shall cease to exist.

               (b) If any shares of Privateer Common Stock outstanding immediately prior to the Effective Time are unvested or are subject to a
 repurchase option or a risk of forfeiture under any applicable restricted stock purchase agreement or other similar agreement with Privateer, then the
 shares of Tilray Common Stock issued in exchange for such shares of Privateer Common Stock will to the same extent be unvested and subject to the
 same
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 repurchase option or risk of forfeiture, and such shares of Tilray Common Stock shall accordingly be marked with appropriate legends. Privateer shall
 take all actions that may be reasonably necessary to ensure that, from and after the Effective Time, Tilray is entitled to exercise any such repurchase
 option or other right set forth in any such restricted stock purchase agreement or other agreement in accordance with its terms.

               (c) No fractional shares of Tilray Common Stock shall be issued in connection with the Merger, and no certificates or scrip for any such
 fractional shares shall be issued, and such fractional share interests shall not entitle the owner thereof to vote or to any rights of a holder of Tilray
 Common Stock. Any holder of Privateer Common Stock who would otherwise be entitled to receive a fraction of a share of Tilray Common Stock (after
 aggregating all fractional shares of Tilray Common Stock issuable to such holder) shall, in lieu of such fraction of a share and upon surrender by such
 holder of a Letter of Transmittal in accordance with Section 1.7 and any accompanying documents as required therein, be paid in cash (rounded to the
 nearest whole cent), without interest, determined by multiplying such fraction by the Tilray Closing Price, in each case as set forth in the Allocation
 Certificate.

                (d) Prior to the Closing, Tilray *s board of directors shall have the right to elect, in its sole discretion (and shall be under no obligation), to
 designate all or any portion of the net proceeds from an Offering to be paid in cash pro rata (i) in lieu of a portion of the Stock Merger Consideration to
 the holders of Privateer Common Stock who would otherwise be entitled to receive Tilray Class 2 Common Stock pursuant to Section 1.5(aViiii and
 (ii) in lieu of a portion of the Option Merger Consideration to the Privateer Service Providers to which such holders would otherwise be entitled
                                                                                     “Cash Merger Consideration”); provided that the percentage equal to the
 quotient of (A) the Cash Consideration Shares divided by (B) the Total Merger Consideration shall not be greater than 20%. Any such amounts shall be
 paid in cash (rounded to the nearest whole cent), without interest, determined in accordance with the Privateer Allocation and the Cash-Out Options
 Allocation, as applicable, and as set forth on the Allocation Certificate. Upon making an election to provide Cash Merger Consideration, Tilray shall
 notify Privateer in writing of such election and the amount of the Cash Merger Consideration and the applicable Offering Price associated with each
 identifiable portion of the Cash Merger Consideration at least seven Business Days prior to the Closing Date.

                (e) All Privateer Options outstanding immediately prior to the Effective Time under the Privateer Plan shall be treated in accordance with
 Section 5.5.

                (f) Each unit of Merger Sub shall, as of the Effective Time, shall become a unit of the Surviving Company.

               (g) Notwithstanding the other provisions of this Section 1.5. the Stock Merger Consideration, and if applicable, the Cash Merger
 Consideration shall be adjusted appropriately to reflect the effect of any stock split, reverse stock split stock dividend (including any dividend or other
 distribution of securities convertible into Tilray Common Stock), reorganization, recapitalization, reclassification, combination, exchange of shares or
 other like change with respect to the number of shares of Privateer Capital Stock, Tilray Class 1 Common Stock, or Tilray Class 2 Common Stock
 outstanding after the date hereof and prior to the Effective Time so as to provide the holders of shares of Privateer Capital Stock with the same economic
 effect as contemplated by this Agreement prior to such event; provided, however^ that this sentence shall not be construed to permit Privateer to take any


        1.6 Closing of Privateer’s Transfer Books. At the Effective Time: (a) all shares of Privateer Common Stock outstanding immediately prior to the
 Effective Time shall be treated in accordance with Section 1.5(a). and all holders of certificates representing shares of Privateer Capital Stock that were
 outstanding immediately prior to the Effective Time (each such certificate, a “Privateer Stock Certificate ") or shares of Privateer Common Stock held in
 direct registration form (“Privateer Book-Entry Shares”) shall cease to have any rights as Privateer Stockholders except the right to receive a portion of
 the Stock Merger Consideration and, if applicable, the Cash
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 Merger Consideration (and cash in lieu of any fractional share of Tilray Common Stock); and (b) the stock transfer books of Privateer shall be closed
 with respect to all shares of Privateer Capital Stock outstanding immediately prior to the Effective Time. No further transfer of any such shares of
 Privateer Capital Stock shall be made on such stock transfer books after the Effective Time. If, after the Effective Time, a valid Privateer Stock
 Certificate previously representing any shares of Privateer Capital Stock, including any valid Privateer Stock Certificate representing any shares of
 Privateer Preferred Stock previously converted into shares of Privateer Common Stock in connection with the Preferred Stock Conversion, is presented
 to the Exchange Agent or to the Surviving Company, such Privateer Stock Certificate shall be canceled and shall be exchanged as provided in
 Sections 1.5 and 1.7.

       1.7 Payment Procedures: Escrow.
               (a) Prior to the Effective Time, Tilray shall appoint Philadelphia Stock Transfer^ Inc. or such other bank or trust company reasonably
 acceptable to Privateer to act as exchange and paying agent (the “Exchange Agent') for the payment of the Stock Merger Consideration and for the
 payment of the Cash Merger Consideration, if any. At or prior to the Effective Time, Tilray shall deposit with the Exchange Agent evidence of book-
 entry shares representing the Tilray Common Stock issuable pursuant to Section 1.5(a1 and shall pay or cause to be paid to the Exchange Agent the Cash
 Merger Consideration in U.S. dollars by wire transfer of immediately available funds to the bank account designated in writing by the Exchange Agent
 no later than one (1) Business Day prior to the Closing Date. From time to time as needed as reasonably determined by Tilray, Tilray shall deposit with
 the Exchange Agent cash sufficient to make payments in lieu of fractional shares in accordance with Section L5(g). The Tilray Common Stock, Cash
 Merger Consideration, if any, and any other cash amounts so deposited with the Exchange Agent, together with any dividends or distributions received
 by the Exchange Agent with respect to such shares, are referred to collectively as the “Exchange Fund''

               (b) Promptly after the Effective Time, Tilray shall cause the Exchange Agent to mail to the Privateer Stockholders who were record
 holders of shares of Privateer Capital Stock that were converted into the right to receive a portion of the Stock Merger Consideration and Cash Meiger
 Consideration (if applicable) (i) a letter of transmittal in customary form and containing such provisions as Tilray may reasonably specify (with all other
 documentation required to be delivered pursuant to the letter of transmittal) (together, the “Letter of TransmittaF), including instructions for
 surrendering to the Exchange Agent such holder’s Privateer Capital Stock in exchange for shares of Tilray Common Stock and the applicable portion of
 the Cash Merger Consideration (as set forth on the Allocation Certificate) and specifying that delivery shall be effected, and risk of loss and title to any
 Privateer Stock Certificates or Privateer Book-Entry Shares shall pass, only upon delivery of such Privateer Stock Certificates or Privateer Book-Entry
 Shares to the Exchange Agent, and (ii) a Stockholder Lock-up Agreement in the form attached hereto in Exhibit C (the “Stockholder Lock-up
 Agreement').

               (c) After the Effective Time, upon surrender of a Privateer Stock Certificate for cancelation, if applicable, together with delivery to the
 Exchange Agent of (A) a Letter of Transmittal, duly completed and duly executed in accordance with the instructions thereto and (B) a Stockholder
 Lock-up Agreement, duly completed and duly executed, such Privateer Stockholder shall be entitled to receive in exchange therefor book-entry shares
 representing such Privateer Stockholder’s portion of the Stock Merger Consideration (in a number of whole shares of Tilray Common Stock) and the
 applicable portion of the Cash Merger Consideration (each as set forth on the Allocation Certificate) that such Privateer Stockholder has the right to
 receive pursuant to the provisions of Section 1.5(a) (and cash in lieu of any fractional share of Tilray Common Stock pursuant to the provisions of
 Section 1.5(c)). less such Privateer Stockholder’s Escrow Allocation, which shall be held in escrow in accordance with this Agreement and the Escrow
 Agreement. Until surrendered as contemplated by this Section 1.7(bk any Privateer Stock Certificate or Privateer Book-Entry Share shall be deemed,
 from and after the Effective Time, to represent only the right to receive upon such surrender such Privateer Stockholder’s portion of the Stock Merger
 Consideration and the applicable portion of the Cash Merger Consideration (and cash in lieu of any fractional share of Tilray Common Stock) in
 exchange for Privateer Capital Stock held by such Privateer Stockholder pursuant to this Agreement. A Privateer Stockholder shall not be entitled to
 receive any portion of
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 the Stock Merger Consideration or Cash Merger Consideration to which they are otherwise entitled until such Privateer Stockholder properly delivers a
 duly executed Letter of Transmittal, Stockholder Lock-up Agreement, and such other documents as may be reasonably required by the Exchange Agent
 or Tilray. The Stock Merger Consideration, the Cash Merger Consideration (if any), cash payable pursuant to Section l.SfcL and any dividends or other
 distributions as are payable pursuant to Section 1.7fd) shall be deemed to have been in full satisfaction of any and all rights pertaining to Privateer
 Capital Stock. No interest shall be paid or shall accrue on the cash payable under Section 1.5 or this Section 1.7. The terms and conditions of the Letter
 of Transmittal and the Stockholder Lock-up Agreement were specifically negotiated by Tilray, Privateer and Merger Sub as an inducement for Tilray,
 Privateer and Merger Sub to enter into this Agreement and such terms and conditions are an integral part of the terms of this Agreement.
                (d) No dividends or other distributions with respect to Tilray Common Stock with a record date after the Effective Time shall be paid to
 the holder of any Privateer Stock Certificate or Privateer Book-Entry Share, and no portion of Cash Merger Consideration or cash payment in lieu of
 fractional shares shall be paid to any such holder pursuant to Section L5(cL until the surrender of such Privateer Stock Certificate or Privateer Book-
 Entiy Share in accordance with this Section 1.7. Subject to Section 1.7(g). following surrender of any such Privateer Stock Certificate or Privateer
 Book-Entry Share, there shall be paid to the holder of the Tilray Common Stock issued in exchange therefor, without interest, (i) at the time of such
 surrender, the applicable portion of the Cash Merger Consideration (as set forth on the Allocation Certificate), the amount of any cash payable in lieu of
 a fractional share of Tilray Common Stock to which such holder is entitled pursuant to Section 1.5(c), and the amount of dividends or other distributions
 with a record date after the Effective Time previously paid with respect to such whole shares of Tilray Common Stock and (ii) at the appropriate
 payment date, the amount of dividends or other distributions with a record date after the Effective Time but prior to such surrender and a payment date
 subsequent to such surrender payable with respect to such whole shares of Tilray Common Stock.

               (e) If payment is to be made to a Person other than the Privateer Stockholder in whose name such surrendered shares are registered on the
 stock transfer books of Privateer, it shall be a condition of payment that such Person shall have properly delivered a duly executed Letter of Transmittal,
 Stockholder Lock-up Agreement, and such other documents as may be reasonably required by the Exchange Agent or Tilray, and paid all applicable
 transfer and other Taxes required by reason of such payment to a Person other than the registered holder of Privateer Capital Stock surrendered or shall
 have established to the satisfaction of the Exchange Agent that such Taxes either have been paid or are not applicable.

                (f) Any portion of the Exchange Fund that remains undistributed as of the date that is one (1) year after the Closing Date shall be delivered
 to Tilray upon demand, and any former holders of Privateer Capital Stock who have not theretofore properly delivered a duly executed Letter of
 Transmittal (with all other documentation required to be delivered pursuant to the Letter of Transmittal), Stockholder Lock-up Agreement, and such
 other documents as may be reasonably required by the Exchange Agent or Tilray in accordance with this Section 1.7 shall thereafter look only to Tilray
 for satisfaction of their claims for a portion of the Stock Merger Consideration or Cash Merger Consideration (as applicable), any cash in lieu of
 fractional shares of Tilray Common Stock, or any dividends or distributions with respect to shares of Tilray Common Stock.
              (g) No Party shall be liable to any Privateer Stockholder or to any other Person with respect to any shares of Tilray Common Stock (or
 dividends or distributions with respect thereto) or for any cash amounts delivered to any public official pursuant to any applicable abandoned property
 Law, escheat Law, Tax Law or other similar Law.

              (h) At the Closing, Tilray shall deposit with the Escrow Agent the Escrow Amount, as security for the indemnification claims of the Tilray
 Indemnified Parties for any Losses suffered or incurred by them and for which they are entitled to recovery under the provisions of Section 11.

              (i) At the Closing, Privateer shall deposit (or cause to be deposited) with the Stockholder Representative (as directed by the Stockholder
 Representative) the Reserve Amount. To the extent any amount
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 becomes payable out of the Reserve Account to the Privateer Stockholders pursuant to Section 10.1(e). the Stockholder Representative shall distribute to
 each Privateer Stockholder, such Privateer Stockholder’s Pro Rata Portion of such amount promptly following the date on which such amount is
 authorized to be released from the Reserve Amount.

       1.8 Appraisal Rights.
               (a) Notwithstanding any provision of this Agreement to the contrary, shares of Privateer Capital Stock (excluding shares to be canceled
 pursuant to Section 1.5(a¥iVl that are outstanding immediately prior to the Effective Time and which are held by stockholders who have exercised and
 perfected appraisal rights for such shares of Privateer Capital Stock in accordance with the DGCL (collectively, the “Dissenting Shares") shall not be
 converted into or represent the right to receive the Stock Merger Consideration nor any Cash Merger Consideration described in Section 1.5 attributable
 to such Dissenting Shares. Such stockholders shall be entitled to receive payment of the appraised value of such shares of Privateer Capital Stock held
 by them in accordance with the DGCL, unless and until such stockholders fail to perfect or effectively withdraw or otherwise lose their appraisal rights
 under the DGCL. All Dissenting Shares held by stockholders who shall have failed to perfect or shall have effectively withdrawn or lost their right to
 appraisal of such shares of Privateer Capital Stock under the DGCL (whether occurring before, at or after the Effective Time) shall thereupon be deemed
 to be converted into and to have become exchangeable for, as of the Effective Time, the right to receive the Stock Merger Consideration and the
 applicable portion of the Cash Merger Consideration (each as set forth on the Allocation Certificate), without interest, attributable to such Dissenting
 Shares upon their surrender in the manner provided in Sections 1.5 and 1.7.

               (b) Privateer shall give Ttlray (i) prompt written notice of any demands received by Privateer for appraisal of Privateer Capital Stock or
 exercise of dissenter’s rights or similar rights, attempted written withdrawals of such demands, and any other instruments served on Privateer and any
 correspondence received by Privateer in connection with such demands, and (ii) the opportunity to direct all negotiations and proceedings with respect
 to any exercise of such appraisal rights or dissenter’s rights under the DGCL. Privateer shall not, except with the prior written consent of Tiliay,
 voluntarily make any payment with respect to, or settle or offer to settle, any such demands, or approve any withdrawal of any such demands or agree to
 do any of the foregoing.

       1.9 Further Action. If, at any time after the Effective Time, any further action is determined by the Surviving Company to be necessary or
 desirable to carry out the purposes of this Agreement or to vest the Surviving Company with full right, title and possession of and to all rights and
 property of Privateer, then the officers and managers of the Surviving Company shall be fully authorized, and shall use their and its commercially
 reasonable efforts (in the name of Privateer, in the name of Merger Sub, in the name of the Surviving Company and otherwise) to take such action.

       1.10 Withholding. The Parties and the Exchange Agent shall be entitled to deduct and withhold from the consideration otherwise payable
 pursuant to this Agreement to any Privateer Stockholder or any other Person such amounts as such Party or the Exchange Agent is required to deduct
 and withhold under the Code or any other Law with respect to the making of such payment. The payor shall provide commercially reasonable notice to
 the payee upon becoming aware of any such withholding obligation, and the Parties shall cooperate with each other to the extent reasonable to obtain
 reduction of or relief from such withholding. To the extent that amounts are so deducted and withheld and paid to the appropriate Person, such deducted
 and withheld amounts shall be treated for all purposes of this Agreement as having been paid to the Person in respect of whom such deduction and
 withholding was made.

      1.11 Merger Consideration. The shares of Tilray Class 1 Common Stock and Tilray Class 2 Common Stock to be delivered by Tilray as Stock
 Merger Consideration, and any shares issuable upon options to be delivered by Tilray as Option Merger Consideration or otherwise pursuant to Tilray
 Options, shall be, in each case subject to the Lock-up Provisions. The shares of Tilray Class 1 Common Stock and Tilray Class 2 Common
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 Stock to be delivered by Tilray as Stock Merger Consideration pursuant to the terms of this Agreement are subject to the indemnification obligations set
 forth in Section 11. and the escrow provisions in the Escrow Agreement and in this Agreement.


 2*    REPRESENTATIONS AND WARRANTIES OF PRIVATEER
               Subject to Section 12.13(h), except as set forth in the disclosure letter delivered by Privateer to Tilray (the “Privateer Disclosure Letter”),
 Privateer represents and warrants to Tilray and Merger Sub as follows:

       2.1 Due Organization: Subsidiaries.

               (a) Privateer is duly incorporated, validly existing and in good standing under the Laws of Delaware and has all necessary corporate power
 and authority: (i) to conduct its business in the manner in which its business is currently being conducted; (ii) to own or lease and use its property and
 assets in the manner in which its property and assets are currently owned or leased and used; and (iii) to perform its obligations under all Contracts by
 which it is bound.

               (b) Privateer is duly licensed and qualified to do business, and is in good standing (to the extent applicable in such jurisdiction), under the
 Laws of all jurisdictions where the nature of its business requires such licensing or qualification other than in jurisdictions where the failure to be so
 qualified individually or in the aggregate would not be reasonably expected to have a Privateer Material Adverse Effect.

               (c) Privateer has no Subsidiaries, except for the Entities identified in Section 2.1(c) of the Privateer Disclosure Letter; and neither Privateer
 nor any of the Entities identified in Section 2.1(c) of the Privateer Disclosure Letter owns any capital stock of, or any equity, ownership or profit sharing
 interest of any nature in, or controls directly or indirectly, any oilier Entity other than the Entities identified m Section 2.1(c) of the Privateer Disclosure
 Letter. Each Subsidiary of Privateer is a corporation or other legal Entity duly organized, validly existing and, if applicable, in good standing and
 licensed and qualified to do business under the Laws of the jurisdiction of its organization and all jurisdictions where the nature of its business requires
 such licensing or qualification and has all necessaiy corporate or other power and authority to conduct its business in the manner in which its business is
 currently being conducted and to own or lease and use its property and assets in the manner in which its property and assets are currently owned or
 leased and used, except where the failure to have such power or authority would not reasonably be expected to have a Privateer Material Adverse Effect.

        2.2 Organizational Documents. Privateer has made available to Tilray accurate and complete copies of the Organizational Documents of
 Privateer and each of its Subsidiaries in effect as of the date of this Agreement. Neither Privateer nor any of its Subsidiaries is in material breach or
 violation of its respective Oiganizational Documents.

       2.3 Authority: Binding Nature of Agreement
               (a) Privateer has all necessary corporate power and authority to enter into and to perform its obligations under this Agreement and the
 Transaction Documents to which it is a party, subject to receipt of the Required Privateer Stockholder Vote, to perform its obligations hereunder and to
 consummate the Contemplated Transactions. The Privateer Board (at meetings duly called and held) has unanimously (i) determined that the
 Contemplated Transactions are fair to, advisable, and in the best interests of Privateer and the Privateer Stockholders, (ii) approved and declared
 advisable this Agreement and the Contemplated Transactions, and (iii) determined to recommend, upon the terms and subject to the conditions set forth
 in this Agreement, that the Privateer Stockholders vote in favor of die Privateer Stockholder Matters. As of the date of this Agreement, none of the
 aforementioned actions by the Privateer Board has been amended, rescinded or modified. As of die date of this Agreement, except for obtaining tile
 Required Privateer Stockholder Vote, no other corporate proceedings by Privateer are necessaiy' to authorize this Agreement and the Transaction
 Documents, or to consummate the Contemplated Transactions. As of the Closing Date, no other corporate proceedings by Privateer are necessary to
 authorize this Agreement and the Transaction Documents, or to consummate the Contemplated Transactions.

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               (b) This Agreement has been duly executed and delivered by Privateer and assuming the due authorization, execution and delivery by
 Tilray and Merger Sub, constitutes the legal, valid and binding obligation of Privateer, enforceable against Privateer in accordance with its terms, subject
 to the Enforceability Exceptions.

       2.4 Vote Required. The affirmative vote (or written consent) of (a) a majority of the aggregate voting power of outstanding shares of Privateer
 Common Stock and Privateer Preferred Stock, voting as a single class, (b) a majority of the aggregate voting power of the outstanding shares of
 Privateer Preferred Stock, voting as a single class, (c) a majority of the outstanding shares of Privateer Series A Preferred Stock, voting as a single class,
 (d) a majority of the outstanding shares of Privateer Series B Preferred Stock, voting as a single class, and (e) a majority of the aggregate voting power
 of outstanding shares of Privateer Common Stock and Privateer Preferred Stock, voting as a single class (in each case, excluding shares of Privateer
 Common Stock and Privateer Preferred Stock held or beneficially owned by the Privateer Stockholders set forth on Schedule A), in each case,
 outstanding on the record date for the written consent in lieu of a meeting pursuant to Section 228 of the DGCL approving Privateer Stockholder
 Matters, in a form reasonably acceptable to Tilray (collectively, “Privateer Stockholder Written Consent') and entitled to vote thereon (collectively, the
 “Required Privateer Stockholder Vote"), is the only vote (or written consent) of the holders of any class or series of Privateer Capital Stock necessary to
 adopt and approve the Privateer Stockholder Matters.

        2.5 Non-Contravention; Consents. Subject to obtaining the Required Privateer Stockholder Vote, the filing of the Certificate of Merger required
 by the DGCL and DLLCA, the expiration or termination of any waiting period under the HSR Act and any applicable foreign competition Laws, neither
 (x) the execution, delivery or performance of this Agreement by Privateer, nor (y) the consummation of die Contemplated Transactions, will directly or
 indirectly (with or without notice or lapse of time):

               (a) contravene, conflict with or result in a violation of any of the provisions of Privateer’s Oiganizational Documents;

                (b) contravene, conflict with or result in a material violation of, or to die Knowledge of Privateer give any Governmental Body or other
 Person the right to challenge, the Contemplated Transactions or to exercise any material remedy or obtain any material relief under, any Law or any
 order, writ, injunction, judgment or decree to which Privateer or its Subsidiaries, or any of the assets owned or used by Privateer or its Subsidiaries, is
 subject, except as would not reasonably be expected to have a Privateer Material Adverse Effect;

              (c) contravene, conflict with or result in a violation of any of the terms or requirements of, or give any Governmental Body the right to
 revoke, withdraw, suspend, cancel, terminate or modify, any Governmental Authorization that is held by Privateer or its Subsidiaries, except as would
 not reasonably be expected to have a Privateer Material Adverse Effect;

               (d) contravene, conflict with or result in a violation or breach of, or result in a default (or an event that, with notice or lapse of time or both,
 would become a default or breach) under, any provision of any Privateer Material Contract, or give any Person the right to: (i) declare a default or
 exercise any remedy under any Privateer Material Contract; (ii) any material payment, rebate, chargeback, penalty or change in delivery schedule under
 any Privateer Material Contract; (iii) accelerate the maturity or performance of any Privateer Material Contract; or (iv) cancel, terminate or modify' any
 term of any Privateer Material Contract, except in the case of any non-material breach, default, penalty or modification; or

             (e) result in the imposition or creation of any Encumbrance upon or with respect to (i) the Owned Shares or (ii) any other material asset
 owned or used by Privateer or its Subsidiaries.

               Except tor (i) any Consent set forth on Section 2.5 of the Privateer Disclosure Letter under any Privateer Contract, (ii) the Required
 Privateer Stockholder Vote, (iii) the filing of the Certificate of Merger with
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 the Secretary of State of the State of Delaware pursuant to the DGCL and DLLCA, and (iv) such Consents as may be required under applicable federal
 and state securities Laws, the HSR Act, and all applicable foreign competition Laws, if any, neither Privateer nor any of its Subsidiaries is or will be
 required to make any filing with or give any notice to, or to obtain any Consent from, any Person in connection with (A) the execution, delivery or
 performance of this Agreement and die Transaction Documents or (B) the consummation of the Contemplated Transactions. The Privateer Board has
 taken and will take all actions necessary to ensure that the restrictions applicable to business combinations contained in Section 203 of the DGCL are,
 and will be, inapplicable to the execution, delivery and performance of this Agreement and the Transaction Documents and to the consummation of the
 Contemplated Transactions. No other state Takeover Statute or similar Law applies or purports to apply to the Merger, this Agreement and the
 Transaction Documents, or any of the Contemplated Transactions.

       2.6 Capitalization; Ownership of the Owned Shares,
               (a) The authorized Privateer Capital Stock as of the Business Day immediately prior to the date of this Agreement, consists of (i)
 184,006,055 authorized shares of Privateer Capital Stock, of which 56,596,456 shares have been issued and are outstanding as of the Business Day
 immediately prior to the date of this Agreement, consisting of (A) 27,905,068 shares of Privateer Class 1 Common Stock, (B) 6,265,490 shares of
 Privateer Class 2 Common Stock and (C) 230,195 shares of Privateer Class 3 Common Stock and (ii) 29,006,055 authorized shares of Privateer
 Preferred Stock, of which 27,198,454 shares have been issued and are outstanding as of the Business Day immediately prior to the date of this
 Agreement, consisting of (A) 9,600,000 shares of Series A Preferred Stock, (B) 8,887,667 shares of Series B Preferred Stock and (C) 8,710,787 shares
 of Series C Preferred Stock. No shares of Privateer Capital Stock are held by Privateer as treasury shares as of the Business Day immediately prior to the
 date of this Agreement Section 2.6(a) of the Privateer Disclosure Letter lists, as of the Business Day immediately prior to the date of this Agreement,
 each record holder of issued and outstanding Privateer Capital Stock and the number and type of shares of Privateer Capital Stock held by such
 holder. There are no accrued or declared but unpaid dividends on any Privateer Capital Stock or the capital stock of any of Privateer’s Subsidiaries.

               (b) All of the outstanding shares of Privateer Capital Stock have been duly authorized and validly issued, and are fully paid and
 nonassessable. All of the outstanding shares of capital stock (or other Equity Interest) of each Subsidiary of Privateer have been duly authorized and
 validly issued, and are hilly paid and nonassessable, and are owned by Privateer or another Subsidiaiy of Privateer, free and clear of any Encumbrances.
 Except as set forth in the bylaws of Privateer or the Investor Agreements, none of the outstanding shares of Privateer Capital Stock is entitled or subject
 to any preemptive right, right of participation, right of maintenance or any similar right and none of the outstanding shares of Privateer Capital Stock is
 subject to any right of first refusal. Except as contemplated herein and in the bylaws of Privateer and the Investor Agreements, there is no Privateer
 Contract relating to the voting or registration of, or restricting any Person from purchasing, selling, pledging or otherwise disposing of (or granting any
 option or similar right with respect to), any shares of Privateer Capital Stock. Privateer is not under any obligation, nor is it bound by any Contract
 pursuant to which it may become obligated, to repurchase, redeem or otherwise acquire any outstanding shares of Privateer Capital Stock or other
 Equity Interests. Section 2.6(b) of the Privateer Disclosure Letter accurately and completely lists all repurchase or forfeiture rights held by Privateer
 with respect to shares of Privateer Capital Stock (including shares issued pursuant to the exercise of stock options). Each share of Privateer Preferred
 Stock is convertible into one share of Privateer Common Stock.

                (c) Except for the Privateer Plan, Privateer does not have any stock option plan or any other plan, program, agreement or arrangement
 providing for any equity-based compensation for any Person. Under the Privateer Plan (i) options to purchase 1,937,574 shares of Privateer Class 1
 Common Stock have been granted and are currently outstanding; (ii) options to purchase 1,564,215 shares of Privateer Class 3 Common Stock have
 been granted and are currently outstanding; and (iii) (A) no shares of Privateer Class 1 Common Stock remain available for future issuance to officers,
 directors, employees and consultants of Privateer and (B) 1,382,900 shares of Privateer Class 3 Common Stock remain available for future issuance to
 officers, directors, employees
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 and consultants of Privateer. Section 2.6(c) of the Privateer Disclosure Letter sets forth the following information with respect to each Privateer Option
 outstanding as of the Business Day immediately prior to the date of this Agreement: (i) the name of the optionee; (ii) whether such Privateer Option
 represents a right to acquire Privateer Class 1 Common Stock or Privateer Class 3 Common Stock; (iii) the number of shares of Privateer Common
 Stock subject to such Privateer Option at the time of grant; (iv) the number of shares of Privateer Common Stock subject to such Privateer Option as of
 the Business Day immediately prior to the date of this Agreement; (v) the exercise price of such Privateer Option; (vi) the date on which such Privateer
 Option was granted; (vii) the applicable vesting schedule, including the number of vested and unvested shares as of the Business Day immediately prior
 to the date of this Agreement and any acceleration provisions; (viii) the date on which such Privateer Option expires; (ix) whether the optionee is a
 Tilray Service Provider; and (x) with respect to any optionee that is a Privateer Service Provider, whether such optionee has terminated “Continuous
 Service” within the meaning of the Privateer Plan ^Continuous Service”) and, if so, the date on which such optionee terminated Continuous Service
 and the reason therefor. Privateer has made available to Tilray an accurate and complete copy of the Privateer Plan and the form of stock option
 agreement used to evidence outstanding options granted thereunder.

               (d) There is no: (i) outstanding subscription, option, call, warrant or right (whether or not currently exercisable) to acquire any shares of
 the capital stock or other securities of Privateer or any of its Subsidiaries; (ii) outstanding security, instrument or obligation that is or may become
 convertible into or exchangeable for any shares of the capital stock or other securities of Privateer or any of its Subsidiaries; or (iii) condition or
 circumstance that is reasonably likely to give rise to or provide a basis for the assertion of a claim by any Person to the effect that such Person is entitled
 to acquire or receive any shares of capital stock or other securities of Privateer or any of its Subsidiaries. There are no outstanding or authorized stock
 appreciation, phantom stock, profit participation or other similar rights with respect to Privateer or any of its Subsidiaries.

              (e) All outstanding shares of Privateer Common Stock, Privateer Preferred Stock, Privateer Options and other Equity Interests of Privateer
 and each of its Subsidiaries have been issued and granted in compliance with (i) all applicable securities Laws and other applicable Law, and (ii) all
 requirements set forth in applicable Contracts.

               (f) Privateer is the sole record and beneficial owner 16,666,667 shares of Tilray Class 1 Common Stock and 58,333,333 shares of Tilray
 Class 2 Common Stock (collectively, the “Owned Shares”), has good and valid title to the Owned Shares, and has no other Equity Interests in the Tilray.
 Other than this Agreement: (i) there is no Encumbrance over or affecting any of the Owned Shares, nor is there any agreement or commitment of
 Privateer to create any such Encumbrance and no Person has claimed any right or interest with respect to the Owned Shares, nor is there any basis for
 such a claim, and (ii) no Contract exists between Privateer and any other Person (other than Tilray) with respect to the Owned Shares.

       2.7 Financial Statements.
               (a) Section 2.7 of the Privateer Disclosure Letter sets forth true and complete copies of (i) Privateer’s unaudited consolidated balance
 sheets at December 31, 2018 and December 31, 2017 together with related unaudited consolidated statements of income, stockholders’ equity and cash
 flows, and notes thereto, of Privateer for the fiscal years then ended and (ii) the Privateer Unaudited Interim Balance Sheet, together with the unaudited
 consolidated statements of income, stockholders’ equity and cash flows of Privateer for the period reflected in Privateer Unaudited Interim Balance
 Sheet (collectively, the “Privateer Financials”). The Privateer Financials were prepared in accordance with GAAP (except as may be indicated in the
 notes to such financial statements and except that the Privateer Financials may not contain footnotes and are subject to normal and recurring year-end
 adjustments, none of which are material) applied on a consistent basis throughout the periods indicated and fairly present, in all material respects, the
 financial position and operating results of Privateer and its consolidated Subsidiaries (including Tilray), as of the dates and for the periods indicated
 therein.
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                (b) Each of Privateer and its Subsidiaries maintains accurate books and records reflecting their assets and liabilities and maintains a system
  of internal accounting controls designed to provide reasonable assurance that: (i) transactions are executed in accordance with management’s general or
  specific authorizations and (ii) transactions are recorded as necessary to permit preparation of the financial statements of Privateer and its Subsidiaries in
  conformity with GAAP and to maintain accountability of Privateer’s and its Subsidiaries’ assets. Privateer and each of its Subsidiaries maintains internal
  control over financial reporting that provides reasonable assurance regarding the reliability of financial reporting and the preparation of financial
  statements for external purposes.

               (c) Since January 1, 2017, there have been no formal internal investigations regarding financial reporting or accounting policies and
 practices discussed with, reviewed by or initiated at the direction of the Chief Executive Officer, Chief Financial Officer, or General Counsel of
 Privateer, the Privateer Board or any committee thereof. Since Januaiy 1, 2017, neither Privateer nor its independent auditors have identified (i) any
 significant deficiency or material weakness in the design or operation of the system of internal accounting controls utilized by Privateer and its
 Subsidiaries, (ii) any fraud, whether or not material, that involves Privateer, any of its Subsidiaries, Privateer’s management or other employees who
 have a role in the preparation of financial statements or the internal accounting controls utilized by Privateer and its Subsidiaries or (iii) any claim or
 allegation regarding any of the foregoing.

       2.8 Absence of Changes. Since the date of the Privateer Unaudited Interim Balance Sheet, and as of the date of this Agreement, Privateer has
 conducted its business only in the Ordinary Course of Business (except for the execution and performance of this Agreement and the discussions,
 negotiations and transactions related thereto) and there has not been any (a) Privateer Material Adverse Effect or (b) action, event or occurrence that
 would have required consent of Tilray pursuant to Section 4.1 (b) had such action, event or occurrence taken place after the execution and delivery of
 this Agreement.

       2.9 Absence of Undisclosed Liabilities. Neither Privateer nor any of its Subsidiaries has any Liability, Indebtedness, obligation or expense of any
 kind, individually or in the aggregate, except for: (a) Liabilities or Indebtedness disclosed, reflected or reserved against in the Privateer Unaudited
 Interim Balance Sheet; (b) Liabilities that have been incurred by Privateer or its Subsidiaries since the date of the Privateer Unaudited Interim Balance
 Sheet in the Ordinary Course of Business, none of which, individually or the aggregate, are material to Privateer; (c) Liabilities for the performance of
 obligations of Privateer or any of its Subsidiaries under Privateer Contracts (excluding any Liabilities arising from or related to any breach of any
 Privateer Contract); (d) Privateer Transaction Expenses; and (e) Liabilities which would not, individually or in the aggregate, reasonably be expected to
 be material to Privateer (both where the ownership of capital stock of Tilray is and is not excluded from such materiality determination).

        2.10 Title to Assets. Each of Privateer and its Subsidiaries owns, and has good and valid title to, or, in the case of leased properties and assets,
 valid leasehold interests in, all tangible properties or tangible assets and equipment used or held for use in its business or operations or purported to be
 owned by it that are material to Privateer or its business, including: (a) all tangible assets reflected on the Privateer Unaudited Interim Balance Sheet;
 and (b) all other tangible assets reflected in the books and records of Privateer or any of its Subsidiaries as being owned by Privateer or such Subsidiary.
 All of such assets are owned or, in the case of leased assets, leased by Privateer or its Subsidiaries free and clear of any Encumbrances. No new assets
 have been acquired by Privateer or any of its Subsidiaries since the date of the Privateer Unaudited Interim Balance Sheet.

       2.11 Real Property: Leasehold. Neither Privateer nor any of its Subsidiaries owns or has ever owned any real property. Section 2.11 of the
 Privateer Disclosure Letter sets forth an accurate and complete list of all real properties with respect to which Privateer directly or indirectly holds a
 valid leasehold interest as well as any other real estate that is in the possession of or leased by Privateer or any of its Subsidiaries. Privateer has made
 available to Tilray true and correct copies of all leases under which any such real property is possessed (the “Privateer Real Estate Leases”), each of
 which is in full force and effect, with no existing default thereunder by
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 any party, and no event has occurred which with the passage of time and/or the giving of notice would constitute a default thereunder by any party.
 There are no real property leases or Contracts to which Privateer or any of its Subsidiaries is a party granting Privateer or any of its Subsidiaries the right
 to use or occupy any real property other than the Privateer Real Estate Leases. Privateer’s use and operation of each such leased property conforms to all
 applicable Laws, and Privateer has exclusive possession of each such leased property and has not granted any occupancy rights to tenants or licensees
 with respect to such leased property. In addition, each such leased property is free and clear of all Encumbrances other than Permitted Encumbrances.

       2.12 Intellectual Property.

               (a) Except as has not had and would not reasonably be expected to have individually or in the aggregate, a Privateer Material Adverse
 Effect, Privateer or its Subsidiaries solely owns, is the sole assignee of, or has license to all Privateer IP (other than as disclosed on Section 2.12(a) of
 the Privateer Disclosure Letter), free and clear of all Encumbrances other than Permitted Encumbrances. Each Privateer Associate involved in the
 creation or development of any material Privateer IP, pursuant to such Privateer Associate’s activities on behalf of Privateer or its Subsidiaries, has
 signed a written agreement containing an assignment of such Privateer Associate’s rights in such Privateer IP to Privateer or its Subsidiaries and
 confidentiality provisions protecting Privateer IP.

                (b) No funding, facilities or personnel of any Governmental Body or any university, college, research institute or other educational
 institution has been used to create Privateer IP, except for any such funding or use of facilities or personnel that does not result in such Governmental
 Body or institution obtaining ownership rights to such Privateer IP or the right to receive royalties for the practice of such Privateer IP

                (c) Die conduct of the business of Privateer as currently conducted does not infringe, misappropriate, dilute or otherwise violate any
 Intellectual Property Rights of any Person; provided, however, the foregoing representation and warranty is made to the Knowledge of Privateer
 (without any duty or obligation to perform any patent searches) with respect to patents and patent infringement. To the Knowledge of Privateer, no other
 Person is infringing, misappropriating or otherwise violating any Privateer IP. No Legal Proceeding is pending (or, to the Knowledge of Privateer, is
 threatened in writing) (i) against Privateer or its Subsidiaries alleging that the operation of the businesses of Privateer or its Subsidiaries infringes or
 constitutes the misappropriation or other violation of any Intellectual Property Rights of another Person or (ii) by Privateer or its Subsidiaries alleging
 that another Person has infringed, misappropriated or otherwise violated any of Privateer IP or any Intellectual Property Rights exclusively licensed to
 Privateer or its Subsidiaries. Since January 1,2016, neither Privateer nor its Subsidiaries has received any written notice or other written communication
 alleging that the operation of the business of Privateer or its Subsidiaries infringes or constitutes the misappropriation or other violation of any
 Intellectual Property Right of another Person.

                (d) None of the Privateer IP or, to the Knowledge of Privateer, any Intellectual Property Rights exclusively licensed to Privateer or its
 Subsidiaries is subject to any pending or outstanding injunction, directive, order, judgment or other disposition of dispute that adversely and materially
 restricts the use, transfer, registration or licensing by Privateer or its Subsidiaries of any such Privateer IP or material Intellectual Property Rights
 exclusively licensed to Privateer or its Subsidiaries.

       2.13 Agreements. Contracts and Commitments.
                (a) Section 2.13(a) of the Privateer Disclosure Letter sets forth a complete and correct list (grouped according to the categories described
 in the subsections below) of Privateer Contracts that are executory as of the date of this Agreement (each, a "Privateer Material Contract and
 collectively, the "Privateer Material Contracts'1):

                     (i) each Privateer Contract relating to any agreement obligating Privateer or any of its Subsidiaries to indemnify, advance expenses
 to, or hold harmless any Person or any agreement of guaranty;
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                       (ii) each Privateer Contract containing (A) any covenant that purports to limit the freedom of Privateer, its Subsidiaries, or the
 Sumving Company to engage in any line of business or compete with any Person in any geographic area or line of business, make sales to any Person
 in any manner, or develop, market or distribute products or service, (B) any most-favored pricing arrangement, any type of discount rights, or any right
 of first refusal, first notice or first negotiation, (C) any exclusivity provision, (D) any non-solicitation provision with respect to employees of other
 Persons, or (E) any restriction on the use, exploitation or enforcement of any Intellectual Property Rights owned by or exclusively licensed to Privateer
 or any of its Subsidiaries;

                    (iii) each Privateer Contract relating to capital expenditures and requiring payments after the date of this Agreement in excess of
 $50,000 pursuant to its express terms and not cancelable without penalty;

                    (iv) each Privateer Contract relating to the disposition or acquisition of material assets or any ownership interest in any Entity, in
 each case, involving payments in excess of $50,000, other than Privateer Contracts in which the applicable acquisition or disposition has been
 consummated and there are no material ongoing obligations;

                      (v) each Privateer Contract relating to Indebtedness, including any mortgages, indentures, loans, notes or credit agreements, security
 agreements or other agreements or instruments relating to the borrowing of money or extension of credit or creating any material Encumbrances with
 respect to any assets of Privateer or any of its Subsidiaries or any loans or debt obligations with officers or directors of Privateer, in each case, having an
 outstanding principal in an amount in excess of $50,000;

                      (vi) each Privateer Contract requiring payment by or to Privateer after the date of this Agreement in excess of $50,000 pursuant to its
 express terms relating to: (A) any distribution agreement (identifying any that contain exclusivity provisions); (B) any dealer, distributor, joint
 marketing, alliance, joint venture, cooperation, development or other agreement currently in force under which Privateer has continuing obligations to
 develop or market any product, technology or service, or any agreement pursuant to which Privateer has continuing obligations to develop any
 Intellectual Property Rights that will not be owned, in whole or in part, by Privateer; or (C) any Contract to license any third party to manufacture or
 produce any product, service or technology of Privateer or any Contract to sell, distribute or commercialize any products or service of Privateer or any
 of its Subsidiaries;

                     (vii) each Privateer Contract pursuant to which Privateer or any of its Subsidiaries has provided funds to or made any loan, capital
 contribution or other investment in, or assumed, guaranteed or agreed to act as a surety with respect to any Liability of, any Person;

                      (viii) each Privateer Contract for the issuance of any debt or equity security or other ownership interest, or the conversion of any
 obligation, instrument or security into debt or equity securities or other ownership interests of, or the acquisition of tangible assets of a substantial nature
 or operating business of. Privateer or any of its Subsidiaries, or for the acquisition of any debt or equity security or other ownership interest of, or any
 tangible assets of a substantial nature or operating business of, any Person;

                     (ix) each Privateer Contract that requires a Consent of any Person in connection with, or otherwise contains a provision relating to a
 “change of control,” or that would prohibit or delay the consummation of, the Contemplated Transactions;

                     (x) each Privateer Contract wherein Privateer or its Subsidiaries grants or obtains a right or license to any Privateer IP, other than
 (i) click-wrap or shrink-wrap standard licenses for commercially available off-the-shelf software; (ii) open source software; and (iii) agreements with
 any customer of Privateer or its Subsidiaries entered into in the Ordinary Course of Business;
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                       (xi) each Privateer Contract with any financial advisor, broker, finder, investment banker or other similar Person, providing advisory
  services to Privateer in connection with the Contemplated Transactions;

                      (xii) each Privateer Real Estate Lease;

                      (xiii) each Privateer Contract with any Governmental Body;

                      (xiv) each Privateer Contract containing any royalty, dividend or similar arrangement based on the revenues or profits of Privateer or
 any of its Subsidiaries;

                     (xv) each Privateer Contract relating to a joint venture or partnership, joint development, merger, asset or share purchase or
 divestiture involving Privateer or any of its Subsidiaries;

                      (xvi) each Privateer Contract relating to settlement of any Legal Proceedings;

                      (xvii) each Privateer Contract, offer letter, employment agreement, consulting agreement, or independent contractor agreement with
 any employee, consultant or independent contractor that (A) is not terminable at will, without notice, severance, or other cost or Liability, or
 (B) provides for retention payments, change of control payments, severance, accelerated vesting, or any payment or benefit that may or will become due
 as a result of the Merger or the other Contemplated Transactions (whether alone or in connection with any other event); or

                     (xviii) any other Privateer Contract that is not terminable at will (with no penalty or payment) by Privateer or its Subsidiaries, as
 applicable, and (A) which involves payment or receipt by Privateer or its Subsidiaries after the date of this Agreement under any such Contract of more
 than $50,000 in the aggregate, or obligations after the date of tliis Agreement in excess of $50,000 in the aggregate, or (B) that is material to the business
 or operations of Privateer and its Subsidiaries, taken as a whole (both where the ownership of capital stock of Tilray is and is not excluded from such
 materiality detennination).

               (b) Privateer has delivered or made available to Tilray accurate and complete copies of all Privateer Material Contracts, including all
 restatements, modifications, amendments, and supplements thereto. There are no Privateer Material Contracts that are not in written form. Neither
 Privateer nor any of its Subsidiaries has, nor to Privateer’s Knowledge, as of the date of this Agreement has any other party to a Privateer Material
 Contract, breached, violated or defaulted under, or received notice that it breached, violated or defaulted under, any of the terms or conditions of any
 Privateer Material Contract, As to Privateer and its Subsidiaries, as of the date of this Agreement, each Privateer Material Contract is valid, binding,
 enforceable and in full force and effect, subject to the Enforceability Exceptions. As of the date of this Agreement, no Person is renegotiating, or has a
 right pursuant to the terms of any Privateer Material Contract to change, any material amount paid or payable to Privateer under any Privateer Material
 Contract or any other material term or provision of any Privateer Material Contract.

       2.14 Compliance: Permits: Restrictions.
                (a) Each of Privateer and its Subsidiaries is and has at all times been in compliance with all applicable Laws. Neither Privateer nor any of
 its Subsidiaries has received any written notice, order, complaint or other communication from any Governmental Body or any other Person that
 Privateer or any of its Subsidiaries has any Liability under any applicable Laws or that it is not or has at any time not been in compliance with any
 applicable Laws. No investigation or review by any Governmental Body regarding a violation of any applicable Laws with respect to Privateer or any of
 its Subsidiaries has occurred, is pending or, to the Knowledge of Privateer, threatened.
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                (b) Privateer has not received any inspection report, notice of adverse finding, warning letter, untitled letter or other correspondence with
 or notice from any Governmental Body alleging or asserting noncompliance with any applicable Laws, including the Food and Drugs Act R.S.C. 1985,
 c. F-27 or die Controlled Drugs and Substances Act S.C. 1996, c. 19, that has not been resolved by Privateer or that otherwise would not, individually or
 in the aggregate, reasonably be expected to have a Privateer Material Adverse Effect. Privateer and any person acting on behalf of Privateer have been in
 compliance with applicable Laws relating to the regulation of Privateer in any country, including health care, cannabis, privacy, and personal health
 information Laws. Privateer has not, either voluntarily or involuntarily, initiated, conducted or issued or caused to be initiated, conducted or issued, any
 recall, market withdrawal or replacement, safety alert, post-sale warning or other notice or action relating to the alleged safety or efficacy of any product
 or any alleged product defect or violation and there is no basis for any such notice or action.

                (c) Privateer has not, and to the Knowledge of Privateer, no Person acting on behalf of Privateer has, cultivated, produced, processed,
 imported or distributed, or has any current intention to cultivate, produce, process, import or distribute, any cannabis or cannabinoid product or has
 otherwise engaged, or has any current intention to otherwise engage, in any direct or indirect dealings or transactions in or to the United States of
 America, its territories and possessions, any state of the United States and the District of Columbia or any other federal, provincial, state, municipal,
 local or foreign jurisdiction where such activity is illegal. Privateer has instituted and maintained and will continue to maintain policies and procedures
 reasonably designed to ensure that Privateer does not carry on any activities in, or distribute any products to, any jurisdiction where such activities or
 products are not fully in compliance with all applicable Laws.

               (d) There is no agreement, judgment, injunction, order or decree binding upon Privateer which (i) has or would reasonably be expected to
 have the effect of prohibiting or materially impairing any business practice of Privateer, any acquisition of material property by Privateer or the conduct
 of business by Privateer as currently conducted, (ii) has or would reasonably be expected to have an adverse effect on Privateer's ability to comply with
 or perform any covenant or obligation under this Agreement, or (iii) that may have the effect of preventing, delaying, making illegal or otherwise
 interfering with the Contemplated Transactions.

                (e) Privateer holds all required Governmental Authorizations which are required or necessary for the operation of the business of Privateer
 as currently conducted (the “Privateer Permits”). Section 2.14(e) of the Privateer Disclosure Letter identifies each Privateer Permit. Privateer is and has
 at all times been in material compliance with the terms of the Privateer Permits. No Legal Proceeding is pending or, to the Knowledge of Privateer,
 threatened, which seeks to revoke, limit, suspend, or materially modify any Privateer Permit The rights and benefits of each Privateer Permit will be
 available to the Surviving Company immediately after the Effective Time on terms substantially identical to those enjoyed by Privateer as of the date of
 this Agreement and immediately prior to the Effective Time and will not be cancelled, terminated, revoked, limited in scope or otherwise adversely
 affected by the Contemplated Transactions.

       2.15 Legal Proceedings: Orders.
               (a) There is no Legal Proceeding to which Privateer or any of its Subsidiaries is a party or of which any property' or assets of Privateer or
 any of its Subsidiaries is the subject, including any Legal Proceeding before any Governmental Body, which, individually or in the aggregate, if
 determined adversely to Privateer or any of its Subsidiaries, would reasonably be expected to have a Privateer Material Adverse Effect; and, to the
 Knowledge of Privateer, no such Legal Proceedings are threatened or contemplated by a Governmental Body or other Person. Privateer is in compliance
 with all applicable Laws governing its business as prescribed by any Governmental Body in any countiy engaged in the regulation of cannabis,
 controlled drugs and substances or pharmaceuticals, except where noncompliance would not, individually or in the aggregate, reasonably be expected to
 have a Privateer Material Adverse Effect. All preclinical and clinical studies conducted on behalf of Privateer have been conducted by third parties, to
 the Knowledge of Privateer, in compliance with all applicable Law's, rules, orders and regulations in any country.
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               (b) There is no pending Legal Proceeding and, to the Knowledge of Privateer, no Person has threatened in writing to commence any Legal
 Proceeding: (i) that involves (A) Privateer, (B) any of its Subsidiaries, (C) any Privateer Associate (in his or her capacity as such) or (D) any of the
 assets owned or used by Privateer or its Subsidiaries; or (ii) that challenges, or that would have the effect of preventing, delaying, making illegal or
 otherwise interfering with, the Contemplated Transactions.

                 (c) Since January 1, 2017, no Legal Proceeding against Privateer has resulted in material Liability to Privateer.

               (d) There is no order, writ, injunction, judgment or decree to which Privateer or any of its Subsidiaries, or any of the material assets owned
 or used by Privateer or any of its Subsidiaries, is subject. No officer or employee of Privateer or any of its Subsidiaries is subject to any order, writ,
 injunction, judgment or decree that prohibits such officer or employee from engaging in or continuing any conduct, activity or practice relating to the
 business of Privateer or any of its Subsidiaries or to any assets owned or used by Privateer or any of its Subsidiaries.

            (e) There is no Legal Proceeding by Privateer or any of its Subsidiaries pending, or which Privateer or any of its Subsidiaries has
 commenced preparations to initiate, against any other Person and, to the Knowledge of Privateer.

       2.16 Tax Matters.
               (a) Privateer and each of its Subsidiaries have timely filed all income Tax Returns and other material Tax Returns that they were required
 to file under applicable Law. All such Tax Returns are correct and complete in all material respects and have been prepared in compliance with all
 applicable Law. No claim has ever been made by any Governmental Body in any jurisdiction where Privateer or any of its Subsidiaries does not file a
 particular Tax Return or pay a particular Tax that Privateer or such Subsidiary is subject to taxation by that jurisdiction.

              (b) All income and other material Taxes due and owing by Privateer or any of its Subsidiaries on or before the date hereof (whether or not
 shown on any Tax Return) have been fully paid. The unpaid Taxes of Privateer and its Subsidiaries did not, as of the date of the Privateer Unaudited
 Interim Balance Sheet, materially exceed the reserve for Tax liability (excluding any reserve for deferred Taxes established to reflect timing differences
 between book and Tax items) set forth on the face of the Privateer Unaudited Interim Balance Sheet. Since the date of the Privateer Unaudited Interim
 Balance Sheet, neither Privateer nor any of its Subsidiaries has incurred any material Liability for Taxes outside the Ordinary Course of Business.

                (c) All Taxes that Privateer or any of its Subsidiaries are or were required by Law' to withhold or collect have been duly and timely
 withheld or collected in all material respects on behalf of its respective employees, independent contractors, stockholders, lenders, customers or other
 third parties and, have been timely paid to the proper Governmental Body or other Person or properly set aside in accounts for this purpose.

                 (d) There are no Encumbrances for material Taxes (other than Permitted Encumbrances) upon any of die assets of Privateer or any of its
 Subsidiaries.

               (e) No deficiencies for income or other material Taxes with respect to Privateer or any of its Subsidiaries have been claimed, proposed or
 assessed by any Governmental Body in writing. There are no pending or ongoing, and to the Knowledge of Privateer, threatened audits, assessments or
 odier actions for or relating to any liability in respect of a material amount of Taxes of Privateer or any of its Subsidiaries. Neither Privateer nor any of
 its Subsidiaries (or any of their predecessors) has waived any statute of limitations in respect of any income or other material Taxes or agreed to any
 extension of time with respect to any income or other material Tax assessment or deficiency.

               (f) Privateer has not been a United States real property holding corporation within die meaning of Section 897(c)(2) of the Code during the
 applicable period specified in Section 897(c)(l)(A)(ii) of the Code.
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               (g) Neither Privateer nor any of its Subsidiaries is a party to any Tax allocation agreement Tax sharing agreement Tax indemnity
 agreement or similar agreement or arrangement other than customaiy commercial Contracts entered into in the Ordinary Course of Business the
 principal subject matter of which is not Taxes-

               (h) Neither Privateer nor any of its Subsidiaries will be required to include any material item of income in, or exclude any material item of
 deduction from, taxable income for any Tax period (or portion thereof) ending after the Closing Date as a result of any: (i) change in method of
 accounting for Tax purposes filed on or prior to the Closing Date; (ii) use of an improper method of accounting for a Tax period ending on or prior to the
 Closing Date; (iii) “closing agreement’' as described in Section 7121 of the Code (or any similar provision of state, local or foreign Law) executed on or
 prior to the Closing Date; (iv) intercompany transaction or excess loss account described in Treasury Regulations under Section 1502 of the Code (or
 any similar provision of state, local or foreign Law) entered into on or prior to the Closing Date; (v) installment sale or open transaction disposition
 made on or prior to the Closing Date; (vi) prepaid amount received on or prior to the Closing Date; or (vii) election under Section 108(i) of the Code (or
 any similar provision of state, local or foreign Law) made on or prior to the Closing Date* Privateer has not made any election under Section 965(h) of
 the Code.

                (i) Neither Privateer nor any of its Subsidiaries has ever been (i) a member of a consolidated, combined or unitary Tax group (other than a
 group of which Privateer is the common parent) or (ii) a party to any joint venture, partnership, or other arrangement that is treated as a partnership for
 U.S. federal income Tax purposes. Neither Privateer nor any of its Subsidiaries has any Liability for any material Taxes of any Person (other than
 Privateer and any of its Subsidiaries) under Treasmy Regulations Section 1.1502-6 (or any similar provision of state, local, or foreign Law), or as a
 transferee or successor.

              (j) Since January 1, 2016, neither Privateer nor any of its Subsidiaries has distributed stock of another Person, or had its stock distributed
 by another Person, in a transaction that was purported or intended to be governed in whole or in part by Section 355 of the Code or Section 361 of the
 Code (or any similar provisions of state, local or foreign Law).

                (k) Neither Privateer nor any of its Subsidiaries (i) is a “controlled foreign corporation’’ as defined in Section 957 of the Code; (ii) is a
 “passive foreign investment company” within the meaning of Section 1297 of the Code; (iii) has ever had a permanent establishment (within the
 meaning of an applicable Tax treaty) or otherwise had an office or fixed place of business in a country other than the country in which it is organized;
 (iv) is or was a “surrogate foreign corporation” within the meaning of Section 7874(a)(2)(B) or is treated as a U.S. corporation under Section 7874(b) of
 the Code; or (v) was created or organized in the U.S. such that such Entity would be taxable in the U.S. as a domestic Entity pursuant to the dual charter
 provision of Treasury Regulations Section 301.7701-5(a).

               (1) Neither Privateer nor any of its Subsidiaries has participated in or been a party to a transaction that, as of the date of this Agreement,
 constitutes a “listed transaction” that is required to be reported to the IRS pursuant to Section 6011 of the Code and applicable Treasury Regulations
 thereunder.

               (m) Neither Privateer nor any of its Subsidiaries has taken or agreed to take any action or has Knowledge of any fact that would reasonably
 be expected to prevent the Merger from qualifying for the Intended Tax Treatment.

               For purposes of this Section 2.16. each reference to Privateer or any of its Subsidiaries shall be deemed to include any Person that was
 liquidated into, merged with, or is otherwise a predecessor to, Privateer or such Subsidiary, respectively.
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       2.17 Employee and Labor Matters: Benefit Plans.
               (a) Section 2.17(a) of the Privateer Disclosure Letter is a list of all material Privateer Benefit Plans. “Privateer Benefit Plan” means each
 (i) “employee benefit plan” as defined in Section 3(3) of ERISA and (ii) other pension, retirement, deferred compensation, excess benefit, profit sharing,
 bonus, incentive, equity or equity-based (other than individual Privateer Options made pursuant to Privateers standard forms, in which case all forms
 that are representative standard forms of such stock option agreements as well as any material deviation therefrom shall be scheduled along with an
 indication of which options were granted pursuant to which forms), phantom equity, employment, offer letter, consulting, severance, change-of-control,
 retention, health, life, disability, group insurance, paid-time off, holiday, welfare and fringe benefit plan, program, agreement, contract, or arrangement
 (whether written or unwritten), in any case, maintained, contributed to, or required to be contributed to, by Privateer or any of its Subsidiaries for the
 benefit of any current or former employee, director, officer or independent contractor of Privateer or any of its Subsidiaries or under which Privateer or
 any of its Subsidiaries has any Liability.

               (b) As of immediately prior to the Effective Time, Privateer and its Subsidiaries will have no independent contractors who are natural
 Persons or employees and will have no Liability with respect to any current or former employee, director, officer or independent contractor of Privateer
 or any of its current or former Subsidiaries and Privateer will sponsor no Privateer Benefit Plan and will have no further Liability with respect to any
 Privateer Benefit Plan.

                 (c) As applicable with respect to each Privateer Benefit Plan, Privateer has made available to Tilray, true and complete copies of (i) each
 Privateer Benefit Plan, including all amendments thereto, and in the case of an unwritten Privateer Benefit Plan, a written description thereof, (ii) all
 current material trust documents, investment management contracts, custodial agreements, administrative services agreements and insurance and annuity
 contracts relating thereto, (iii) the current summary plan description and each summary of material modifications thereto, (iv) the most recently filed
 annual reports with any Governmental Body (e.g., Fonn 5500 and all schedules thereto), (v) the most recent IRS determination, opinion or advisory
 letter, (vi) the most recent summary annual reports, nondiscrimination testing reports, actuarial reports, financial statements and trustee reports, and
 (vii) all records, notices and filings concerning IRS or Department of Labor or other Governmental Body audits or investigations, and all documents
 related to any “prohibited transactions” within the meaning of Section 406 of ERISA or Section 4975 of the Code.

             (d) Each Privateer Benefit Plan has been maintained, operated and administered in compliance in all respects with its terms and any related
 documents or agreements and the applicable provisions of ERISA, the Code and all other Laws.

              (e) Privateer Benefit Plans which are “employee pension benefit plans” within the meaning of Section 3(2) of ERISA and which are
 intended to meet the qualification requirements of Section 401(a) of the Code have received determination or opinion letters from the IRS on which they
 may currently rely to the effect that such plans are qualified under Section 401(a) of the Code.

               (f) Neither Privateer, any of its Subsidiaries nor any Privateer ERISA Affiliate maintains, contributes to, is required to contribute to, or has
 any Liability with respect to, (i) any “employee pension benefit plan” (within the meaning of Section 3(2) of ERISA) that is subject to Title IV or
 Section 302 of ERISA or Section 412 of the Code, (ii) any “multiemployer plan” (within the meaning of Section 3(37) of ERISA), (iii) any “multiple
 employer plan” (within the meaning of Section 413 of the Code) or (iv) any “multiple employer welfare arrangement” (within the meaning of
 Section 3(40) of ERISA).

               (g) There are no pending audits or investigations by any Governmental Body involving any Privateer Benefit Plan, and no pending or, to
 the Knowledge of Privateer, threatened claims (except for individual claims for benefits payable in the normal operation of Privateer Benefit Plans and
 appeals thereof), suits or proceedings involving any Privateer Benefit Plan.
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                (h) Neither Privateer nor any of its Subsidiaries or Privateer ERISA Affiliates, nor to the Knowledge of Privateer, any fiduciary, trustee or
 administrator of any Privateer Benefit Plan, has engaged in, or in connection with the Contemplated Transactions will engage in, any transaction with
 respect to any Privateer Benefit Plan which would subject any such Privateer Benefit Plan, Privateer, any of its Subsidiaries or Privateer ERISA
 Affiliates or Tilray to a Tax, penalty or Liability for a ‘‘prohibited transaction’7 under Section 406 of ERISA or Section 4975 of the Code.

                (i) Neither the execution of, nor the performance of the Contemplated Transactions will either alone or in connection with any other
 event(s) (i) result in any payment becoming due to any current or former employee, director, officer, or independent contractor of Privateer or any of its
 Subsidiaries, (ii) increase any amount of compensation or benefits otherwise payable under any Privateer Benefit Plan, (iii) result in the acceleration of
 the time of payment, funding or vesting of any benefits under any Privateer Benefit Plan, (iv) require any contribution or payment to fund any obligation
 under any Privateer Benefit Plan or (v) limit the right to merge, amend or terminate any Privateer Benefit Plan.

               (j) Neither the execution of, nor the consummation of the Contemplated Transactions (either alone or when combined with the occurrence
 of any other event, including without limitation, a termination of employment) will result in die receipt or retention by any person who is a “disqualified
 individual” (within the meaning of Code Section 280G) with respect to Privateer and its Subsidiaries of any payment or benefit that is or could be
 characterized as a “parachute payment” (within the meaning of Code Section 280G), determined without regard to the application of Code
 Section 280G(b)(5).

               (k) The exercise price of each Privateer Option is not less than the fair market value of one share of Privateer Common Stock as of the
 grant date of such Privateer Option.

             (1) No current or former employee, officer, director or independent contractor of Privateer or any of its Subsidiaries has any “gross up”
 agreements with Privateer or any of its Subsidiaries or other assurance of reimbursement by Privateer or any of its Subsidiaries for any Taxes imposed
 under Code Section 409A or Code Section 4999.

               (m) No Privateer Benefit Plan is maintained outside of the United States and no employee of Privateer is employed outside the United
 States.

              (n) Privateer has provided to Tilray a true and correct list, as of the date of this Agreement, containing the names of all full-time, part-time
 or temporary employees and independent contractors (and indication as such), and, as applicable: (i) the annual dollar amount of all compensation
 (including wages, salary or fees, commissions, director’s fees, fringe benefits, bonuses, profit sharing payments, and other payments or benefits of any
 type) payable to each person; (ii) dates of employment or service; (iii) title; (iv) any eligibility to receive severance, retention payment, change of
 control payment, or other similar compensation; and (v) with respect to employees, a designation of whether they are classified as exempt or
 non-exempt for purposes of the Fair Labor Standards Act, as amended (“FLSA”) and any similar state Law.

                (o) Neither Privateer nor any of its Subsidiaries is or has ever been a party to, bound by, or has a duty to bargain under, any collective
 bargaining agreement or other Contract with a labor union, labor organization, or similar Person representing any of its employees, and there is no labor
 union, labor organization, or similar Person representing or, to the Knowledge of Privateer, purporting to represent or seeking to represent any
 employees of Privateer or its Subsidiaries, including through the filing of a petition for representation election. There is not and has not been in the past
 three years, nor is there or has there been in the past three years any threat of, any strike, slowdown, work stoppage, lockout, union election petition,
 demand for recognition, or any similar activity or dispute, or, to the Knowledge of Privateer, any union organizing activity, against Privateer or any of its
 Subsidiaries. No event has occurred, and no condition or circumstance exists, that might directly or indirectly be likely to give rise to or provide a basis
 for the commencement of any such strike, slowdown, work stoppage, lockout, union election petition, demand for recognition, any similar activity or
 dispute, or. to the Knowledge of Privateer, any union oiganizing activity.
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               (p) Privateer and each of its current and former Subsidiaries is, and has at all times been, in compliance with all applicable Laws
 respecting labor, employment, employment practices, and terms and conditions of employment, including worker classification, discrimination,
 harassment and retaliation, equal employment opportunities, fair employment practices, meal and rest periods, immigration, employee safety and health,
 payment of wages (including overtime wages), unemployment and workers5 compensation, leaves of absence, and hours of work. Except as would not
 result in a Liability to Privateer or any of its Subsidiaries, with respect to employees of Privateer and its Subsidiaries, each of Privateer and its
 Subsidiaries: (i) has withheld and reported all amounts required by Law or by agreement to be withheld and reported with respect to wages, salaries and
 other payments, benefits, or compensation to employees, (ii) is not liable for any arrears of wages (including overtime wages), severance pay or any
 Taxes or any penally for failure to comply with any of the foregoing, and (iii) is not liable for any payment to any trust or other fund governed by or
 maintained by or on behalf of any Governmental Body, with respect to unemployment compensation benefits, disability, social security or other benefits
 or obligations for employees (other than routine payments to be made in the Ordinary Course of Business). There are no actions, suits, claims, chaiges,
 lawsuits, investigations, audits or administrative matters pending or, to the Knowledge of Privateer, threatened or reasonably anticipated against
 Privateer or any of its Subsidiaries relating to any employee, applicant for employment, consultant, employment agreement or Privateer Benefit Plan
 (other than routine claims for benefits with respect to the full amount of any such claim or threatened claim is fully covered by insurance, including with
 respect to costs and attorneys* fees).

               (q) Except as would not result in a Liability to Privateer or any of its Subsidiaries, with respect to each individual who currently renders or
 in the past has rendered services to Privateer or any of its Subsidiaries, Privateer and each of its Subsidiaries has accurately classified each such
 individual as an employee, independent contractor, or otherwise under all applicable Laws and, for each individual classified as an employee, Privateer
 and each of its Subsidiaries has accurately classified him or her as exempt or non-exempt under all applicable Laws. Neither Privateer nor any of its
 Subsidiaries has any Liability with respect to any misclassification of: (i) any Person as an independent contractor rather than as an employee, (ii) any
 employee leased from another employer, or (iii) any employee currently or formerly classified as exempt under all applicable Laws.

              (r) Within the preceding three years, Privateer has not implemented any “plant closing” or “mass layoff” of employees that would
 reasonably be expected to require notification under the WARN Act or any similar state or local Law, no such “plant closing” or “mass layoff* will be
 implemented before the Closing Date without advance notification to and approval of Tilray, and there has been no “employment loss’5 as defined by the
 WARN Act within the 90 days prior to the Closing Date.

               (s) There is no Legal Proceeding, claim, unfair labor practice charge or compliant, labor dispute or grievance pending or, to the Knowledge
 of Privateer, threatened against Privateer or its Subsidiaries relating to labor, employment, employment practices, or terms and conditions of
 employment.

        2.1 S Environmental Matters. Privateer and each of its Subsidiaries have complied with all applicable Environmental Laws, which compliance
 includes the possession by Privateer of all permits and other Governmental Authorizations required under applicable Environmental Laws and
 compliance with the terms and conditions thereof, except for any failure to be in such compliance that, either individually or in the aggregate, would not
 reasonably be expected to be material to Privateer or its business. Neither Privateer nor any of its Subsidiaries has received since January 1, 2017 (or
 prior to that time, which is pending and unresolved), any written notice or other communication (in writing or otherwise), whether from a Governmental
 Body or other Person, that alleges that Privateer or any of its Subsidiaries is not in compliance with or has Liability pursuant to any Environmental Law
 and, to the Knowledge of Privateer, there are no circumstances that would reasonably be expected to prevent or interfere with Privateer’s or any of its
 Subsidiaries* compliance in any material respects with any Environmental Law, except where such failure to comply would not reasonably be expected
 to have a Privateer Material Adverse Effect. No current or (during the time a prior property was leased or controlled by Privateer or any of its
 Subsidiaries) prior property leased or controlled by Privateer or any of its Subsidiaries has had a release of or exposure to Hazardous Materials in
 material violation of or as would result in any material
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 Liability of Privateer or any of its Subsidiaries pursuant to Environmental Law. No Consent of or registration or filing with any Governmental Body is
 required by Environmental Laws in connection with the execution and delivery of this Agreement or the Contemplated Transactions. Prior to the date
 hereof Privateer has provided or otherwise made available to Tilray true and correct copies of all material environmental reports, assessments, studies
 and audits in the possession or control of Privateer or any of its Subsidiaries with respect to any property leased or controlled by Privateer or any of its
 Subsidiaries or any business operated by them.

        2.19 Insurance. Section 2.19 of the Privateer Disclosure Letter lists all of the insurance policies and all self-insurance programs and arrangements
 of Privateer and each of its Subsidiaries, as of the date of this Agreement, relating to the business, assets, liabilities and operations of Privateer and each
 of its Subsidiaries (the “Insurance Policies”; each, an “Insurance Policy”), complete and correct copies of which have been delivered and made
 available to Tilray. Each Insurance Policy is in full force and effect, all premiums due thereon have been paid in full, and Privateer and each of its
 Subsidiaries are in compliance in all material respects with the terms thereof. Other than customary end of policy notifications from insurance carriers,
 since January 1, 2017, neither Privateer nor any of its Subsidiaries has received any notice or other communication regarding any actual or possible:
 (i) cancellation or invalidation of any Insurance Policy; or (ii) refusal or denial of any coverage, reservation of rights or rejection of any material claim
 under any Insurance Policy. Privateer and each of its Subsidiaries have provided timely written notice to the appropriate insurance carrier(s) of each
 Legal Proceeding that is currently pending against Privateer or any of its Subsidiaries for which Privateer or such Subsidiary' has insurance coverage,
 and no such carrier has issued a denial of coverage or a reservation of rights with respect to any such Legal Proceeding, or informed Privateer or any of
 its Subsidiaries of its intent to do so. There has not been any claim made against any Insurance Policy that has not been resolved. No Insurance Policy
 will terminate or lapse (or be affected in any other adverse manner) by reason of the Contemplated Transactions.

       2.20 No Financial Advisors. No broker, finder or investment banker is entitled to any brokerage fee, finder's fee, opinion fee, success fee,
 transaction fee or other fee or commission in connection with the Contemplated Transactions based upon arrangements made by or on behalf of
 Privateer or any of its Subsidiaries.

        2.21 Disclosure. The statements made, and information supplied, by Privateer and each of its Subsidiaries for inclusion or incorporation by
 reference in (a) the Proxy Statement (including the Privateer Financials) will not, as of the date of the Proxy Statement or as of the date such information
 is first mailed to Tilray’s stockholders, or (b) the Registration Statement, at the time the Registration Statement is filed with the SEC, at any time it is
 amended or supplemented or at the time it is declared effective under the Securities Act, in each case, (x) contain any statement that is inaccurate or
 misleading with respect to any material facts, or (y) omit any material fact necessary in order to make such information, in light of the circumstances
 under which such statement is made or information provided, not false or misleading.

       2.22 Transactions with Affiliates.
               (a) Section 2.22(a) of the Privateer Disclosure Letter (i) describes any material transactions or relationships, since January 1, 2017,
 between, on one hand, between Privateer or any of its Subsidiaries and, on the other hand, any Related Party of Privateer or to the Knowledge of
 Privateer, any Immediate Family Member and (ii) identifies each Person who is (or who may be deemed to be) an Affiliate of Privateer as of the date of
 this Agreement. Except as would not be material to Privateer or its business, no Related Party of Privateer or any of its Subsidiaries, or to the
 Knowledge of Privateer, any Immediate Family Member: (a) owns or has owned, directly or indirectly, any equity or other financial or voting interest in
 any competitor, supplier, licensor, lessor, distributor, customer, independent contractor or licensor of Privateer or any of its Subsidiaries or their
 business; (b) owns or has owned, directly or indirectly, or has or has had any interest in any property (real or personal, tangible or intangible) that
 Privateer or any of its Subsidiaries uses or has used in or pertaining to the business of Privateer or any of its Subsidiaries; (c) has or has had any business
 dealings or a financial interest in any transaction with Privateer or any of its Subsidiaries or involving any assets or property of Privateer or any of its
 Subsidiaries, other than business dealings or transactions conducted in the Ordinary Course of Business consistent with past practice at prevailing
 market prices and on prevailing market terms; (d) licenses to or from
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 Privateer or any of its Subsidiaries any Intellectual Property Rights or holds any Intellectual Property Rights, tangible or fixed assets or any other assets
 currently used or required by the Privateer or its Subsidiaries to carry on their businesses as currently conducted; (e) has any outstanding payment claims
 against Privateer or any of its Subsidiaries (including fees from licenses, services or products, whether for specific performance, damages or otherwise);
 (f) has any claims to enter into an agreement with, or to acquire from or dispose to Privateer or its Subsidiaries any Intellectual Property Rights, fixed or
 tangible assets or other assets or to license to or from Privateer or its Subsidiaries any Intellectual Property Rights; or (g) has made or, to the Knowledge
 of Privateer, threatened any alleged claims against Privateer or its Subsidiaries.

                (b) Section 2.22(b) of the Privateer Disclosure Letter lists each stockholder agreement, voting agreement, registration rights agreement,
 voting trust, proxy, co-sale agreement, management rights agreement, or other similar Contract between Privateer and any holder of Equity Interests in
 Privateer, including any such Contract granting any Person investor rights, rights of first refusal, rights of first offer or negotiation, registration rights,
 director designation rights or similar rights (collectively, the “Investor Agreements”).

                (c) All of the Investor Agreements can be terminated by Privateer effective upon the Closing (regardless of any provisions therein
 providing for the survival of any obligations or Liability of Privateer or its Subsidiaries thereunder), and upon termination in accordance with
 Section 5.12 will be of no further force or effect, and none of the parties to any of the Investor Agreements will have any obligation or Liability to any
 other party thereunder. Upon such termination of each Investor Agreement, no party thereto will have any surviving rights, remedies or powers in
 relation to any failure on the part of any other party or any other Person to perform any duty or obligation under such Investor Agreement

        2.23 Anti-Bribery. None of Privateer or any of its Subsidiaries or any of their respective directors, officers, employees, agents or any other
 Person acting on their behalf has directly or indirectly offered, promised, or paid anything of value, including but not limited to bribes, rebates, payoffs,
 influence payments, kickbacks, political or charitable contributions, cash, entertainment gifts, free goods or services, employment, or any other benefit,
 or taken any other action, in violation of the Foreign Corrupt Practices Act of 1977, the UK Bribery Act of 2010 or any other anti-bribery or anti-
 corruption Law, as amended, or any rules or regulations thereunder (collectively, the “Anti-Bribery Laws”). Neither Privateer nor any of its Subsidiaries
 is or has been the subject of any investigation or inquiry, whether internal or initiated by any third party or Governmental Body, with respect to potential
 violations of Anti-Bribery Laws in the past five years.

       2.24 Disclaimer of Other Representations or Warranties.
               (a) Except as previously set forth in this Section 2 or in any certificate delivered by Privateer to Tilray and/or Merger Sub pursuant to this
 Agreement, Privateer makes no representation or warranty, express or implied, at law or in equity, with respect to it or any of its assets, liabilities or
 operations, and any such other representations or warranties are hereby expressly disclaimed.

               (b) Privateer acknowledges and agrees that, except for the representations and warranties of Tilray and Merger Sub set forth in Section 3.
 neither Privateer nor any of its Representatives is relying on any other representation or warranty of Tilray or any other Person made outside of
 Section 3. including regarding the accuracy or completeness of any such other representations or warranties or the omission of any material information,
 whether express or implied, in each case, with respect to the Contemplated Transactions.

 3.    REPRESENTATIONS AND WARRANTIES OF TILRAY AND MERGER SUB
               Subject to Section 12.13(h). except (a) as set forth in the disclosure letter delivered by Tilray to Privateer (the “Wray Disclosure Letter”)
 or (b) as disclosed in the Tilray SEC Documents filed with or furnished to the SEC prior to the date hereof and publicly available on the SEC’s
 Electronic Data Gathering Analysis and Retrieval system (but (i) without giving effect to any amendment thereof filed with or furnished to
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 the SEC on or after the date hereof and (ii) excluding any disclosures contained under the heading “Risk Factors” and any disclosure of risks included in
 any “forward-looking statements” disclaimer or in any other section to the extent they are forward predictive or forward-looking in nature), Tilray and
 Merger Sub represent and warrant to Privateer as follows:


                (a) Each of Tilray and Merger Sub is duly organized, validly existing and in good standing under the Laws of Delaware, and has all
 necessary organizational power and authority: (i) to conduct its business in the manner in which its business is currently being conducted; (ii) to own or
 lease and use its property and assets in the manner in which its property and assets are currently owned or leased and used; and (iii) to perform its
 obligations under all Contracts by which each is bound. Since the date of its formation, Merger Sub has not engaged in any activities other than activities
 incident to its formation or in connection with or as contemplated by this Agreement.

               (b) Tilray is duly licensed and qualified to do business, and is in good standing (to the extent applicable in such jurisdiction), under the
 Laws of all jurisdictions where the nature of its business requires such licensing or qualification other than in jurisdictions where die failure to be so
 qualified individually or in the aggregate would not be reasonably expected to have a Tilray Material Adverse Effect.

     3.2 Organizational Documents. Tilray has made available to Privateer accurate and complete copies of Tilray5s and Merger Sub’s Organizational
 Documents in effect as of the date of this Agreement. Neither Tilray nor Merger Sub is in material breach or violation of its respective Organizational
 Documents.

       3.3 Authority: Binding Nature of Agreement.
               (a) Each of Tilray and Merger Sub has all necessary organizational power and authority to enter into and to perform its obligations under
 this Agreement and, subject, with respect to Tilray, to receipt of the Required Tilray Stockholder Vote and, with respect to Merger Sub, the adoption of
 this Agreement by Tilray in its capacity as sole member of Merger Sub, to perform its obligations hereunder and to consummate the Contemplated
 Transactions. The Tilray Special Committee (at meetings duly called and held) has: (i) determined that the Contemplated Transactions are fair to,
 advisable and in the best interests of Tilray and its stockholders; (ii) authorized, approved and declared advisable this Agreement and the Contemplated
 Transactions, including the issuance of the Stock Merger Consideration to the Privateer Stockholders, the issuance of the Option Merger Consideration
 and the treatment of Privateer Options pursuant to this Agreement, and the adoption of the Amended and Restated Tilray Charter, provided that any
 Cash Merger Consideration or Aggregate Cash Option Consideration to be paid shall be subject to the subsequent approval and determination of the
 Tilray Board pursuant to Secriqn_L5(d); and (iii) determined to recommend, upon the terms and subject to the conditions set forth in this Agreement,
 that the stockholders of Tilray vote to approve the Tilray Stockholder Matters. Tilray in its capacity as sole member of Merger Sub has: (A) determined
 that the Contemplated Transactions are fair to, advisable, and in the best interests of Merger Sub and its sole member; (B) authorized, approved and
 declared advisable this Agreement and the Contemplated Transactions; and (C) upon the terms and subject to the conditions set forth in this Agreement,
 adopted this Agreement and thereby approved the Contemplated Transactions.

              (b) This Agreement has been duly executed and delivered by each of Tilray and Merger Sub and, assuming the due authorization,
 execution and delivery by Privateer, constitutes the legal, valid and binding obligation of Tilray and Merger Sub, enforceable against each of Tilray and
 Merger Sub in accordance with its terms, subject to the Enforceability Exceptions.

        3.4 Vote Required, (a) The affirmative vote of (i) a majority of the aggregate voting power of the votes cast at the Tilray Stockholders’ Meeting
 and (ii) the holders of a majority of the outstanding shares of Tilray Class 1 Common Stock and Tilray Class 2 Common Stock, each voting separately as
 a class, are the only votes of the
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 holders of any class or series of Tilray’s capital stock necessary to approve the proposals in Section 5.3(a)(i) and_(b) the affirmative vote of (i) a majority
 of the aggregate voting power of outstanding shares of Tilray Common Stock, and (ii) the holders of a majority of the voting power of the Tilray Class 1
 Common Stock, voting together as a single class are the only votes of the holders of any class or series of Tilray *s capital stock necessaiy to approve the
 proposals in Section 5.3(a¥ii) (the “Required Wray Stockholder Vote”).

       3.5 Non-Contravention: Consents.

              (a) Assuming the Enumerated Items have each been obtained, neither (x) the execution, deliveiy or performance of this Agreement by
 Tilray or Merger Sub, nor (y) the consummation of the Contemplated Transactions, will directly or indirectly (with or without notice or lapse of time):

                     (i) contravene, conflict with or result in a violation of any of the provisions of the Oiganizational Documents of Tilray or Merger
 Sub, except for any such conflicts, violations or other occurrences that would not, individually or in the aggregate, reasonably be expected to prevent or
 materially delay the ability of Tilray and Merger Sub to consummate the Contemplated Transactions;

                    (ii) contravene, conflict with or result in a material violation of, or give any Governmental Body or other Person the right to
 challenge, the Contemplated Transactions or to exercise any material remedy or obtain any material relief under, any Law or any order, writ injunction,
 judgment or decree to which Tilray or Merger Sub, or any of the assets owned or used by Tilray or Merger Sub, is subject;

                     (iii) contravene, conflict with or result in a violation of any of the terms or requirements of, or give any Governmental Body the right
 to revoke, withdraw, suspend, cancel, terminate or modify, any Governmental Authorization that is held by Tilray, except for any such conflicts,
 violations or other occurrences that would not, individually or in the aggregate, reasonably be expected to prevent or materially delay the ability of
 Tilray and Merger Sub to consummate the Contemplated Transactions; or

                     (iv) contravene, conflict with or result in a violation or breach of, or result in a default (or an event that, with notice or lapse of time
 or both, would become a default or breach) under, any provision of any Tilray Contract, except for any such conflicts, violations, breaches, defaults or
 other occurrences that would not, individually or in the aggregate, reasonably be expected to prevent or materially delay the ability of Tilray and Merger
 Sub to consummate the Contemplated Transactions.

                (b) Except for (i) any Consent set forth on Section 3.5 of the Tilray Disclosure Letter under any Tilray Contract, (ii) the Required Tilray
 Stockholder Vote, (iii) the filing of the Certificate of Merger with the Secretary of State of the State of Delaware pursuant to the DGCL and DLLCA,
 and (iv) such Consents, as may be required under applicable federal and state securities Laws, the HSR Act and all applicable foreign competition Laws,
 if any, and the Nasdaq rules (the foregoing, the “Enumerated Items1'), Tilray is not and will not be required to make any filing with or give any notice
 to, or to obtain any Consent from, any Person in connection with (A) the execution, delivery or performance of this Agreement or (B) the consummation
 of the Contemplated Transactions, which if individually or in the aggregate were not given or obtained, would prevent or materially delay the ability of
 Tilray and Merger Sub to consummate the Contemplated Transactions. The Tilray Special Committee and the sole member of Merger Sub have taken
 and will take all actions necessary to ensure that the restrictions applicable to business combinations contained in Section 203 of the DGCL are, and will
 be, inapplicable to the execution, delivery and performance of this Agreement and to the consummation of the Contemplated Transactions. No other
 state Takeover Statute or similar Law applies or purports to apply to the Merger, this Agreement, or any of the other Contemplated Transactions.

        3.6 No Financial Advisors. Other than Imperial Capital, LLC and Crowe LLP, no broker, finder or investment banker is entitled to any brokerage
 fee, finder’s fee, opinion fee, success tee, transaction fee or other fee or commission in connection with the Contemplated Transactions based upon
 arrangements made by or on behalf of Tilray.
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       3.7 Valid Issuance. The Tilray Common Stock to be issued in the Merger will, when issued in accordance with the provisions of this Agreement,
 be validly issued, fully paid, and nonassessable.

       3.8 Opinion of Financial Advisor. The Tilray Special Committee has received an opinion of Imperial Capital, LLC to the effect that, as of the
 date of such opinion and subject to the assumptions, qualifications, limitations and other matters set forth therein, that the Contemplated Transactions
 are fair, from a financial point of view, to Tilray and the stockholders thereof (other than the controlling stockholders of Tilray), It is agreed and
 understood that such opinion is for the benefit of the Tilray Special Committee and may not be relied upon by Privateer.

       3.9 Disclaimer of Other Representations or Warranties.
                 (a) Except as previously set forth in this Section 3 or in any certificate delivered by Tilray or Merger Sub to Privateer pursuant to this
 Agreement, neither Tilray nor Merger Sub makes any representation or warranty, express or implied, at law or in equity, with respect to it or any of its
 assets, liabilities or operations, and any such other representations or warranties are hereby expressly disclaimed.

              (b) Each of Tilray and Merger Sub acknowledges and agrees that except for the representations and warranties of Privateer set forth in
 Section 2. none of Tilray, Merger Sub or any of their respective Representatives is relying on any other representation or warranty of Privateer or any
 other Person made outside of Section 2, including regarding the accuracy or completeness of any such other representations or warranties or the
 omission of any material information, whether express or implied, in each case, with respect to the Contemplated Transactions.

 4.    CERTAIN COVENANTS OF THE PARTIES
       4.1 Operation of Privateer’s Business.
               (a) Except as set forth on Section 4.1(a) of the Privateer Disclosure Letter, as expressly required under this Agreement, or as required by
 applicable Law, during the period commencing on the date of this Agreement and continuing until the earlier to occur of the termination of this
 Agreement pursuant to Section 9 and the Effective Time (the “Pre-Closing Period), Privateer shall and shall cause each of its Subsidiaries to conduct
 its business and operations in the Ordinary Course of Business and in compliance in all material respects with all applicable Laws and the requirements
 of all Contracts to which Privateer or any of its Subsidiaries is a party or for which any of the assets of Privateer or its Subsidiaries is subject.

                (b) Except as set forth on Section 4.1(b) of the Privateer Disclosure Letter, as expressly required under this Agreement, or as required by
 applicable Law, without limiting the generality or effective of the provisions of Section 4.1(aL during the Pre-Closing Period, Privateer shall not, and
 shall cause its Subsidiaries to not, directly or indirectly, do any of the following:

                   (i) declare, accrue, set aside or pay any dividend or make any other distribution in respect of any shares of its capital stock or
 repurchase, redeem or otherwise reacquire any shares of its capital stock or other securities (except for shares of Privateer Common Stock from
 terminated employees, directors or consultants of Privateer);

                      (ii) except pursuant to the valid exercise of Privateer Options that are outstanding on the date of this Agreement, in accordance with
 their terms as existing on the date of this Agreement, (A) sell, issue, grant, pledge, or otherwise dispose of. Encumber, or authorize any of the foregoing
 with respect to any Equity Interest, (B) modify, waive or amend terms, or the rights of any holder, of any outstanding Equity Interest (including to
 reduce or alter the consideration to be paid to Privateer upon the exercise of any Equity Interest), (C) grant any new Privateer Option, or (D) accelerate,
 amend or change the period of exercisability or vesting of any Privateer Option or similar right or authorize any cash payment in exchange for any
 Privateer Option or similar right, except as specifically authorized under this Agreement;
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                      (iii) except as required to give effect to anything in contemplation of the Closing, amend or otherwise change any of its or its
 Subsidiaries’ Organizational Documents, or effect or be a party to any merger, consolidation, share exchange, business combination, recapitalization,
 reclassification, repurchase or redemption of shares, stock split, reverse stock split or similar transaction except for the Contemplated Transactions;

                      (iv) form any Subsidiary or acquire any Equity Interest in any other Entity or enter into a joint venture with any other Entity;

                     (v) (A) lend money to any Person, (B) incur or guarantee any Indebtedness, (C) assume, endorse, guarantee, or otherwise become
 responsible for (contingently or otherwise), the obligations of any Person, (D) make any loans, advances or capital contributions, (E) make any capital
 expenditures or commitments, or (F) enter into or amend any Contract with respect to any of the above;

                     (vi) other than as required by applicable Law or the terms of any Privateer Benefit Plan as in effect on the date of this Agreement
 and disclosed in Section 4.1(b¥vi1 of the Privateer Disclosure Letter, (A) adopt, terminate, establish or enter into any Privateer Benefit Plan, (B) cause
 or permit any Privateer Benefit Plan to be amended in any material respect, (C) pay any bonus or make any profit-sharing or similar payment to, or
 increase the amount of the wages, salary, commissions, benefits or other compensation or remuneration payable to, any of its directors, officers, or
 employees, (D) increase or accelerate the compensation payable or to become payable (including bonus grants and retention payments) or increase or
 accelerate the vesting of any benefits provided, or pay or award any payment or benefit, to any of its directors, officers, employees or consultants,
 (E) increase the severance or change of control benefits offered to any current or new directors, officers, or employees, or (F) terminate or give notice of
 termination to any (x) officer or (y) employee whose annual base salaiy is or is expected to be more than $50,000 per year, other than any termination
 for cause;

                      (vii) recognize any labor union, labor organization, or similar Person, except as otherwise required by Law and after advance notice
 to Tilray;

                    (viii) acquire any material asset or property (including any real property, whether via acquisition or lease) or sell, lease or otherwise
 irrevocably dispose of any of its material assets or properties (including any real property and any right or interest in any Privateer Real Estate Leases),
 or grant any Encumbrance with respect to such assets or properties;

                     (ix) sell, assign, transfer, or otherwise dispose of, purchase or otherwise acquire or obtain, or grant or receive any license, sublicense
 or other rights under, any Intellectual Property Rights;

                     (x) make, change or revoke any material Tax election, fail to pay any income or other material Tax as such Tax becomes due and
 payable, file any amendment making any material change to any Tax Return, settle or compromise any income or other material Tax Liability, enter into
 any Tax allocation, sharing, indemnification or other similar agreement or arrangement (other than customary commercial contracts entered into in the
 Ordinary Course of Business, the principal subject matter of which is not Taxes), request or consent to any extension or waiver of any limitation period
 with respect to any claim or assessment for any income or other material Taxes (other than pursuant to an extension of time to file any Tax Return
 granted in the Ordinary Course of Business of not more than six months), or adopt or change any material accounting method in respect of Taxes;

                     (xi) enter into, amend, breach, or consent to the termination of any Privateer Material Contract, amend, modify, waive or consent to
 the temiination of any of Privateer’s or its Subsidiaries’ rights under any Privateer Material Contract, or waive, release or consent to the termination of
 any claims or rights of material value to Privateer or any of its Subsidiaries under any Privateer Material Contract;


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                      (xii) other than the incurrence or payment of any Privateer Transaction Expenses, make any expenditures, incur any Liabilities or
 discharge or satisfy any Liabilities, in each case, in amounts that exceed $50,000 in the aggregate;

                     (xiii) other than as required by Law or GAAP, take any action to change accounting policies or procedures;

                     (xiv) initiate, settle, or take any action not required in connection with any Legal Proceeding;

                       (xv) terminate, cancel, amend, modify, allow to lapse or fail to renew any insurance coverage policy maintained by Privateer or any
 of its Subsidiaries that is not promptly replaced by a comparable amount of insurance coverage;

                    (xvi) file a petition in bankruptcy, make an assignment for the benefit of creditors or file a petition seeking reorganization or
 arrangement or other action under federal or state bankruptcy Laws; or

                     (xvii) agree, resolve or commit to do any of the foregoing.


               (a) During the Pre-Closing Period, upon reasonable notice, Tilray, on the one hand, and Privateer, on the other hand, shall and shall use
 commercially reasonable efforts to cause such Party’s Representatives to: (i) provide the other Party and such other Party’s Representatives with
 reasonable access during normal business hours to such Party’s Representatives, personnel, property and assets and to all existing books, records, Tax
 Returns, work papers and other documents and information relating to such Party and its Subsidiaries; (ii) provide the other Party and such other Party’s
 Representatives with such copies of the existing books, records. Tax Returns, work papers, product data, and other documents and information relating
 to such Party and its Subsidiaries, and with such additional financial, operating and other data and information regarding such Party and its Subsidiaries
 as the other Party may reasonably request; (iii) permit the other Party’s officers and other employees to meet, upon reasonable notice and during normal
 business hours, with the chief financial officer and other officers and managers of such Party responsible for such Party’s financial statements and the
 internal controls of such Party to discuss such matters as the other Party may deem necessary or appropriate; and (iv) make available to the other Party
 copies of unaudited financial statements, material operating and financial reports prepared for senior management or the board of directors of such Party,
 and any material notice, report or other document filed with or sent to or received from any Governmental Body in connection with the Contemplated
 Transactions. Any investigation conducted by either Tilray or Privateer pursuant to this Section 4.2 shall be conducted in such manner as not to interfere
 unreasonably with the conduct of the business of the other Party.
              (b) Notwithstanding the foregoing, either of Tilray or Privateer may restrict the foregoing access to the extent that any Law applicable to
 such Party requires such Party to restrict or prohibit access to any such properties or information, and Tilray and Privateer shall not be required to take
 any action under Section 4.2(a) which would constitute a waiver of the attorney-client privilege.

       4.3 Acquisition Proposals.
                (a) Notwithstanding anything contained in this Agreement to the contrary, prior to obtaining the Required Tilray Stockholder Vote, in
 response to a bona fide Acquisition Proposal by any Person, Tilray may: (i) provide information in response to a request therefor (including nonpublic
 information regarding Tilray or any of its Subsidiaries) to the Person who made such Acquisition Proposal and (ii) participate in any discussions or
 negotiations with any such Person regarding such Acquisition Proposal, in each case, if, and only if, prior to taking any action described in clauses (i) or
 (ii) above, the Tilray Board determines in good faith after consultation with its outside legal counsel that, (x) based on the information then available and
 after consultation
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 with its financial advisor, such Acquisition Proposal either constitutes a Superior Offer or could reasonably be expected to result in a Superior Offer and
 (y) that the failure to take such action could be inconsistent with the fiduciary duties of the Tilray Board to the stockholders of Tilray under applicable
 Law.

               (b) If Tilray or any Representative of Tilray receives an Acquisition Proposal or Acquisition Inquiry at any time during the Pre-Closing
 Period, then Tilray shall promptly (and in no event later than twenty-four (24) hours after Tilray becomes aware of such Acquisition Proposal or
 Acquisition Inquiry) advise Privateer orally and in writing of such Acquisition Proposal or Acquisition Inquiry (including the identity of the Person
 making or submitting such Acquisition Proposal or Acquisition Inquiry, and the material terms thereof). Tilray shall keep Privateer reasonably informed
 with respect to the status and material terms of any such Acquisition Proposal or Acquisition Inquiry and any material modification or proposed material
 modification thereto.

       4.4 Notification of Certain Matters.
               (a) During the Pre-Closing Period, Privateer shall promptly notify Tilray in writing and furnish copies of all relevant documents, if any of
 the following occurs: (i) any Privateer Material Adverse Effect, (ii) any notice or other communication is received from any Person alleging that the
 Consent of such Person is or may be required in connection with any of the Contemplated Transactions, (iii) any Legal Proceeding against or involving
 or otherwise affecting Privateer or its Subsidiaries is commenced, or, to the Knowledge of Privateer, threatened against Privateer or its Subsidiaries or
 any director or officer of Privateer or its Subsidiaries, (iv) Privateer becomes aware of any inaccuracy in any representation or warranty made by it in
 this Agreement, or (v) Privateer fails to comply with any covenant or obligation binding on it under this Agreement, in the case of (iv) and (v) that
 would reasonably be expected result in conditions set forth in Sections 6 or 2 to not be satisfied as of the time such representation or warranty shall have
                                                                                                                                    ;> limit or otherwise affect
 any of the representations, warranties, covenants or obligations of Privateer or any of its Subsidiaries contained in this Agreement or Privateer
 Disclosure Letter for purposes of Sections 6 or 7, as applicable.

                (b) During the Pre-Closing Period, Tilray shall promptly notify Privateer in writing and furnish copies of all relevant documents, if any of
 the following occurs: (i) any Tilray Material Adverse Effect, (ii) any notice or other communication is received from any Person alleging that the
 Consent of such Person is or may be required in connection with any of the Contemplated Transactions, (iii) any Legal Proceeding against or involving
 or otherwise affecting Tilray is commenced, or, to the Knowledge of Tilray, threatened against Tilray or any director or officer of Tilray, (iv) Tilray
 becomes aware of any inaccuracy in any representation or warranty made by it in this Agreement, or (v) Tilray or Merger Sub fail to comply with any
 covenant or obligation binding on Tilray or Merger Sub under this Agreement, in the case of (iv) and (v) that would reasonably be expected result in
 conditions set forth in Sections 6 or £ to not be satisfied as of the time such representation or warranty shall have become inaccurate or as of the time of
 such breach. No notification given to Privateer pursuant to this Section 4.4(bi shall change, limit or otherwise affect any of the representations,
 warranties, covenants or obligations of Tilray or Merger Sub contained in this Agreement or the Tilray Disclosure Letter for purposes of Sections 6 or 8,
 as applicable.

        4.5 Payment and Discharge of Indebtedness. Prior to the Closing, Privateer will pay in full (or caused to be paid in full) all Liabilities (including
 accounts payable and accrued expenses) and Indebtedness of Privateer that are outstanding prior to the Closing and would be included or reflected on a
 consolidated balance of Privateer and its Subsidiaries as of immediately prior to the Closing, including all amounts described in Section,^^), (fc) and
 (s). (but excluding up to $1 million of Privateer Transaction Expenses).
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  5.   ADDITIONAL AGREEMENTS OF THE PARTIES
       5.1 ^Registration Statement; Proxy Statement.
                (a) As promptly as reasonably practicable after the date of this Agreement, Tilray shall cause to be prepared and filed with the SEC, the
 Registration Statement, in which the Proxy Statement will be included as a prospectus. Tilray shall use its reasonable best efforts to have the
 Registration Statement declared effective under the Securities Act as promptly as practicable after such filing. Privateer shall furnish, and shall require
 its Representatives to furnish, all information concerning itself and its Affiliates (excluding Tilray and Merger Sub) to Tilray, and provide such other
 assistance, as may be reasonably requested by Tilray in connection with the preparation, filing and distribution of the Proxy Statement and the
 Registration Statement. Privateer covenants and agrees that the information provided by Privateer or its Subsidiaries to Tilray for inclusion in the Proxy
 Statement (including Privateer Financials) will not contain any untrue statement of a material fact or omit to state any material fact required to be stated
 therein or necessary in order to make such information not misleading. Tilray makes no covenant, representation or warranty with respect to statements
 made in the Proxy Statement (and the letter to stockholders, notice of meeting and form of proxy included therewith), if any, based on information
 provided by Privateer or its Subsidiaries or any of their Representatives specifically for inclusion therein. Privateer makes no covenant, representation or
 warranty with respect to statements made in the Proxy Statement (and the letter to stockholders, notice of meeting and form of proxy included
 therewith), if any, other than with respect to the information provided by Privateer or its Subsidiaries or any of their Representatives for inclusion
 therein. Privateer and its legal counsel shall be given reasonable opportunity to review and comment on the Proxy Statement, including all amendments
 and supplements thereto, prior to the filing thereof with the SEC, and on the response to any comments of the SEC on the Proxy Statement, prior to the
 filing thereof with the SEC. Each of the Parties shall use commercially reasonable efforts to cause the Registration Statement and the Proxy Statement to
 comply with the applicable rules and regulations promulgated by the SEC, to respond promptly to any comments of the SEC or its staff and to have the
 Registration Statement declared effective under the Securities Act as promptly as practicable after it is filed with the SEC. Tilray shall use commercially
 reasonable efforts to cause the Proxy Statement to be mailed to TilrayJs stockholders as promptly as practicable after the Registration Statement is
 declared effective under the Securities Act. Each Party shall promptly furnish to the other Party all information concerning such Party and such Party’s
 Affiliates and such Party’s stockholders that may be required or reasonably requested in connection with any action contemplated by this Section 5.1.

               (b) Prior to the Effective Time, each of the Parties will also take all commercially reasonable actions (other than qualifying to do business
 in any jurisdiction in which it is not now so qualified) required to be taken under the applicable securities laws of each State in the United States in
 which any registered holder of Privateer Capital Stock has an address of record on the applicable record date for determining the holders of Privateer
 Capital Stock entitled to notice and to vote pursuant to Privateer Stockholder Written Consent.

               (c) Privateer will use commercially reasonable efforts to cause to be delivered to Tilray a consent letter of Privateer’s independent
 accounting firm (reasonably satisfactory' in form and substance to Tilray), that is customary in scope and substance for consent letters delivered by
 independent public accountants in connection with registration statements similar to the Registration Statement, before each of the date on which the
 Registration Statement is (i) initially filed and (ii) becomes effective (but, in each case, dated no more than two Business Days prior to such date).

       5.2 Privateer Info rmation Statement; Stockholder Written Consent.
               (a) Promptly after the Registration Statement shall have been declared effective under the Securities Act, and in any event no later than
 five Business Days thereafter. Privateer shall prepare, with the cooperation of Tilray, and commence mailing to its stockholders an information statement
 (the “Information Statement”) to solicit the Privateer Stockholder Written Consent evidencing the Required Privateer Stockholder Vote for puiposes of
 (i) adopting and approving this Agreement and the Contemplated Transactions, (ii) adopting and approving the Amended and Restated Privateer Charter,
 (iii) acknowledging that the approval given thereby is
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 irrevocable and that such stockholder is aware of its rights to demand appraisal for its shares pursuant to Section 262 of the DGCL, a true and correct
 copy of which will be attached thereto, and that such stockholder has received and read a copy of Section 262 of the DGCL, (iv) acknowledging that by
 its approval of the Merger it is not entitled to appraisal rights with respect to its shares in connection with the Meiger and thereby waives any rights to
 receive payment of the fair value of its capital stock under the DGCL, and (v) approving the Preferred Stock Conversion (collectively, the “Privateer
 Stockholder Matters”). Under no circumstances shall Privateer assert that any approval or consent is necessary by its stockholders to approve Privateer
 Stockholder Matters, other than the Required Privateer Stockholder Vote. All materials (including any amendments thereto) submitted to the Privateer
 Stockholders in accordance with this Section 5.2fa) shall be subject to Tilray’s advance review and reasonable approval.

                 (b) Privateer covenants and agrees that the Information Statement, including any pro forma financial statements included therein, the letter
 to stockholders and the form of the Privateer Stockholder Written Consent included therewith, will not: (i) at the time that the Information Statement or
 any amendment or supplement thereto is first mailed to the Privateer Stockholders, (ii) at the time of receipt of the Required Privateer Stockholder Vote,
 and (iii) at the Effective Time, contain any untrue statement of a material fact or omit to state any material fact required to be stated therein or necessaiy
 in order to make the statements made therein, in light of the circumstances under which they were made, not misleading. Notwithstanding the foregoing,
 Privateer makes no covenant, representation or warranty with respect to statements made in the Information Statement, the letter to the stockholders, or
 the form of the Privateer Stockholder Written Consent included therewith, if any, based on information furnished in writing by Tilray specifically for
 inclusion therein. Each of the Parties shall use commercially reasonable efforts to cause the Information Statement to comply with the applicable rules
 and regulations promulgated by the SEC in all material respects.

                (c) Promptly following receipt of the Required Privateer Stockholder Vote, Privateer shall prepare and mail a notice (the “Stockholder
 Notice”) to every stockholder of Privateer that did not execute the Privateer Stockholder Written Consent. The Stockholder Notice shall (i) be a
 statement to the effect that the Privateer Board unanimously detennined that the Merger is advisable in accordance with Section 251(b) of the DGCL
 and in the best interests of the Privateer Stockholders and approved and adopted this Agreement, the Merger and the other Contemplated Transactions;
 (ii) provide the Privateer Stockholders to whom it is sent with notice of the actions taken in the Privateer Stockholder Written Consent, including the
 adoption and approval of this Agreement, the Meiger and the other Contemplated Transactions in accordance with Section 228(e) of the DGCL, the
 Organizational Documents of Privateer; (iii) include a statement indicating that the Privateer Board intends for the drag-aiong provisions set forth in
 Section 5.8 of the Privateer Amended and Restated Investor Rights Agreement, dated July 24, 2017, to apply to the Contemplated Transactions; and
 (iv) include a description of the appraisal rights of Privateer Stockholders available under the DGCL, along with such other information as is required
 thereunder and pursuant to applicable Law. All materials (including any amendments thereto) submitted to the Privateer Stockholders in accordance
 with this Section 5.2(e) shall be subject to Tilray’s advance review and reasonable approval.

               (d) Privateer agrees that: (i) the Privateer Board shall unanimously declare the Meiger advisable and recommend that the Privateer
 Stockholders vote to approve Privateer Stockholder Matters, (ii) the Privateer Board shall use reasonable best efforts to solicit such approval from each
 of die Privateer Stockholders within the time set forth in Section 5.2(a) (the recommendation of the Privateer Board that the Privateer Stockholders vote
 to adopt and approve this Agreement being referred to as the “Privateer Board Recommendation”); and (iii) the Privateer Board Recommendation shall
 not be withdrawn or modified (and the Privateer Board shall not publicly propose to withdraw or modify the Privateer Board Recommendation) in a
 manner adverse to Tilray, and no resolution by the Privateer Board or any committee thereof to withdraw or modify the Privateer Board
 Recommendation in a manner adverse to Tilray or to adopt approve or recommend (or publicly propose to adopt approve or recommend) any
 Acquisition Proposal shall be adopted or proposed.
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              (a) Promptly after the Registration Statement has been declared effective by the SEC under the Securities Act, Tilray shall take all action
 necessary under applicable Law to call, give notice of and hold a meeting of the holders of Tilray Common Stock for the purpose of seeking approval of:

                   (i) this Agreement, including the issuance of shares of Tilray Common Stock to the Privateer Stockholders in connection with the
 Contemplated Transactions and the change of control of Tilray resulting from the Merger pursuant to the Nasdaq rules; and

                    (ii) the Amended and Restated Tilray Charter; (the matters contemplated by the clauses S.3faWiT- 5.3(a¥ift are referred to as the
 “Tilray Stockholder Matters” and such meeting, the “Tilray Stockholders* Meeting”).

                  (b) Tilray shall set a record date for Persons entitled to notice of, and to vote at, the Tilray Stockholders’ Meeting, which shall be held as
  promptly as practicable after the Registration Statement is declared effective under the Securities Act Notwithstanding anything to the contrary
  contained in this Agreement, Tilray may adjourn or postpone the Tilray Stockholders5 Meeting: (i) to the extent necessary to ensure that any supplement
  or amendment to the Proxy Statement that is required by applicable Law (or in connection with the settlement of any applicable litigation) is timely
  provided to Tilray’s stockholders; (ii) if as of the time for which the Tilray Stockholders5 Meeting is originally scheduled there are insufficient shares of
  Tilray Common Stock represented (either in person or by proxy) to constitute a quorum necessary to conduct the business to be conducted at the Tilray
  Stockholders5 Meeting; (iii) if additional time is reasonably required to solicit proxies in favor of the approval of the Tilray Stockholder Matters; or
  (iv) if a bona fide written Acquisition Proposal is submitted to Tilray within 10 Business Days of the Tilray Stockholders5 Meeting (and not withdrawn),
  which Acquisition Proposal the Tilray Board determines in good faith, after consultation with its financial advisor and outside legal counsel, is, or could
  reasonably be expected to, result in a Superior Offer; provided, however, that the Tilray Stockholders5 Meeting shall not be postponed or adjourned later
  than die date that is 10 Business Days after the date on which Tilray receives such Acquisition Proposal (the “Initial Receipt Period-)’,provided that in
 the event the Tilray Board reaffirms the Tilray Board Recommendation during the Initial Receipt Period, the Tilray Stockholders5 Meeting may be
  postponed or adjourned to the date that is five Business Days after the date the Tilray Board reaffirms the Tilray Board Recommendation; provided
 further that in no event shall any such postponement or adjournment result in Tilray establishing a new' record date for such meeting.

              (c) Except to the extent permitted by Section 5.3(d): (i) the Tilray Board shall recommend that the Tilray stockholders vote to approve the
 Tilray Stockholder Matters at the Tilray Stockholders Meeting, (ii) the Proxy Statement shall include a statement to the effect that the Tilray Board
 recommends that the Tilray stockholders vote to approve the Tilray Stockholder Matters at the Tilray Stockholders Meeting (such determination and
 recommendation being referred to as the “Tilray Board Recommendation”)’, and (iii) the Tilray Board Recommendation shall not be withdrawn or
 modified (or proposed to be withdrawn or modified) in a manner adverse to Privateer (an “Tilray Board Adverse Recommendation Change”).

                (d) Notwithstanding anything to the contrary contained in this Agreement, at any time prior to the approval of Tilray Stockholder Matters
 by the Required Tilray Stockholder Vote, the Tilray Board may (A) effect, or cause Tilray to effect, as the case may be, a Tilray Board Adverse
 Recommendation Change, in the case of clauses (i) and (ii) below or (B) cause Tilray to terminate this Agreement pursuant to Section 9.1 (hk in the case
 of clause (i) below:

                     (i) if, (A) after the date of this Agreement, a bona fide written Acquisition Proposal is made to Tilray and is not withdrawn; (B) the
 Tilray Board determines in its good faith judgment, after consulting with its financial advisor and outside legal counsel, that such Acquisition Proposal
 constitutes a Superior Offer; (C) the
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 Tilray Board does not effect, or cause Tilray to effect, a Tilray Board Adverse Recommendation Change or cause Tilray to terminate this Agreement
 pursuant to Section 9.1 (h) at any time within four Business Days (together with any subsequent shorter period as contemplated by clause (D) below (the
 “Notice Period”)) after Privateer receives (1) written notice from Tilray that the Tilray Board has determined that such Acquisition Proposal is a
 Superior Offer and (2) a summary of the material terms and conditions of the Acquisition Proposal (provided, that a new notice shall be required with
 respect to each material modification to such offer (it being understood that any change in the purchase price or form of consideration in such offer shall
 be deemed a material modification) and a new Notice Period (of two Business Days) shall begin); (D) during the applicable Notice Period, if requested
 by Privateer, Tilray engages in good faith negotiations, and directs its financial advisors and outside legal advisors to, engage in good faith negotiations,
 with Privateer to amend this Agreement in such a manner that the competing Acquisition Proposal does not constitute a Superior Offer; (E) at the end of
 the applicable Notice Period, such Acquisition Proposal has not been withdrawn and constitutes a Superior Offer (taking into account any changes to the
 terms of this Agreement proposed by Privateer as a result of the negotiations required by clause (D) or otherwise); and (F) the Tilray Board determines
 in good faith, after having consulted with its financial advisor and outside legal counsel, that, in light of such Superior Offer, a failure to make a Tilray
 Board Adverse Recommendation Change could reasonably be expected to be inconsistent with the fiduciary duties of the Tilray Board to the
 stockholders of Tilray under applicable Law and such Acquisition Proposal constitutes a Superior Offer (taking into account (x) any modification to
 such offer and (y) any changes to the terms of this Agreement proposed by Privateer as a result of the negotiations required by clause (D) or otherwise);
 or

                      (ii) if other than in connection with or as a result of the making of an Acquisition Proposal with respect to Tilray or an Acquisition
 Inquiry with respect to Tilray, a material development, event effect state of facts or change in circumstances that was not known or reasonably
 foreseeable (or if known or reasonably foreseeable, the probability or magnitude of consequences of which were not known or reasonably foreseeable)
 occurs, arises or becomes known to die Tilray Board after the date of this Agreement and prior to the approval of the Tilray Stockholder Matters by the
 Required Tilray Stockholder Vote (such material development, event, effect, state of facts or change in circumstances being referred to as an
 “Intervening Event') (it being understood that that in no event shall the receipt, existence of or terms of an Acquisition Proposal with respect to Tilray
 or an Acquisition Inquiry with respect to Tilray or the consequences thereof constitute an Intervening Event): (A) the Tilray Board determines in its
 good faith judgment, after consulting with its financial advisor and outside legal counsel that an Intervening Event has occurred; (B) the Tilray Board
 does not effect, or cause Tilray to effect, a Tilray Board Adverse Recommendation Change at any time within four Business Days after Privateer
 receives written notice from Tilray that the Tilray Board has determined that an Intervening Event requires the Tilray Board to effect, or cause Tilray to
 effect, a Tilray Board Adverse Recommendation Change (provided that a new notice shall be required with respect to any change in circumstances and a
 new notice period of two Business Days shall begin); (C) during such applicable period, if requested by Privateer, Tilray engages in good faith
 negotiations, and directs its financial advisors and outside legal advisors to, engage in good faith negotiations, with Privateer to amend this Agreement
 in such a manner that obviates the need for the Tilray Board to effect, or cause Tilray to effect, a Tilray Board Adverse Recommendation Change as a
 result of such Intervening Event; and (D) the Tilray Board determines in good faith, after having consulted with its outside legal counsel, that, in light of
 such Intervening Event, a failure to make a Tilray Board Adverse Recommendation Change could reasonably be expected to be inconsistent with the
 fiduciary duties of the Tilray Board to Tilray’s stockholders under applicable Law.

              (e) (i) Nothing contained in this Section 5.3 will prohibit Tilray from taking and disclosing to its stockholders a position required by Rule
 14e-2(a) or Rule 14d-9 promulgated under the Exchange Act and (ii) no disclosure that the Tilray Board may determine in good faith (after consultation
 with outside counsel) that it or Tilray, as applicable, is required to make under applicable Law will constitute a violation of this Agreement; provided,
 however^ that in any event under clause (i) or (ii) the Tilray Board shall not make an Tilray Board Adverse Recommendation Change except in
 accordance with this Section 5.3. It is expressly understood and
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 agreed by the Parties that a “stop, look and listen” or similar communication of the type contemplated by Rule 14d-9(f) of the Exchange Act shall not be
 deemed a Tilray Board Adverse Recommendation Change; provided that the Tilray Board expressly reaffirms the Tilray Board Recommendation within
 10 Business Days of the public announcement of any applicable Acquisition Proposal

       5.4 Regulatory Approvals.
             (a) Tilray and Privateer shall each promptly execute and file, or join m the execution and filing of, any application, notification, or other
 document that may be necessary in order to obtain the authorization, approval, expiration or termination of any waiting period or Consent of any
 Governmental Body that may be reasonably required or advisable in connection with the consummation of the Contemplated Transactions.

               (b) Tilray and Privateer shall each use its commercially reasonable efforts to obtain all such authorizations, approvals, expirations or
 terminations of waiting periods, and Consents as promptly as possible after the execution of this Agreement, including the expiration or tennination of
 the waiting period under the HSR Act, or under foreign competition Laws, with respect to the transactions contemplated by this Agreement. Without
 limiting the foregoing, to the extent not completed prior to the date hereof, Tilray and Privateer shall each use its commercially reasonable efforts to
 make, or cause to be made, all filings required of it or any of its respective Affiliates under the HSR Act and foreign competition Laws with respect to
 the transactions contemplated by this Agreement as promptly as reasonably practicable, and in any event shall file a Notification and Report Form
 pursuant to the HSR Act 10 Business Days after die execution of this Agreement, and any other filing or notification required pursuant to any foreign
 competition Law within 10 Business Days after the execution of this Agreement Tilray and Privateer shall furnish promptly to the Federal Trade
 Commission (the ilFTC'\ the Antitrust Division of the United States Department of Justice and any other requesting governmental authority additional
 information reasonably requested pursuant to the HSR Act or any foreign competition Laws in connection with such filings.

             (c) Tilray and Privateer shall each use its commercially reasonable efforts to resolve objections, if any, as may be asserted by any
 Governmental Body with respect to the Contemplated Transactions under any applicable antitrust Law's, including responding promptly to and
 complying with any requests for information relating to this Agreement or any initial filings required under the HSR Act, and any other additional
 filings ^Merger Notification Filings") from any Governmental Body charged with enforcing, applying, administering or investigating any antitrust
 Laws.

                (d) Notwithstanding anything to the contraiy herein, (i) Tilray shall not have any obligation to litigate or contest any such Legal
 Proceeding or order resulting therefrom and (ii) Tilray shall not be under an obligation to make proposals, execute or cany out agreements or submit to
 orders providing for (A) the sale, license, divestiture, or other disposition or holding separate of any assets of Tilray or any of its respective Affiliates,
 (B) the imposition of any limitation or restriction on the ability of Tilray or any of its respective Affiliates to freely conduct its business, or (C) any
 limitation or regulation on the ability of Tilray or any of its Affiliates to exercise full rights of ownership of Privateer.

       5.5 Stock Option Matters.
               (a) At the Effective Time, Tilray shall assume the Privateer Plan.

               (b) At the Effective Time, each Privateer Class 1 Option (x) that is not a Terminating Privateer Option and (y) that is outstanding and
 unexercised immediately prior to the Effective Time under the Privateer Plan, whether or not vested, shall be (i) converted into and become an option to
 purchase Tilray Class 2 Common Stock (the '‘"‘Class 1 Wray Options"), and Tilray shall assume each such Privateer Class 1 Option in accordance with
 the terms of the Privateer Plan (as in effect as of the date of this Agreement) and the terms of the stock option agreement by which such Privateer
 Class 1 Option is evidenced; or (ii) cancelled and, pursuant to Section LSfrD. converted into a right to receive a portion of the Cash Merger
 Consideration, if applicable, as
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 calculated in accordance with the Cash-Out Options Allocation and as set forth on the Allocation Certificate. All rights with respect to Privateer Class 1
 Common Stock under such Privateer Class 1 Options assumed by Tilray shall thereupon be converted into rights with respect to Tilray Class 2 Common
 Stock. Accordingly, from and after the Effective Time: (i) each such Privateer Class 1 Option assumed by Tilray may be exercised solely for shares of
 Tilray Class 2 Common Stock; (ii) the number of shares of Tilray Class 2 Common Stock subject to each such Privateer Class 1 Option assumed by
 Tilray shall be determined by multiplying (A) the number of shares of Privateer Class 1 Common Stock that were subject to such Privateer Option, as in
 effect immediately prior to the Effective Time, by (B) the Option Exchange Ratio, rounding the resulting number down to the nearest whole number of
 shares of Tilray Class 2 Common Stock; (iii) the per share exercise price for the Tilray Class 2 Common Stock issuable upon exercise of each such
 Privateer Class 1 Option assumed by Tilray shall be determined by dividing (A) the per share exercise price of Privateer Class 1 Common Stock subject
 to such Privateer Class 1 Option, as in effect immediately prior to the Effective Time, by (B) the Option Exchange Ratio and rounding the resulting
 exercise price up to the nearest whole cent; and (iv) any restriction on the exercise of any Privateer Class 1 Option assumed by Tilray shall continue in
 full force and effect and the term, exercisability, and vesting schedule of such Privateer Class 1 Option shall otherwise remain unchanged.
 Notwithstanding anything to the contrary in this Section S.Sfbl the exercisability of each such Privateer Class 1 Option assumed by Tilray shall be
 conditioned on the holder thereof having first properly delivered a duly executed Option Assumption Agreement in form and substance reasonably
 satisfactory to Tilray (the “Option Assumption Agreement) and such other documents as may be reasonably required by Tilray. Notwithstanding
 anything to the contrary in this Section 5.5(bV the conversion of each such Privateer Class 1 Option (regardless of whether such option qualifies as an
 “incentive stock option” within the meaning of Section 422 of the Code) into an option to purchase shares of Tilray Class 2 Common Stock shall be
 made in a manner intended to be consistent with Treasury Regulation Section 1.424-1, such that the conversion of a Privateer Class 1 Option shall be
 intended to not constitute a “modification” of such Privateer Class 1 Option for purposes of Section 409A or Section 424 of the Code.

               (c) At the Effective Time, each Privateer Class 3 Option (x) that is not a Terminating Privateer Option and (y) that is outstanding and
 unexercised immediately prior to the Effective Time under the Privateer Plan, whether or not vested, shall be (i) converted into and become an option to
 purchase Tilray Class 2 Common Stock (the “Class 3 TUray Options” and, together with the Class 1 Tilray Options, the ^Tilray Options”), and each
 such Privateer Class 3 Option in accordance with the terms (as in effect as of the date of this Agreement) of the Privateer Plan and the terms of the stock
 option agreement by which such Privateer Class 3 Option is evidenced; or (ii) cancelled and, pursuant to Section l.Sfdl. converted into a right to receive
 a portion of the Cash Merger Consideration, if applicable, as calculated in accordance with the Cash-Out Options Allocation and as set forth on the
 Allocation Certificate. All rights with respect to Privateer Common Stock under such Privateer Class 3 Options assumed by Tilray shall thereupon be
 converted into rights with respect to Tilray Class 2 Common Stock. Accordingly, from and after the Effective Time: (i) each such Privateer Class 3
 Option assumed by Tilray may be exercised solely for shares of Tilray Class 2 Common Stock; (ii) the number of shares of Tilray Class 2 Common
 Stock subject to each such Privateer Class 3 Option assumed by Tilray shall be determined by multiplying (A) the number of shares of Privateer
 Common Stock that were subject to such Privateer Class 3 Option, as in effect immediately prior to the Effective Time, by (B) tire Option Exchange
 Ratio, rounding the resulting number down to the nearest whole number of shares of Tilray Class 2 Common Stock; (iii) the per share exercise price for
 the Tilray Class 2 Common Stock issuable upon exercise of each such Privateer Class 3 Option assumed by Tilray shall be determined by dividing
 (A) the per share exercise price of Privateer Common Stock subject to such Privateer Class 3 Option, as in effect immediately prior to the Effective
 Time, by (B) the Option Exchange Ratio and rounding the resulting exercise price up to the nearest whole cent; and (iv) any restriction on the exercise of
 any Privateer Class 3 Option assumed by Tilray shall continue in full force and effect and the term, exercisability, and vesting schedule of such Privateer
 Class 3 Option shall otherwise remain unchanged. Notwithstanding anything to the contrary in this Section 5.5fcV the exercisability of each such
 Privateer Class 3 Option assumed by Tilray shall be conditioned on the holder thereof having first properly delivered a duly executed Option
 Assumption Agreement and such other documents as may be reasonably required by Tilray. Notwithstanding anything to the contrary in this
 Section 5.5(c), the conversion of each such Privateer Class 3
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 Option (regardless of whether such option qualifies as an ‘incentive stock option” within the meaning of Section 422 of the Code) into an option to
 purchase shares of Tilray Class 2 Common Stock shall be made in a manner intended to be consistent with Treasury Regulation Section 1.424-1, such
 that the conversion of a Privateer Class 3 Option shall be intended to not constitute a “modification” of such Privateer Class 3 Option for purposes of
 Section 409A or Section 424 of the Code.

                (d) If the Tilray Board elects to pay Cash Merger Consideration pursuant to Section 1 5(d) such that a holder of Privateer Service Provider
 Options is entitled to a payment of Individual Option Cash Consideration as provided for in Section 5.5(b) and Section 5.5(c) above, then (i) any such
 Individual Option Cash Consideration shall be paid to the holders of the applicable Privateer Service Provider Options thereof pursuant to Tilray's
 standard payroll procedures as soon as practicable after the Closing; and (ii) any such payments of Individual Option Cash Consideration to a holder of
 Privateer Service Provider Options shall be subject to and made net of all applicable withholding and deductions. Prior to the Effective Time, Privateer
 shall cause its management company to pay to Tilray any employer’s share of any employment or payroll-related Taxes with respect to the Individual
 Option Cash Consideration (whether incurred by Tilray or Privateer).

                (e) At least 10 Business Days prior to the Closing, but subject to the occurrence of, the Effective Time, Privateer shall provide notification
 as to whether it has elected to effect the cancellation and termination of each Privateer Option with a per share exercise price that is equal to or greater
 than $27.00 (each, a “Terminating Privateer Option”), and in consideration of such cancellation and termination each applicable holder thereof shall be
 entitled to receive one-half of a share of Privateer Class 1 Common Stock or Privateer Class 3 Common Stock, as applicable, for each share of Privateer
 Common Stock subject to such Terminating Privateer Option (rounded down to the nearest whole share) (such number of shares of Privateer Common
 Stock, in the aggregate, the Terminating Privateer Option Consideration). The cancellation of each Terminating Privateer Option shall be conditioned
 on the holder thereof having first properly delivered a duly executed option cancellation agreement in form and substance reasonably satisfactory to
 Tilray. The Terminating Privateer Option Consideration shall be paid to the holders of Terminating Privateer Options effective as of immediately prior to
 the Effective Time and shares of Privateer Common Stock included in the Terminating Privateer Option Consideration shall be deemed to be
 outstanding as of the Effective Time, and eligible for treatment in connection with the Merger as described herein. In addition, the Terminating Privateer
 Option Consideration, shall be subject to and made net of all applicable withholding and deductions, and Privateer, in its some discretion, may elect to
 satisfy any such withholding obligations by withholding shares of Privateer Common Stock that would otherwise be issued to holders of Terminating
 Privateer Options under this section. Privateer acknowledges and agrees that the cancellation of the Terminating Privateer Options shall be effected in
 accordance with the Privateer Plan and applicable Laws.

               (f) Prior to the Effective Time, Privateer shall take all actions that may be necessary or as may be reasonably requested by Tilray (under
 the Privateer Plan and otherwise) to effectuate the provisions of this Section 5.5 and to ensure that, from and after the Effective Time, holders of
 Privateer Options have no rights with respect thereto other than those specifically provided in this Section 5.5.

       5.6 Indemnification of Officers and Directors.
                 (a) From the Effective Time through the sixth aimiversaiy of the date on which the Effective Time occurs, each of Tilray and the Surviving
 Company shall indemnify and hold harmless each person who is now; or has been at any time prior to the date hereof, or who becomes prior to the
 Effective Time, a director or officer of Tilray or Privateer and their respective Subsidiaries, respectively (the “D&O Indemnified Parties”), against all
 claims, losses, liabilities, damages, judgments, fines and reasonable fees, costs and expenses, including attorneys’ fees and disbursements (collectively,
 “Costs”), incurred in connection with any claim, action, suit, proceeding or investigation, whether civil, criminal, administrative or investigative, arising
 out of or pertaining to the fact that the D&O Indemnified Party is or was a director or officer of Tilray or of Privateer, whether asserted or claimed prior
 to, at or after the Effective Time, in each case, to the fullest extent permitted under applicable Law. Each

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 D&O Indemnified Party will be entitled to advancement of expenses incurred in the defense of any such claim, action, suit proceeding or investigation
 from each of Tilray and the Surviving Company, jointly and severally, upon receipt by Tilray or the Surviving Company from the D&O Indemnified
 Party of a request therefor; provided that any such person to whom expenses are advanced provides an undertaking to Tilray, to the extent then required
 by the DGCL, to repay such advances if it is ultimately determined that such person is not entitled to indemnification.

               (b) The provisions of the certificate of incorporation and bylaws of Tilray with respect to indemnification, advancement of expenses and
 exculpation of present and former directors and officers of Tilray that are presently set forth in the certificate of incorporation and bylaws of Tilray shall
 not be amended, modified or repealed for a period of six years from the Effective Time in a manner that would adversely affect the rights thereunder of
 individuals who, at or prior to the Effective Time, were officers or directors of Tilray. The Organizadonal Documents of the Surviving Company shall
 contain, and Tilray shall cause the Organizational Documents of the Surviving Company to so contain, provisions no less favorable with respect to
 indemnification, advancement of expenses and exculpation of present and former managers and officers as those presently set forth in the certificate of
 incorporation and bylaws of Tilray.

                (c) From and after the Effective Time, (i) the Surviving Company shall fulfill and honor in all respects the obligations of Privateer to its
 D&O Indemnified Parties as of immediately prior to the Closing pursuant to any indemnification provisions under Privateer’s Organizational
 Documents and pursuant to any indemnification agreements between Privateer and such D&O Indemnified Parties, with respect to claims arising out of
 matters occurring at or prior to the Effective Time and (ii) Tilray shall fulfill and honor in all respects the obligations of Tilray to its D&O Indemnified
 Parties as of immediately prior to Ihe Closing pursuant to any indemnification provisions under Tilray’s Organizational Documents and pursuant to any
 indemnification agreements between Tilray and such D&O Indemnified Parties, with respect to claims arising out of matters occurring at or prior to the
 Effective Time.

               (d) From and after the Effective Time, Tilray shall maintain directors' and officers’ liability insurance policies, with an effective date as of
 the Closing Date, on commercially available terms and conditions and with coverage limits no less favorable to Tilray than in effect as of the date of this
 Agreement (provided, that Tilray may substitute therefor policies of at least the same coverage containing terms and conditions which are no less
 advantageous). In addition. Privateer shall purchase, prior to the Effective Tune, a six year prepaid “tail policy” for the non-cancellable extension of the
 directors’ and officers’ liability coverage of Privateer’s existing directors* and officers’ insurance policies for a claims reporting or discovery period of
 at least six years from and after the Effective Time with respect to any claim related to any period of time at or prior to the Effective Time (the
 "'Privateer D&O Tail Policy”).

                (e) From and after the Effective Time, Tilray shall pay all expenses, including reasonable attorneys’ fees, that are incurred by the persons
 referred to in this Section 5.6 in connection with their successful enforcement of the rights provided to such persons in this Section 5.6.

               (f) The provisions of this Section 5.6 are intended to be in addition to the rights otherwise available to the current and former officers and
 directors of Tilray and Privateer by Law, charter, statute, bylaw or agreement, and shall operate for the benefit of, and shall be enforceable by, each of
 the D&O Indemnified Parties, their heirs and their representatives.

               (g) In the event Tilray or the Surviving Company or any of their respective successors or assigns (i) consolidates with or merges into any
 other Person and shall not be the continuing or surviving Entity of such consolidation or merger, or (ii) transfers all or substantially all of its properties
 and assets to any Person, then, and in each such case, proper provision shall be made so that the successors and assigns of Tilray or the Surviving
 Company, as the case may be, shall succeed to the obligations set forth in this Section 5.6. Tilray shall cause the Surviving Company to perform all of
 the obligations of the Surviving Company under this Section 5.6.
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        5.7 Additional Agreements. The Parties shall use commercially reasonable efforts to cause to be taken all actions necessaiy to consummate the
 Contemplated Transactions. Without limiting the generality of the foregoing, each Party to this Agreement (a) shall as promptly as practicable make all
 filings and other submissions (if any) and give all notices (if any) required to be made and given by such Party in connection with the Contemplated
 Transactions: (b) shall use reasonable best efforts to obtain each Consent (if any) reasonably required to be obtained (pursuant to any applicable Law or
 Contract, or otherwise) by such Party in connection with the Contemplated Transactions or for such Contract (with respect to Contracts set forth in
 Section 5.7 of the Privateer Disclosure Letter) to remain in full force and effect; (c) shall use commercially reasonable efforts to lift any injunction
 prohibiting, or any other legal bar to, the Contemplated Transactions; and (d) shall use commercially reasonable efforts to satisfy the conditions
 precedent to the consummation of this Agreement.

       5-8 Disclosure. The initial press release relating to this Agreement shall be a joint press release issued by Privateer and Tilray and thereafter Tilray
 and Privateer shall consult with each other before issuing any further press release(s) or otherwise making any public statement or making any
 announcement to Tilray Associates or Privateer Associates (to the extent not previously issued or made in accordance with this Agreement) with respect
 to the Contemplated Transactions and shall not issue any such press release, public statement or announcement to Tilray Associates or Privateer
 Associates without the other Party's written consent (which shall not be unreasonably withheld, conditioned or delayed). Notwithstanding the foregoing,
 (a) each Party may, without such consultation or consent, make any public statement in response to questions from the press, analysts, investors or those
 attending industry conferences, make internal announcements to employees and make disclosures in Tilray SEC Documents, so long as such statements
 are consistent with previous press releases, public disclosures or public statements made jointly by the Parties (or individually, if approved by the other
 Party), and (b) a Party may, without the prior consent of the other Parties hereto but subject to giving advance notice to the other Parties, issue any such
 press release or make any such public announcement or statement as may be required by any Law, court process or by obligations pursuant to any listing
 agreement with or listing rules of Nasdaq or any other national securities exchange or national securities quotation system, in which case, if reasonably
 practicable, the Party proposing to issue such press release or make such public announcement or statement shall use its commercially reasonable efforts
 to consult in good faith with die other Parties before making issuing any such press release or making such public announcement or statement.

        5.9 Listing. Tilray shall use its commercially reasonable efforts, (a) to maintain its existing listing on Nasdaq until the Effective Time, (b) to the
 extent required by the rules and regulations of Nasdaq, to prepare and submit to Nasdaq a notification form for the listing of the shares of Tilray Class 2
 Common Stock to be issued in connection with the Contemplated Transactions, and to cause such shares to be approved for listing (subject to official
 notice of issuance); and (c) to the extent required by Nasdaq Marketplace Rule 5110, to file an initial listing application for the Tilray Class 2 Common
 Stock on Nasdaq (die “Nasdaq Listing Application”) and to cause such Nasdaq Listing Application to be conditionally approved prior to the Effective
 Time. The Parties will use commercially reasonable efforts to coordinate with respect to compliance with Nasdaq rules and regulations. Each Party will
 promptly inform the other Party of all verbal or written communications between Nasdaq and such Party or its representatives. Tilray and Privateer
 agree to evenly split all Nasdaq fees associated with the Nasdaq Listing Application, if any (the “Nasdaq Fees”). Privateer will cooperate with Tilray as
 reasonably requested by Tilray with respect to the Nasdaq Listing Application and promptly furnish to Tilray all information concerning Privateer and
 its stockholders that may be required or reasonably requested in connection with any action contemplated by this Section 5.9.

       5.10 Tax Matters.
              (a) For United States federal income Tax purposes, (i) the Parties intend that the Merger qualify as a “reojganization” within the meaning
 of Section 368(a) of the Code (the “Intended Tax Treatment), and (ii) this Agreement is intended to be, and is hereby adopted as, a “plan of
 reorganization” for purposes of Section 354 and 361 of the Code and Treasury Regulations Section 1.368-2(g) and L368-3(a), to which the Tilray,
 Merger Sub and Privateer are parties under Section 368(b) of the Code. The Parties shall treat and shall not take any tax
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 reporting position inconsistent with the treatment of the Merger as a reorganization within the meaning of Section 368(a) of the Code for U.S. federal,
 state and other relevant Tax purposes, unless otherwise required pursuant to a “determination” within the meaning of Section 1313(a) of the Code.

                (b) The Parties shall use their respective reasonable best efforts to cause the Merger to qualify, and will not take any action or cause any
 action to be taken which action would reasonably be expected to prevent the Merger from qualifying, for the Intended Tax Treatment.

               (c) Each of the Parties shall use its reasonable best efforts to obtain (i) the Tilray Registration Statement Tax Opinion, (ii) Privateer
 Registration Statement Tax Opinion, (iii) the Tilray Closing Tax Opinion and (iv) Privateer Closing Tax Opinion, including (A) delivering to Cooley
 LLP (“Cooley”) and Paul Hastings LLP ^Paul Hastings”) prior to the filing of the Registration Statement, tax representation letters substantially in the
 forms set forth in Schedule C-l (the “Privateer Tax Representation Letter1”) and Schedule D-l (the “Wray Tax Representation Letter”), respectively,
 and (B) delivering to Cooley and Paul Hastings, dated and executed as of the dates of such Tax opinions, the Privateer Tax Representation Letter and the
 Tilray Tax Representation Letter. Each of the Parties shall use its reasonable best efforts not to, and not permit any Affiliate to, take or cause to be taken
 any action that would cause to be untrue (or fail to take or cause not to be taken any action which inaction would cause to be untrue) any of the
 representations and covenants made to counsel in the tax representation letters described in this Section 5.10(c).

               (d) The Stockholder Representative shall, at its expense, file or cause to be filed when due all Tax Returns that are required to be filed by
 or with respect to Privateer and its Subsidiaries with respect to any Pre-Closing Tax Period and shall pay (or cause to be paid) any Taxes due in respect
 of such Tax Returns. All such Tax Returns shall be prepared in a manner consistent with prior practice except as otherwise required by Law. All such
 Tax Returns shall be provided to Tilray for review no later than 20 calendar days prior to their due date (including any extensions) for Tilray:s review,
 and Tilray shall have the right to comment on such returns no later than 10 calendar days prior to their due date (including any extensions); any such
 comments shall be considered in good faith by the Stockholder Representative. Tilray shall, at its expense, file or cause to be filed when due all Tax
 Returns that are required to be filed by or with respect to Privateer and its Subsidiaries for all other Tax periods and shall pay (or cause to be paid) any
 Taxes due in respect of such Tax Returns. To the extent permitted or required by applicable Law, die taxable year of each of Privateer and its
 Subsidiaries that includes the Closing Date shall be treated as closing on (and including) die Closing Date.

               (e) To the extent it is necessary for purposes of this Agreement to determine the allocation of Taxes among any Straddle Period, the portion
 of any such Taxes attributable to the period up to and including the Closing Date shall be (i) in the case of Taxes that are either (A) based upon or related
 to income or receipts, or (B) imposed in connection with any sale of property, deemed equal to the amount that would be payable if the Tax period of
 Privateer or the applicable Subsidiary ended with (and included) the Closing Date; provided that, exemptions, allowances or deductions that are
 calculated on an annual basis shall be allocated between the period ending on and including the Closing Date and the period beginning after the Closing
 Date in proportion to the number of days in each period, and (ii) in the case of Taxes that are imposed on a periodic basis wdth respect to the assets or
 capital of any of Privateer or a Subsidiary', deemed to be the amount of such Taxes for the entire Straddle Period multiplied by a fraction, the numerator
 of which is the number of days in the portion of the period ending on and including the Closing Date and the denominator of which is the number of
 days in the entire period.

                (f) If after the Closing Date, Tilray, Privateer or any of their Affiliates receives a refund of any Tax of Privateer or any of its Subsidiaries
 attributable to a Pre-Closing Tax Period (whether received in cash or as a credit against oilier Taxes), Tilray shall pay to the Privateer Stockholders
 within 15 calendar days after such receipt an amount equal to such refund, together with any interest received or credited thereon, regardless of the
 nature of or reason for the refimd.
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               (g) The Privateer Stockholders shall be responsible for all Transfer Taxes incurred in connection with the Merger. Any Transfer Tax
 described in the preceding sentence shall be paid to the relevant Tax authority when due by the Privateer Stockholders, and shall their own expense,
 timely file any Tax Return or other document with respect to such Transfer Tax.

       5.11 Legends. Tilray shall be entitled to place appropriate legends on the book entries and/or certificates evidencing any shares of Tilray Common
 Stock (a) to be received in the Merger by equity holders of Privateer who may be considered “affiliates” of Tilray for purposes of Rules 144 and 145
 under the Securities Act reflecting die restrictions set forth in Rules 144 and 145 and (b) subject to the Lock-up Provisions and, in each case, to issue
 appropriate stop transfer instructions to the transfer agent for such Tilray Common Stock.

       5.12 Termination of Certain Agreements and Rights. Privateer shall terminate or shall cause to be terminated any Investor Agreements prior to
 the Effective Time, without any surviving obligation or Liability on any Person such that no party thereto will have any surviving rights, remedies or
 powers in relation to any failure on the part of any other paly or any other Person to perform any duty or obligation under such Investor Agreement,

        5.13 Section 16 Matters. Provided that Privateer delivers to Tilray, in a timely fashion, all requisite information necessaiy for Tilray and Merger
 Sub to take the actions contemplated by this Section 5.13. Tilray and Privateer shall, prior to the Effective Time, take all such steps as may be required
 (to the extent permitted under applicable Laws) to cause any acquisitions of Tilray Common Stock, restricted stock awards to acquire Tilray Common
 Stock, and any options to purchase Tilray Common Stock in connection with the Contemplated Transactions, by each individual who is reasonably
 expected to become subject to the reporting requirements of Section 16(a) of the Exchange Act with respect to Tilray immediately prior to the Effective
 Time, to be exempt under Rule 16b-3 promulgated under the Exchange Act.

       5.14 Further Assurances. Each Party agrees to execute and deliver such further documents, certificates, agreements and instruments and to take
 such other actions as may be reasonably requested by the other Party to evidence or reflect the Contemplated Transactions and to carry out the intent and
 purposes of this Agreement

        5.15 AHocation Certificate. Privateer shall prepare and deliver to Tilray at least five Business Days prior to the Closing Date a certificate signed
 by the Chief Financial Officer of Privateer in a form reasonably acceptable to Tilray (the “Allocation Certificate”) setting forth (as of immediately prior
 to the Effective Time) (i) each holder of Privateer Common Stock and Privateer Options; (ii) such holder’s name; (iii) the number and type of Privateer
 Common Stock held and/or underlying Privateer Options as of the immediately prior to the Effective Time for each such holder; (iv) the number and
 type of shares of Tilray Common Stock to be issued to such holder, or to underlie any Tilray Option to be issued to such holder, pursuant to this
 Agreement and calculated in accordance with the Privateer Allocation in respect of Privateer Common Stock or in accordance with Section 5.Sid) in
 respect of Privateer Options held by such holder as of immediately prior to the Effective Time, (v) the cash dollar amount (roimded to the nearest whole
 cent), without interest, to be issued to such holder, if applicable, in lieu of any fractional shares of Tilray Common Stock pursuant to Section 1.5(c). (vi)
 the cash dollar amount (rounded to the nearest whole cent), without interest, to be issued to such holder, if applicable, of the portion of Cash Merger
 Consideration to be paid to such holder pursuant to this Agreement and calculated in accordance with the Privateer Allocation or the Cash-Out Options
 Allocation, as applicable, (vii) the Pro Rata Consideration Ratio, (viii) each Privateer Stockholder’s Pro Rata Cash Portion, (ix) each Privateer
 Stockholder’s Pro Rata Portion (x) each Founder Pro Rata Portion, (xi) the Option Exchange Ratio, (xii) the Cash Consideration Shares, including the
 Stock Cash Consideration Shares and the Option Cash Consideration Shares, (xiii) each Privateer Stockholder’s Escrow Allocation, (xiv) the Aggregate
 Cash Option Consideration, (xv) the Aggregate In-the-Money Option Value, (xvi) the Option FMV, (xvii) the Total Cash-Out Options, (xviii) with
 respect to each holder of a Privateer Option that is a Privateer Service Provider, (A) such holder’s Individual In-the-Money Option Value, (B) such
 holder’s Optionholder Cash Percentage, (C) such holder’s Individual Option Cash Consideration, (D) such holder’s Cash-Out Options Allocation for
 each grant, and (E) such holder’s aggregate
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 number of Terminating Privateer Options (if any) and (xix) each calculation underlying or related to the foregoing, and (xx) with respect to each holder
 of a Privateer Option that is a Privateer Service Provider, whether such holder has terminated Continuous Service and if so, the date of such termination
 and the reason therefor. Concurrently with the execution of this Agreement, Privateer shall deliver to Tilray a draft of the Allocation Certificate
 containing the above information as reasonably anticipated to be immediately prior to the Effective Time.

       5.16 Takeover Statutes. If any Takeover Statute is or may become applicable to the Contemplated Transactions, each of Privateer, Privateer
 Board, Tilray and the Tilray Board (including any committees thereof), as applicable, shall grant such approvals and take such actions as are reasonably
 necessary so that the Contemplated Transactions may be consummated as promptly as practicable on the terms contemplated by this Agreement and
 otherwise act to eliminate or minimize the effects of such statute or regulation on the Contemplated Transactions.

        5.17 Stockholder Litigation. Each Party shall (i) keep the other Party reasonably informed regarding any Legal Proceeding brought or threatened
 by any stockholder against such Party or any of its respective directors or officers relating to or challenging this Agreement or the consummation of the
 Contemplated Transactions. Prior to the Closing, each Party shall reasonably consult with and permit the other Party and its Representatives to
 participate in the defense of any such Legal Proceeding and each Party shall give consideration to the other Party's advice with respect to such Legal
 Proceeding. Each Party shall promptly advise the other Party orally and in writing of the initiation of, and shall keep the other Party reasonably apprised
 of any material developments in connection with, any such Legal Proceeding, including any settlement negotiations.

       5.18 Tilrav Eqoitv Plan.
               (a) Tilray shall file with the SEC, promptly after the Effective Time, a registration statement on Form S-8 (or any successor or alternative
 form), if available for use by Tilray, relating to the shares of Tilray Common Stock issuable with respect to Privateer Options assumed by Tilray in
 accordance with Section 5.5.

               (b) Effective as of, but subject to, the Effective Time, the vesting of each then-outstanding and unvested option that as of the date hereof is
 an option to purchase shares of Tilray Common Stock held by any Privateer Service Provider shall accelerate.

       5.19 Preferred Stock Conversion. Privateer shall take all necessary action to effect the conversion of Privateer Preferred Stock into Privateer
 Class 2 Common Stock immediately prior to the Effective Time (the “Preferred Stock Conversion”).

       5.20 Escrow Matters. Each of Privateer, the Stockholder Representative, Tilray and Merger Sub shall negotiate in good faith and, prior to or
 concurrently with the Closing, enter into a mutually agreed escrow agreement (the “Escrow Agreement') with each other and the Escrow Agent for the
 establishment of the escrow account and provision of the escrow services in accordance with the terms and subject to the conditions of this Agreement
 and providing, among other items, that the Privateer Stockholders shall hold voting rights to the Escrow Shares (as allocated in accordance with the
 Escrow Allocation) during the period between the Effective Time and the Escrow Release Date unless such Escrow Shares are Released Shares.

        5.21 Interim Lock-up. Without Tilray’s written consent (which consent shall be granted or withheld at Tilray Ss sole discretion), Privateer will not,
 prior to the Effective Time, offer to Transfer, or Transfer, any of the capital stock of Tilray, including any shares of Tilray Class 1 Common Stock or
 Tilray Class 2 Common Stock.
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 6.    CONDITIONS PRECEDENT TO OBLIGATIONS OF EACH PARTY
                The obligations of each Party to effect the Merger and otherwise consummate the Contemplated Transactions are subject to the satisfaction
 or, to the extent permitted by applicable Law, the written waiver by each of the Parties, at or prior to the Closing, of each of the following conditions:

       6.1 Effectiveness of Registration Statement. The Registration Statement shall have become effective in accordance with the provisions of the
 Securities Act, and shall not be subject to any stop order or proceeding (or threatened proceeding by the SEC) seeking a stop order with respect to the
 Registration Statement that has not been withdrawn.

       6.2 No Restraints. No temporary restraining order, preliminary or permanent injunction, judgement, or other order or decree shall have been
 issued and remain in effect by any tribunal, court, or other Governmental Body of competent jurisdiction or Law which has the effect of preventing,
 making illegal, or prohibiting the consummation of the Contemplated Transactions. There shall not be pending any Legal Proceeding by any
 Governmental Body of competent jurisdiction seeking to prohibit the consummation of the Contemplated Transactions.

       6.3 Stockholder Approval, (a) Tilray shall have obtained the Required Ttlray Stockholder Vote and (b) Privateer shall have obtained the Required
 Privateer Stockholder Vote.

        6.4 Listing. The shares of Tilray Class 2 Common Stock to be issued in the Merger pursuant to this Agreement shall have been approved for
 listing (subject to official notice of issuance) on Nasdaq as of the Closing.

       6.5 Regulatory Approvals. The applicable approvals, clearances, or waiting periods (and any extensions thereof) under the HSR Act or any
 foreign competition Laws that are applicable to the Contemplated Transactions or the acquisition of voting securities by individuals set forth on
 Schedule A shall have been obtained, expired or been earlier terminated.

        6.6 Charter Amendments, (a) Privateer shall have filed the amended and restated charter of Privateer in the form attached hereto as Exhibit D
 (the ''Amended and Restated Privateer Charter”) and (b) Tilray shall have filed the amended and restated charter of Tilray in the form attached hereto
 as Exhibit E (the "Amended and Restated Wray Charter”),

       6.7 Contract Terminations. Privateer covenants and agrees to cause the Contracts set forth on Schedule 6.7 to be terminated or extinguished,
 with no liability or obligation to Privateer, within 20 Business Days after the date of this Agreement.

 7.    ADDITIONAL CONDITIONS PRECEDENT TO OBLIGATIONS OF TILRAY AND MERGER SUB
                The obligations of Tilray and Merger Sub to effect the Merger and otherwise consummate the Contemplated Transactions are subject to the
 satisfaction or the written waiver by Tilray, at or prior to the Closing, of each of the following conditions:


 sentences thereof), 2.6fc) and 2.6(d). the Privateer Fundamental Representations shall have been true and correct in all respects as of the date of this
 Agreement and shall be true and correct in all respects on and as of the Closing Date with the same force and effect as if made on and as of such date
 (except to the extent such representations and warranties are specifically made as of a particular date, in which case such representations and warranties
 shall be true and correct in all material respects as of such date). The representations and warranties of Privateer set forth in Sections 2.6(a). 2.6(b) (other
 than the first two sentences
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 thereof), 2.6(c) and 2.6(d) shall have been true and correct in all respects as of the date of this Agreement and shall be true and correct in all respects on
 and as of the Closing Date (other than, as of the Closing Date, inaccuracies that are de minimis in the aggregate on the Closing Date) with the same force
 and effect as if made on and as of such date. The representations and warranties of Privateer contained in this Agreement (other than Privateer
 Fundamental Representations) shall have been true and correct in all material respects as of the date of this Agreement and shall be true and correct in
 all material respects on and as of the Closing Date with the same force and effect as if made on the Closing Date (without giving effect to any references
 therein to any Privateer Material Adverse Effect or other materiality qualifications), except for those representations and warranties which address
 matters only as of a particular date (which representations shall have been true and correct in all material respects without giving effect to any references
 therein to any Privateer Material Adverse Effect or other materiality qualifications as of such particular date) (it being understood that, for purposes of
 determining the accuracy of such representations and warranties, any update of or modification to Privateer Disclosure Letter made or purported to have
 been made after the date of this Agreement shall be disregarded).

       7.2 Performance of Covenants. Privateer shall have performed or complied with in all material respects all agreements and covenants required to
 be performed or complied with by it under this Agreement at or prior to the Effective Time.

       7.3 No Privateer Material Adverse Effect. Since the date of this Agreement, there shall not have occurred any Privateer Material Adverse
 Effect.

       7.4 Preferred Stock Conversion. Privateer shall have effected the Preferred Stock Conversion.

       7.5 Termination of Investor Agreements. The Investor Agreements shall all have been terminated in accordance with Sections 2.22(c) and 5.12.

       7.6 Agreements and Documents. Tilray shall have received the following documents, each of which shall be in full force and effect:

               (a) a certificate executed by the Chief Executive Officer or Chief Financial Officer of Privateer certifying that the conditions set forth in
 Sections 6.6(a). 7.1.7.2. 7.3. 7.4. 7.5. and JA have been duly satisfied;

               (b) the Allocation Certificate, duly executed by the Chief Financial Officer of Privateer;

               (c) a Stockholder Lock-up Agreement and Privateer Support Agreement delivered by each Privateer Stockholder listed on Schedule A;

              (d) a letter of resignation and waiver, in form reasonably satisfactory to Tilray, duly executed by each member of the board of directors (or
 equivalent governing body) and each officer of Privateer and each of its Subsidiaries, in each case, effective as of the Effective Time, evidencing the
 resignation of each such director and officer and waiving any and all Claims against Privateer (other than Claims that such director or officer is entitled
 to indemnification under the Organizational Documents of, or any indemnification agreements with. Privateer or its Subsidiaries);

               (e) evidence reasonably satisfactory to Tilray that Privateer has purchased the Privateer D&O Tail Policy;

               (f) the Escrow Agreement, duly executed by the Escrow Agent and the Stockholder Representative;

               (g) the Docklight Letter Agreement, duly executed by Docklight Brands Inc.; and

               (h) the Founders Guarantee Agreement, duly executed by each of the Founders.


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       7.7 FIRPTA Certificate. Tilray shall have received (i) an original signed statement from Privateer that Privateer is not, and has not been at any
 time during the applicable period specified in Section 897(c)(l)(AXii) of the Code, a “United States real property holding corporation,” as defined in
 Section 897(c)(2) of the Code, conforming to the requirements of Treasury Regulations Section 1.1445-2(c)(3) and 1.897-2(h), and (ii) an original
 signed notice to be delivered to the IRS in accordance with the provisions of Treasury Regulations Section 1.897-2(h)(2), together with written
 authorization for Tilray to deliver such notice to the IRS on behalf of Privateer following the Closing, each dated as of the Closing Date, duly executed
 by an authorized officer of Privateer, and in form and substance reasonably acceptable to Tilray.

        7.8 Privateer Stockholder Written Consent. The Privateer Stockholder Written Consent evidencing the Required Privateer Stockholder Vote
 shall be in full force and effect.

       7.9 Closing Tax Opinions. Tilray shall have received the Tilray Closing Tax Opinion.

        7.10 Appraisal Rights. Privateer Stockholders holding no more than one and a half percent (1,5%) of the outstanding Privateer Capital Stock
 shall continue to have a right to seek appraisal, dissenters’, or similar rights under applicable Law with respect to their Privateer Capital Stock by virtue
 of the Merger.

 8.    ADDITIONAL CONDITIONS PRECEDENT TO OBLIGATIONS OF PRIVATEER
               The obligations of Privateer to effect the Merger and otherwise consummate the Contemplated Transactions are subject to the satisfaction
 or the written waiver by Privateer, at or prior to the Closing, of each of the following conditions:

       8.1 Accuracy of Representations. The Tilray Fundamental Representations shall have been true and correct in all respects as of the date of this
 Agreement and shall be true and correct in all respects on and as of the Closing Date with the same force and effect as if made on and as of such date
 (except to the extent such representations and warranties are specifically made as of a particular date, in which case such representations and warranties
 shall be true and correct in all material respects as of such date). Die representations and warranties of Tilray and Merger Sub contained in this
 Agreement (other than the Tilray Fundamental Representations) shall have been true and correct In all material respects as of the date of this Agreement
 and shall be true and correct in all material respects on and as of the Closing Date with the same force and effect as if made on the Closing Date (without
 giving effect to any references therein to any Tilray Material Adverse Effect or other materiality qualifications), except for those representations and
 warranties which address matters only as of a particular date (which representations shall have been true and correct in all material respects without
 giving effect to any references therein to any Tilray Material Adverse Effect or other materiality qualifications as of such particular date) (it being
 understood that for purposes of determining the accuracy of such representations and warranties, any update of or modification to the Tilray Disclosure
 Letter made or purported to have been made after the date of this Agreement shall be disregarded).

      8.2 Performance of Covenants. Tilray and Merger Sub shall have performed or complied with in all material respects all of their agreements and
 covenants required to be performed or complied with by each of them under this Agreement at or prior to the Effective Time.

       8.3 Tilrav Closing Certificate. Privateer shall have received a certificate executed by the Chief Executive Officer or Chief Financial Officer of
 Tilray confirming that the conditions set forth in Sections 6.6(b). 8.1. and ]L2 have been duly satisfied.

       8.4 Closing Tax Opinions. Privateer shall have received the Privateer Closing Tax Opinion.



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 9.    TERMINATION
       9.1 Termination. This Agreement may be terminated prior to the Effective Time (whether before or after approval of the Privateer Stockholder
 Matters by the Privateer Stockholders and whether before or after approval of the Tilray Stockholder Matters by Tilray's stockholders, unless otherwise
 specified below):

               (a) by mutual written consent of Tilray and Privateer;

                (b) by either Tilray or Privateer if the Contemplated Transactions shall not have been consummated by March 9, 2020 (subject to possible
 extension as provided in this Section 9.1fbl the “End Date”)] provided^ however^ that the right to terminate this Agreement under this Section 9,lfb)
 shall not be available to Privateer, on the one hand, or to Tilray, on the other hand, if such Party’s action or failure to act has been a principal cause of the
 failure of the Contemplated Transactions to occur on or before the End Date and such action or failure to act constitutes a breach of this Agreement;
 provided, further, that in the event a request for additional information has been made by any Governmental Body, or in the event the SEC has not
 declared the Registration Statement effective under the Exchange Act by at least 60 calendar days prior to the End Date, then either Privateer or Tilray
 shall be entitled to extend the End Date for an additional 60 calendar days by written notice to the other the Party;

              (c) by either Tilray or Privateer if a tribunal, court, or other Governmental Body of competent jurisdiction shall have issued a final and
 nonappealable judgment, order, decree or ruling, or shall have taken any other action, having the effect of permanently restraining, enjoining or
 otherwise preventing or prohibiting the Contemplated Transactions;

               (d) by either Tilray or Privateer if the Privateer Stockholder Written Consent evidencing the Required Privateer Stockholder Vote shall not
 have been obtained within 15 Business Days of the Registration Statement becoming effective in accordance with the provisions of the Securities Act;
 provided that once the Privateer Stockholder Written Consent evidencing the Required Privateer Stockholder Vote has been obtained, neither Tilray nor
 Privateer may terminate this Agreement pursuant to this Section 9.1(d);

               (e) by either Tilray or Privateer if (i) the Tilray Stockholders’ Meeting (including any adjournments and postponements thereof) shall have
 been held and completed and Tilray’s stockholders shall have taken a final vote on the Tilray Stockholder Matters and (ii) the Tilray Stockholder Matters
 shall not have been approved at the Tilray Stockholders’ Meeting (or at any adjournment or postponement thereof) by the Required Tilray Stockholder
 Vote; provided, however, that the right to terminate this Agreement under this Section 9.1(e) shall not be available to Tilray where the failure to obtain
 the Required Tilray Stockholder Vote has been caused by the action or failure to act of Tilray or Merger Sub and such action or failure to act constitutes
 a material breach by Tilray or Merger Sub of this Agreement;

                (f) by Privateer, upon a breach by Tilray or Merger Sub of any representation, warranty, covenant or agreement set forth in this Agreement
 or if any representation or warranty of Tilray or Merger Sub shall have become inaccurate, in either case, such that the conditions set forth in Section 8.1
 or Section 8.2 would not be satisfied as of the time of such breach or as of the time such representation or warranty shall have become inaccurate;
 provided that Privateer is not then in material breach of any representation, warranty, covenant or agreement under this Agreement; provided, further,
 that if such breach by Tilray or Merger Sub or such inaccuracy in Tilray’s or Merger Sub’s representations and warranties is curable by Tilray or Merger
                                                                                                        a result of such particular breach or inaccuracy until
 the expiration of a 15-day period commencing upon delivery of written notice from Privateer to Tilray of such breach or inaccuracy and Privateer’s
 intention to terminate pursuant to this Section 9.1(f) (it being understood that this Agreement shall not terminate pursuant to this Section 9.1(f) as a
 result of such particular breach or inaccuracy if such breach or inaccuracy is cured prior to such termination becoming effective);
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                (g) by Tilray, upon a breach by Privateer of any representation, warranty, covenant or agreement set forth in this Agreement or if any
 representation or warranty of Privateer shall have become inaccurate, in either case, such that the conditions set forth in Section 1.1 or Section 7,2 would
 not be satisfied as of the time of such breach or as of the time such representation or warranty shall have become inaccurate; provided that Tilray is not
 then in material breach of any representation, warranty, covenant or agreement under this Agreement; provided.further, that if such breach by Privateer
 or such inaccuracy in Privateer’s representations and warranties is curable by Privateer prior to the End Date then this Agreement shall not terminate
 pursuant to this Section 9.1(g) as a result of such particular breach or inaccuracy until the expiration of a 15-day period commencing upon delivery of
 written notice from Tilray to Privateer of such breach or inaccuracy and Tilray’s intention to terminate pursuant to this Section 9. He) (it being
 understood that this Agreement shall not tenninate pursuant to this Section 9.1(g) as a result of such particular breach or inaccuracy if such breach or in
 accuracy is cured prior to such termination becoming effective);

               (h) by Tilray at any time prior to the approval of the Tilray Stockholder Matters by the Required Tilray Stockholder Vote in order to enter
 into a definitive agreement to consummate a Superior Offer; provided that Tilray has complied in all material respects with its obligations under
 Section 5.3(d): or

             (i) by Privateer, at any time prior to the approval of the Tilray Stockholder Matters by the Required Tilray Stockholder Vote, the Tilray
 Board has made a Tilray Board Adverse Recommendation Change.

       9.2 Effect of Termination. In the event of the termination of this Agreement as provided in Section 9.1. this Agreement shall be of no further
 force or effect; provided, however, that (al Section 5.8. this Section 9.2. Section 9.3. Section 12 and the terms defined in such Sections shall survive the
 termination of this Agreement and shall remain in full force and effect, and (b) the termination of this Agreement shall not relieve any Party of any
 Liability for any willful and material breach of any representation, warranty, covenant, obligation or other provision contained in this Agreement.

       9.3 Termination Fee: Lock-Up.
               (a) If this Agreement is terminated by either Tilray or Privateer pursuant to Section 9.1(dl. then (i) the Lock-up Agreement executed and
 delivered by Privateer and Tilray concurrently with this Agreement (the “Privateer Lock-up Agreement') shall be automatically effective in accordance
 with its terms; and (ii) within three months of the expiration date of the Privateer Lock-up Agreement, Privateer shall reimburse Tilray for its reasonable
 out-of-pocket fees, costs or expenses incurred in connection with the Contemplated Transactions (and for which Tilray has provided invoices to
 Privateer evidencing such fees, costs or expenses); provided, however, that in no event shall such reimbursement payment exceed $3,000,000.


 cases, (i) subject to Section 9.2, any fee payable by Privateer to Tilray under this Section 9.3 shall, in the circumstances in which it is owed in
 accordance with the terms of this Agreement, constitute the sole and exclusive remedy of Tilray following the termination of this Agreement under the
 circumstances described in this Section 9.3. it being understood that in no event shall Privateer be required to pay the amounts payable pursuant to this
 Section 9.3 on more than one occasion and (ii) following payment of any fee payable by Privateer to Tilray under this Section 9.3 (A) Privateer shall
 have no further liability to Privateer in connection with or arising out of this Agreement or the termination thereof, any breach of this Agreement by
 Privateer giving rise to such termination, or the failure of the Contemplated Transactions to be consummated, (B) neither Tilray nor any of its Affiliates
 shall be entitled to bring or maintain any other claim, action or proceeding against Privateer or seek to obtain any recovery, judgment or damages of any
 kind against such Parties (or any partner, member, stockholder, director, officer, employee. Subsidiary, Affiliate, agent or other Representative of such
 Parties) in connection with or arising out of this Agreement or the termination thereof, any breach by any such Parties giving rise to such termination or
 the failure of the Contemplated Transactions to be consummated and (C) Tilray and its Affiliates shall be precluded from any other remedy against
 Privateer and
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 its Affiliates, at law or in equity or otherwise, in connection with or arising out of this Agreement or the termination thereof, any breach by such Party
 giving rise to such termination or the failure of the Contemplated Transactions to be consummated; provided, however, that nothing in this

 with respect to any breach of the Privateer Lock-up Agreement.

                (c) Each of the Parties acknowledges that (i) the agreements contained in this Section 9.3 are an integral part of the Contemplated
 Transactions, (ii) without these agreements, the Parties would not enter into this Agreement and (iii) any amount payable pursuant to this Section 9.3 is
 not a penalty, but rather is liquidated damages in a reasonable amount that will compensate Tilray in the circumstances in which such amount is payable.

 10.   STOCKHOLDER REPRESENTATIVE
       10.1 Designation of Stockholder Representative.
                (a) Michael Blue is hereby appointed as the Stockholder Representative (and each successor appointed in accordance with Section IQ.KcD
 to perform all such acts as the Stockholder Representative is authorized to take under the Transaction Documents and the Contemplated Transactions,
 which will include the power and authority to: (i) execute and deliver all documents that the Stockholder Representative is authorized to execute and
 deliver under the Transaction Documents; (ii) receive payments under or pursuant to this Agreement and disbursement thereof to the Privateer
 Stockholders and others, as contemplated by this Agreement; (iii) receive and, if applicable, forward notices and communications pursuant to this
 Agreement; (iv) give or agree to, on behalf of all or any of the Privateer Stockholders, any and all consents, waivers, amendments or modifications
 deemed by the Stockholder Representative, in its sole and absolute discretion, to be necessary or appropriate under this Agreement and the execution or
 delivery of any documents that may be necessary or appropriate in connection therewith; (v) following the Closing, amend, modify or supplement this
 Agreement or any of the instruments to be delivered to Tilray pursuant to this Agreement; (vi) engage attorneys, accountants, agents or consultants on
 behalf of the Privateer Stockholders in connection with this Agreement or any other agreement contemplated hereby and paying any fees related thereto;
 (vii) make all other elections or decisions that the Stockholder Representative is authorized to make under any Transaction Document; (viii) authorized
 release of the Escrow Shares; and (ix) perform each such act and thing whatsoever that Stockholder Representative may be or is required to do, or which
 Stockholder Representative in its sole good faith discretion determines is desirable to do, pursuant to or to carry out the intent of the Transaction
 Documents, and to amend, modify or supplement any of the foregoing. Each Privateer Stockholder, by execution of the Letter of Transmittal, as
 applicable, acknowledges Michael Blue as the Stockholder Representative and its authority as set forth herein.

               (b) The grant of authority provided for in this Section 10.1 (i) is coupled with an interest and is being granted, in part, as an inducement to
 Privateer and Tilray to enter into this Agreement and will be irrevocable and survive the death, incompetency, bankruptcy, liquidation, merger or change
 of control of any Privateer Stockholder and will be binding on any successor thereto and (ii) subject to this Section 10.1. may be exercised by
 Stockholder Representative acting by signing as Stockholder Representative of any Privateer Stockholder.

              (c) If Stockholder Representative or its heirs or their respective Representatives, as the case may be, advise Privateer Stockholders that it is
 unavailable to perform it duties hereunder, within three Business Days of notice of such advice, an alternative Stockholder Representative will be
 appointed by a majority in interest of Privateer Stockholders. Any references in this Agreement to Stockholder Representative shall be deemed to
 include any duly appointed successor Stockholder Representative.

              (d) All acts of the Stockholder Representative hereunder in its capacity as such shall be deemed to be acts on behalf of the Privateer
 Stockholders and not of the Stockholder Representative individually. The Stockholder Representative shall not have any Liability for any amount owed
 to any Person pursuant to this Agreement, or any Transaction Document. The Stockholder Representative shall not be liable to Privateer,
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 Tilray, the Merger Sub or any other Person in his or its capacity as the Stockholder Representative, for any Liability of any Privateer Stockholder or
 otherwise, or for anything that it may do or refrain from doing in connection with this Agreement. The Stockholder Representative shall not be liable to
 any Privateer Stockholder, in his or its capacity as the Stockholder Representative, for any Liability of any Privateer Stockholder or otherwise, or for any
 error ofjudgment, or any act done or step taken or omitted by it in good faith, or for any mistake in fact or applicable Law, or for anything which it may
 do or refrain from doing in connection with this Agreement, except in die case of the Stockholder Representative’s willful misconduct or fraud as
 determined in a final and non-appealable judgment of a court of competent jurisdiction. The Stockholder Representative may seek the advice of legal
 counsel in the event of any dispute or question as to the construction of any of the provisions of this Agreement or its duties or rights hereunder, and it
 shall incur no Liability in its capacity as the Stockholder Representative to Tilray, the Merger Sub, Privateer, any Privateer Stockholder or any other
 Person and shall be frilly protected with respect to any action taken, omitted or suffered by it in good faith in accordance with the advice of such counsel.
 The Stockholder Representative shall not by reason of this Agreement have a fiduciary relationship in respect of any Securityholder, except in respect of
 amounts received on behalf of a Privateer Stockholder.

                 (e) The Stockholder Representative is hereby authorized to establish an account for the purposes of holding die Reserve Amount (the
 "Reserve Account). The Stockholder Representative may use the Reserve Amount to pay any fees, costs, expenses or other obligations incurred by the
 Stockholder Representative acting in its capacity as such. Without limiting the foregoing, each Privateer Stockholder shall, only to the extent of such
 holder’s Pro Rata Portion of consideration actually received pursuant to this Agreement in respect of such person’s Privateer Capital Stock, indemnify
 and defend the Stockholder Representative and hold the Stockholder Representative harmless against any loss, damage, cost, liability' or expense
 actually incurred without fraud, gross negligence or willful misconduct by the Stockholder Representative (as determined in a final and non-appealable
 judgment of a court of competent jurisdiction) and arising out of or in connection with the acceptance, performance or administration of the Stockholder
 Representative’s duties under this Agreement. Any expenses incurred by the Stockholder Representative in connection with the performance of its duties
 under this Agreement shall not be the personal obligation of the Stockholder Representative but shall be payable by and attributable to the Privateer
 Stockholders based on each such Person’s Pro Rata Portion, as applicable. Notwithstanding anything to the contrary in this Agreement, the Stockholder
 Representative shall be entitled and is hereby granted the right to set off and deduct any unpaid or non-reimbursed expenses and unsatisfied liabilities
 incurred by the Stockholder Representative in connection with the performance of its duties hereunder from amounts actually delivered to the
 Stockholder Representative pursuant to this Agreement. Additionally, in connection with any unpaid or non-reimbursed expenses and unsatisfied
 liabilities incurred by the Stockholder Representative in connection with the performance of its duties hereunder, the Stockholder Representative shall
 be entitled and is hereby granted the right to direct any funds that would otherwise be actually payable to Privateer Stockholders from the Reserve
 Account to itself no earlier than the date such payments are actually made. The Stockholder Representative may also from time to time submit invoices
 to the Privateer Stockholders covering such expenses and liabilities, which shall be paid by the Privateer Stockholders promptly following the receipt
 thereof on a pro rata basis based on their respective Pro Rata Portion, as applicable. Upon the request of any Privateer Stockholder, the Stockholder
 Representative shall provide such Privateer Stockholder with an accounting of all expenses and liabilities paid by the Stockholder Representative in its
 capacity as such. The Reserve Amount shall be retained in whole or in part by die Stockholder Representative for such time as the Stockholder
 Representative shall determine in its sole discretion. If the Stockholder Representative shall determine in its sole discretion to return all or any portion of
 the Reserve Amount to die Privateer Stockholders, such amount shall be distributed to the Privateer Stockholders in accordance with Section 1.7(il.

 11.   INDEMNIFICATION
      11.1 Survival Periods. The Parties, intending to modify any applicable statute of limitations, agree that (a) the Privateer Fundamental
 Representations shall survive the Closing and shall continue in full force and effect for as long as there are any Escrow Shares remaining, including any
 Escrow Shares that may be subject to Claims
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 that have not yet been finally resolved, (b) the representations and warranties of Privateer (other than the Privateer Fundamental Representations) in this
 Agreement (including the Privateer Disclosure Letter and any certificate delivered by or on behalf of Privateer pursuant to this Agreement) shall survive
 the Closing until, and shall terminate on the Escrow Release Date, and (c) all covenants and agreements of the Parties contained in this Agreement shall
 survive the Closing Date in accordance with their respective terms. Notwithstanding the foregoing, any claims asserted in good faith with reasonable
 specificity (to the extent known at such time) and in writing by notice from the Tilray Indemnified Party to the Stockholder Representative prior to the
 expiration of the applicable survival period shall survive until finally resolved pursuant to this Section 11. Notwithstanding anything to the contrary in
 this Agreement, any Fraud Claim will survive the Closing indefinitely.

        IL2 Indemnification of Tilrav. Subject to the terms and limitations in this Section 11. from and after the Closing, the Privateer Stockholders (the
 “Indemnifying Parties”) shall indemnify and hold harmless Tilray, its Subsidiaries, and their respective Representatives (collectively, the “Wray
 Indemnified Parties’') from and against, and shall compensate and reimburse each of the Tilray Indemnified Parties for, any loss. Liability, fine, penalty
 or damage, including reasonable out of pocket fees, costs and expenses of counsel and other professionals, reasonable out of pocket expenses of
 investigation, including consequential damages to the extent reasonably foreseeable to the Parties, but excluding any special, punitive, exemplary, treble
 or similar damages (other than to the extent paid or payable to a third party) (a “Loss*”) that such Tilray Indemnified Party suffers resulting from, arising
 out of, or imposed upon or incurred by any Tilray Indemnified Party by reason of (regardless of whether or not such Losses relate to any Third Party
 Claim):

              (a) any breach or inaccuracy of any representation or warranty made by or on behalf of Privateer or the Stockholder Representative in this
 Agreement, the Privateer Disclosure Letter, or any certificate delivered by Privateer pursuant to this Agreement (a “Warranty Breach”),

               (b) any breach by Privateer or the Stockholder Representative of any covenant or agreement in this Agreement (a “Covenant Breach”))

                (c) any inaccuracy in or omission from the Allocation Certificate (including any calculations, assumptions, or assertions therein), including
 in the calculation of the amount of the Total Merger Consideration, the Stock Merger Consideration, the Cash Merger Consideration, the Option Meiger
 Consideration, the Aggregate Cash Option Consideration or other amounts set forth therein that are delivered to a Person in excess of the amounts such
 Person is entitled to receive pursuant to the terms of this Agreement, any amounts a Person was entitled to receive pursuant to the terms of this
 Agreement or the Privateer Allocation or the Cash-Out Options Allocation that was omitted from the Allocation Certificate, or any amount of any
 Privateer Transaction Expense Overage or any other item not accurately and completely reflected therein or otherwise not deducted from or applied to
 the Total Merger Consideration, the Stock Merger Consideration, the Cash Merger Consideration, the Option Merger Consideration or the Aggregate
 Cash Option Consideration pursuant thereto;

               (d) any Dissenter Costs;

               (e) any D&O Matter;

               (f) any Equityholder Matter (without duplication of any Losses recovered under Section 11.2(c) above);

              (g) any Privateer Transaction Expense Overage, but only to the extent not taken into account in the calculation of the Total Merger
 Consideration;

               (h) any Pre-Closing Liabilities (including any Pre-Closing Taxes);

               (i) the matters set forth on Schedule 11.2(0: and

              (j) any claim for Fraud arising out of or relating to Privateer’s negotiation, execution and delivery of this Agreement or any other
 Transaction Document (each, a “Fraud Claim”).
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 For purposes of calculating any Losses under this Section 11. all materiality and material adverse effect qualifications, limiting the scope of any
 provision of this Agreement or any other Transaction Document shall be disregarded.

       11.3 Limitations; Knowledge Savings; Benefit of Bargain.
                (a) Even if a Tilray Indemnified Party would otherwise be entitled to indemnification for a Loss pursuant to this Agreement for any
 Warranty Breach, such Tilray Indemnified Party shall not be indemnified for such Loss unless and until the amount of Losses eligible for
 indemnification pursuant to Section 11.2(a) (other than with respect to any breach of any Privateer Fundamental Representation) with respect to such
 claim (together with any other Warranty Breach which is based on the same underlying facts, situations, circumstances, actions, failures to act, activities
 or transactions as such Warranty Breach) exceeds an amount equal to five thousand dollars ($5,000) (the “Per Claim Threshold11), and then, subject to
 this Section 11.3. die Tilray Indemnified Parties shall be entitled to recover the aggregate amount of all Losses from the first dollar (it being understood
 that no Tilray Indemnified Party shall be entitled to receive indemnification for any Losses with respect to any single claim or series of related claims in
 the event that such Losses are less than the Per Claim Threshold).

               (b) Subject to the limitations set forth in this Section 11. any Losses for which the Indemnifying Parties have indemnification obligations
 under this Section 11 shall be recovered by Tilray Indemnified Parties solely by cancellation of Released Shares to satisfy the amount of any such
 Losses; provided, however, that any Losses shall be satisfied (i) first from the portion of file Escrow Shares that constitute the Stockholder Escrow
 Shares (as calculated in accordance with the Escrow Allocation) and (iil second, if the Stockholder Escrow Shares are insufficient to cover such Losses,
 then, from the portion of the Escrow Shares that constitute the Founder Escrow Shares (as calculated in accordance with the Escrow Allocation).

              (c) Each of Tilray and Merger Sub acknowledge and agree that the Escrow Shares shall be the Tilray Indemnified Party’s sole and
 exclusive source of recovery with respect to claims arising under, or otherwise in connection with, this Agreement and that, following release in frill of
 the Escrow Shares, the Tilray Indemnified Parties shall have no further rights to indemnification hereunder.

                (d) Notwithstanding any investigation by, right of investigation, or Knowledge of, Tilray or Merger Sub of the affairs of Privateer, or
 waiver or non-assertion by Tilray or Merger Sub of any condition or right hereunder, Tilray and Merger Sub shall have the right to rely fully upon the
 representations, warranties, covenants and agreements of the other parties contained in this Agreement and in any other Transaction Document;
 provided, that other than with respect to Fraud Claims, no Tilray Indemnified Party shall be required to show reliance thereon in order to be entitled to
 any right or remedy hereunder.


               (a) In the event Tilray becomes aware of a Claim or demand by another Person (other than the Stockholder Representative) (a “Third
 Party Claim”) that Tilray in good faith believes will result in an indemnification claim pursuant to this Section 1L the Tilray Indemnified Party shall
 deliver to the Stockholder Representative, as soon as practicable, but in any event within 30 Business Days of becoming aware of any facts or
 circumstances that would reasonably be expected to give rise to a claim for indemnification hereunder, written notice thereof, specifying, to the extent
 then known by the Tilray Indemnified Party, the amount of such claim and the nature and basis of such claim, including copies of all notices and
 documents received by file Tilray Indemnified Party relating to the Third Party Claim; provided, however, that no delay on the part of the Tilray
 Indemnified Party in notifying the Stockholder Representative shall relieve the Indemnifying Parties of any Liability hereunder, except to file extent that
 the defense of any third party Legal Proceeding has been prejudiced by the Tilray Indemnified Party’s failure to give such notice. Thereafter, the Tilray
 Indemnified Party shall keep the Indemnifying Party informed on a current basis as to any changes or developments with respect to the foregoing,
 including by providing copies of all material notices and material documents (including court papers) from time to time received by the Tilray
 Indemnified Party from a third party relating to the Third Party Claim.
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                (b) If a Third Party Claim is made against an Tilray Indemnified Party, Tilray shall, on behalf of the Tilray Indemnified Parties, have the
 right in its sole discretion to conduct the defense of, and to settle or otherwise resolve, any such Third Party Claim, and for clarity, to be indemnified,
 reimbursed, and compensated for its costs and expenses in connection with any such Third Party Claim, pursuant to and as set forth in Section 11.2 and
 the Securityholders5 Representative shall be entitled on behalf of the Indemnifying Parties, at their expense, to participate in, but not to determine or
 conduct the defense of such Third Party Claim. The Tilray Indemnified Party shall seek the prior written consent of the Stockholder Representative on
 behalf of the Indemnifying Parties with respect to any settlement of a Third Party Claim, which consent shall not be unreasonably withheld, conditioned
 or delayed; provided, however, that with respect to any Pending Claim, the Stockholder Representative may withhold its prior written consent to any
 settlement in its sole discretion and the Tilray Indemnified Party shall not be pennitted to settle any Pending Claim without the prior written consent of
 the Stockholder Representative. The written consent of the Indemnifying Parties with respect to any settlement or other resolution of any Third Party
 Claim (other than with respect to any Pending Claim) shall be deemed to have been given unless the Stockholder Representative shall have objected
 within 10 Business Days after a written request for such consent by the Tilray Indemnified Party. In the event that the Indemnifying Parties have
 consented to any such settlement or other resolution of a Third Party Claim (or in the event such consent has been unreasonably withheld, conditioned or
 delayed with respect to a Third Party Claim other than a Pending Claim), the amount of any such settlement shall be dispositive of the existence of an
 indemnifiable claim hereunder and the amount of Losses attributable to such claim (plus (i) any reasonable out of pocket fees, costs and expenses of
 counsel and other professionals and reasonable out of pocket expenses of investigation incurred by the Tilray Indemnified Parties that are not addressed
 by any such settlement or resolution and (ii) any Losses incurred by the Tilray Indemnified Parties with respect to equitable remedies or non-monetaiy
 obligations attributable to such Third Party Claim that are not addressed by any such settlement or resolution). If such written consent is not given
 (unless such consent was unreasonably withheld, conditioned or delayed with respect to a Third Party Claim other than a Pending Claim, in which case
 the preceding sentence shall apply), the Tilray Indemnified Party may agree to any such settlement or compromise, and may make an indemnity claim
 therefor (including whether and to what extent the Tilray Indemnified Parly is entitled to indemnification, reimbursement, and compensation under this
 Agreement for such claim) subject to this Section 11: provided, however, that any such settlement or compromise effected without die written consent of
 the Stockholder Representative shall not be dispositive of the existence of an indemnifiable claim hereunder or the amount of Losses attributable to any
 such claim; provided further, however, that in no event shall a Tilray Indemnified Party be permitted to agree to any settlement or compromise of a
 Pending Claim without the prior written consent of the Stockholder Representative, which may be withheld in the Stockholder Representative’s sole
 discretion. Notwithstanding the foregoing, the Tilray Indemnified Party shall not, without the Stockholder Representative’s consent on behalf of the
 Indemnifying Parties (which consent shall not be unreasonably withheld, conditioned or delayed with respect to a Third Party Claim other than a
 Pending Claim), settle, discharge or compromise any Third Party Claim or consent to the entry of any judgment if such settlement, discharge or
 compromise that (A) involves any finding or admission of any violation of applicable Law on behalf of the Indemnifying Parties or any of its Affiliates
 or any of their respective Representatives, (B) does not cause each Indemnifying Party that is party to such Third Party Claim to be fully and
 unconditionally released from all Liability with respect to such claim, or (C) imposes equitable remedies or material non-monetary obligations on the
 Indemnifying Party.
               (c) With re spect to the Pending Claims, after the Effective Time, the Tilray Indemnified Parties may engage any counsel of their choosing,
 subject to their sole discretion, provided that the Tilray Indemnified Parties shall reasonably consult with the existing litigation counsel previously
 engaged by Privateer.
       11.5 Procedures for Inter^Party Claims. In the event that a Tilray Indemnified Party determines to make a claim for Losses against any
 Indemnifying Parties hereunder (other than as a result of a Third Part)' Claim), the Tilray Indemnified Part)' shall give prompt written notice thereof to
 the Stockholder Representative specifying the amount of such claim and the nature and basis of the alleged breach giving rise to such claim; provided,
 however, that no delay on the part of the Tilray Indemnified Party in notifying the Stockholder Representative shall relieve the Indemnifying Parties of
 any Liability hereunder, except to the extent that the Stockholder Representative has been prejudiced by the Tilray Indemnified Party’s failure to give
 such notice. Tie Tilray
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 Indemnified Party shall provide the Indemnifying Party with reasonable access to its books and records during normal business hours upon reasonable
 advance notice solely for the purpose of allowing the Indemnifying Party a reasonable opportunity to verify any such claim for Losses. The Stockholder
 Representative shall notify the Tilray Indemnified Party within 30 calendar days following its receipt of such notice if the Indemnifying Parties dispute
 Liability to the Tilray Indemnified Party under this Section II. If the Stockholder Representative does not so notify the Tilray Indemnified Part)', the
 claim specified by the Tilray Indemnified Party in such notice shall be conclusively deemed to be a Loss of the Indemnifying Parties under this
 Section 11. and in the case of any notice in which the amount of the claim (or any portion of the claim) has been finally determined, the Stockholder
 Representative and Tilray shall jointly instruct the Escrow Agent to deliver to Tilray, on behalf of the Tilray Indemnified Parties, the Released Shares,
 or, in the case of any notice in which the amount of the claim (or any portion of the claim) is estimated, the Released Shares as calculated on such later
 date when the amount of such claim (or such portion of such claim) becomes finally determined. If the Stockholder Representative has timely disputed
 Liability with respect to such claim as provided above, the Indemnifying Party and Tilray shall negotiate in good faith to resolve such dispute. Promptly
 following the final determination of the amount of the Losses which the Tilray Indemnified Party has suffered (whether determined in accordance with
 this Section 11.4(b) or by a court of competent jurisdiction pursuant to Section 12.4). the Stockholder Representative and the Tilray shall jointly instruct
 the Escrow Agent to deliver to Tilray, on behalf of the Tilray Indemnified Parties, the Released Shares.

        11.6 Exclusive Remedy. This Section 11 shall be the sole and exclusive remedy of the Tilray Indemnified Parties from and after the Closing Date
 for any claims arising under this Agreement; provided, however, that the foregoing shall not limit the right of any Tilray Indemnified Party to injunctive
 relief pursuant to equitable Law or any other equitable remedy, any rights under Section 12.9 hereto, or any right or remedy arising by reason of any
 Fraud Claim. The obligations of the Indemnifying Parties under this Section 11 shall not be reduced, offset, eliminated or subject to contribution by
 reason of any action or inaction by Privateer that contributed to any inaccuracy or breach giving rise to such obligation, it being understood that the
 Indemnifying Parties, not Privateer, shall have the sole obligation for the indemnification, compensation and reimbursement obligations under this
 Section 11.

        11.7 Release of Escrow. On the 18-month anniversary of the Closing Date (such later date being the “Escrow Release Date”), the Escrow Agent
 shall release to the Exchange Agent for issuance to each Privateer Stockholder in accordance with such holder’s Escrow Allocation, the number of
 Escrow Shares equal to (a) the Escrow Shares on the Escrow Release Date minus (b) the quotient of (i) the maximum amount of all Losses for which
 any Tilray Indemnified Party has timely made a claim for indemnification that has not been finally determined and fully satisfied by Released Shares in
 accordance with this Section 11. and (ii) the Tilray Trailing Price on the Escrow Release Date. In the event any portion of the Escrow Shares are not
 released on the Escrow Release Date as a result of the reduction in respect of the foregoing sentence, following the final determination of any of such
 outstanding claims and, as applicable, release of Released Shares in full satisfaction of all outstanding indemnity claims in accordance with and subject
 to the terms and conditions of this Section 11. the Stockholder Representative shall be entitled to, and Tilray shall promptly and in any event within two
 Business Days of such final determination and full satisfaction of all outstanding indemnity claims, direct the Escrow Agent to release to the unreleased
 number of Escrow Shares to the Exchange Agent for issuance to each Privateer Stockholder in accordance with such holder’s Escrow Allocation.

 12.   MISCELLANEOUS PROVISIONS

       12.1 Amendment. This Agreement may be amended with the approval of the respective boards of directors or other governing bodies of
 Privateer, Merger Sub, and Tilray at any time (whether before or after obtaining the Required Privateer Stockholder Vote or the Required Tilray
 Stockholder Vote); provided, however, that after any such approval of this Agreement by a Party’s stockholders, no amendment shall be made without
 the further approval of such stockholders if the further approval of such stockholders is required by Law. This Agreement may not be amended except
 by an instrument in writing signed on behalf of each of Privateer, Merger Sub and Tilray.
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       12.2 Waiver.
                (a) No failure on the part of any Party to exercise any power, right, privilege or remedy under this Agreement, and no delay on the part of
 any Party in exercising any power, right, privilege or remedy under this Agreement, shall operate as a waiver of such power, right, privilege or remedy;
 and no single or partial exercise of any such power, right, privilege or remedy shall preclude any other or further exercise thereof or of any other power,
 right, privilege or remedy.

               (b) No Party shall be deemed to have waived any claim arising out of this Agreement, or any power, right, privilege or remedy under this
 Agreement, unless the waiver of such claim, power, right, privilege or remedy is expressly set forth in a written instrument duly executed and delivered
 on behalf of such Party and any such waiver shall not be applicable or have any effect except in the specific instance in which it is given.

              (c) No extension or waiver by Tilray or Merger Sub shall require the approval of the stockholders of Tilray unless such approval is
 required by Law, and no extension or waiver by Privateer shall require the approval of the Privateer Stockholders unless such approval is required by
 Law.

        12.3 Entire Agreement: Counterparts; Exchanges by Electronic Transmission. This Agreement, together with the Transaction Documents,
 constitute the entire agreement and supersede all prior agreements and understandings, both written and oral, among or between any of the Parties with
 respect to the subject matter hereof and thereof. This Agreement may be executed in several counterparts, each of which shall be deemed an original and
 all of which shall constitute one and the same instrument. The exchange of a fully executed Agreement (in counterparts or otherwise) by all Parties by
 electronic transmission in .PDF format shall be sufficient to bind the Parties to the terms and conditions of this Agreement.

        12.4 Applicable Law; Jurisdiction. This Agreement shall be governed by, and construed in accordance with, the Laws of the State of Delaware,
 regardless of the Laws that might otherwise govern under applicable principles of conflicts of laws. In any action or proceeding between any of the
 Parties arising out of or relating to this Agreement or any of the Contemplated Transactions, each of the Parties: (a) irrevocably and unconditionally
 consents and submits to the exclusive jurisdiction and venue of the Court of Chancery of the State of Delaware or, to the extent such court does not have
 subject matter jurisdiction, the United States District Court for the District of Delaware or, to the extent that neither of the foregoing courts has
 jurisdiction, the Superior Court of the State of Delaware; (b) agrees that all claims in respect of such action or proceeding shall be heard and determined
 exclusively in accordance with clause (a) of this Section 12.4: (c) waives any ob jection to laying venue in any such action or proceeding in such courts;
 (d) waives any objection that such courts are an inconvenient forum or do not have jurisdiction over any Party; (e) agrees that service of process upon
 such Party in any such action or proceeding shall be effective if notice is given in accordance with Section 12.7 of this Agreement; and (f) irrevocably
 and unconditionally waives the right to trial by jury.

        12.5 Attorneys’ Fees. In any action at law or suit in equity to enforce this Agreement or the rights of any of the Parties, the prevailing Party in
 such action or suit (as determined by a court of competent jurisdiction) shall be entitled to recover its reasonable out-of-pocket attorneys’ fees and all
 other reasonable costs and expenses incurred in such action or suit.

       12.6 Assignability. This Agreement shall be binding upon, and shall be enforceable by and inure solely to the benefit of, the Parties and their
 respective successors and permitted assigns; pmvided, however, that neither this Agreement nor any of a Party’s rights or obligations hereunder may be
 assigned or delegated by such Party without the prior written consent of the other Parties, and any attempted assignment or delegation of this Agreement
 or any of such rights or obligations by such Party without the other Parties’ prior written consent shall be void and of no effect.
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       12.7 Notices. All notices and other communications hereunder shall be in writing and shall be deemed to have been duly delivered and received
 hereunder (a) one Business Day after being sent for next Business Day delivery, fees prepaid, via a reputable international overnight courier service,
 (b) upon delivery if delivered by hand, or (c) on the date delivered in the place of delivery if sent by email (with a written or electronic confirmation of
 delivery) prior to 5:00 p.m. Pacific time, otherwise on the next succeeding Business Day, in each case to the intended recipient as set forth below:

       if to Tilray or Merger Sub:
                      Tilray, Inc.
                      1100 Maughan Road
                      Nanaimo, BC, Canada, V9XIJ2
                      Attention: Dara Redler, General Counsel; Maryscott Greenwood, Chair of the Special Committee of the Board
                      Email: scotty.greenwood@tilray.com

       with a copy to (which shall not constitute notice):
                      Paul Hastings LLP
                      200 Park Avenue
                      New York, NY 10166
                      Attention: Luke P. lovine, III. Jason Rabbitt-Tomita. Erik J. Lindemann
                      Email: lukeiovine@paulhastings.com, jasontomita@paulhastings.com, eriklindemann@paulhastings.com

       if to Privateer:
                      Privateer Holdings, Inc.
                      2701 Eastlake Avenue E., 3rd Floor
                      Seattle, WA 98102
                      Attention: Michael Blue, Managing Director
                      Email: michael.blue@privateerholdings.com

       with a copy to (which shall not constitute notice):
                      Cooley LLP
                      1700 7th Ave, Suite 1900
                      Seattle, WA 98101
                      Attention: John Robertson, Steve Tonsfeldt, Kassendra Galindo
                      Email: jrobertson@cooley.com, stonsfeldt@cooley.com, kgalindo@cooley.com

       if to the Stockholder Representative:
                      Michael Blue
                      2701 Eastlake Avenue E., 3rd Floor
                      Seattle, WA 98102
                      Attention: Michael Blue
                      Email: michaeLblue@privateerholdings.com

       with a copy to (which shall not constitute notice):
                      Cooley LLP
                      1700 7th Ave, Suite 1900
                      Seattle, WA 98101
                      Attention: John Robertson, Steve Tonsfeldt, Kassendra Galindo
                      Email: jrobertson@cooley.com, stonsfeldt@cooley.com, kgalindo@cooley.com
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        12.8 Severability. Any terni or provision of this Agreement that is invalid or unenforceable in any situation in any jurisdiction shall not affect the
 validity or enforceability of die remaining terms and provisions of this Agreement or the validity or enforceability of the offending term or provision in
 any other situation or in any other jurisdiction. If a final judgment of a court of competent jurisdiction declares that any term or provision of this
 Agreement is invalid or unenforceable, the Parties agree that the court making such determination shall have the power to limit such term or provision,
 to delete specific words or phrases or to replace such term or provision with a term or provision that is valid and enforceable and that comes closest to
 expressing the intention of the invalid or unenforceable term or provision, and this Agreement shall be valid and enforceable as so modified. In the event
 such court does not exercise the power granted to it in the prior sentence, the Parties agree to replace such invalid or unenforceable term or provision
 with a valid and enforceable term or provision that will achieve, to the extent possible, the economic, business and other purposes of such invalid or
 unenforceable term or provision.

        12.9 Other Remedies: Specific Performance. Except as otherwise provided herein, any and all remedies herein expressly conferred upon a Party
 will be deemed cumulative with and not exclusive of any other remedy conferred hereby, or by law or equity upon such Party, and the exercise by a
 Party of any one remedy will not preclude the exercise of any other remedy. The Parties agree that irreparable damage for which monetary damages,
 even if available, would not be an adequate remedy, would occur in the event that any Party does not perform the provisions of this Agreement
 (including failing to take such actions as are required of it hereunder to consummate this Agreement) in accordance with its specified terms or otherwise
 breaches such provisions. Accordingly, the Parties acknowledge and agree that the Parties shall be entitled to an injunction, specific performance and
 other equitable relief to prevent breaches of this Agreement and to enforce specifically the terms and provisions hereof, in addition to any other remedy
 to which they are entitled at law or in equity and prior to the valid exercise of any termination right by the Parties in accordance with Section 9.1. Each
 of the Parties agrees that it will not oppose the granting of an injunction, specific performance or other equitable relief on the basis that any other Party
 has an adequate remedy at law or that any award of specific performance is not an appropriate remedy for any reason at law or in equity. Any Party
 seeking an injunction or injunctions to prevent breaches of this Agreement and to enforce specifically the terms of this Agreement shall not be required
 to provide any bond or other security in connection with any such order or injunction.

        12.10 No Third Party Beneficiaries. Nothing in this Agreement, express or implied, is intended to or shall confer upon any Person (other than
 the Parties, the Tilray Indemnified Parties to the extent of their respective rights pursuant to Section 11.2. and the D&O Indemnified Parties to the extent
 of their respective rights pursuant to Section 5.61 any right, benefit or remedy of any nature whatsoever under or by reason of this Agreement.

       12.11 Expenses. Except as otherwise provided herein, all fees and expenses incurred in connection with this Agreement and the Contemplated
 Transactions shall be paid by the Party incurring such expenses, whether or not the Merger is consummated, except that Tilray will be responsible for up
 to $1,000,000 of Privateer Transaction Expenses that are unpaid as of the Effective Time.

       12.12 Acknowledgement: Waiver of Conflicts: Retention of Privilege.
               (a) Each of the Parties hereto acknowledges and agrees that Cooley has acted as counsel to Privateer in various matters involving a range
 of issues and as counsel to Privateer in connection with the negotiation of this Agreement and consummation of the Contemplated Transactions.

                (b) In connection with any matter or dispute under this Agreement, each of Tilray and Merger Sub hereby irrevocably waives and agrees
 not to assert, and agrees to cause the Surviving Company following the Closing to irrevocably waive and not to assert, any conflict of interest arising
 from or in connection with (i) Cooley’s prior representation of Privateer and (ii) Cooley’s representation of the Stockholder Representative and/or any of
 the Securityholders (collectively, the '"Protected Parties?') prior to and after the Closing.
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                (c) Each of Tilray and Merger Sub further agrees, on behalf of itself and, after the Closing, on behalf of the Surviving Company, that all
 communications in any form or format whatsoever between or among any of Cooley, any of the Protected Parties, or any of their respective
 Representatives that relate in any way to the negotiation, documentation and consummation of the Contemplated Transactions or, beginning on the date
 of this Agreement, any dispute arising under this Agreement (collectively, the “Deal Communications''") shall be deemed to be retained and owned
 collectively by the Protected Parties, shall be controlled by the Stockholder Representative on behalf of the Protected Parties and shall not pass to or be
 claimed by Tilray or Merger Sub or, following the Closing, the Surviving Company. All Deal Communications that are subject to the attorney-client
 privilege (the “Privileged Deal Communications”) shall remain privileged after the Closing and the privilege and the expectation of client confidence
 relating thereto shall belong solely to the Stockholder Representative and the Protected Parties, shall be controlled by the Stockholder Representative on
 behalf of the Protected Parties, and shall not pass to or be claimed by any of Tilray, Merger Sub or, following the Closing, die Surviving Company;
 provided, further, that nothing contained herein shall be deemed to be a waiver by any of Tilray, Merger Sub or any of their respective Affiliates
 (including, after the Closing, the Surviving Company and its Affiliates) of any applicable privileges or protections that can or may be asserted to prevent
 disclosure of any such communications to any third party.

               (d) Notwithstanding the foregoing, in the event that a dispute arises between Tilray and Merger Sub or, after the Closing, the Surviving
 Company, on the one hand, and a third party other than the Stockholder Representative or die Securityholders, on the other hand, Tilray and Merger Sub
 or, following the Closing, the Surviving Company, may assert the attorney-client privilege to prevent the disclosure of the Privileged Deal
 Communications to such third party; provided, however, that neither Tilray or Merger Sub, nor, following the Closing, the Surviving Company may
 waive such privilege without the prior written consent of the Stockholder Representative (such consent not to be unreasonably withheld, conditioned, or
 delayed). In the event that Tilray or Merger Sub or, following die Closing, any Protected Party is legally required by order of a Governmental Body to
 access or obtain a copy of all or a portion of the Privileged Deal Communications, Tilray shall immediately (and, in any event, within five Business
 Days) notify the Stockholder Representative in writing (including by making specific reference to this Section 12.12(d)) so that the Stockholder
 Representative can seek a protective order and Tilray agrees to use all commercially reasonable efforts to assist therewith.

              (e) To the extent that Privileged Deal Communications maintained by Cooley constitute property of its clients, only the Stockholder
 Representative and the Protected Parties shall hold such property rights and Cooley shall have no duty to reveal or disclose any such Privileged Deal
 Communications by reason of any attorney-client relationship between Cooley, on the one hand, and Privateer, on the other hand so long as such
 Privileged Deal Communications would be subject to a privilege or protection if they were being requested in a proceeding by an unrelated third part)'.

               (f) Each of Tilray and Merger Sub agrees on behalf of itself and, following the Closing, the Surviving Company, to the extent that Tilray or
 Merger Sub or, after the Closing, the Surviving Company, receives or takes physical possession of any Privileged Deal Communications, such physical
 possession or receipt shall not, in any way, be deemed a waiver by any of the Protected Parties or any other Person, of the privileges or protections
 described in this Section 12.12. and neither Tilray or Merger Sub nor, following the Closing, the Surviving Company shall (i) assert any claim that any
 of the Protected Parties or any other Person waived the attorney-client privilege, attorney work-product protection or any other right or expectation of
 client confidence applicable to any Privileged Deal Communications, or (ii) seek to obtain the Privileged Deal Communications from Cooley so long as
 such Privileged Deal Communications would be subject to a privilege or protection if they were being requested in a proceeding by an unrelated third
 party.

       12.13 Construction.
               (a) References to '‘cash,” '‘dollars” or   are to U.S. dollars.
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               (b) For purposes of this Agreement, whenever the context requires: the singular number shall include the plural, and vice versa; the
 masculine gender shall include the feminine and neuter genders; the feminine gender shall include the masculine and neuter genders; and the neuter
 gender shall include masculine and feminine genders.

               (c) The Parties have participated jointly in the negotiating and drafting of this Agreement and agree that any rule of construction to the
 effect that ambiguities are to be resolved against the drafting Party shall not be applied in the construction or interpretation of this Agreement, and no
 presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the authorship of any provision of this Agreement

               (d) As used in this Agreement, the words “include” and “including,” and variations thereof, shall not be deemed to be terms of limitation,
 but rather shall be deemed to be followed by the words “without limitation.”

               (e) Except as otherwise indicated, all references in this Agreement to “Sections,” “Exhibits” and “Schedules” are intended to refer to
 Sections of this Agreement and Exhibits and Schedules to this Agreement, respectively.

                (f) Any reference to legislation or to any provision of any legislation shall include any modification, amendment, re-enactment thereof, any
 legislative provision substituted therefore and all rules, regulations, and statutory instruments issued or related to such legislations.

                (g) The bold-faced headings and table of contents contained in this Agreement are for convenience of reference only, shall not be deemed
 to be a part of this Agreement, and shall not be referred to in connection with the construction or interpretation of this Agreement.

               (h) The Parties agree that each of the Privateer Disclosure Letter and the Tllray Disclosure Letter shall be arranged in sections and
 subsections corresponding to the numbered and lettered sections and subsections contained in this Agreement. The disclosures in any section or
 subsection of the Privateer Disclosure Letter or the Tilray Disclosure Letter shall qualify other sections and subsections in this Agreement to the extent it
 is readily apparent on its face from a reading of the disclosure that such disclosure is applicable to such other sections and subsections.

               (i) Each of “delivered” or “made available” means, with respect to any documentation, that prior to 11:59 p.m. (Pacific time) on the date
 that is two Business Days prior to the date of this Agreement (i) a copy of such material has been posted to and made available by a Party to the other
 Parties and their Representatives in the electronic data room maintained by such disclosing Party or (ii) such material is disclosed in the Tilray SEC
 Documents filed with the SEC prior to the date hereof and publicly made available on the SEC’s Electronic Data Gathering Analysis and Retrieval
 system.

               (j) Whenever the last day for the exercise of any privilege or the discharge of any duty hereunder shall fall upon a Saturday, Sunday, or any
 date on which banks in New York, New York are authorized or obligated by Law to be closed, the Party having such privilege or duty may exercise such
 privilege or discharge such duty on the next regular Business Day.

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       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of the date first above written.

                                                                                      TILRAY, INC.

                                                                                      By:    Is/ Mark Castaneda
                                                                                      Name: Mark Castaneda
                                                                                      Title: Chief Financial Officer

                                      [Signature Page to Agreement and Plan ofMerger and Reorganization]




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       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of the date first above written.

                                                                                      DOWN RIVER MERGER SUB, LLC

                                                                                      By:    /s/ Mark Castaneda
                                                                                      Name: Mark Castaneda
                                                                                      Title: Authorized Person

                                      [Signature Page to Agreement and Plan ofMerger and Reoiganization]




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       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of the date first above written.

                                                                                      PRIVATEER HOLDINGS, INC.

                                                                                      By: /s/ Michael Blue
                                                                                      Name: Michael Blue
                                                                                      Title: President and Managing Partner

                                      [Signature Page to Agreement and Plan ofMerger and Reorganization]




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       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of the date first above written*

                                                                                      STOCKHOLDER REPRESENTATIVE

                                                                                      By: /s/ Michael Blue
                                                                                      Name: Michael Blue

                                      [Signature Page to Agreement and Plan ofMerger and Reoiganization]




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                                                                        EXHIBIT A

                                                                CERTAIN DEFINITIONS

 For purposes of this Agreement (including this Exhibit A):

               “Acquisition Inquiry” means, with respect to a Party, an inquiry, indication of interest or request for information (other than an inquiry,
 indication of interest or request for information made or submitted by the other Party to such Party) that would reasonably be expected to lead to an
 Acquisition Proposal.

              “Acquisition Proposal* means, with respect to a Party, any offer or proposal, whether written or oral (other than an offer or proposal made
 or submitted by or on behalf of the other Party or any of its Affiliates to such Party) contemplating or otherwise relating to any Acquisition Transaction
 with such Party.

               “Acquisition Transaction” means any transaction or series of related transactions involving:

               (i) any meiger, consolidation, amalgamation, share exchange, business combination, issuance of securities, acquisition of securities,
 reorganization, recapitalization, tender offer, exchange offer or other similar transaction: (A) in which a Party is a constituent Entity; (B) in which a
 Person or “group” (as defined in the Exchange Act and the rules promulgated thereunder) of Persons directly or indirectly acquires beneficial or record
 ownership of securities representing more than 20% of the outstanding securities of any class of voting securities of a Party or any of its Subsidiaries; or
 (C) in which a Party or any of its Subsidiaries issues securities representing more than 20% of the outstanding securities of any class of voting securities
 of such Party or any of its Subsidiaries; or

             (ii) any sale, lease, exchange, transfer, license, acquisition or disposition of any business or businesses or assets that constitute or account
 for 20% or more of the consolidated book value or the fair market value of the assets of a Party and its Subsidiaries, taken as a whole.

              “Affiliate” of a Person means any other Person that directly or indirectly, through one or more intermediaries, controls, is controlled by, or
 is under common control with, such Person. The term “control” (including the terms “controlled by” and “under common control with”) means the
 possession, directly or indirectly, of the power to direct or cause the direction of the management and policies of a Person, whether through the
 ownership of voting securities, by Contract or othenvise.

              “Aggregate Cash Option Consideration” means (i) the Cash Meiger Consideration, multiplied by (ii) the quotient of the (A) Privateer
 Service Provider Options, divided by (B) the Privateer Exchange Shares.

               “Aggregate Exercise Price” means the aggregate exercise price of all In-the-Money Options.

               “Aggregate In-the-Money Option Value” means (i) the product of (A) the Option FMV, multiplied by (B) all In-the-Money Options, Jess
 (ii) the Aggregate Exercise Price.

              “Business Day” means any day other than a Saturday, Sunday or other day on which banks in New York, New York are authorized or
 obligated by Law to be closed.

               “Cash Consideration Shares” means a number of shares of Tilray Class 2 Common Stock equal to the sum of (i) the Stock Cash
 Consideration Shares, p/ws (ii) the Option Cash Consideration Shares. For purposes of determining the Cash Consideration Shares, the number of shares
 of Tilray Class 2 Common Stock shall be rounded down to the nearest whole share. The calculation of the Cash Consideration Shares shall be set forth
 in the Allocation Certificate.
                                                                             A-1




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               “Cash-Out Options Allocation” means the allocation of the Individual Option Cash Consideration, with respect to each grant of
 In-the-Money Options (with the grants of In-the-Money Options with the lowest exercise price being allocated the Individual Option Cash
 Consideration and cashed out and cancelled first, in ascending order by exercise price until all of the Individual Option Cash Consideration is
 exhausted), the aggregate number of In-the-Money Options, per grant, equal to the lesser of (i) the total number of options in that grant to which a
 portion of Individual Option Cash Consideration has not yet been allocated and (ii) the quotient of (A) the Individual Option Cash Consideration payable
 to that Optionholder and not yet allocated, divided by (B) the Option FMV less the applicable exercise price for such grant. For purposes of determining
 the Cash-Out Options Allocation, the number of shares of In-the-Money Options to be cancelled with respect to each grant shall be rounded down to the
 nearest whole share.

              “Claim” mans threatened or actual claim, action, suit, proceeding or investigation, whether civil, criminal or administrative.

               “Code” means the Internal Revenue Code of 1986, as amended.

              “Consent' means any approval, consent, ratification, permission, waiver or authorization (including any Governmental Authorization).

             “Contemplated Transactions” means the Merger, the Preferred Stock Conversion and the other transactions and actions contemplated by
 this Agreement.

              “Contract' means, with respect to any Person, any written or oral agreement, contract, subcontract, lease (whether for real or personal
 property), mortgage, license, sublicense or other legally binding commitment or undertaking of any nature to which such Person is a party or by which
 such Person or any of its assets are bound or affected under applicable Law.

                “D&O Matter” means any Claim by or on behalf of any securityholders Privateer, or any Subsidiaiy of Privateer, or by or in the right of
 Privateer, or any Subsidiary of Privateer, pertaining to (i) the fact that he or she is or was an officer or director of Privateer, or any Subsidiary of
 Privateer, or any action or omission or alleged action or omission by such Person in his or her capacity as an officer or director, or (ii) this Agreement,
 any other Transaction Document or the Contemplated Transactions, whether in any case asserted or arising before or after the Effective Time.

               “DGCL” means the General Corporation Law of the State of Delaware.

               “Dissenter Costs” means the amount if any, by which (i) the amount paid as a result of holders of Dissenting Shares having perfected (and
 not waived, withdrawn or otherwise lost) their rights pursuant to the DGCL exceeds (ii) the consideration that would have been paid to such holders
 pursuant to the terms of this Agreement with respect to such Dissenting Shares if no demand for appraisal or dissenters* rights had been made by the
 holders of such Dissenting Shares.

               “DLLCA” means the Limited Liability Company Act of the State of Delaware.

               “Dockiight Letter Agreement' means the letter agreement by and between Docklight Brands Inc. (and any successor or assignee) and
 Tilray

               “Effect' means any effect, change, event, circumstance, or development.

               “Encumbrance” means any lien, pledge, hypothecation, charge, mortgage, security interest, lease, license, option, easement, reservation,
 servitude, adverse title, claim, infringement, interference, option, right of first refusal, preemptive right, community property interest or restriction or
 encumbrance of any nature
                                                                             A-2




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 (including any restriction on the voting of any security, any restriction on the transfer of any security or other asset, any restriction on the receipt of any
 income derived from any asset, any restriction on the use of any asset and any restriction on the possession, exercise or transfer of any other attribute of
 ownership of any asset), and “Encumber” shall have corresponding meaning.

              “Enforceability Exceptions” means the (i) Laws of general application relating to bankruptcy, insolvency and the relief of debtors; and
 (ii) Law governing specific performance, injunctive relief and other equitable remedies.

               “Entity” means any corporation (including any non-profit corporation), partnership (including any general partnership, limited partnership
 or limited liability partnership), joint venture, estate, trust, company (including any company limited by shares, limited liability company or joint stock
 company), firm, society or other enterprise, association, organization or entity, and each of its successors.

               “Environmental Law” means any federal, state, local or foreign Law relating to pollution or protection of human health or the
 environment (including ambient air, surface water, ground water, land surface or subsurface strata), including any Law or regulation relating to
 emissions, discharges, releases or threatened releases of Hazardous Materials, or otherwise relating to the manufacture, processing, distribution, use,
 treatment, storage, disposal, transport or handling of Hazardous Materials.

               “Equity Interest' means any share, capital stock, partnership, member or similar interest in any Entity, and any subscription, option, call,
 warrant, right, security instrument (including debt securities) or obligation or any other security, either current!)' or otherwise convertible, exchangeable
 or exercisable into such.

               “Equityholder Matter” means any Claim by or on behalf of any current or former securityholder of Privateer or any Subsidiary of
 Privateer, or any other Person, asserting, alleging or seeking to assert rights or remedies relating to Equity Interests of Privateer or any Subsidiary of
 Privateer, including any Claim asserted, based upon or related to (a) the Privateer Stockholder Written Consent or the Required Privateer Stockholder
 Vote, (b) the ownership or rights to ownership of any Equity Interests of Privateer or any Subsidiary of Privateer, or (c) any rights of a securityholder of
 Privateer or any of its Subsidiaries, including any rights to Equity Interests, preemptive rights or rights to notice or to vote Equity Interests, and any
 other claim by any current or former securityholder of Privateer or any Subsidiary of the Privateer relating to this Agreement, the Transaction
 Documents, any of the Contemplated Transactions.

               “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

               “Escrow Agent' means Citibank, N.A., or another third party escrow agent to be mutually agreed by Tilray and Privateer.

               “Escrow Allocation” means the following allocation of the Escrow Amount among the Privateer Stockholders (a) with respect to each
 Privateer Stockholder, a number of shares of Tilray Class 2 Common Stock equal to the product of (i) such Privateer Stockholder’s Pro Rata Portion,
 multiplied by (ii) the first one-half of the Escrow Amount (the “Stockholder Escrow Shares”) and (b) with respect to a Founder, a number of shares of
 Tilray Class 2 Common Stock equal to the product of (i) the applicable Founder Pro Rata Portion, multiplied by (ii) the remaining one-half of the
 Escrow Amount (the “Founder Escrow Shares”).

              “Escrow Amount' means a number of shares of Tilray Class 2 Common Stock equal to the quotient o/(a) $125,000,000, divided by (b) the
 Tilray Closing Price. For purposes of determining the Escrow Amount, the number of shares of Tilray Class 2 Common Stock shall be rounded down to
 the nearest whole share.

              “Escrow Shares” means, at any given time after Closing, the number of shares of Tilray Class 2 Common Stock then remaining in the
 account in which the Escrow Agent has deposited the Escrow Amount in accordance with the Escrow Agreement (as calculated in accordance with the
 Escrow Allocation).
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               “Exchange Acf' means the Securities Exchange Act of 1934.

               “FMV” means lower of (i) the Tilray Closing Price and (ii) the Offering Price.

               “Founder” means any of the following individuals and Entities: (a) Brendan Kennedy, (b) Michael Blue, (c) Christian Groh, (d) any
 Permitted Entity (as such term is defined in the Amended and Restated Privateer Charter) of any of the foregoing individuals and (e) any Permitted
 Transferee (as such term is defined in the Amended and Restated Privateer Charter) of any of the foregoing individuals or Pennitted Entities (as such
 term is defined in the Amended and Restated Privateer Charter).

              “Founder Pro Rata Portion” means, with respect to a Founder, a percentage equal to the quotient of (a) the Tilray Class 2 Common Stock
 Consideration Shares allocated to such Founder pursuant to Section 1.5(a)(iii) and in accordance with the Privateer Allocation, divided by (b) the Tilray
 Class 2 Common Stock Consideration Shares issued to all Founders, the calculation of which shall be set forth in the Allocation Certificate.

              “Founders Guarantee Agreement' means that the guarantee agreement by and among Tilray and each of the Founders.

                “Fraud' means an act in the making of a specific representation or warranty of Privateer expressly set forth in this Agreement or any other
 Transaction Document, committed by a Person making such express representation or warranty or their Affiliates or, with respect to any such
 representations and warranties of Privateer, any of the Privateer !s Subsidiaries, with reckless disregard for the accuracy of such representations and
 warranties or with the intent to deceive another Person, and to induce him, her or it to enter into the contract and requires (a) a false representation of
 material fact expressly set forth in the representations and warranties set forth in this Agreement or any other Transaction Document; (b) knowledge that
 such representation is false; (c) an intention to induce the Person to whom such representation was made or any of their Affiliates to act or refrain from
 acting in reliance upon it; (d) reliance upon which that Person suffers damages.

               “GAAP” means generally accepted accounting principles and practices in effect from time to time within the United States applied
 consistently throughout the period involved.

               “Governmental Authorization” means any: (a) permit, license, certificate, certification, franchise, permission, approval, exemption,
 variance, exception, order, clearance, registration, qualification or authorization issued, granted, given or otherwise made available by or under the
 authority of any Governmental Body or pursuant to any Law; or (b) right under any Contract with any Governmental Body.

               “Governmental Body” means any: (a) nation, state, commonwealth, province, territory, county, municipality, district or other jurisdiction
 of any nature; (b) federal, state, local, municipal, foreign or other government; (c) governmental or quasi-govemmental authority of any nature
 (including any governmental division, department agency, commission, bureau, instrumentality, official, ministry, fund, foundation, center,
 organization, unit, body or Entity and any court or other tribunal, and for the avoidance of doubt, any taxing authority); or (d) self-regulatory
 organization (including Nasdaq).

              “Hazardous Materials” means any pollutant chemical, substance and any toxic, infectious, carcinogenic, reactive, corrosive, ignitable or
 flammable chemical, or chemical compound, or hazardous substance, material or waste, whether solid, liquid or gas, that is subject to regulation, control
 or remediation under any Environmental Law, including without limitation, crude oil or any fraction thereof, and petroleum products or by-products.

              “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended.
                                                                            A-4




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               “Immediate Family Member” means with respect to any Person who serves as a director, executive officer, partner, member or in a similar
 capacity of such specified Person, means such Person’s spouse, parents, children and siblings, including adoptive relationships and relationships through
 marriage, or any other relative of such Person that shares such Person’s home (other than employees or tenants).

               “In-the-Money Options” means any Privateer Service Provider Option for which the applicable exercise price is less than the Option
 FMV.

               “Indebtedness” means the sum of the following, whether or not contingent or due and payable: (i) indebtedness of Privateer or any of its
 Subsidiaries for borrowed money, including convertible debt; (ii) obligations of Privateer or any of its Subsidiaries evidenced by bonds, debentures,
 notes or other similar instruments; (iii) obligations of Privateer or any of its Subsidiaries in respect of letters of credit or other similar instruments (or
 reimbursement agreements in respect thereof) or banker’s acceptances; (iv) obligations of Privateer or any of its Subsidiaries to pay the deferred and
 unpaid purchase price of property or services, which purchase price is due more than three (3) months after the date of placing such property in service
 or taking delivery thereof and title thereto or the completion of such services; (v) capitalized lease obligations of Privateer or any of its Subsidiaries;
 (vi) indebtedness of third parties which is either guaranteed by Privateer or any of its Subsidiaries or secured by an Encumbrance on the assets of
 Privateer or any of its Subsidiaries; (vii) any overdue accounts payable of Privateer or any of its Subsidiaries; (viii) any acceleration, termination fees,
 pre-payment fees, balloons or similar payments on any of the foregoing; and (ix) ail accrued interest on any of the foregoing.

             “Individual In-the-Money Option Value’' with respect to a holder of Privateer Service Provider Options, the product of (i) each
 In-the-Money Option held by such holder, multiplied by (ii) the Option FMV, less applicable exercise price for such grant.

              “Individual Option Cash Consideration” means (i) the Optionholder Cash Percentage, multiplied by (ii) the Aggregate Cash Option
 Consideration.

                “Intellectual Property Rights” means and includes all past, present, and ftiture rights of the following types, which may exist or be created
 under the Laws of any jurisdiction in the world: (i) rights associated with works of authorship, including exclusive exploitation rights, copyrights, moral
 rights, software, databases, and mask works; (ii) trademarks, service marks, trade dress, logos, trade names and other source identifiers, domain names
 and URLs and similar rights and any goodwill associated therewith; (iii) rights associated with trade secrets, know how, inventions, invention
 disclosures, methods, processes, protocols, specifications, techniques and other forms of technology; (iv) patents and industrial property rights; (v) other
 similar proprietary rights in intellectual property of eveiy kind and nature; (vi) rights of privacy and publicity; and (vii) all registrations, renewals,
 extensions, statutory invention registrations, provisionals, continuations, continuations-in-part, provisionals, divisions, or reissues of, and applications
 for, any of the rights referred to in clauses “(0” through “(vi)” above (whether or not in tangible form and including all tangible embodiments of any of
 the foregoing, such as samples, studies and summaries), along with all rights to prosecute and perfect the same through administrative prosecution,
 registration, recordation or other administrative proceeding, and all causes of action and rights to sue or seek other remedies arising from or relating to
 the foregoing.

               “IRS” means the United States Internal Revenue Service.

              “Knowledge” means, with respect to an individual, that such individual is actually aware of the relevant tact or such individual would
 reasonably be expected to know such fact in the ordinary course of the perfonnance of such individual’s employment responsibilities after reasonable
 inquiry. Any Person that is an Entity shall have Knowledge if any officer or director of such Person as of the date such knowledge is imputed has
 Knowledge of such fact or other matter.
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               “Law” means any federal, state, national, foreign, material local or municipal or other law, statute, constitution, principle of common law,
 resolution, ordinance, code, edict, decree, rule, order, regulation, ruling or requirement issued, enacted, adopted, promulgated, implemented or otherwise
 put into effect by or under the authority of any Governmental Body (including under the authority of Nasdaq or the Financial Industiy Regulatoiy
 Authority).

              “Legal Proceeding” means any claim, action, cause of action, suit, demand, tender of indemnity, litigation, arbitration, proceeding
 (including any civil, criminal, administrative, investigative or appellate proceeding), hearing, inquiry, audit, examination or investigation commenced,
 brought, conducted or heard by or before, or otherwise involving, any court or other Governmental Body or any arbitrator or arbitration panel.

               “Liability” means, with respect to any Person, any liability or obligation of such Person of any kind, character or description, whether
 known or unknown, absolute or contingent, accrued or unaccrued, liquidated or unliquidated, secured or unsecured, joint or several, due or to become
 due, vested or unvested, executory, determined, determinable or otherwise and whether or not the same is required to be accrued on the financial
 statements of such Person.

               “Lock-up Provisions” means the terms and provisions set forth in the Form of Stockholder Lock-up Agreement attached hereto as Exhibit
 C (as well as any Lock-up Agreement entered into by any Privateer Stockholder).

            “Nasdaq” means the Nasdaq Stock Market, including the Nasdaq Global Select Market or such other Nasdaq market on which shares of
 Tilray Common Stock are then listed.

                “Offering"' means an underwritten, at-the market offering, or other registered public offering of Tilray Common Stock or other offering of
 Tilray securities consummated by Tilray prior to the Closing.

                “Offering Price"'’ means the weighted-average price associated with each identifiable portion of funds designated for Cash Meiger
 Consideration as follows: (i) in the case of an underwritten public offering, the public offering price of a share of Tilray Class 2 Common Stock in such
 offering, less any underwriting discounts, commissions or other compensation, (ii) in the case of an at-the-market offering, the weighted-average price
 per share of Tilray Class 2 Common Stock sold in such offerings, less any discounts, commissions or other compensation and (iii) in the case in which
 Tilray uses cash from any other offering of Tilray securities to be allocated as Cash Merger Consideration, the net sale price of a share of Tilray Class 2
 Common Stock (after taking into account discounts, commissions or other compensation).

               “Option Cash Consideration Shares” means the product of (i) the Total Cash-Out Options, multiplied by (ii) the Option Exchange Ratio.

                “Option Exchange Ratio” means the following ratio: the quotient of (i) the Total Merger Consideration less the Escrow Amount, divided
 by (ii) the Privateer Exchange Shares.

               “Option FMV' means (i) the FMV, multiplied by (ii) the Option Exchange Ratio.

              “Option Merger Consideration” means a number of shares of Tilray Class 2 Common Stock equal to (i) the product of (A) the Privateer
 Service Provider Options, multiplied by (B) the Option Exchange Ratio, less (ii) the Option Cash Consideration Shares.

             “Optionholder *s Cash Percentage” means the quotient of (i) the Individual In-the-Money Option Value, divided by (ii) the Aggregate
 In-the-Money Option Value.


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               “Ordinary Course of Business'' means, with respect to any Entity, such actions taken in the ordinary course of its normal operations and
 consistent with its past practices; provided* however* that for the avoidance of doubt. Ordinary Course of Business shall exclude any breach of Contract
 or violation of applicable Law.

               “Organizational Documents" means, with respect to any Person (other than an individual), (i) the certificate or articles of association or
 incorporation or organization or limited partnership or limited liability company, and any joint venture, limited liability company, operating or
 partnership agreement and other similar documents adopted or filed in connection with the creation, formation or organization of such Person and (ii) all
 bylaws, regulations and similar documents or agreements relating to the organization or governance of such Person, in each case, as amended or
 supplemented.

               “Party" or “Parties" means Privateer and the Stockholder Representative, on the one hand, and Tilray and Merger Sub, on the other hand.

               “Pending Claim" means the matters set forth on Schedule B.

                “Permitted Encumbrance" means: (i) any liens for current Taxes not yet due and payable or for Taxes that are being contested in good
 faith and for which adequate reserves have been made on Privateer Unaudited Interim Balance Sheet; (ii) minor liens that have arisen in the Ordinary
 Course of Business and that do not (in any case or in the aggregate) materially detract from the value of the assets or properties subject thereto or
 materially impair the operations of Privateer or any of its Subsidiaries; (iii) statutory liens to secure obligations to landlords, lessors or renters under
 leases or rental agreements; (iv) deposits or pledges made in connection with, or to secure payment of, workers’ compensation, unemployment insurance
 or similar programs mandated by Law; (v) non-exclusive licenses of Intellectual Property Rights granted by Privateer or any of its Subsidiaries, in the
 Ordinary Course of Business and that do not (in any case or in the aggregate) materially detract from the value of the Intellectual Property Rights subject
 thereto; and (vi) statutoiy liens in favor of carriers, warehousemen, mechanics and materialmen, to secure claims for labor, materials or supplies.

               “Person" means any individual, Entity or Governmental Body.

              “Pre-Closing Liabilities" means any and all Liabilities of Privateer or any of its Subsidiaries arising out of or imposed upon or incurred by
 any Person as a result of any action, omission, fact or circumstance existing or occurring prior to the Effective Time. For clarity, Pre-Closing Liabilities
 includes Pre-Closing Taxes.

               “Pre-Closing Tax Period' means any Tax period ending on or prior to the Closing Date.

              “Pre-Closing Taxes" means (i) any and all Liability for Taxes of Privateer or any of its Subsidiaries for any Pre-Closing Tax Period or the
 portion of any Straddle Period ending on the Closing Date, (ii) any and all Liability for Taxes of any Person (A) as a result of Treasury Regulation
 Section 1.1502-6 or any analogous or similar state, local or foreign law or regulation or as a result of filing any consolidated, combined, unitary or
 aggregate Tax Return with such Person prior to the Closing Date; or (B) as a transferee or successor by law, pursuant to a Contract entered into prior to
 the Closing Date, or any other relationship in existence as of the Closing Date, and (iii) the Privateer Stockholders’ share of Transfer Taxes pursuant to
 Section 5.10(fl.

               “Privateer Allocation" means the following allocation of the Stock Merger Consideration among the Privateer Stockholders:
             (a) with respect to a Founder, a number of shares of Tilray Class 1 Common Stock equal to the product of (i) the Tilray Class 1 Common
 Stock Consideration Shares, nmltiplied by (ii) the quotient of (A) the number of shares of Privateer Capital Stock held by such Founder, divided by
 (B) the number of shares of Privateer Capital Stock held by all Founders;
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                (b) with respect to each Privateer Stockholder, a number of shares of Tilray Class 2 Common Stock equal to (i) the product o/(A) such
 holder's Pro Rata Consideration Ratio, multiplied by (B) the Total Merger Consideration, (ii) less the number of shares of Tilray Class 2 Common Stock
 equal to the quotient of (A) the Pro Rata Cash Portion with respect to such holder, divided by (B) the Offering Price (rounded up to the nearest whole
 share), and (iii) less in the case of a Founder, the number of shares of Tilray Class 2 Common Stock equal to the number of shares of Tilray Class 1
 Common Stock allocated to such Founder pursuant to subsection (a) of this definition; and

                 (c) with respect to each Privateer Stockholder, the portion of Cash Merger Consideration equal to such holder’s Pro Rata Cash Portion;

 in each case, all in accordance with the Amended and Restated Privateer Charter.

                 “Privateer Associate” means any current or former employee, independent contractor, officer or director of Privateer or any of its
 Subsidiaries.

                 “Privateer Board' means the board of directors of Privateer.

                 “Privateer Capital Stock” means the Privateer Common Stock and the Privateer Preferred Stock.

                 “Privateer Class 1 Common Stock” means the Class 1 Common Stock, $0.0001 par value per share, of Privateer.

                 “Privateer Class 1 Options” means options or other rights to purchase shares of Privateer Class 1 Common Stock issued by Privateer.

                 “Privateer Class 2 Common Stock” means the Class 2 Common Stock, $0.0001 par value per share, of Privateer.

                 “Privateer Class 3 Common Stock’' means the Class 3 Common Stock, $0.0001 par value per share, of Privateer.

                 “Privateer Class 3 Options” means options or other rights to purchase shares of Privateer Class 3 Common Stock issued by Privateer.

               “Privateer Closing Tax Opinion” means a written opinion from Cooley, dated as of the Closing Date, based on the facts, representations,
 assumptions and exclusions set forth or described in such opinion, and substantially in the form set forth in Schedule C-3, to the effect that the Merger
 will qualify for the Intended Tax Treatment. In rendering such opinion, Cooley shall be entitled to rely upon customary assumptions, representations,
 warranties and covenants reasonably satisfactory to it, including the representations set forth in the Privateer Tax Representation Letter and the Tilray
 Tax Representation Letter.

           “Privateer Common Stock” means the Privateer Class 1 Common Stock, Privateer Class 2 Common Stock, and Privateer Class 3
 Common Stock.

               “Privateer Contract' means any Contract: (i) to which Privateer or any of its Subsidiaries is a Parly; (ii) by which Privateer or any of its
 Subsidiaries or any Privateer IP or any other asset of Privateer or its Subsidiaries is or may become bound or under which Privateer or any of its
 Subsidiaries has, or may become subject to, any obligation; or (iii) under which Privateer or any of its Subsidiaries has or may acquire any right or
 interest.


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               “Privateer ERISA Affiliate means any corporation or trade or business (whether or not incorporated) that is treated with Privateer or any
 of its Subsidiaries as a single employer within the meaning of Section 414 of the Code.

               “Privateer Exchange Shares9' means the total number of shares of Privateer Common Stock outstanding immediately prior to the
 Effective Time (expressed on an as-converted to Privateer Common Stock basis and assuming the effectiveness of the Preferred Stock Conversion), (i)
 including (A) the total number of shares assuming the exercise of all Privateer Service Provider Options immediately prior to the Effective Time and
 (B) the issuance of shares of Privateer Common Stock in respect of all other outstanding options, restricted stock awards, warrants or rights to receive
 such shares, whether conditional or unconditional and including any outstanding options, warrants or rights triggered by or associated with the
 consummation of the Merger and (ii) excluding any shares issuable upon exercise of the Tilray Service Provider Options.

              “Privateer Fundamental Representations" means the representations and warranties of Privateer set forth in Sections 2.1 (Due
 Organization; Subsidiaries), 2J. (Authority; Binding Nature of Agreement). 1A (Vote Required), (Capitalization; Ownership of the Owned Shares),
 and 2.20 (No Financial Advisors).

                “Privateer IF9 means all Intellectual Property Rights that are owned or purported to be owned by, assigned to, or licensed to, Privateer or
 its Subsidiaries.

               “Privateer Material Adverse Effect means any Effect that is or would be reasonably expected to be materially adverse to the business,
 assets, or Liabilities of Privateer and its Subsidiaries, taken as a whole. In addition to, and without limiting, the foregoing, any Effect that is or would
 reasonably be expected to be materially adverse to the business, assets, or Liabilities of Privateer and its Subsidiaries, taken as a whole, but excluding
 the ownership of capital stock of Tilray, shall also constitute a Privateer Material Adverse Effect.

               “Privateer Option?9 means Privateer Class 1 Options and Privateer Class 3 Options, collectively.

               “Privateer Plan" means the Privateer Holdings, Inc. 2011 Equity Incentive Plan, as amended.

               “Privateer Preferred Stock99 means the Series A Preferred Stock, the Series B Preferred Stock and the Series C Preferred Stock.

                “Privateer Registration Statement Tax Opinion" means a written opinion from Cooley, dated as of such date as may be required by the
 SEC in connection with the filing of the Registration Statement, based on the facts, representations, assumptions and exclusions set forth or described in
 such opinion, and substantially in the form set forth in Schedule C-2, to the effect that the Meiger will quality for the Intended Tax Treatment. In
 rendering such opinion, Cooley shall be entitled to rely upon customary assumptions, representations, warranties and covenants reasonably satisfactory
 to it, including the representations set forth in the Privateer Tax Representation Letter and the Tilray Tax Representation Letter.

               “Privateer Service Provider99 means a holder of Privateer Options that is not a Tilray Service Provider.

               “Privateer Service Provider Options99 means the Privateer Class 1 Options and the Privateer Class 3 Options held by a Privateer Service
 Provider.

               “Privateer Stockholder99 means a holder of Privateer Capital Stock.

                “Privateer Transaction Expense Overage" means the amount of Privateer Transaction Expenses greater than $1,000,000 that are unpaid
 as the Effective Time.


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               “Privateer Transaction Expense Shares" means a number of shares of TiJray Class 2 Common Stock equal to the quotient of (i) the
 amount of Privateer Transaction Expense Overage, divided by (ii) the THray Closing Price. For purposes of determining the Privateer Transaction
 Expense Shares, the number of shares of Ulray Class 2 Common Stock shall be rounded down to the nearest whole share. The calculation of the
 Privateer Transaction Expense Shares shall be set forth in the Allocation Certificate.

                “Privateer Transaction Expenses" means all fees and expenses incurred by Privateer at or prior to the Effective Time in connection with
 the Contemplated Transactions and this Agreement, including any fees and expenses of legal counsel and accountants, the maximum amount of fees and
 expenses payable to financial advisors, investment bankers, brokers, consultants, and other advisors of Privateer, including any and all fees and expenses
 relating to the Privateer D&O Tail Policy; pmvided that 100% of die following shall not be considered Privateer Transaction Expenses: (i) the fees paid
 to the SEC in connection with filing the Registration Statement, the Proxy Statement, and any amendments and supplements thereto with the SEC;
 (ii) the Nasdaq Fees; (iii) the fees and expenses paid or payable to the Exchange Agent pursuant to the engagement agreement with the Exchange Agent;
 (iv) the fees and expenses paid or payable to the Escrow Agent pursuant to the engagement agreement with the Escrow Agent; and (v) any fees and
 expenses incurred by the financial printer or the proxy solicitor in connection with the filing and distribution of the Registration Statement and any
 amendments and supplements thereto with the SEC (without duplication of the fees and expenses addressed in clause (ai) above).

               “Privateer Unaudited Interim Balance SIteef’ means the unaudited consolidated balance sheet of Privateer and its consolidated
 Subsidiaries for the period ended June 30, 2019 made available to Tilray prior to the date of this Agreement

                “Pro Rata Cash Portion" means, with respect to any Privateer Stockholder, the amount of cash equal to the product of (i) the Cash Merger
 Consideration, less the Aggregate Cash Option Consideration, multiplied by (ii) such holder’s Pro Rata Consideration Ratio; provided that the Pro Rata
 Cash Portion with respect to any Privateer Stockholder shall not exceed the amount of cash equal to the product of (A) the Offering Price, multiplied by
 (B) the number of shares equal to the product of (1) such holder’s Pro Rata Consideration Ratio, multiplied by (2) the Total Merger Consideration,
 (3) less in the case of a Founder, the number of shares of Tilray Class 1 Common Stock allocated to such Founder pursuant to subsection (a) of the
 definition of the Privateer Allocation.

               “Pro Rata Consideration Ratio" means, with respect to any Privateer Stockholder, the fraction equal to the quotient of (a) the number of
 shares of Privateer Capital Stock held by such holder, divided by (b) the Privateer Exchange Shares.

               “Pro Rala Portion" means, with respect to any Privateer Stockholder, a percentage equal to the quotient of (i) (A) the sum of the Tilray
 Class 1 Common Stock Consideration Shares, plus (B) the Tilray Class 2 Common Stock Consideration Shares, in each case allocated to such Privateer
 Stockholder pursuant to Section l.S(aMiii) and in accordance with the Privateer Allocation, divided by (ii) the Stock Merger Consideration, the
 calculation of which shall be set forth in the Allocation Certificate.

              “Proxy Statement' means the proxy statement to be sent to Tilray’s stockholders in connection with the Tilray Stockholders’ Meeting.

               “Registration Statement' means die registration statement on Form S-4 (or any other applicable form under the Securities Act to register
 Tilray Class 2 Common Stock) to be filed with the SEC by Tilray registering the public offering and sale of Tilray Class 2 Common Stock to some or all
 holders of Privateer Class 2 Common Stock and Privateer Class 3 Common Stock in the Merger, including all shares of Tilray Class 2 Common Stock to
 be issued in exchange for all shares of Privateer Class 2 Common Stock and Privateer Class 3 Common Stock in the Merger, as said registration
 statement may be amended prior to the time it is declared effective by the SEC.
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               '"Related Party” means, with respect to any specified Person: (i) any Affiliate of such specified Person, or any director, executive officer,
 general partner or managing member of such Affiliate; (ii) any Person who serves as a director, executive officer, partner, member or in a similar
 capacity of such specified Person; (iii) any other Person who holds, individually or together with any Affiliate of such other Person, more than 5% of the
 outstanding equity, ownership, or voting interests of such specified Person.

               “Released Shares” means the greater of (i) the number of Escrow Shares (as allocated in accordance with the Escrow Allocation) equal to
 the quotient of (A) the amount of an indemnifiable Loss divided by (B) the Tilray Trailing Price on the date the indemnification obligation for such Loss
 becomes due and payable, rounded up to the nearest whole number and (ii) the total number of Escrow Shares (as allocated in accordance with the
 Escrow Allocation) if the number of Escrow Shares then remaining on such date is less than the number required by clause (i) of this definition.

               “Representatives” means directors, officers, employees, agents, attorneys, accountants, investment bankers, advisors and representatives.

               “Reserve Amount' means $50,000, designated for the Reserve Account

               “Sarbanes-Oxley Act' means the Sarbanes-Oxley Act of 2002.

               “SEC' means the United States Securities and Exchange Commission.

               “Securities Act' means the Securities Act of 1933, as amended.

               “Securityholder*' means a holder of Privateer Capital Stock or Privateer Options.

               “Series A Preferred Stock” means the shares of the Series A Preferred Stock of Privateer, par value $0.0001 per share.

              “Series B Preferred Stock” means the shares of the Series B Preferred Stock of Privateer, par value $0.0001 per share.

               “Series C Preferred Stock” means the shares of the Series C Preferred Stock of Privateer, par value $0.0001 per share.

              “Stock Cash Consideration Shares” means the quotient of (i) the Cash Merger Consideration, less the Aggregate Cash Option
 Consideration, divided by (ii) the Offering Price.

              “Stock Merger Consideration” means (i) the Total Merger Consideration, less (ii) the Option Merger Consideration, less (iii) the Cash
 Consideration Shares.

              “Straddle Period” means any taxable period of Privateer that includes, but does not end on, the Closing Date.

                An Entity shall be deemed to be a “Subsidiary” of a Person if such Person directly or indirectly owns or purports to own, beneficially or of
 record, (a) an amount of voting securities or other interests in such Entity that is sufficient to enable such Person to elect at least a majority of the
 members of such Entity’s board of directors or other governing body, or (b) at least 50% of the outstanding equity, voting, beneficial or financial
 interests in such Entity; provided that Tilray shall not be considered a Subsidiary of Privateer unless specifically indicated.
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               “Superior Offef' means an unsolicited bonafide written Acquisition Proposal (with all references to 20% in the definition of Acquisition
 Transaction being treated as references to greater than 50% for these purposes) that is on terms and conditions that the Til ray Board, as applicable,
 determines in good faith, based on such matters that it deems relevant (including the likelihood of consummation thereof), as well as any written offer
 by Privateer to amend the terms of this Agreement, and following consultation with its outside legal counsel and outside financial advisors, if any, are
 more favorable, from a financial point of view, to Tilray’s stockholders than the terms of the Contemplated Transactions.

               “Takeover Statute” means any “fair price,” “moratorium,” “control share acquisition” or other similar anti-takeover Law.

               “Tax” means any federal, state, local foreign or other tax, including any income, capital gain, gross receipts, capital stock, profits, transfer,
 estimated, registration, stamp, premium, escheat, unclaimed property, customs duty, ad valorem, occupancy, occupation, alternative, add-on, windfall
 profits, value added, severance, property, business, production, sales, use, license, excise, franchise, employment, payroll, social security, disability,
 unemployment, workers5 compensation, national health insurance, withholding or other taxes, duties, fees, assessments or governmental charges,
 surtaxes or deficiencies thereof of any kind whatsoever, however denominated, and including any fine, penalty, addition to tax or interest imposed by a
 Governmental Body with respect thereto.

                “Tax Return” means any return (including any information return), report, statement, declaration, estimate, schedule, notice, notification,
 form, election, certificate or other document, and any amendment or supplement to any of the foregoing, filed with or submitted to, or required to be
 filed with or submitted to, any Governmental Body in connection with the determination, assessment, collection or payment of any Tax or in connection
 with the administration, implementation or enforcement of or compliance with any Law relating to any Tax.

               “Tilray Associate” means any current or former employee, independent contractor, officer or director of Tilray.

               “Tilray Board" means the board of directors of Tilray.

               “Tilray Class 1 Common Stock” means the Class 1 Common Stock, $0.0001 par value per share, of Tilray.

                “Tilray Class 1 Common Stock Consideration Shares” means 16,666,667 shares of Tilray Class 1 Common Stock; provided, however,
 that the Tilray Class 1 Common Stock Consideration Shares will be reduced on a one-to-one basis by the amount by which the shares of Tilray Class 1
 Common Stock held by Privateer immediately prior to the Effective Time is less than 16,666,667 shares. For example, if immediately prior to the
 Effective Time, Privateer owns 16,000,000 shares of Tilray Class 1 Common Stock, the Tilray Class 1 Common Stock Consideration Shares shall not
 exceed 16,000,000 shares. In no event shall the Tilray Class 1 Common Stock Consideration Shares exceed the lesser of (a) the number of shares of
 Tilray Class 1 Common Stock held by Privateer immediately prior to the Effective Time or (b) 16,666,667 shares.

               “Tilray Class 2 Common Stock” means the Class 2 Common Stock, $0.0001 par value per share, of Tilray.

                “Tilray Class 2 Common Stock Consideration Shares” means 58,333,333 shares of Tilray Class 2 Common Stock; provided, however,
 that the Tilray Class 2 Common Stock Consideration Shares will be reduced on a one-to-one basis by the amount by which the shares of Tilray Class 2
 Common Stock held by Privateer immediately prior to the Effective Time is less than 58,333,333 shares (such that in no event shall such number exceed
 the lesser of (i) the number shares of Tilray Class 2 Common Stock held by Privateer immediately prior to the Effective Time or (ii) 58,333,333 shares),
 in each such case, less (A) the Cash Consideration Shares, less (B) the Privateer Transaction Expense Shares.
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                 “Tilray Class 3 Common Stock” means the Class 3 Common Stock, $0.0001 par value per share, of Tilray.

                “Tilray Closing Price” means the volume-weighted average closing trading price of a share of Tilray Class 2 Common Stock on Nasdaq
 for the five consecutive trading days ending five trading days immediately prior to the Closing Date.

               “Tilray Closing Tax Opinion” means a written opinion from Paul Hastings, dated as of the Closing Date, based on the facts,
 representations, assumptions and exclusions set forth or described in such opinion, and substantially in the fonn set forth in Schedule D-3 to the effect
 that the Merger will qualify for the Intended Tax Treatment. In rendering such opinion, Paul Hastings shall be entitled to rely upon customary
 assumptions, representations, warranties and covenants reasonably satisfactoiy to it, including the representations set forth in the Privateer Tax
 Representation Letter and the Tilray Tax Representation Letter.

                 “Tilray Common Stock” means the Tilray Class 1 Common Stock, the Tilray Class 2 Common Stock, and the Tilray Class 3 Common
 Stock.

               “Tilray Contract' means any Contract: (i) to which Tilray or Merger Sub is a party; (ii) by which Tilray, Merger Sub or any Tilray IP or
 any other asset of Tilray or Merger Sub is or may become bound or under which Tilray or Meiger Sub has, or may become subject to, any obligation; or
 (iii) under which Tilray or Merger Sub has or may acquire any right or interest.

              “Tilray Fundamental Representations” means the representations and warranties of Tilray and Merger Sub set forth in Sections 3.1 (Due
 Organization; Subsidiaries), 1*1 (Authority; Binding Nature of Agreement), and 1*6 (No Financial Advisors).

                 “Tilray IF' means all Intellectual Property Rights that are owned or purported to be owned by, assigned to, or licensed to, Tilray or its
 Subsidiaries.

             “Tilray Material Adverse Effect' means any Effect that would prevent or materially delay the ability of Tilray to consummate the
 Contemplated Transactions.

                “Tilray Registration Statement Tax Opinion” means a written opinion from Paul Hastings, dated as of such date as may be required by the
 SEC in connection with the filing of the Registration Statement, based on the facts, representations, assumptions and exclusions set forth or described in
 such opinion, and substantially in the form set forth in Schedule D-2, to the effect that the Merger will qualify for the Intended Tax Treatment. In
 rendering such opinion, Paul Hastings LLP shall be entitled to rely upon customary assumptions, representations, warranties and covenants reasonably
 satisfactory to it, including the representations set forth in the Privateer Tax Representation Letter and the Tilray Tax Representation Letter.

              “Tdray SEC Documents” means the registration statements, proxy statements, certifications and other statements, reports, schedules,
 forms and other documents furnished or filed by or on behalf of Tilray with the SEC, including any certifications and statements required by (i) Rule
 13a-14 under the Exchange Act and (ii) 18 U.S.C. §1350 (Section 906 of the Sarbanes-Oxley Act).

                 “Tilray Service Provider” means the Persons set forth in Section A of the Privateer Disclosure Letter.

                 “Tdray Service Provider Options” means the Privateer Class 1 Options and the Privateer Class 3 Options held by a Tilray Service
 Provider.

           “Tilray Trailing Price” means, with respect to any date, the volume-weighted average closing trading price of a share of Tilray Class 2
 Common Stock on Nasdaq for the five consecutive trading days ending five trading days immediately prior to such date.
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               “Total Cash-Out Options” means the aggregate totaJ of all In-the-Money Options to which Individual Option Cash Consideration is
 allocated pursuant to the Cash-Out Options Allocation.

           “Total Merger Consideration” means the sum of (i) the Tilray Class 1 Common Stock Consideration Shares, plus (ii) Tilray Class 2
 Common Stock Consideration Shares, plus (iii) the Cash Consideration Shares.

                “Transaction Documents” means this Agreement, the Stockholder Lock-up Agreements, the Escrow Agreement, the Privateer Disclosure
 Letter, the Tilray Disclosure Letter, the Allocation Certificate, and each other agreement, certificate, document and instrument contemplated hereby and
 thereby, including all Schedules, Annexes, and Exhibits hereto and thereto.

               “Transfer” shall mean any direct or indirect (i) sale, transfer, assignment, pledge, hypothecation, mortgage, license, gift, creation of a
 security interest in or lien on. Encumbrance or other disposition to any Person, including those by way of hedging or derivative transactions or (ii) swap,
 hedge, short position, call or other arrangement that is designed to or which could reasonably be expected to lead to or result in, directly or indirectly, a
 transfer of the economic consequence of ownership of any Tilray Class 1 Common Stock or Tilray Class 2 Common Stock, whether any such
 transaction described in clause (i) or (ii) above is to be settled by delivery any Equity Interests in Tilray or any of its Subsidiaries or any other securities,
 in cash or otherwise.

              “Transfer Tax?' means any transfer, documentary, sales, use, stamp, registration, value added, real property and similar Taxes and fees
 (including any penalties and interest thereon).

               “Treasury Regulation^ means the United States Treasury regulations promulgated under the Code.

              “WARNAct” means the Worker Adjustment Retraining and Notification Act of 1988, as amended, or any similar state or local plant
 closing mass layoff statute, rule or regulation.

 Each of the following terms is defined in the Section set forth opposite such term:

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